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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                      )
     In re:                                                           ) Chapter 11
                                                                      )
     ART VAN FURNITURE, LLC, et al.,1                                 ) Case No. 20-10553 (CSS)
                                                                      )
                                        Debtors.                      ) (Joint Administration Requested)
                                                                      )

                DEBTORS’ EMERGENCY MOTION FOR ENTRY OF INTERIM AND
                   FINAL ORDERS (I) APPROVING PROCEDURES FOR STORE
                 CLOSING SALES, (II) AUTHORIZING CUSTOMARY BONUSES TO
              EMPLOYEES OF CLOSING STORES, (III) AUTHORIZING ASSUMPTION
               OF THE CONSULTING AGREEMENT UNDER §§ 363 AND 365 OF THE
              BANKRUPTCY CODE, (IV) AUTHORIZING THE DEBTORS TO RETAIN
               CERTAIN CONSULTANT ENTITIES AS SPECIAL ASSET DISPOSITION
                  ADVISORS TO THE DEBTORS PURSUANT TO §327(A) OF THE
                  BANKRUPTCY CODE AND (V) GRANTING RELATED RELIEF

              The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

 respectfully state as follows in support of this motion (this “Motion”):2

                                                   Relief Requested

              1.    The Debtors seek entry of interim and final orders, substantially in the forms

 attached hereto as Exhibit A and Exhibit B (respectively, the “Interim Order” and the “Final

 Order”): (a) authorizing and approving, on an interim and final basis, store closing or similar


 1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509);
       AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC
       (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising,
       LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The location
       of the Debtors’ service address in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.

 2
       A detailed description of the Debtors and their business, and the facts and circumstances supporting the Debtors’
       chapter 11 cases, are set forth in greater detail in the Declaration of David Ladd, Executive Vice President and
       Chief Financial Officer of Art Van Furniture, LLC, in Support of Chapter 11 Petitions and First Day Motions
       (D.I. 12) (the “First Day Declaration”) filed contemporaneously with the Debtors’ voluntary petitions for relief
       filed under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) on March 8, 2020 (the
       “Petition Date”). Capitalized terms used but not otherwise defined in this Motion shall have the meanings given
       to them in the First Day Declaration.



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 themed sales (“Store Closings”) in accordance with the terms of the store closing sale procedures

 (the “Store Closing Procedures,” attached as Exhibit 1 to Exhibit A hereto), with such sales to be

 free and clear of all liens, claims, and encumbrances; (b) authorizing the Debtors to pay customary

 bonuses to employees of the stores listed on Exhibit 2 to Exhibit B attached hereto (collectively,

 the “Closing Stores”); (c) in accordance with sections 363 and 365 of the Bankruptcy Code,

 authorizing the Debtors to assume that certain Consulting and Marketing Services Agreement,

 dated as of March 5, 2020 (the “Consulting Agreement”), by and between Debtor AVF Holding

 Company, Inc. and the following entities: Hilco Merchant Resources, LLC (“HMR”), Hilco IP

 Services, LLC, d/b/a Hilco Streambank, Hilco Real Estate, LLC, Hilco Receivables, LLC (such

 entities collectively, the “Hilco Consulting Entities”), Gordon Brothers Retail Partners, LLC

 (“GBRP”), DJM Realty Services, LLC, d/b/a Gordon Brothers Real Estate, Gordon Brothers

 Commercial & Industrial, LLC, Gordon Brothers Brands, LLC (such entities collectively the “GB

 Consulting Entities”, and together with the Hilco Consulting Entities the “Consultant”), a copy of

 which is attached as Exhibit 3 to Exhibit A hereto; (d) authorizing the Debtors to retain certain of

 the entities comprising the Consultant that will be providing receivables collection (at the Debtors’

 option) and intellectual property disposition services as special asset disposition advisors and

 consultants to the Debtors, pursuant to Section 327(a) of the Bankruptcy Code3; and (e) granting

 related relief. In addition, the Debtors request that the Court schedule a final hearing within

 approximately 25 days of the commencement of these chapter 11 cases to consider entry of the

 Final Order with respect to the relief sought in the Motion.




 3
     The Consultant affiliated entities that will provide these specific asset disposition services are: Hilco IP Services,
     LLC, d/b/a Hilco Streambank, Hilco Receivables, LLC, Gordon Brothers Commercial & Industrial, LLC, Gordon
     Brothers Brands, LLC


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                                        Jurisdiction and Venue

         2.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

 jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

 Order of Reference from the United States District Court for the District of Delaware, dated

 February 29, 2012. The Debtors confirm their consent, pursuant to rule 7008 of the Federal Rules

 of Bankruptcy Procedure (the “Bankruptcy Rules”) and rule 9013-1(f) of the Local Rules of

 Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

 Delaware (the “Bankruptcy Local Rules”), to the entry of a final order by the Court in connection

 with this Motion to the extent that it is later determined that the Court, absent consent of the parties,

 cannot enter final orders or judgments in connection herewith consistent with Article III of the

 United States Constitution.

         3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         4.      The statutory bases for the relief requested herein are sections 105(a), 363, 365 and

 554(a) of title 11 of the United States Code (the “Bankruptcy Code”), Bankruptcy Rules 2002,

 6003, and 6004, and Bankruptcy Local Rule 9013-1(m).

                                          The Store Closings

 I.      The Store Closing Decisions and the Consulting Agreement

         5.      As described more fully in the First Day Declaration, in the wake of extreme market

 conditions and faced with limited liquidity, the Debtors have commenced these chapter 11 cases

 to effectuate a going-concern sale of approximately 44 stores and two distribution centers

 operating under the Wolf and Levin banners and to wind down their remaining store locations and

 other operations through a going-out-of-business sales process. Given continuously declining

 profitability and operational challenges over the past three years, and despite the best efforts of the

 Company and its advisors to secure the capital necessary to preserve the entire business as a going

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 concern, the Company is simply unable to meet its financial obligations. The Company has worked

 in concert with its secured lenders to develop a budget for the use of cash collateral to facilitate an

 expedited sale and orderly wind-down process that will maximize value and recoveries for

 stakeholders in these cases.

         6.       In connection with the aforementioned wind-down process, prior to the Petition

 Date the Debtors conducted a competitive process to engage an exclusive consultant(s) to provide

 a wide range of asset disposition consulting and related services to assist in and facilitate the

 Debtors’ planned wind-down efforts. During the course of that same proposal solicitation process,

 Hilco and Gordon Brothers were engaged in parallel discussions with the Debtors’ prepetition term

 loan lenders, FS KKR Capital Corp. and FS KKR Capital Corp. II (collectively, “KKR”)

 concerning the status of the prepetition term loan debt (the “Term Loans”), and the prospects for

 development of a creative consulting structure such that the Debtors’ estates and their various

 stakeholders could be spared the burden of having to pay the types of consulting fees that are

 customary for the types of asset disposition services required by the Debtors.

         7.       After arm’s-length and extensive negotiations, these discussions ultimately yielded

 a series of agreements under which (a) the Debtors determined to engage the Consultant to provide

 the full range of asset disposition consulting services required by the Debtors in respect of

 merchandise inventories, fixed assets, receivables (subject to a Debtors’ option), and intellectual

 property4, (b) HGB AVF Lending, LLC (“HGB”), an entity controlled by affiliates of Hilco and

 Gordon Brothers, entered into an agreement with KKR under which HGB acquired KKR’s




 4
     The Consulting Agreement presently provides that in addition to the consulting services described herein, the
     Debtors were to engage the Consultant to market and sell Debtors’ real estate holdings. Subsequent to execution
     of the Consulting Agreement, the Debtors and the Consultant agreed to exclude the real estate services from the
     scope of Consultant’s engagement.


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 interests in the Term Loans (and as part of such transaction GBH agreed to share a portion of any

 recovery, if any, it may later receive on account of the Term Loans), and (c) the Consultant

 simultaneously agreed with the Debtors that the Consultant would NOT earn or be paid any

 consulting or other fee or compensation from the Debtors or their estates, other than reimbursement

 of certain out-of-pocket expenses incurred in connection with the conduct of the Store Closing

 Sales, any such reimbursement being strictly in accordance with a budget agreed to by the Debtors

 and the Debtors’ secured lenders.

         8.     Through this approach - whereby the Consultant’s only opportunity to realize any

 compensation on account of the consulting services being provided under the Consulting

 Agreement is through a recovery realized by its affiliates on account of the Term Loans (a portion

 of which recovery, if any, will be shared with KKR) - the Debtors, in consultation with their

 professionals and key stakeholders, determined that the above-described arrangement provided the

 best framework for accomplishing the Debtors’ paramount goal of an orderly and efficient

 liquidation of all assets. At the same time, this arrangement fully aligned the estates’ interests with

 those of the Term Lender in achieving maximum realizable value for Debtors’ assets during the

 wind-down process.

         9.     Based on an evaluation of the circumstances, the economic structure of the

 Consulting Agreement, and the Consultant’s experience in conducting Store Closings on similar

 timelines, the Debtors’ management, in consultation with the Debtors’ advisors, determined that

 the Consultant provided the best and most competitive proposal.

         10.    Accordingly, by this Motion, the Debtors seek relief in two essential parts; first,

 consistent with well-established precedent in this District, the Debtors seek – on an interim basis

 –to assume the Consulting Agreement under sections 363 and 365 of the Bankruptcy Code, so that



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 the HMR and GBRP, the Consultant-constituent entities that are providing the inventory and fixed

 asset disposition consulting services under the Consulting Agreement, may continue their role as

 the Debtors’ consultant in connection with the conduct of the Store Closings on a post-petition

 basis without interruption; second, the Debtors seek to retain the remaining Consultant-constituent

 entities that are providing the receivables, and intellectual property-related disposition consulting

 services, pursuant to section 327 of the Bankruptcy Code. In connection with the foregoing, the

 Debtors have determined, in the exercise of their business judgment, that (a) the continuation of

 services by the Consultant is necessary for efficient large-scale execution of the Store Closings,

 and the marketing and sale of the other Assets to maximize the value of the Assets being sold and

 (b) any change or elimination of the engagement with the Consultant would significantly disrupt

 the Debtors’ reorganization efforts and impair the value of the Assets.5 Further, the Store Closings

 and the marketing and sale of the Assets are a critical component of the Debtors’ ability to

 maximize value for all stakeholders, and assumption of the Consulting Agreement will allow the

 Debtors to continue to conduct the Store Closings in an efficient, controlled manner that will

 maximize value for the Debtors’ estates.

         11.      For the convenience of the Court and interested parties, a summary of the salient

 terms of the Consulting Agreement is set forth below:6


 5
     By this Motion, the Debtors’ seek approval of the conduct of the Sales at the Stores and the associated disposition
     of the Merchandise and the owned M&E in a manner consistent with customary practices in this jurisdiction and
     in jurisdictions throughout the country in connection with Store Closings. However, nothing in this Motion seeks
     approval of the Debtors’ assumption and assignment of any of their non-residential real property leases or
     executory contracts. To the extent that the Debtors’, through the services of the Consultant, find one or more
     buyers of the Real Estate Assets and/or the IP Assets, the Debtors’ would file one or more separate motions
     seeking approval of such asset sales on as expedited a basis as the circumstances and/or economics of such sale
     dictate.

 6
     The following summary chart is for the convenience of the Court and parties in interest. To the extent there is
     any conflict between this summary and the Consulting Agreement, the Consulting Agreement shall govern in all
     respects. Any capitalized terms used in the summary chart but not defined therein are used as defined in the
     Consulting Agreement.


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               Term                                         Consultant Agreement

  Services Provided by   Services to be provided by Consultant include, among other things:
  Consultant
                            Provision of qualified Supervisors to supervise and assist the Debtors in its
                             conduct of the Sale;

                            Provision of oversight, supervision, and guidance with respect to the conduct of
                             the Sale and the liquidation and disposal of the Merchandise and the M&E;

                            Recommendation and implementation of appropriate point of purchase, point of
                             sale, and external advertising to effectively sell the Merchandise during the Sale
                             Term;

                            Advice regarding appropriate discounting of Merchandise, staffing levels for the
                             Stores, and appropriate deferred compensation and incentive programs for Store
                             Employees;

                            Other advice regarding and during the Sale;

                            Development of an advertising and marketing plan for the sale, auction, or other
                             disposition of the M&E;

                            Implementation of advertising and marketing as deemed necessary to maximize
                             the net recovery on the M&E;

                            Preparation for the sale of the M&E;

                            Developing a Strategic Plan with the Debtors for disposition of the Properties;

                            Subject to the Debtors’ exercise of the election under the Consulting Agreement,
                             collecting, settling, and otherwise resolving the Receivables on the Debtors’
                             behalf;

                            Collecting and securing available information regarding the Intellectual
                             Property;

                            Preparing marketing materials designed to advertise the availability of the
                             Intellectual Property for sale, assignment, license, or other disposition; and

                            Assisting the Debtors in connection with the transfer of the Intellectual Property
                             to the acquirer(s) who offer the highest or otherwise best consideration for the
                             Intellectual Property.

                            To the extent that the Consultant locates a purchaser of the Assets, other that the
                             Merchandise and the M&E, the Debtors (in consultation with the Secured
                             Lenders) shall file one or motion seeking approval of such underlying
                             transaction(s) on such notice (or Court approved shortened notice) as the terms
                             and the economics of such transactions dictate.

  Sale Term              The Store Closing began on March 6, 2020, and are to continue to no later than May
                         31, 2020; provided, however, absent the prior consent of the Debtors, the Sale shall
                         conclude in the Stores no later than April 30, 2020.



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  Asset Marketing Period    The period commencing on the Sale Commencement Date through the earlier of (i)
                            the applicable Sale Termination Date for each of the Stores (or, with respect to any
                            Distribution Center(s), the last day of available occupancy for each such center, as
                            may be mutually agreed by the Debtors and the Consultant (in consultation with the
                            Secured Lenders); (ii) April 30, 2020; or (iii) such other earlier or extended date as
                            may be mutually agreed upon by the Debtors (in consultation with the Secured
                            Lenders) and the Consultant

  Sale Expenses             The Debtors shall be responsible for all Sale Expenses (including without limitation,
                            the Consultant Incurred Expenses). The Debtors, Consultant and Secured Lenders
                            have agreed on a pro forma budget relating to the Sale describing in reasonable detail
                            the projected Sale Expenses (the “Budget”) in the form and content annexed hereto
                            and made a part hereof as Exhibit B. The Budget may only be modified by mutual
                            agreement of the Debtors, the Consultant and the Secured Lenders. In connection
                            with the Sale and subject to the limitations set forth in the Budget as to the Consultant
                            Incurred Expenses, the Debtors shall be responsible for the payment of all expenses
                            incurred in connection with the Sale, including, without limitation, all Sale Expenses
                            (and Consultant shall not be responsible for any such expenses or Sale Expenses
                            except as expressly provided for in Section 11 below). Consultant Incurred Expenses
                            shall not exceed the aggregate line item amount of Consultant Incurred Expenses set
                            forth in the Budget without the prior written consent of the Debtors and Secured
                            Lenders, which consent shall not be unreasonably withheld, delayed or conditioned.
                            Subject to the limitations of the Sale Budget, the Debtors shall reimburse Consultant
                            for any reasonable and documented Consultant Incurred Expense on a weekly basis
                            in connection with the weekly Sale reconciliation provided for in Section 4 hereof
                            upon presentation of invoices and statements for such expenses. In addition, to the
                            extent that the Consultant anticipates that it, or the Debtors will incur any additional
                            out of pocket expenses in connection with the Services being provided by the
                            Consultant in relating to its provision of Services in connection with the marketing
                            and disposition of the other Assets, such expenses shall be subject to Supplemental
                            Expense Budget to be agreed to between the Debtors (in consultation with the
                            Secured Lenders) and the Consultant prior to such expenses being incurred.

  Consultant’s              In consideration of the Consultant providing the consulting, marketing and asset
  Compensation              disposition-related Services provided for herein, the Consultant shall not earn any
                            fee or other compensation from the Debtors, other than reimbursement of all
                            Consultant Incurred Expenses and such other Sale Expenses as may be advanced by
                            Consultant from time to time in the course of performing Services hereunder, in each
                            case limited to the amounts set forth in the Budget and at the times provided herein.
                            Any fees payable to Consultant shall be paid to Consultant by the Term Loan Lenders
                            from their recovery on account of their secured claim.

  Tracking of Proceeds of   The Debtors shall keep (i) a strict count of gross register receipts less applicable sales
  the Sales                 taxes, and (ii) cash reports of sales within each Store. Register receipts shall show
                            for each item sold the retail price (as reflected on Debtors’ books and records) for
                            such item, and the markdown or other discount granted by Consultant in connection
                            with such sale. The Debtors shall make all such records and reports available to
                            Consultant and the Secured Lenders during regular business hours upon reasonable
                            notice.

  Expenses Deposit          The Interim Approval Order and the Final Approval Order shall include approval on
                            the part of the Debtors to fund, and the Debtors shall thereafter promptly fund, to
                            Consultant $3,353,912 (the “Expense Deposit’). The Debtors shall be entitled to
                            apply the Expense Deposit to, or otherwise offset any portion of the Expense Deposit
                            against, any weekly reimbursement or other amount owing to Consultant under this


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                            Agreement prior to the Final Settlement; provided, however, at no time prior to the
                            Final Settlement shall the Expense Deposit be reduced below $1,000,000. Without
                            limiting any of Consultant’s other rights, Consultant may apply the Expense Deposit
                            to any unpaid obligation owing by the Debtors to Consultant under this Agreement.
                            Any portion of the Expense Deposit not used to pay amounts contemplated by this
                            Agreement shall be returned to Debtors (or their designee) within three (3) business
                            days following the Final Settlement.

  Debtors’ Employees        The Debtors and the Consultant shall cooperate to retain the employees of the
                            Debtors (including the Store Employees) to be utilized to conduct the Sale at the
                            Stores during the Sale Term, as such employees may be designated from time to time
                            by Consultant, in its discretion. Such employees shall remain employees of the
                            Debtors, and Consultant shall have no liability to such employees (including, without
                            limitation, all the Store Employees and any of Debtors’ other current or former
                            employees) of any kind or nature whatsoever, including, without limitation, with
                            respect to severance pay, termination pay, vacation pay, pay in lieu of reasonable
                            notice of termination, Worker Adjustment and Retraining Notification Act (“WARN
                            Act”) payments, or any other costs, expenses, obligations, or liabilities arising from
                            the Debtors’ employment or termination of such employees prior to, during, and
                            subsequent to the Sale Term. Other than advising Debtors that Consultant no longer
                            desires to utilize the services of any employee in connection with the sale or other
                            disposition of the Assets, including as part of the Sale, Consultant shall not have the
                            right to change the terms of employment of any employee(s).

  Fulfillment of Pre-Sale   Consistent with the relief sought in the Debtors’ companion Customer Programs
  Customer Orders           Motion, in addition to providing the forgoing Services in connection with the Sale,
                            the Consultant shall use commercially reasonable efforts to assist the Debtors in
                            fulfilling certain pre-Sale Commencement Date orders for which the Debtors has
                            received customer deposits (collectively, the “Pre-SCD Orders”).

                                    On-Hand Fulfillment Orders. Consultant shall assist the Debtors in
                                     fulfilling certain Pre-SCD Orders having an aggregate retail value of
                                     approximately $22 Million (collectively, the “On-Hand Fulfillment
                                     Orders”), on account of which orders (i) the Debtors has received customer
                                     deposits in the aggregate amount of $18 Million (collectively, the “On-
                                     Hand Customer Deposits”) and (ii) with respect to which all of the goods
                                     necessary to fulfill such orders are on-hand either at the Debtors’
                                     Distribution Centers or the Stores (collectively, the “On-Hand Fulfillment
                                     Merchandise”). As soon as reasonably practicable after the Sale
                                     Commencement Date, the Consultant shall assist the Debtors in earmarking
                                     the On-Hand Fulfillment Merchandise (and, to the extent necessary
                                     segregated by the Debtors) in order to fulfill and complete the On-Hand
                                     Fulfillment Orders. Consultant shall advise the Debtors in the development
                                     of efficient methods aimed at fulfilling the On-Hand Fulfillment Orders,
                                     and the Debtors and the Consultant shall use commercially reasonable
                                     efforts to deliver the On-Hand Fulfillment Merchandise as promptly as
                                     practicable, giving due consideration to the Debtors’ existing
                                     distribution/fulfillment capabilities. Any usual and customary costs and
                                     expenses incurred in connection with the fulfillment of any On-Hand
                                     Fulfillment Orders, including, but not limited to, labor, sales commissions
                                     and delivery (collectively, the “On-Hand Fulfillment Processing
                                     Expenses”), shall be borne exclusively by the Debtors, and the Consultant
                                     shall not be responsible for any such costs or expenses. Any funds received
                                     from customers on account of the On-Hand Fulfillment Orders, whether
                                     received prior to or after the Sale Commencement Date (including, without


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                               limitation, any On-Hand Customer Deposits), shall be retained by and/or
                               remitted to the Debtors. To the extent any such funds are received from the
                               customer in connection with the delivery of such On-Hand Fulfillment
                               Goods, those funds shall be delivered by the Consultant to the Debtors on a
                               weekly basis as part of the weekly reconciliation contemplated by Section
                               4.2 hereunder. Subject to Section 7.5 hereof, the On-Hand Fulfillment
                               Merchandise shall be excluded from the definition of Merchandise
                               hereunder; provided, that any proceeds realized by the Debtors upon
                               fulfillment and completion of an On-Hand Fulfillment Order(s) in excess of
                               the applicable On-Hand Customer Deposit shall constitute Gross Proceeds
                               hereunder.

                              Back-Order Fulfillment Orders. Following the Sale Commencement Date,
                               Consultant shall also assist the Debtors in evaluating the status certain Pre-
                               SCD Orders (collectively, the “Back-Order Fulfillment Orders”), on
                               account of which orders (i) the Debtors has received customer deposits
                               (collectively, the “Back-Order Customer Deposits”) and (ii) with respect to
                               which the goods necessary to fulfill such orders are not on-hand either at
                               the Debtors’ Distribution Centers or the Stores (collectively, the “Back-
                               Order Fulfillment Merchandise”). To the extent that a Back-Order
                               Fulfillment Order(s) can be filled by the Debtors within a reasonable time
                               after the Sale Commencement Date, the Debtors and the Consultant shall
                               work together to implement a protocol for fulfillment of such order(s). To
                               the extent that the Debtors is unable to fulfill a Back-Order Fulfillment,
                               such Back-Order Fulfillment Order shall be cancelled by the Debtors, and
                               the Debtors and the Consultant shall offer the affected customer the option
                               of either (i) a merchandise credit in the amount of such customer’s
                               respective Back-Order Customer Deposit (the “Cancelled Back-Order
                               Merchandise Credit”), which Cancelled Back-Order Merchandise Credit
                               must be used by the affected customer no later than April 15, 2020; or (ii)
                               filing a claim in the Debtors’ bankruptcy case for the full amount of such
                               customer’s Back-Order Customer Deposit.

                              If a customer cancels a Pre-SCD Order, or refuses to accept
                               completion/delivery of either On-Hand Fulfillment Merchandise or a Back-
                               Order Fulfillment Order (where the goods become available), the subject
                               the On-Hand Fulfillment Merchandise, Back-Order Fulfillment
                               Merchandise, as the case may be, attributable to such cancelled Pre-SCD
                               Orders, shall thereupon constitute Merchandise and be included in the Sale,
                               and the affected customer can file a claim in the bankruptcy case for the full
                               amount of such customer’s deposit.

                              During the Sale Term, the Debtors shall provide, and continue to provide
                               through the Sale Term, Consultant with all reports reasonably requested by
                               Consultant with respect to the status of all Pre-SCD Orders.

   Additional Consultant      In connection with the Sale, and subject to compliance with applicable law
   Goods                       (or if and when applicable, the Approval Orders), Consultant shall have the
                               right, at Consultant’s sole cost and expense, to supplement the Merchandise
                               in the Sale with additional goods procured by Consultant which are of like
                               kind, and no lesser quality to the Merchandise (“Additional Consultant
                               Goods”). The Additional Consultant Goods shall be purchased by
                               Consultant as part of the Sale, and delivered to the Stores (or direct shipped
                               to customers) at Consultant’s sole cost and expense (including, without
                               limitation, all acquisition costs, sales commissions, credit card processing


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                               fees, labor, freight and insurance relative to shipping and/or delivery of such
                               Additional Consultant Goods). Sales of Additional Consultant Goods shall
                               be run through Debtors’ point-of-sale systems; provided, however, that
                               Consultant shall mark the Additional Consultant Goods using either a
                               “dummy” SKU or department number, or in such other manner so as to
                               distinguish the sale of Additional Consultant Goods from the sale of
                               Merchandise. Consultant and Debtors shall also cooperate so as to ensure
                               that the Additional Consultant Goods are marked in such a way that a
                               reasonable consumer could identify the Additional Consultant Goods as
                               non-Debtors goods. Additionally, Consultant shall provide signage in the
                               Stores notifying customers that the Additional Consultant Goods have been
                               included in the Sale. Absent the Debtors’ written consent and subject to
                               Consultant’s agreement to reimburse Debtors for any associated expenses,
                               Consultant shall not use Debtors’ distribution centers for any Additional
                               Consultant Goods.

                              Consultant shall pay to the Debtors an amount equal to seven and one-half
                               percent (7.5%) of the aggregate Gross Proceeds, net only of sales taxes
                               collected in respect thereof, realized by Consultant from the sale of
                               Additional Consultant Goods (the “Additional Consultant Goods Fee”).
                               Consultant shall pay the Debtors any earned and accrued Additional
                               Consultant Goods Fee on a weekly basis as part of each weekly sale
                               reconciliation. Except for sales taxes associated with the sale of Additional
                               Consultant Goods and Debtors’ Additional Consultant Goods Fee, all
                               proceeds from the sale of Additional Consultant Goods shall be for the sole
                               and exclusive account of Consultant, and shall be remitted to Consultant in
                               connection with each weekly sale reconciliation. Consultant shall be
                               responsible for collecting and remitting sales taxes to the applicable taxing
                               authorities on account of sales of Additional Consultant Goods.

                              The Consultant, the Debtors, and the Secured Lenders intend that the
                               transactions relating to the Additional Consultant Goods are, and shall be
                               construed as, a true consignment from Consultant to Debtors in all respects
                               and not a consignment for security purposes. Subject solely to Consultant’s
                               obligations to pay to Debtors the Additional Consultant Goods Fee, at all
                               times and for all purposes the Additional Consultant Goods and their
                               proceeds shall be the exclusive property of Consultant, and no other person
                               or entity, including, without limitation, the Lenders and Secured Lenders,
                               shall have any claim against any of the Additional Consultant Goods or their
                               proceeds. The Additional Consultant Goods shall at all times remain subject
                               to the exclusive control of Consultant. In furtherance of the foregoing, the
                               Debtors acknowledge that the Additional Consultant Goods shall be
                               consigned to Debtors as a true consignment under Article 9 of the Uniform
                               Commercial Code (the “UCC”). The Consultant is hereby granted a first
                               priority security interest in and lien upon (i) the Additional Consultant
                               Goods and (ii) the Additional Consultant Goods proceeds (less any
                               Additional Consultant Goods Fee), and Consultant is hereby authorized to
                               file UCC financing statements and provide notifications to any prior
                               secured parties, including, but not limited to, the Secured Lenders.


                              The Debtors shall, at Consultant’s sole cost and expense, insure the
                               Additional Consultant Goods and, if required, promptly file any proofs of
                               loss with regard to same with the Debtors’ insurers. Consultant shall be
                               responsible for payment of any deductible (but only in relation to the


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                                       Additional Consultant Goods) under any such insurance in the event of any
                                       casualty affecting the Additional Consultant Goods.

   Debtors’ Indemnification   The Debtors shall indemnify and hold the Consultant and its affiliates, and their
   Obligations                respective officers, directors, employees, agents and independent contractors
                              (collectively, “Consultant Indemnified Parties”), harmless from and against all
                              claims, demands, penalties, losses, liability or damage, including, without limitation,
                              reasonable attorneys' fees and expenses, directly or indirectly asserted against,
                              resulting from, or related to:

                                                (a)     Debtors’ material breach or material failure of or failure
                                       to comply with any of its agreements, covenants, representations or
                                       warranties contained herein or in any written agreement entered into in
                                       connection herewith;

                                                 (b)      any failure of Debtors to pay to its employees any wages,
                                       salaries or benefits due to such employees during the Sale Term;

                                                 (c)     any consumer warranty or products liability claims
                                       relating to any Merchandise;

                                                (d)      any liability or other claims asserted by customers, any of
                                       Debtors’ employees, or any other person against any Consultant
                                       Indemnified Party (including, without limitation, claims by employees
                                       arising under collective bargaining agreements, worker's compensation or
                                       under the “WARN Act”); except where due to the negligence or willful
                                       misconduct of Consultant or from a breach of the terms hereof by
                                       Consultant;

                                                 (e)     any harassment or any other unlawful, tortious or
                                       otherwise actionable treatment of any employees, agents, or representatives
                                       of Consultant (including, without limitation, any Supervisors) by Debtors
                                       or any of Debtors’ employees, agents, or representatives (including, without
                                       limitation, any Debtors employees); and

                                                 (f)       the negligence or willful misconduct of Debtors or any of
                                       its officers, directors, employees, agents or representatives.

   Consultant                 The Consultant shall indemnify and hold Debtors and its affiliates, and their
   Indemnification            respective officers, directors, employees, agents, lenders and independent
   Obligations                contractors (collectively, “Debtors Indemnified Parties”), harmless from and against
                              all claims, demands, penalties, losses, liability or damage, including, without
                              limitation, reasonable attorneys’ fees and expenses, directly or indirectly asserted
                              against, resulting from, or related to:

                                                 (a)     Consultant’s material breach or material failure of or
                                       failure to comply with any of its agreements, covenants, representations or
                                       warranties contained herein or in any written agreement entered into in
                                       connection herewith;

                                                (b)      any harassment or any other unlawful, tortious or
                                       otherwise actionable treatment of any employees or agents of Debtors
                                       (including, without limitation, any Store Employees) by Consultant or any




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                                     of Consultant’s representatives (including, without limitation, any
                                     Supervisor);

                                             (c)       any claims by any party engaged by Consultant as an
                                     employee or independent contractor (including, without limitation, any
                                     Supervisor) arising out of such employment or engagement; except where
                                     due to the negligence or willful misconduct of Debtors or Debtors
                                     Indemnified Parties or from a breach of the terms hereof by Debtors; and

                                              (d)      the negligence or willful misconduct of Consultant or any
                                     of its officers, directors, employees, agents or representatives, or any
                                     Supervisor.




  II.     Store Closing Procedures.

          12.    In connection with and in facilitation of the ongoing conduct of the store closing

  sales, the Debtors further seek approval of the Store Closing Procedures, the form and substance

  of which are consistent with the procedures utilized by debtors in this and many other jurisdictions

  in connection with the similar such store closing processes.

          13.    As is customary, the Store Closing Procedures provide, among other things,

  that: (a) all sales of Store Assets will be deemed free and clear of all liens, claims, interests, and

  other encumbrances; (b) the Merchandise and the M&E (as each term is defined in the Consulting

  Agreement) will be sold with the benefit of various marketing techniques and price markdowns to

  promote efficient liquidation; and (c) certain unsold M&E and other Store assets that cannot be

  promptly liquidated may be abandoned if and when the Debtors determine, in their business

  judgment, that retaining, storing, or removing such assets would result in unnecessary expense

  with little or no benefit to the estates. The Debtors seek approval of the Store Closing Procedures

  to, among other things, provide local regulatory authorities and media in which the Store Closings

  may be advertised with knowledge that the Debtors are conducting the Store Closings in

  compliance with the Court’s order.




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          14.    The Debtors also respectfully request a waiver of any contractual restrictions that

  could otherwise inhibit or prevent the Debtors from maximizing value for creditors through the

  Store Closings. In certain cases, the contemplated Store Closings may be inconsistent with various

  provisions of leases, subleases, or other documents with respect to the premises in which the

  Debtors operate, including, without limitation, reciprocal easement agreements, agreements

  containing covenants, conditions, and restrictions (including, without limitation, “go dark”

  provisions and landlord recapture rights), or other similar documents or provisions.             Such

  restrictions, unless waived, would hamper the Debtors’ ability to maximize value in selling their

  inventory.

          15.    As set forth in the Store Closing Procedures, the Debtors also request that no entity,

  including, without limitation, utilities, landlords, shopping center managers and personnel,

  creditors, and all persons acting for or on the behalf of the foregoing parties shall interfere with or

  otherwise impede the conduct of the Store Closings, nor institute any action against the Debtors in

  any court (other than this Court) or before any administrative body that in any way directly or

  indirectly interferes with, obstructs, or otherwise impedes the conduct of the Store Closings or the

  advertising and promotion (including through the posting of signs) of the Store Closings.

          16.    The Debtors have determined, in the exercise of their business judgment and in

  consultation with their advisors, that the Store Closing Procedures will provide the best, most

  efficient, and most organized means of selling the Merchandise and the M&E to maximize the

  value of the Debtors’ estates. The Debtors intend to facilitate the Store Closings using current

  personnel at no increased cost (except as set forth herein), and estimate that, with perhaps a few

  exceptions, the Stores Closings will be completed by no later than April 30, 2020, with May 31,

  2020 being the outside Sale Termination Date at locations that the Debtors (in consultation with



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  their secured lenders) and the Consultant agree generate a net positive return by continuing in the

  month of May 2020.

  III.    Liquidation Sale Laws and Dispute Resolution Procedures.

          17.    Certain states in which the Debtors operate stores have or may have licensing or

  other requirements governing the conduct of store closing, liquidation, or other inventory clearance

  sales, including, without limitation, state and local laws, statutes, rules, regulations, and ordinances

  (the “Liquidation Sale Laws”). Liquidation Sale Laws may establish licensing, permitting, or

  bonding requirements, waiting periods, time limits, and bulk sale restrictions and augmentation

  limitations that would otherwise apply to the Store Closings. Such requirements hamper the

  Debtors’ ability to maximize value in selling their inventory. Subject to the Court’s approval, the

  Debtors intend to conduct the Store Closings in accordance with the Store Closing Procedures, and

  to the extent such procedures conflict with the Liquidation Sale Laws, the Store Closing

  Procedures should control.

          18.    To facilitate the orderly resolution of any disputes between the Debtors and any

  Governmental Units (as defined in section 101(27) of the Bankruptcy Code) arising due to the

  Store Closing Procedures and the alleged applicability of any Liquidation Sale Laws, the Debtors

  respectfully request that the Bankruptcy Court authorize the Debtors to implement the following

  dispute resolution procedures (the “Dispute Resolution Procedures”), on an interim and final basis:

                 a.      Provided that the Store Closings are conducted in accordance with the terms
                         of the Interim Order or the Final Order, as applicable, and the Store Closing
                         Procedures, and in light of the provisions in the laws of many Governmental
                         Units (as defined in the Bankruptcy Code) that exempt court-ordered sales
                         from their provisions, the Debtors will be presumed to be in compliance
                         with any Liquidation Sale Laws and are authorized to conduct Store
                         Closings in accordance with the terms of the Interim Order or the Final
                         Order, as applicable, and the Store Closing Procedures without the necessity
                         of further showing compliance with any such Liquidation Sale Laws.



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                b.   Within three business days after entry of the Interim Order, the Debtors will
                     serve by email, facsimile, or first-class mail, copies of the Interim Order,
                     the proposed Final Order and the Store Closing Procedures on the
                     following: (i) the landlords for the Stores; (ii) the Attorney General’s office
                     for each state in which the Store Closings are being held; (iii) the county
                     consumer protection agency or similar agency for each county in which the
                     Store Closings are being held; (iv) the division of consumer protection for
                     each state in which the Store Closings are being held; (v) the chief legal
                     counsel for each local jurisdiction in which the Store Closings are being
                     held (collectively, the “Dispute Notice Parties”).

                c.   With respect to any additional Stores, within three business days after Court
                     authorization to close additional stores (each, an “Additional Closing Store
                     List”), the Debtors will serve by email, facsimile, or first-class mail, copies
                     of the Interim Order or Final Order, as applicable, and the Store Closing
                     Procedures on the Dispute Notice Parties. To the extent that there is a
                     dispute arising from or relating to the Sales, the Interim Order, or the
                     proposed Final Order, as applicable, the Store Closing Procedures, which
                     dispute relates to any Liquidation Sale Laws (a “Reserved Dispute”), the
                     Court shall retain exclusive jurisdiction to resolve the Reserved Dispute.
                     Any time within ten days following entry of the Interim Order or service of
                     any Additional Closing Store List, as applicable, any Governmental Unit
                     may assert that a Reserved Dispute exists by sending a notice (the “Dispute
                     Notice”) explaining the nature of the dispute to: (a) proposed counsel to the
                     Debtors, Benesch, Friedlander, Coplan & Aronoff LLP, 222 Delaware
                     Avenue, Suite 801, Wilmington, Delaware 19801, Attn: Gregory
                     Werkheiser, Michael J. Barrie, Jennifer R. Hoover, Kevin M. Capuzzi, and
                     John C. Gentile; (b) proposed special counsel to the Debtors, Montgomery
                     McCracken Walker & Rhoads LLP, 437 Madison Avenue, New York, NY
                     10022, Attn. Maura I. Russell; (c) the Office of The United States Trustee,
                     844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801,
                     Attn: Linda Richenderfer; (d) counsel to the administrative agent under the
                     Debtors' ABL loan facilities (i) Morgan, Lewis & Bockius LLP, One
                     Federal Street, Boston, Massachusetts 02110, Attn: Marjorie S. Crider, (ii)
                     Morgan, Lewis & Bockius LLP, 101 Park Avenue, New York, New York
                     10178, Attn: Jennifer Feldsher, and (iii) Burr & Forman LLP, 1201 N.
                     Market Street, Wilmington, Delaware 19801, Attn: J. Cory Falgowski; (e)
                     lead counsel to the Consultant, Riemer & Braunstein LLP, Times Square
                     Tower, Seven Times Square, Suite 2506, New York, New York 10036,
                     Attn: Steven E. Fox; (f) counsel to the Prepetition Term Loan Agent,
                     Greenberg Traurig, LLP, One International Place, Suite 2000, Boston, MA
                     02110, Attn: Jeffrey M. Wolf; and (g) counsel to any statutory committee
                     appointed in these chapter 11 cases. If the Debtors and the Governmental
                     Unit are unable to resolve the Reserved Dispute within 15 days after service
                     of the Dispute Notice, the Governmental Unit may file a motion with the
                     Court requesting that the Bankruptcy Court resolve the Reserved Dispute (a
                     “Dispute Resolution Motion”).

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                d.      In the event that a Dispute Resolution Motion is filed, nothing in the Interim
                        Order or the Final Order, as applicable, shall preclude the Debtors, a
                        landlord, or any other interested party from asserting (i) that the provisions
                        of any Liquidation Sale Laws are preempted by the Bankruptcy Code, or
                        (ii) that neither the terms of the Interim Order or the Final Order nor the
                        conduct of the Debtors pursuant to the Interim Order or the Final Order
                        violates such Liquidation Sale Laws. Filing a Dispute Resolution Motion
                        as set forth herein shall not be deemed to affect the finality of the Interim
                        Order or the Final Order or to limit or interfere with the Debtors’ ability to
                        conduct or to continue to conduct the Store Closings pursuant to the Interim
                        Order or the Final Order, absent further order of the Court. Upon the entry
                        of the Interim Order or the Final Order, as applicable, the Court grants
                        authority for the Debtors to conduct the Store Closings pursuant to the
                        terms of the Interim Order or the Final Order, as applicable, the Store
                        Closing Procedures and to take all actions reasonably related thereto or
                        arising in connection therewith. The Governmental Unit will be entitled to
                        assert any jurisdictional, procedural, or substantive arguments it wishes
                        with respect to the requirements of its Liquidation Sale Laws or the lack of
                        any preemption of such Liquidation Sale Laws by the Bankruptcy Code.
                        Nothing in the Interim Order or the Final Order will constitute a ruling with
                        respect to any issues to be raised in any Dispute Resolution Motion.

                e.      If, at any time, a dispute arises between the Debtors and a Governmental
                        Unit as to whether a particular law is a Liquidation Sale Law, and subject
                        to any provisions contained in the Interim Order or the Final Order related
                        to the Liquidation Sale Laws, then any party to that dispute may utilize the
                        provisions of subparagraphs (c) and (d) above by serving a notice to the
                        other party and proceeding thereunder in accordance with those
                        subparagraphs. Any determination with respect to whether a particular law
                        is a Liquidation Sale Law shall be made de novo.

  IV.     Fast Pay Laws.

          19.   Many states in which the Debtors operate have laws and regulations that require the

  Debtors to pay an employee contemporaneously with his or her termination (the “Fast Pay Laws”

  and, together with the Liquidation Sale Laws, the “Applicable State Laws”). These laws often

  require payment to occur immediately or within a period of only a few days from the date such

  employee is terminated.

          20.   The nature of the Store Closings contemplated by this Motion will result in a

  substantial number of employees being terminated at or near the end of the Store Closings. To be


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  clear, the Debtors intend to pay their terminated employees as expeditiously as possible, under

  normal payment procedures, and pursuant to applicable Court order.7 Moreover, the Debtors’

  approved Cash Collateral Budget expressly contemplates the payment of employee wages in the

  ordinary course during the Store Closings. The Debtors therefore believe that their current systems

  will allow their employees to be paid expeditiously and in accordance with any Applicable State

  Laws. However, given the number of employees who will likely be terminated during the Store

  Closings, the Debtors request a waiver of compliance with the Applicable State Laws to the extent

  that the Debtors’ payroll systems limit their ability to so comply.

  V.       Store Closing Bonus Plan.

           21.      Through this Motion, the Debtors are requesting the authority, but not the

  obligation, to pay bonuses (the “Store Closing Bonuses”) to store-level non-insider employees at

  the Closing Stores who remain in the employ of the Debtors during the Store Closings (the “Store

  Closing Bonus Plan”). The Debtors believe that the Store Closing Bonus Plan will motivate

  employees during the Store Closings and will enable the Debtors to retain those employees

  necessary to successfully complete the Store Closings.

           22.      The amount of the bonuses offered under the Store Closing Bonus Plan will vary

  depending upon a number of factors, including the employee’s position with the Debtors and the

  performance of the Closing Stores in which the relevant employees work.

           23.      The Debtors will set the amounts of the Store Closing Bonuses and eligible

  employees in consultation with the Consultant, who typically utilizes such bonuses to retain




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       The Debtors are seeking such relief pursuant to the Debtors’ Motion Seeking Entry of Interim and Final Orders
       (I) Authorizing, but not Directing, the Debtors to (A) Pay Prepetition Employee Wages, Salaries, Other
       Compensation, and Reimbursable Employee Expenses and (B) Continue Employee Benefits Programs and (II)
       Granting Related Relief, (the “Wages Motion”) filed contemporaneously herewith.


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  employees and incentivize higher recoveries during store closing sales and are well-acquainted

  with optimal methods for designing such bonus plans.8

           24.      The total aggregate cost of the Store Closing Bonus Plan will also vary depending

  on how many Closing Stores are ultimately closed. If the Debtors were to close every Closing

  Store, the aggregate amount of Store Closing Bonuses paid will be not more than approximately

  $600,000, assuming one hundred percent of the performance targets were met during the Store

  Closings at every Closing Store.

           25.      Providing such non-insider bonus benefits is critical to ensuring that key employees

  that will be affected by the reduction in the Debtors’ work force due to the Store Closings will

  continue to provide critical services to the Debtors during the ongoing Store Closing process. For

  the avoidance of doubt, the Debtors do not propose to make any payment on account of Store

  Closing Bonuses to any insiders.

           26.      Accordingly, the Debtors respectfully submit that the Store Closing Bonus Plan is

  in the best interests of their estates and request that the Court authorize the payments under the

  Store Closing Bonus Plan as a sound exercise of their business judgment.


                                                   Basis for Relief

  I.        The Debtors Have a Valid Business Justification for the Store Closings.

           27.      Section 363(b)(1) of the Bankruptcy Code, which governs asset sales outside of a

  debtor’s ordinary course of business, provides that “the trustee, after notice and a hearing, may

  use, sell, or lease, other than in the ordinary course of business, property of the estate.”

  11 U.S.C. § 363(b)(1). When selling assets outside of the ordinary course of business, a debtor



  8
       The final terms of the Store Closing Bonus Plan are still being formulated in consultation with the Consultant.


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  must articulate a valid business justification to obtain court approval. See, e.g., Myers v. Martin

  (In re Martin), 91 F.3d 389, 395 (3d Cir. 1996) (citation omitted); In re Abbotts Dairies, Inc., 788

  F.2d 143, 147-48 (3d Cir. 1986) (implicitly adopting the “sound business judgment” test of Comm.

  of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1070-71 (2d Cir.

  1983)); In re Delaware & Hudson Ry, Co., 124 B.R. 169, 175–76 (D. Del. 1991) (concluding that

  the Third Circuit adopted the “sound business judgment” test in the Abbotts Dairies decision).

  When a debtor demonstrates a valid business justification for a decision, a strong presumption

  arises “that in making [the] business decision the directors of a corporation acted on an informed

  basis, in good faith and in the honest belief that the action taken was in the best interests of the

  company.” Official Comm. of Subordinated Bondholders v. Integrated Res., Inc. (In re Integrated

  Res., Inc.), 147 B.R. 650, 656 (S.D.N.Y. 1990) (holding that the Delaware business judgment rule

  has “vitality by analogy” in chapter 11 cases, especially where the debtor is a Delaware

  corporation).

          28.     Store closing or liquidation sales are a routine occurrence in chapter 11 cases

  involving retail debtors. See, e.g., Ames Dept. Stores, 136 B.R. at 359 (noting that liquidation sales

  are an important part of “overriding federal policy requiring [a] Debtor to maximize estate assets”).

  As such, bankruptcy courts in this jurisdiction have approved similar store closing sales. See, e.g.,

  In re Destination Maternity Corporation, No. 19-12256 (BLS) (Bankr. D. Del. Nov. 14, 2019); In

  re Fred’s Inc., No. 19-11984 (CSS) (Bankr. D. Del. Sept. 27, 2019); In re Z Gallerie, LLC,

  No. 19-10488 (LSS) (Bankr. D. Del. Apr. 9, 2019); In re Things Remembered, Inc., No. 19-10234




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  (KG) (Bankr. D. Del. Feb. 28, 2019); In re Charming Charlie Holdings, Inc., No. 17-12906 (CSS)

  (Bankr. D. Del. Jan. 13, 2017).9

          29.      Sufficient business justification exists to approve the proposed Store Closings

  under section 363(b)(1) of the Bankruptcy Code. The Debtors, with the assistance of their

  advisors, have determined that the Store Closings represent the best alternative to maximize

  recoveries to the Debtors’ estates with respect to the Merchandise and the M&E and provide the

  Debtors with much-needed liquidity. There are meaningful amounts of Merchandise, in the

  aggregate, that will be monetized most efficiently and quickly through an orderly process

  conducted in consultation with an experienced liquidation firm. Further, delay in commencing the

  Store Closings would diminish the recovery tied to monetization of the Merchandise and the M&E

  for several important reasons. Many of the Closing Stores fail to generate positive cash flow and

  therefore are a significant drain on liquidity. As such, the Debtors will realize an immediate benefit

  in terms of financial liquidity upon the sale of the Merchandise and the M&E and the termination

  of operations at the Closing Stores. Further, uninterrupted and orderly Store Closings will allow

  the Debtors to timely reject leases associated with the Closing Stores and, therefore, avoid the

  accrual of unnecessary administrative expenses for rent and related costs. Suspension of the Store

  Closings until entry of the Final Order may cause the Debtors to incur claims for rent at many of

  these stores, creating a further drain on the Debtors’ liquidity.

          30.      Courts in this district and courts in other jurisdictions have approved sale guidelines

  in chapter 11 cases on an interim basis. Importantly, a number of courts have granted retail debtors

  first day authority to implement such procedures.                 See, e.g., In re Destination Maternity



  9
      Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
      Copies of these orders are available upon request to the Debtors’ proposed counsel.


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  Corporation, No. 19-12256 (BLS) (Bankr. D. Del. Oct. 22, 2019) (approving procedures on an

  interim basis); In re Fred’s, Inc., No. 19-11984 (CSS) (Bankr. D. Del. Sept. 11, 2019) (same); In

  re Z Gallerie, LLC, No. 19-10488 (LSS) (Bankr. D. Del. Mar. 15, 2019) (same); In re Things

  Remembered, Inc., No. 19-10234 (KG) (Bankr. D. Del. Feb. 7, 2019) (same) (In re Payless

  Holdings LLC, No. 17-42267 (E.D. Mo. April 7, 2017) (same).

  II.     The Court Should Approve the Sale of the Merchandise
          and the M&E Free and Clear of all Liens, Encumbrances,
          and Other Interests Under Bankruptcy Code Section 363(f).

          31.    The Debtors request approval to sell the Merchandise and the M&E on a final “as

  is” basis, free and clear of any and all liens, claims, and encumbrances in accordance with

  section 363(f) of the Bankruptcy Code.         A debtor in possession may sell property under

  sections 363(b) and 363(f) “free and clear of any interest in such property of an entity other than

  the estate” if any one of the following conditions is satisfied: (a) applicable non-bankruptcy law

  permits sale of such property free and clear of such interest; (b) such entity consents; (c) such

  interest is a lien and the price at which such property is to be sold is greater than the aggregate

  value of all liens on such property; (d) such interest is in bona fide dispute; or (e) such entity could

  be compelled, in a legal or equitable proceeding, to accept a money satisfaction of such interest.

  11 U.S.C. § 363(f); see also Citicorp Homeowners Servs., Inc. v. Elliot (In re Elliot), 94 B.R. 343,

  345 (E.D. Pa. 1988) (noting that since section 363(f) is written in the disjunctive, the court may

  approve a sale free and clear if any one subsection is met). Moreover, the Third Circuit has

  indicated that a debtor possesses broad authority to sell assets free and clear of liens. See In re

  TWA Inc., 322 F.3d 283, 289 (3d Cir. 2003).

          32.    Although the term “any interest” is not defined in the Bankruptcy Code, the Third

  Circuit has noted that the trend in modern cases is toward “a broader interpretation which includes



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  other obligations that may flow from ownership of the property.” Folger Adam Security, Inc. v.

  DeMatteis/MacGregor, JV, 209 F.3d 252, 258–59 (3d Cir. 2000). As the Fourth Circuit held in In

  re Leckie Smokeless Coal Co., 99 F.3d 573, 581–82 (4th Cir. 1996) (cited with approval by the

  Third Circuit in Folger Adam), the scope of section 363(f) is not limited to in rem interests in a

  debtor’s assets. Thus, a debtor can sell its assets under section 363(f) “free and clear of successor

  liability that otherwise would have arisen under federal statute.” Folger Adam, 209 F.3d at 258.

          33.     With respect to any other party asserting a lien, claim, or encumbrance against the

  Merchandise and the M&E, the Debtors anticipate that they will be able to satisfy one or more of

  the conditions set forth in section 363(f). In connection with the sale of the Merchandise and the

  M&E , the Debtors propose that any liens, claims, and encumbrances asserted against the

  Merchandise and the M&E be transferred to and attach to the amounts earned by the Debtors

  under the Store Closings with the same force, effect, and priority as such liens currently have on

  the Merchandise and the M&E .

  III.    The Court Should Waive Compliance with Applicable
          State Laws and Approve the Dispute Resolution Procedures

          34.     The Debtors’ ability to conduct the Store Closings in accordance with the Store

  Closing Procedures and without strict compliance with all Applicable State Laws is critical to the

  Store Closings’ success. Although the Debtors intend to comply with state and local health and

  safety laws and consumer protection laws in conducting the Store Closings, many Liquidation Sale

  Laws require special and cumbersome licenses, waiting periods, time limits, and other procedures

  for store closing, liquidation, or similar sales.

          35.     To eliminate the time, delay, and expense associated with the administrative

  procedures necessary to comply with the Applicable State Laws, the Debtors propose the Store

  Closing Procedures as a way to streamline the administrative burdens on their estates while still


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  adequately protecting the broad and varied interests of both landlords and applicable governmental

  agencies charged with enforcing any Liquidation Sale Laws that may apply to the Store Closings.

  As such, the Debtors believe the Store Closing Procedures mitigate any concerns that their

  landlords or governmental agencies may raise with respect to the Store Closings and, therefore,

  the requested relief is in compliance with any applicable Liquidation Sale Laws.

          36.     The Debtors submit that there is strong support for granting them the authority to

  not comply with the Liquidation Sale Laws. First, it is generally accepted that many state statutes

  and regulations provide that, if a liquidation or bankruptcy sale is court-authorized, a company

  need not comply with the Liquidation Sale Laws. See, e.g., Ark. Code Ann. § 4-74-103 (exempting

  from the provisions of the chapter sales pursuant to any court order); Fla. Stat. Ann. 559.25(2)

  (same); Ga. Code Ann. § 10-1-393(b)(24)(C)(iv) (same); 815 ILCS 350/3 (same); La. Rev. Stat.

  Ann. § 51:43(1) (same); N.Y. Gen. Bus. Law § 584(a) (same); Or. Rev. Stat. Ann.

  § 646A.100(2)(b) (“‘Going out of business sale’ does not include a sale conducted by a bankruptcy

  trustee.”); Tex. Bus. & Com. Code Ann. § 17.91(3) (exempting from subchapter sales conducted

  pursuant to court order). Second, pursuant to section 105(a) of the Bankruptcy Code, the Court

  has the authority to permit the Store Closings to proceed notwithstanding contrary Applicable State

  Laws as it is essential to maximize the value of the Debtors’ business. Third, this Court will be

  able to supervise the Store Closings because the Debtors and their assets are subject to this Court’s

  exclusive jurisdiction. See 28 U.S.C. § 1334. As such, creditors and the public interest are

  adequately protected by notice of this Motion and the ongoing jurisdiction and supervision of the

  Court because the Debtors are only seeking interim relief at the outset of these cases, and parties

  in interest will be able to raise any further issues at the final hearing.




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          37.    Further, bankruptcy courts have consistently recognized, with limited exception,

  that federal bankruptcy law preempts state and local laws that contravene the underlying policies

  of the Bankruptcy Code. See Belculfine v. Aloe (In re Shenango Group. Inc.), 186 B.R. 623, 628

  (Bankr. W.D. Pa. 1995) (“Trustees and debtors-in-possession have unique fiduciary and legal

  obligations pursuant to the bankruptcy code. . . . [A] state statute [] cannot place burdens on [a

  debtor] where the result would contradict the priorities established by the federal bankruptcy

  code.”), aff’d, 112 F.3d 633 (3d Cir. 1997).

          38.    Courts in some jurisdictions have found that preemption of state law is not

  appropriate if the laws deal with public health and safety. See Baker & Drake. Inc. v. Pub. Serv.

  Comm’n of Nev. (In re Baker & Drake. Inc.), 35 F.3d 1348, 1353–54 (9th Cir. 1994) (holding that

  Bankruptcy Code did not preempt state law prohibiting taxicab leasing that was promulgated in

  part as public safety measure). However, preemption is appropriate where, as is the case here, the

  only state laws involved concern economic regulation rather than the protection of public health

  and safety. See In re Baker & Drake. Inc., 35 F.3d at 1353 (finding that “federal bankruptcy

  preemption is more likely . . . where a state statute is concerned with economic regulation rather

  than with protecting the public health and safety”).

          39.    Under the circumstances of these chapter 11 cases, enforcing the strict requirements

  of the Liquidation Sale Laws would undermine the fundamental purpose of section 363(b) of the

  Bankruptcy Code by placing constraints on the Debtors’ ability to maximize estate assets for the

  benefit of creditors. Accordingly, authorizing the Store Closings without the delays and burdens

  associated with obtaining various state and local licenses, observing state and local waiting periods

  or time limits, and/or satisfying any additional requirements with respect to advertising and similar

  items is necessary and appropriate. The Debtors do not seek a general waiver of all state and local



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  law requirements, but only those that apply specifically to retail liquidation sales. Indeed, the

  requested waiver is narrowly tailored to facilitate the successful consummation of the Store

  Closings. Moreover, the Debtors will comply with applicable state and local public health and

  safety laws, and applicable tax, labor, employment, environmental, and consumer protection laws,

  including consumer laws regulating deceptive practices and false advertising. Finally, the Dispute

  Resolution Procedures provide an ordered means for resolving any disputes arising between the

  Debtors and any Governmental Units with respect to the applicability of any Liquidation Sale

  Laws, and should therefore be approved.

          40.    Further, this Court has recognized that the Bankruptcy Code preempts certain state

  laws and have granted relief similar to that requested herein. See, e.g., In re Coldwater Creek,

  No. 14-10867 (BLS) (Bankr. D. Del. May 7, 2014) (stating that debtors were authorized to conduct

  store closing sales under the terms of the order “without the necessity of further showing

  compliance” with liquidation laws); In re Boscov’s, No. 08-11637 (KG) (Bankr. D. Del. Aug. 15,

  2008) (ordering that “[g]overnmental units shall not fine, assess or otherwise penalize Debtors or

  Agent (or any of the landlords of the Closing Stores) for conducting or advertising the Sales in a

  manner inconsistent with Liquidation Sales Laws, provided that the Sales are conducted and

  advertised in compliance with this Order”); In re Goody’s Family Clothing, Inc., No. 08-11133

  (CSS) (Bankr. D. Del. June 13, 2008) (ordering that the “Store Closing Sales at the Closing Stores

  shall be conducted by the Debtors and the Store Closing Agent without the necessity of compliance

  with any federal, state or local statute or ordinance, lease provision or licensing requirement

  affecting store closing, ‘going out of business’, liquidation or auction sales, or affecting

  advertising, including signs, banners, and posting of signage, other than Safety Laws and General

  Laws”).



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  IV.     The Court Should Waive Compliance with any Restriction
          in the Leases and Approve the Store Closing Procedures

          41.    Certain of the Debtors’ leases governing the premises of the stores subject to any

  Store Closings may contain provisions purporting to restrict or prohibit the Debtors from

  conducting store closing, liquidation, or similar sales. Such provisions have been held to be

  unenforceable in chapter 11 cases as they constitute an impermissible restraint on a debtor’s ability

  to properly administer its reorganization case and maximize the value of its assets under

  section 363 of the Bankruptcy Code. See Ames Dep’t Stores, 136 B.R. at 359 (deciding that

  enforcement of such lease restrictions would “contravene overriding federal policy requiring

  debtor to maximize estate assets. . . .”); In re R. H., Macy and Co. Inc., 170 B.R. 69, 73–74 (Bankr.

  S.D.N.Y. 1994) (holding that the lessor could not recover damages for breach of a covenant to

  remain open throughout the lease term, because the debtor had a duty to maximize the value to the

  estate and the debtor fulfilled this obligation by holding a store closing sale and closing the store);

  In re Tobago Bay Trading Co., 112 B.R. 463, 467-68 (Bankr. N.D. Ga., 1990) (finding that a

  debtor’s efforts to reorganize would be significantly impaired to the detriment of creditors if lease

  provisions prohibiting a debtor from liquidating its inventory were enforced); In re Lisbon Shops,

  Inc., 24 B.R. 693, 695 (Bankr. E.D. Mo. 1982) (holding restrictive lease provision unenforceable

  in chapter 11 case where debtor sought to conduct a liquidation sale).

          42.    This Court has long held that restrictive lease provisions affecting store liquidation

  sales in chapter 11 cases are unenforceable. See, e.g., In re Destination Maternity Corporation,

  No. 19-12256 (BLS) (Bankr. D. Del. Oct. 22, 2019) (ordering “the sale of the Store Closure Assets

  shall be conducted by the Debtors and the Consultant notwithstanding any restrictive provision of

  any lease, sublease, license, reciprocal easement agreement, restrictive covenant, or other

  agreement relative to occupancy affecting or purporting to restrict the conduct of the Store


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  Closings or the Sales”); In re Coldwater Creek, Case No. 14-10867 (BLS) (Bankr. D. Del. May 7,

  2014) (ordering that store closing sales be conducted without the further need for compliance with,

  among other things, lease provisions); In re Boscov’s, Case No. 08-11637 (KG) (Bankr. D. Del.

  Aug. 15, 2008) (same); In re Goody’s Family Clothing, Inc., Case No. 08-11133 (CSS) (Bankr. D.

  Del. June 13, 2008) (same); In re Linens Holding Co., Case No. 08-10832 (CSS) (Bankr. D. Del.

  May 30, 2008) (same).

          43.    Thus, to the extent that such provisions or restrictions exist in any of the leases of

  the stores subject to the Store Closings, the Debtors request that the Court authorize the Debtors

  conduct the Store Closings without reference to any such restrictive provisions or interference by

  any landlords or other persons affected, directly or indirectly, by the Store Closings.

  V.      The Court Should Approve the Abandonment of Certain Property
          in Connection with Any Liquidation Sales and Lease Rejections

          44.    After notice and a hearing, a debtor “may abandon any property of the estate that

  is burdensome to the estate or that is of inconsequential value and benefit to the estate.” 11 U.S.C.

  § 554(a); see also Hanover Ins. Co. v. Tyco Indus., Inc., 500 F.2d 654, 657 (3d Cir. 1974) (stating

  that a trustee “may abandon his claim to any asset, including a cause of action, he deems less

  valuable than the cost of asserting that claim”).

          45.    The Debtors are seeking to sell all M&E remaining in the Closing Stores. However,

  the Debtors may determine that the costs associated with holding or selling certain property or

  M&E exceeds the proceeds that will be realized upon its sale or that such property is not sellable

  at all. In such event, the property is of inconsequential value and benefit to the estates and/or may

  be burdensome to retain.

          46.    To maximize the value of the Debtors’ assets and to minimize the costs to the

  estates, the Debtors respectfully request authority to abandon any of their remaining M&E or other


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  property located at any of the Closing Stores without incurring liability to any person or entity.

  The Debtors further request that the landlord of each Closing Store with any abandoned M&E or

  other property be authorized to dispose of such property without liability to any third parties.

          47.     Notwithstanding the foregoing, the Debtors will utilize all commercially reasonable

  efforts to remove or cause to be removed any confidential or personal identifying information

  (which means information that, alone or in conjunction with other information, identifies an

  individual, including, but not limited to, an individual’s name, social security number, date of birth,

  government-issued identification number, account number, and credit or debit card number) in any

  of the Debtors’ hardware, software, computers, or cash registers or similar equipment that are to

  be sold or abandoned.

  VI.     The Store Closing Bonus Plan Is a Sound Exercise of the
          Debtors’ Business Judgment and Should Be Approved

          48.     Section 363 of the Bankruptcy Code provides, in relevant part, that “[t]he [debtor],

  after notice and a hearing, may use, sell, or lease, other than in the ordinary course of business,

  property of the estate.” 11 U.S.C. § 363(b)(1). Under this section, a court may authorize a debtor

  to use property of the estate when such use has a “sound business purpose” and when the use of

  the property is proposed in good faith. See In re W.A. Mallory Co., 214 B.R. 834, 836 (Bankr.

  E.D. Va. 1997); In re WBQ P’ship, 189 B.R. 97, 102 (Bankr. E.D. Va. 1995).

          49.     Courts generally require a debtor to demonstrate that a valid business purpose exists

  for the use of estate property in a manner that is outside the ordinary course of business. See, e.g.,

  In re Lionel Corp., 722 F.2d 1063, 1070–71 (2d Cir. 1983). The debtor’s articulation of a valid

  business justification raises a presumption that the debtor’s decision was made on an informed

  basis, in good faith, and with the honest belief that the action is in the best interest of the company.

  See In re Integrated Res., Inc., 147 B.R. 650, 656 (Bankr. S.D.N.Y. 1992). Furthermore, once “the


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  debtor articulates a reasonable basis for its business decisions (as distinct from a decision made

  arbitrarily or capriciously), courts will generally not entertain objections to the debtor’s conduct.”

  In re Johns-Manville Corp., 60 B.R. 612, 616 (Bankr. S.D.N.Y. 1986). The business judgment

  rule shields a debtor’s management from judicial second-guessing. See Integrated Res., 147 B.R.

  at 656; Johns-Manville, 60 B.R. at 615–16 (noting that “the Code favors the continued operation

  of a business by a debtor and a presumption of reasonableness attaches to a debtor’s management

  decisions”). Thus, if a debtor’s actions satisfy the business judgment rule, then the actions in

  question should be approved under section 363(b)(1) of the Bankruptcy Code.

          50.    In this case, the Store Closing Bonus Plan is a sound exercise of the Debtors’

  business judgment and is in the best interests of the Debtors and their estates. The store

  employees—along with their skills, knowledge, and hard work—are more critical now than ever.

  Through their commitment and performance, they can ensure that the Debtors continue to

  maximize stakeholder value in a challenging economic environment and at a time when those

  employees’ positions will soon be terminated.

          51.    Additionally, the total cost of the Store Closing Bonus Plan is reasonable in light

  of competitive market practice and involves compensation structures often used in other

  restructuring situations to incentivize employees to continue optimal performances despite the

  added stress inherent in the chapter 11 process.

          52.    The Store Closing Bonus Plan is comparable to employee incentive plans regularly

  paid as “expenses of sale” by liquidating agents in other “store closing” and similar-themed sales.

  As in those other instances, the specific Store Closing Bonus Plan here was devised with the input

  of the Consultant based on its views of maximizing the sale process and recoveries for creditors.




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  As such, courts have approved incentive payments similar to those contemplated by the Store

  Closing Bonus Plan. See, e.g., In re Destination Maternity Corporation, No. 19-12256 (BLS)

  (Bankr. D. Del. Nov. 14, 2019) (authorizing store closing retention bonus program on a final basis);

  In re Z Gallerie, LLC, No. 19-10488 (LSS) (Bankr. D. Del. Apr. 9, 2019) (same); In re Toys “R”

  Us, Inc., No. 17- (Bankr. E.D. Va. Feb. 6, 2018) (same); In re rue21, Inc., No. 17-22045 (GLT)

  (Bankr. W.D. Pa. June 12, 2017) (same); In re Payless Holdings LLC, No. 17-42267 (KAS)

  (Bankr. E.D. Mo. May 9, 2017) (same).

          53.    The Debtors respectfully submit that the Store Closing Bonus Plan is a sound

  exercise of the Debtors’ business judgment and should be approved pursuant to section 363 of the

  Bankruptcy Code as in the best interests of the Debtors, their estates, and all parties in interest in

  these chapter 11 cases.

  VII.    The Court Should Authorize the Assumption of the Consulting Agreement.

          54.    Section 365(a) of the Bankruptcy Code provides, in pertinent part, that a debtor in

  possession “subject to the court’s approval, may assume or reject any executory contract . . . of the

  debtor.” The standard governing bankruptcy court approval of a debtor’s decision to assume or

  reject an executory contract is whether the debtor’s reasonable business judgment supports such

  assumption or rejection. See, e.g., In re HQ Glob. Holdings, Inc., 290 B.R. 507, 511 (Bankr. D.

  Del. 2003) (finding that debtor’s decision to assume or reject an executory contract is governed by

  the business judgment standard, and that such decision may only be overturned if found to be a

  product of bad faith, whim, or caprice); see also In re Market Square Inn Inc., 978 F.2d 116, 121

  (3d Cir. 1992) (finding that assumption or rejection of lease “will be a matter of business judgment

  by the bankruptcy court”).

          55.    The business judgment test “requires only that the trustee [or debtor in possession]

  demonstrate that [assumption] or rejection of the contract will benefit the estate.”

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  Wheeling-Pittsburgh Steel Corp. v. West Penn Power Co. (In re Wheeling-Pittsburgh Steel Corp.),

  72 B.R. 845, 846 (Bankr. W.D. Pa. 1987).           Any more exacting scrutiny would slow the

  administration of the debtor’s estate and increase costs, interfere with the Bankruptcy Code’s

  provision for private control of administration of the estate, and threaten the court’s ability to

  control a case impartially. See Richmond Leasing Co. v. Capital Bank, 762 F.3d 1301, 1311 (5th

  Cir. 1985).

          56.    Assumption of the Consulting Agreement is beneficial to the Debtors’ estates, and,

  therefore, is a reasonable exercise of the Debtors’ business judgment. In consultation with their

  advisors, the Debtors have determined that the stores to be closed are unduly burdensome, and the

  Merchandise and the M&E should be liquidated for the benefit of the Debtors’ estates and their

  creditors. The Store Closings are already in progress. The Debtors determined that entering into

  the Consulting Agreement, after engaging in extensive negotiations with the Consultant and their

  prepetition lenders, will provide the greatest return to the Debtors’ estates for the Merchandise and

  the M&E. The Debtors believe, in their business judgment, that the terms set forth in the

  Consulting Agreement constitute the best available alternative for the conduct of the Store

  Closings and Sales.

          57.    The Consultant has extensive expertise in conducting liquidation sales and can

  oversee and assist in the management and implementation of the Store Closings in an efficient and

  cost-effective manner. Assumption of the Consulting Agreement will enable the Debtors to utilize

  the skills and resources of the Consultant to effectively and efficiently conduct the Store Closings

  for the benefit of all stakeholders. Given the number of stores and the particular issues in

  administering the Store Closings, the Debtors may not be able to retain a liquidator able to conduct

  the process as efficiently and effectively as the Consultant, who already has significant experience



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  with the Debtors’ business operations and outlay of stores. If the Consulting Agreement is not

  approved, operative, and effective on an interim basis, the Store Closings would lose the benefit

  of the Consultant’s oversight and might be delayed or suspended entirely, leading to a loss of

  additional liquidity and increased administrative expenses. Moreover, it is imperative that the

  Consulting Agreement be approved on an interim basis so that the Debtors and the Consultant can

  immediately begin conducting the Store Closings and closing stores in accordance with the Store

  Closing Procedures, which will generate more proceeds for the Debtors and their estates.

  VIII. The Court Should Authorize the Retention of the Consultant
        Pursuant to Section 327(a) in Connection with Assumption
        of the Consulting Agreement.

           58.   The Debtors have selected the Consultant because they believe that the Consultant

  has developed an expertise in such matters that will significantly enhance the value recovered for

  the Assets, whether through the disposition of such through the conduct of strategic store closings

  for the Merchandise and the M&E, or through targeting marketing of the other Assets through their

  various divisions having an expertise in each such asset categories. Each entity comprising the

  Consultant is familiar with retail businesses generally, and the Debtors’ business operations

  specifically, and are well regarded and a leader in the distressed asset acquisition and disposition

  field.

           59.   The Debtors believe the employment of the Consultant as asset disposition

  consultants and advisors is in the best interest of the Debtors and their creditors since the

  Consultant will provide invaluable services as the Debtors attempt to maximize the realizable value

  recovered for its business and assets. The matters for which the Consultant is to be engaged are

  matters in which no other professional employed in this case will render services duplicative of

  the services rendered by the Consultant.



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          60.    Based on the information the Consultant has to date provided to the Debtors, the

  Debtors believe that the Consultant does not hold an interest adverse to either the Debtors or their

  estates, and with respect to the subject matter on which the Consultant has been engaged is a

  “disinterested person” pursuant to sections 327(a) and 101(14) of the Bankruptcy Code.

          61.    As is customary in this district, each entity comprising the Consultant will file

  declarations of their connections prior to the final hearing on this Motion (the “Consultant’s

  Declarations”).

          62.    To the best of the Debtors’ knowledge, and except as may be disclosed in the

  respective Consultant Declarations when filed, the Consultant has not provided services to the

  Debtors’ creditors, equity security holders, or any other parties-in-interest, or its respective

  attorneys, in any matter relating to the Debtors or their estates.

          63.    The Debtors respectfully requests that the Consultant be retained in conjunction

  with the Court’s approval of the assumption of the Consulting Agreement, nunc pro tunc to the

  Petition Date. Since the Petition Date, the Consultant has provided valuable services that were

  time sensitive and critical to protection of the interests of the Debtors’ stakeholders.

                    The Requirements of Bankruptcy Rule 6003 Are Satisfied
          64.    Bankruptcy Rule 6003 empowers a court to grant relief within the first 21 days after

  the Petition Date “to the extent that relief is necessary to avoid immediate and irreparable harm.”

  Fed. R. Bankr. P. 6003. For the reasons discussed above, authorizing the Debtors reject certain

  unexpired leases, approving store closing or similar themed sales in accordance with the Store

  Closing Procedures, and granting the other relief requested herein is integral to the Debtors’ ability

  to transition their operations into these chapter 11 cases smoothly. Failure to receive such

  authorization and other relief during the first 21 days of these chapter 11 cases would severely

  disrupt the Debtors’ operations at this critical juncture. For the reasons discussed herein, the relief

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  requested is necessary in order for the Debtors to operate their business in the ordinary course,

  preserve the going concern value of the Debtors’ operations, and maximize the value of their

  estates for the benefit of all stakeholders. Accordingly, the Debtors submit that they have satisfied

  the “immediate and irreparable harm” standard of Bankruptcy Rule 6003 to support granting the

  relief requested herein.

                                         Reservation of Rights

          65.    Nothing contained in this Motion or any actions taken by the Debtors pursuant to

  relief granted in the Interim Order and Final Order is intended or should be construed as: (a) an

  admission as to the validity, priority, or amount of any particular claim against a Debtor entity;

  (b) a waiver of the Debtors’ or any other party-in-interest’s rights to dispute any particular claim

  on any grounds; (c) a promise or requirement to pay any particular claim; (d) an implication or

  admission that any particular claim is of a type specified or defined in this Motion; (e) a request

  or authorization to assume any agreement, contract, or lease pursuant to section 365 of the

  Bankruptcy Code (other than the Consulting Agreement); (f) a waiver or limitation of the Debtors’

  or any other party-in-interest’s rights under the Bankruptcy Code or any other applicable law; or

  (g) a concession by the Debtors or any other party-in-interest that any liens (contractual, common

  law, statutory, or otherwise) satisfied pursuant to this Motion are valid and the Debtors and all

  other parties-in-interest expressly reserve their rights to contest the extent, validity, or perfection,

  or to seek avoidance of all such liens. If the Court grants the relief sought herein, any payment

  made pursuant to the Court’s order is not intended and should not be construed as an admission as

  to the validity, priority, or amount of any particular claim or a waiver of the Debtors’ or any other

  party-in-interest’s rights to subsequently dispute such claim.




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                         Waiver of Bankruptcy Rule 6004(a) and 6004(h)

          66.    To implement the foregoing successfully, the Debtors request that the Court enter

  an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and

  that the Debtors have established cause to exclude such relief from the 14-day stay period under

  Bankruptcy Rule 6004(h).

                                                Notice

          67.    The Debtors will provide notice of this Motion to: (a) the Office of the U.S. Trustee

  for the District of Delaware; (b) the holders of the 30 largest unsecured claims against the Debtors

  (on a consolidated basis); (c) the United States Attorney’s Office for the District of Delaware;

  (d) the Internal Revenue Service; (e) the state attorneys general for all states in which the Debtors

  conduct business; (f) the Dispute Notice Parties; (g) all of the Debtors’ landlords at the locations

  of the Closing Stores, and counsel thereto, if known; and (h) any party that requests service

  pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief

  requested, no other or further notice need be given.

                                          No Prior Request

          68.    No prior request for the relief sought in this Motion has been made to this or any

  other court.



                                 [Remainder of page intentionally left blank]




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          WHEREFORE, the Debtors respectfully request entry of interim and final orders,

  substantially in the forms attached hereto as Exhibit A and Exhibit B, respectively, (a) granting

  the relief requested herein and (b) granting such other relief as is just and proper.


  Dated: March 9, 2020                           BENESCH, FRIEDLANDER, COPLAN &
  Wilmington, Delaware                           ARONOFF LLP

                                                     /s/ Gregory W. Werkheiser
                                                 Gregory W. Werkheiser (DE No. 3553)
                                                 Michael J. Barrie (DE No. 4684)
                                                 Jennifer Hoover (DE No. 5111)
                                                 Kevin Capuzzi (DE No. 5462)
                                                 John C. Gentile (DE No. 6159)
                                                 222 Delaware Avenue, Suite 801
                                                 Wilmington, DE 19801
                                                 Telephone: (302) 442-7010
                                                 Facsimile: (302) 442-7012
                                                 E-mail: gwerkheiser@beneschlaw.com
                                                         mbarrie@beneschlaw.com
                                                         jhoover@beneschlaw.com
                                                         kcapuzzi@beneschlaw.com
                                                         jgentile@beneschlaw.com

                                                 Proposed Counsel to the Debtors and Debtors in
                                                 Possession




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                                   EXHIBIT A




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                       )
      In re:                                                           )   Chapter 11
                                                                       )
      ART VAN FURNITURE, LLC, et al.,1                                 )   Case No. 20-10553 (CSS)
                                                                       )
                                         Debtors.                      )   (Joint Administration Requested)
                                                                       )
                                                                       )   Re: Docket No.    _____

                              INTERIM ORDER GRANTING DEBTORS’
                        EMERGENCY MOTION FOR ENTRY OF INTERIM AND
                    FINAL ORDERS (I) APPROVING PROCEDURES FOR STORE
                 CLOSING SALES, (II) AUTHORIZING CUSTOMARY BONUSES TO
               EMPLOYEES OF CLOSING STORES, (III) AUTHORIZING ASSUMPTION
                OF THE CONSULTING AGREEMENT UNDER §§ 363 AND 365 OF THE
                   BANKRUPTCY CODE, (IV) AUTHORIZING THE DEBTORS TO
                     RETAIN CERTAIN CONSULTANT ENTITIES AS SPECIAL ASSET
                DISPOSITION ADVISORS TO THE DEBTORS PURSUANT TO §327(A)
                  OF THE BANKRUPTCY CODE AND (V) GRANTING RELATED RELIEF


               Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

  (collectively, the “Debtors”) for entry of an interim order (this ”Interim Order”): (a) authorizing

  and approving the conduct of store closing or similar themed sales in accordance with the terms of

  the store closing procedures (the “Store Closing Procedures”) attached hereto as Exhibit 1, with

  such sales to be free and clear of all liens, claims and encumbrances; (b) authorizing the Debtors

  to conduct the Store Closings; (c) authorizing the Debtors to pay customary bonuses to employees

  of Closing Stores; (d) authorizing the Debtors to assume the Consulting Agreement; (e)


  1
        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
        number, include: Art Van Furniture, LLC (9205); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep
        Franchising, LLC (8968); AVCE, LLC (2509); AVF Franchising, LLC (6325); AVF Holding Company, Inc.
        (0291); AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent,
        LLC (8052); LF Trucking, Inc. (1484); and Sam Levin, Inc. (5198). The location of the Debtors’ service address
        in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.

  2
        Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



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  authorizing the Debtors to retain the Consultant as special asset disposition advisor pursuant ot

  Section 327(a) fo the bankruptcy Code; (f) scheduling a final hearing to consider approval of the

  Motion on a final basis; and (g) granting related relief, all as more fully set forth in the Motion;

  and upon the First Day Declaration; and this Court having jurisdiction over this matter pursuant to

  28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States

  District Court for the District of Delaware, dated February 29, 2012; and this Court having found

  that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that

  venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

  and 1409; and this Court having found that the relief requested in the Motion is in the best interests

  of the Debtors’ estates, their creditors, and other parties in interest; and this Court having found

  that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

  appropriate under the circumstances and no other notice need be provided; and this Court having

  reviewed the Motion and having heard the statements in support of the relief requested therein at

  a hearing before this Court (the “Hearing”); and this Court having determined that the legal and

  factual bases set forth in the Motion and at the Hearing establish just cause for the relief granted

  herein; and upon all of the proceedings had before this Court; and after due deliberation and

  sufficient cause appearing therefor, it is HEREBY FOUND AND DETERMINED THAT: 3

          A.       The Debtors have advanced sound business reasons for seeking to implement the

  Store Closing Procedures and assume the Consulting Agreement, as set forth in the Motion and at

  the Hearing, and such relief is in the best interests of the Debtors and their estates.




  3
      Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as findings of
      fact where appropriate.


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          B.     The Store Closing Procedures are reasonable, and the conduct of the Closing Sales

  in accordance with the Store Closing Procedures will provide an efficient means for the Debtors

  to dispose of the Merchandise and the M&E and will maximize the returns on the Merchandise

  and the M&E.

          C.     The Consulting Agreement was negotiated, proposed, and entered into by the

  Debtors and the Consultant without collusion, in good faith, and from arm’s-length bargaining

  positions, and the operation and effectiveness of the Consulting Agreement on an interim basis is

  a sound exercise of the Debtors’ business judgment.

          D.     The relief set forth herein is necessary to avoid immediate and irreparable harm to

  the Debtors and their estates and the Debtors have demonstrated good, sufficient, and sound

  business purposes and justifications for the relief approved herein.

          E.     The Store Closings and Closing Sales are in the best interest of the Debtors’ estates.

          F.     The entry of this Interim Order is in the best interest of the Debtors and their estates,

  creditors, and interest holders and all other parties in interest herein; and now therefore it is

  HEREBY ORDERED THAT:

          1.     The Motion is granted on an interim basis as provided herein.

          2.     The final hearing (the “Final Hearing”) on the Motion shall be held on _________,

  2020, at__:__ _.m., prevailing Eastern Time. Any objections or responses to entry of a final order

  on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on _________, 2020,

  and shall be served on:      (a) the Debtors, 6500 14 Mile Road, Warren, Michigan 48092,

  Attn: Michael Zambricki; (b) proposed counsel to the Debtors, Benesch, Friedlander, Coplan &

  Aronoff LLP, 222 Delaware Avenue, Suite 801, Wilmington, Delaware 19801, Attn: Gregory

  Werkheiser, Michael J. Barrie, Jennifer R. Hoover, Kevin M. Capuzzi, and John C. Gentile; (c)



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  proposed special counsel to the Debtors, Montgomery McCracken Walker & Rhoads LLP, 437

  Madison Avenue, New York, NY 10022, Attn. Maura I. Russell; (d) the Office of The United

  States Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn:

  Linda Richenderfer; (e) counsel to the administrative agent under the Debtors' ABL loan facilities

  (i) Morgan, Lewis & Bockius LLP, One Federal Street, Boston, Massachusetts 02110, Attn:

  Marjorie S. Crider, (ii) Morgan, Lewis & Bockius LLP, 101 Park Avenue, New York, New York

  10178, Attn: Jennifer Feldsher, and (iii) Burr & Forman LLP, 1201 N. Market Street, Wilmington,

  Delaware 19801, Attn: J. Cory Falgowski; (f) lead counsel to the Consultant, Riemer & Braunstein

  LLP, Times Square Tower, Seven Times Square, Suite 2506, New York, New York 10036, Attn:

  Steven E. Fox; (g) counsel to the Prepetition Term Loan Agent, Greenberg Traurig, LLP, One

  International Place, Suite 2000, Boston, MA 02110, Attn: Jeffrey M. Wolf; and (h) counsel to any

  statutory committee appointed in these chapter 11 cases.. In the event no objections to entry of

  the Final Order on the Motion are timely received, this Court may enter such Final Order without

  need for the Final Hearing.

          3.     The Debtors are authorized, but not directed, to make payments under the Store

  Closing Bonus Plan.

          4.     The Debtors and the Consultant are authorized to take all actions necessary to

  effectuate the relief granted in this Interim Order in accordance with the Motion. The failure to

  specifically include any provision of the Consulting Agreement in this Interim Order shall not

  diminish or impair the effectiveness of such provisions, it being the intent of the Court that the

  Consulting Agreement and all of its provisions, payments, and transactions be, and hereby are,

  authorized and approved as and to the extent provided in this Interim Order.




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          5.     To the extent of any conflict between this Interim Order, the Consulting Agreement,

  and the Store Closing Procedures, the terms of this Interim Order shall control.

          6.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Interim

  Order are immediately effective and enforceable upon its entry.

  I.      Authority to Engage in Closing Sales and Conduct Store Closings.

          7.     The Debtors and the Consultant are authorized, on an interim basis pending the

  Final Hearing, pursuant to sections 105(a) and 363(b)(1) of the Bankruptcy Code, to immediately

  continue and conduct Closing Sales at the Closing Stores in accordance with this Interim Order,

  the Store Closing Procedures, and the Consulting Agreement.

          8.     The Store Closing Procedures are approved in their entirety on an interim basis.

          9.     The Debtors are authorized to discontinue operations at the Closing Stores in

  accordance with this Interim Order, the Store Closing Procedures, and the Consulting Agreement.

          10.    All entities that are presently in possession of some or all of the Merchandise or

  M&E in which the Debtors hold an interest that are hereby are directed to surrender possession of

  such Merchandise or M&E to the Debtors.

          11.    Neither the Debtors nor any of their officers, employees, or agents shall be required

  to obtain the approval of any third party, including, without limitation, any Governmental Unit (as

  defined in Bankruptcy Code section 101(27)) or landlord, to conduct the Closing Sales and to take

  the related actions authorized herein.

  II.     Conduct of the Sales.

          12.    All media in which the Closing Sales may be advertised and all landlords are

  directed to accept this Interim Order as binding authority so as to authorize the Debtors and the

  Consultant to conduct the Closing Sales and the sale of Merchandise, M&E, and Additional

  Consultant Goods, including, without limitation, to conduct and advertise the sale of the

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  Merchandise, M&E, and Additional Consultant Goods in the manner contemplated by and in

  accordance with this Interim Order, the Store Closing Procedures, and the Consulting Agreement.

          13.    The Debtors and the Consultant are hereby authorized to take such actions as may

  be necessary and appropriate to conduct the Store Closings without necessity of further order of

  this Court as provided in this Interim Order, the Store Closing Procedures, and the Consulting

  Agreement, including, but not limited to, advertising the sale as a “store closing sale,” “sale on

  everything,” “everything must go,” or similar-themed sales through the posting of signs (including

  the use of exterior banners at non-enclosed mall closing locations, and at enclosed mall closing

  locations to the extent the applicable closing location entrance does not require entry into the

  enclosed mall common area), use of signwalkers, and street signage; provided, however, that only

  Debtor-approved terminology will be used at each Closing Store in connection with the Sales.

          14.    The Consultant is authorized to supplement the Merchandise in the Closing Stores

  with Additional Consultant Goods, provided that any such supplementing with Additional

  Consultant Goods must be of like kind and no lesser quality than goods sold in the Closing Stores

  prior to the Petition Date. Sales of Additional Consultant Goods shall be run through the Debtors’

  cash register systems; provided, however, that the Consultant shall mark the Additional Consultant

  Goods using either a “dummy” SKU or department number or in such other manner so as to

  distinguish the sale of Additional Consultant Goods from the sale of Merchandise. The Consultant

  and Merchant shall cooperate to ensure that the Additional Consultant Goods are marked in such

  a way that a reasonable consumer could identify the Additional Consultant Goods from the

  Merchandise.

          15.    All transactions relating to the Additional Consultant Goods are, shall be construed

  as, and are acknowledged by the Debtors to be, a true consignment from Consultant to the Debtors



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  under Article 9 of the Uniform Commercial Code in effect in the State of Delaware (the “UCC”)

  and not a consignment for security purposes. At all times and for all purposes, the Additional

  Consultant Goods and their proceeds shall be the exclusive property of the Consultant, and no

  other person or entity (including, without limitation, the Debtors, or any third person claiming a

  security interest in the Debtors’ property, including any of the Debtors’ secured lenders) shall have

  any claim against any of the Additional Consultant Goods or the proceeds thereof. The Additional

  Consultant Goods shall at all times remain subject to the exclusive control of the Consultant. The

  Debtors shall, at Consultant’s sole cost and expense, insure Additional Consultant Goods and, if

  required, promptly file any proofs of loss with regard thereto.

          16.    Consultant is hereby granted a first priority security interest in and lien upon (i) the

  Additional Consultant Goods and (ii) the Additional Consultant Goods proceeds, which security

  interest shall be deemed perfected on a interim basis pursuant to this Interim Order without the

  requirement of filing UCC financing statements or providing notifications to any prior secured

  parties (provided that Consultant is hereby authorized to deliver any notices and file any financing

  statements and amendments thereof under the applicable UCC identifying Consultant’s interest in

  the Additional Consultant Goods (and any proceeds from the sale thereof) as consigned goods

  thereunder and the Debtors as the consignee therefor, and Consultant’s security interest in such

  Additional Consultant Goods and Additional Consultant Goods proceeds). As part of each weekly

  reconciliation, the Debtors shall turnover all proceeds from the sale of Additional Consultant

  Goods to the Consultant, net of any fee payable to the Debtors pursuant to the Consulting

  Agreement.

          17.    Notwithstanding anything herein to the contrary, and in view of the importance of

  the use of sign-walkers, banners, and other advertising to the sale of the Merchandise, M&E, and



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  Additional Consultant Goods, to the extent that, prior to the Final Hearing, disputes arise during

  the course of such sale regarding laws regulating the use of sign-walkers, banners, or other

  advertising and the Debtors are unable to resolve the matter consensually, any party may request

  an immediate telephonic hearing with this Court pursuant to these provisions. Such hearing will,

  to the extent practicable, be scheduled initially no later than the earlier of (a) the Final Hearing, or

  (b) within two (2) business days of such request. This scheduling shall not be deemed to preclude

  additional hearings for the presentation of evidence or arguments as necessary.

          18.     The sale of the Merchandise, M&E, and Additional Consultant Goods shall be

  conducted by the Debtors notwithstanding any restrictive provision of any lease, sublease,

  restrictive covenant, or other agreement relative to occupancy affecting or purporting to restrict

  the conduct of the Store Closings or the Closing Sales (including the sale of the Merchandise,

  M&E, and Additional Consultant Goods) and the rejection of leases, abandonment of assets, or

  “going dark” provisions, and such provisions shall not be enforceable in conjunction with the Sales

  or the Store Closings. Breach of any such provisions in these chapter 11 cases in conjunction with

  the Store Closings or the Closing Sales shall not constitute a default under a lease or provide a

  basis to terminate the lease; provided that the Store Closings and Closing Sales are conducted in

  accordance with the terms of this Interim Order and the Store Closing Procedures.

          19.     Except as expressly provided for herein or in the Store Closing Procedures, and

  except with respect to any Governmental Unit (as to which paragraphs 22 and 23 shall apply) no

  person or entity, including, but not limited to, any landlord, licensor, service provider, utility, or

  creditor, shall take any action to directly or indirectly prevent, interfere with, or otherwise hinder

  consummation of the Closing Sales or the sale of merchandise, M&E, or Additional Consultant

  Goods, or the advertising and promotion (including the posting of signs and exterior banners or



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  the use of signwalkers) of such sales, and all such parties and persons of every nature and

  description, including, but not limited to, any landlord, licensor, service provider, utility, and

  creditor and all those acting for or on behalf of such parties, are prohibited and enjoined from

  (a) interfering in any way with, obstructing, or otherwise impeding the conduct of the Closing

  Sales and/or Store Closings, and/or (b) instituting any action or proceeding in any court (other than

  this Court) or administrative body seeking an order or judgment against, among others, the

  Debtors, or the landlords at the Closing Stores that might in any way directly or indirectly obstruct

  or otherwise interfere with or adversely affect the conduct of the Closing Sales or other liquidation

  sales at the Closing Stores and/or seek to recover damages for breach(es) of covenants or

  provisions in any lease, sublease, license, or contract based upon any relief authorized herein.

          20.    In accordance with and subject to the terms and conditions of the Consulting

  Agreement, the Consultant shall have the right to use the Closing Stores and all related Closing

  Store services, furniture, fixtures, equipment, and other assets of the Debtors for the purpose of

  conducting the Store Closings, free of any interference from any entity or person, subject to

  compliance with the Store Closing Procedures and this Interim Order.

          21.    All sales of Merchandise, M&E and Additional Consultant Goods shall be “as is”

  and final. Returns related to the purchase of Store Assets shall not be accepted at stores that are

  not participating in the Store Closings. However, as to the Closing Stores, all state and federal

  laws relating to implied warranties for latent defects shall be complied with and are not superseded

  by the sale of said goods or the use of the terms “as is” or “final sales.”

          22.    The Consultant shall not be liable for sales taxes except wither respect to the

  Additional Consultant Goods, and as expressly provided in the Consulting Agreement, and the

  payment of any and all sales taxes is the responsibility of the Debtors, subject to Consultant’s



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  obligation to collect and remit the sales taxes attributable to the sale of Additional Consultant

  Goods. The Debtors are directed to remit all taxes arising from the Sales to the applicable

  Governmental Units as and when due; provided that in the case of a bona fide dispute the Debtors

  are only directed to pay such taxes upon the resolution of the dispute, if and to the extent that the

  dispute is decided in favor of the applicable Governmental Unit. For the avoidance of doubt, sales

  taxes collected and held in trust by the Debtors shall not be used to pay any creditor or any other

  party, other than the applicable Governmental Unit for which the sales taxes are collected. This

  Interim Order does not enjoin, suspend, or restrain the assessment, levy, or collection of any tax

  under state law, and does not constitute a declaratory judgment with respect to any party’s liability

  for taxes under state law.

          23.     Pursuant to section 363(f) of the Bankruptcy Code, the Consultant, on behalf of the

  Debtors, is authorized to sell Store Assets—and all sales of Store Assets whether by the Consultant

  or the Debtors, shall be—free and clear of any and all of any liens, claims, encumbrances,

  assignments, preferences, debts, easements, charges, suits, licenses, options, rights-of-recovery,

  judgments, orders and decrees of any court or foreign or domestic governmental entity, taxes

  (including foreign, state, and local taxes), licenses, covenants, restrictions, indentures, instruments,

  leases, options, off-sets, claims for reimbursement, contribution, indemnity or exoneration,

  successor, product, environmental, tax, labor, ERISA, CERCLA, alter ego and other liabilities,

  causes of action, contract rights, and claims, to the fullest extent of the law, in each case, of any

  kind or nature (including, without limitation, all “claims” as defined in section 101(5) of the

  Bankruptcy Code), known or unknown, whether pre-petition or post-petition, secured or

  unsecured, choate or inchoate, filed or unfiled, scheduled or unscheduled, perfected or unperfected,

  liquidated or unliquidated, noticed or unnoticed, recorded or unrecorded, contingent or non-



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  contingent, material or non-material, statutory or non-statutory, matured or unmatured, legal or

  equitable (collectively, “Encumbrances”)s; as provided for herein because in each case, one or

  more of the standards set forth in section 363(f)(1)–(5) has been satisfied; provided, however, that

  any such Encumbrances shall attach to the proceeds of the sale of the Merchandise and the M&E

  with the same validity, in the amount, with the same priority as, and to the same extent that any

  such Encumbrances have with respect to the Merchandise and the M&E, subject to any claims and

  defenses that any party may possess with respect thereto and subject to the Consultant’s fees and

  expenses (as provided in the Consulting Agreement).

          24.    To the extent that the Debtors propose to sell or abandon M&E that may contain

  personal and/or confidential information about the Debtors’ employees and/or customers

  (the “Confidential Information”), the Debtors shall remove the Confidential Information from such

  items of M&E before such sale or abandonment.

          25.    The Debtors are authorized and empowered to transfer merchandise, M&E and

  Additional Consultant Goods among, and into, the Stores.

  III.    Dispute Resolution Procedures with Governmental Units.

          26.    Nothing in this Interim Order, or the Store Closing Procedures, releases, nullifies,

  or enjoins the enforcement of any liability to a governmental unit under environmental laws or

  regulations (or any associated liabilities for penalties, damages, cost recovery, or injunctive relief)

  to which any entity would be subject as the owner, lessor, lessee, or operator of the property after

  the date of entry of this Interim Order. Nothing contained in this Interim Order, or the Store

  Closing Procedures shall in any way: (a) diminish the obligation of any entity to comply with

  environmental laws; or (b) diminish the obligations of the Debtors to comply with environmental

  laws consistent with its rights and obligations as debtor in possession under the Bankruptcy Code.

  The Store Closings and the Sales shall not be exempt from laws of general applicability, including,

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  without limitation, public health and safety, criminal, tax, labor, employment, environmental,

  antitrust, fair competition, traffic, and consumer protection laws, including consumer laws

  regulating deceptive practices and false advertising (collectively, “General Laws”). Nothing in

  this Interim Order, the Consulting Agreement, or the Store Closing Procedures, shall alter or affect

  obligations to comply with all applicable federal safety laws and regulations. Nothing in this

  Interim Order shall be deemed to bar any Governmental Unit (as such term is defined in section

  101(47) of the Bankruptcy Code) from enforcing General Laws, subject to the Debtors’ rights to

  assert in that forum or before this Court that any such laws are not in fact General Laws or that

  such enforcement is impermissible under the bankruptcy Code or this Interim Order.

  Notwithstanding any other provision in this Interim Order, no party waives any rights to argue any

  position with respect to whether the conduct was in compliance with this Interim Order and/or any

  applicable law, or that enforcement of such applicable law is preempted by the Bankruptcy Code.

  Nothing in this Interim Order shall be deemed to have made any rulings on any such issues.

          27.    To the extent that the sale of Merchandise, M&E, and Additional Consultant Goods

  is subject to any Liquidation Sale Laws, including any federal, state or local statute, ordinance, or

  rule, or licensing requirement directed at regulating “going out of business,” “store closing,”

  similar inventory liquidation sales, or bulk sale laws, laws restricting safe, professional and non-

  deceptive, customary advertising such as signs, banners, posting of signage, and use of sign-

  walkers solely in connection with the sale and including ordinances establishing license or permit

  requirements, waiting periods, time limits, or bulk sale restrictions that would otherwise apply

  solely to the sale of the merchandise, M&E, and Additional Consultant Goods, the Dispute

  Resolution Procedures in this section shall apply:

                 a.      Provided that the Closing Sales are conducted in accordance with the terms
                         of the Interim Order or the Final Order, as applicable, and the Store Closing


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                     Procedures, and in light of the provisions in the laws of many Governmental
                     Units (as defined in the Bankruptcy Code) that exempt court-ordered sales
                     from their provisions, the Debtors will be presumed to be in compliance
                     with any Liquidation Sale Laws and are authorized to conduct the Closing
                     Sales in accordance with the terms of the Interim Order or the Final Order,
                     as applicable, and the Store Closing Procedures without the necessity of
                     further showing compliance with any such Liquidation Sale Laws.

                b.   Within three business days after entry of the Interim Order, the Debtors will
                     serve by email, facsimile, or first-class mail, copies of the Interim Order,
                     the proposed Final Order and the Store Closing Procedures on the
                     following: (i) the landlords for the Stores; (ii) the Attorney General’s office
                     for each state in which the Closing Sales are being held; (iii) the county
                     consumer protection agency or similar agency for each county in which the
                     Closing Sales are being held; (iv) the division of consumer protection for
                     each state in which the Closing Sales are being held; (v) the chief legal
                     counsel for each local jurisdiction in which the Closing Sales are being held
                     (collectively, the “Dispute Notice Parties”).

                c.   With respect to any additional Stores, within three business days after Court
                     authorization to close additional stores (each, an “Additional Closing Store
                     List”), the Debtors will serve by email, facsimile, or first-class mail, copies
                     of the Interim Order or Final Order, as applicable, and the Store Closing
                     Procedures on the Dispute Notice Parties. To the extent that there is a
                     dispute arising from or relating to the Sales, the Interim Order, or the
                     proposed Final Order, as applicable, the Store Closing Procedures, which
                     dispute relates to any Liquidation Sale Laws (a “Reserved Dispute”), the
                     Court shall retain exclusive jurisdiction to resolve the Reserved Dispute.
                     Any time within ten days following entry of the Interim Order or service of
                     any Additional Closing Store List, as applicable, any Governmental Unit
                     may assert that a Reserved Dispute exists by sending a notice (the “Dispute
                     Notice”) explaining the nature of the dispute to: (i) counsel to the Debtors,
                     Benesch, Friedlander, Coplan & Aronoff LLP, 222 Delaware Avenue, Suite
                     201, Wilmington, Delaware 19801-1611, Attn: Michael J. Barrie and
                     Gregory W. Werkheiser; (ii) counsel to the Prepetition ABL Agent, Morgan
                     Lewis & Bockius LLP, (a) 101 Park Avenue, New York, New York 10178-
                     0060, Attn: Jennifer Feldsher, and (b) One Federal Street, Boston,
                     Massachusetts 02110, Attn: Marjorie Crider and Christopher L. Carter, and
                     Burr & Forman LLP, 1201 N. Market Street, Suite 1407, Wilmington,
                     Delaware 19801, Attn: J. Cory Falgowski; (iii) counsel to the Consultant,
                     Riemer & Braunstein LLP, Times Square Tower, Seven Times Square,
                     Suite 2506, New York, New York 10036; (iii) the United States Trustee’s
                     Office for the District of Delaware, 844 King Street, Suite 2207, Lockbox
                     35, Wilmington, Delaware 19801, Attn: Linda Richenderfer; (iv) counsel to
                     the Prepetition Term Loan Lenders, Greenberg Traurig, LLP, One
                     International Place, Suite 2000, Boston, MA 02110, Attn: Jeffrey M. Wolf.
                     If the Debtors and the Governmental Unit are unable to resolve the Reserved

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                         Dispute within 15 days after service of the Dispute Notice, the
                         Governmental Unit may file a motion with the Court requesting that the
                         Bankruptcy Court resolve the Reserved Dispute (a “Dispute Resolution
                         Motion”).

                 d.      In the event that a Dispute Resolution Motion is filed, nothing in the Interim
                         Order or the Final Order, as applicable, shall preclude the Debtors, a
                         landlord, or any other interested party from asserting (i) that the provisions
                         of any Liquidation Sale Laws are preempted by the Bankruptcy Code, or
                         (ii) that neither the terms of the Interim Order or the Final Order nor the
                         conduct of the Debtors pursuant to the Interim Order or the Final Order
                         violates such Liquidation Sale Laws. Filing a Dispute Resolution Motion
                         as set forth herein shall not be deemed to affect the finality of the Interim
                         Order or the Final Order or to limit or interfere with the Debtors’ ability to
                         conduct or to continue to conduct the Closing Sales pursuant to the Interim
                         Order or the Final Order, absent further order of the Court. Upon the entry
                         of the Interim Order or the Final Order, as applicable, the Court grants
                         authority for the Debtors to conduct the Closing Sales pursuant to the terms
                         of the Interim Order or the Final Order, as applicable, the Store Closing
                         Procedures and to take all actions reasonably related thereto or arising in
                         connection therewith. The Governmental Unit will be entitled to assert any
                         jurisdictional, procedural, or substantive arguments it wishes with respect
                         to the requirements of its Liquidation Sale Laws or the lack of any
                         preemption of such Liquidation Sale Laws by the Bankruptcy Code.
                         Nothing in the Interim Order or the Final Order will constitute a ruling with
                         respect to any issues to be raised in any Dispute Resolution Motion.

                 e.      If, at any time, a dispute arises between the Debtors and a Governmental
                         Unit as to whether a particular law is a Liquidation Sale Law, and subject
                         to any provisions contained in the Interim Order or the Final Order related
                         to the Liquidation Sale Laws, then any party to that dispute may utilize the
                         provisions of subparagraphs (c) and (d) above by serving a notice to the
                         other party and proceeding thereunder in accordance with those
                         subparagraphs. Any determination with respect to whether a particular law
                         is a Liquidation Sale Law shall be made de novo.

          28.    Subject to paragraphs 22 and 23 above, each and every federal, state, or local

  agency, departmental unit, or Governmental Unit with regulatory authority over the Closing Sales,

  and all newspapers and other advertising media in which the Closing Sales are advertised shall

  consider this Interim Order as binding authority that no further approval, license, or permit of any

  Governmental Unit shall be required, nor shall the Debtors be required, to post any bond, to

  conduct the Sales.

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          29.    Within three business days of this Interim Order, the Debtors shall serve copies of

  this Interim Order, and the Store Closing Procedures via e-mail, facsimile, or regular mail, on:

  (a) the Office of the U.S. Trustee for the District of Delaware; (b) the holders of the 30 largest

  unsecured claims against the Debtors (on a consolidated basis); (c) the United States Attorney’s

  Office for the District of Delaware; (d) the Internal Revenue Service; (e) the state attorneys general

  for all states in which the Debtors conduct business; (f) all parties who are known by the Debtors

  to assert liens against the Merchandise and the M&E ; (g) all state attorneys general in which the

  Merchandise and the M&E are located; (h) municipalities in which the Merchandise and the M&E

  are located; (i) all of the Debtors’ landlords at the locations of the Stores; (j) all applicable state

  and consumer protection agencies; and (k) any party that has requested notice pursuant to

  Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief requested, no

  other or further notice need be given.

  IV.     Effectiveness of the Consulting Agreement.

          30.    The Consulting Agreement is operative and effective on an interim basis. The

  Debtors are authorized to act and perform in accordance with the terms of the Consulting

  Agreement, including, without limitation, reimbursing all expenses to the Consultant as required

  by the Consulting Agreement without the need for any application of the Consultant or a further

  order of the Court. For avoidance of doubt, the Debtors are also authorized to fund the Expense

  Deposit in accordance with the terms of the Consulting Agreement.

          31.    The treatment of Pre-SCD Orders, including the Cancelled Back-Order

  Merchandise Credit, described in the Consulting Agreement is a sound exercise of the Debtors’

  business judgment, complies with applicable law, and is hereby approved, subject to entry of the

  Final Order.



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          32.      Subject to the restrictions set forth in this Interim Order and the Store Closing

  Procedures, the Debtors and the Consultant are hereby authorized to take any and all actions as

  may be necessary or desirable to implement the Consulting Agreement, the Store Closings, and

  the Closing Sales, and each of the transactions contemplated by the Consulting Agreement, and

  any actions taken by the Debtors and the Consultant necessary or desirable to implement the

  Consulting Agreement and the Closing Sales prior to the date hereof, are hereby approved and

  ratified. The failure to specifically include any particular provision of the Consulting Agreement

  in this Interim Order shall not diminish or impair the effectiveness of such provisions, it being the

  intent of this Court that the Consulting Agreement and all of its provisions, payments, and

  transactions, be and hereby are authorized and approved as and to the extent provided for in this

  Interim Order.

          33.      Notwithstanding anything to the contrary in the Consulting Agreement, the Debtors

  and their estates shall not indemnify the Consultant for any damages arising primarily out of any

  act or omission by the Consultant constituting fraud, gross negligence, or willful misconduct.

  V.      Debtors are Authorized to Retain Consultant as Special Asset Disposition Consultant
          Pursuant to the Consulting Agreement.

          34.      The This Court is satisfied that the Consultant represents and holds no interest

  adverse to the Debtors or their estates, and that the Consultant will not represent any other entity

  in connection with these cases and that its employment is necessary and would be in the best

  interests of the Debtors and the estates. Accordingly, pursuant to sections 327(a), 330 and 331 of

  Bankruptcy Code, the Debtors be, and hereby are, authorized to retain the Consultant as their

  special asset disposition advisors and consultants, to assist the Debtors in the marketing and sale

  process for the Assets in accordance with the Consulting Agreement; provided however, it is

  agreed and understood that no fees shall be payable to the Consultant in connection with Services


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  rendered by it to the Debtors pursuant to the Consulting Agreement, and other than the right to

  reimbursement of Consultant Incurred Expenses, Consultant shall have to claim or right to

  payment from the Company; provided further however, Consultant shall not be required to file a

  fee application for reimbursement of the Consultant Incurred Expenses. Debtors shall not be

  required to comply with any state or local law requiring that the Debtors pay an employee

  substantially contemporaneously with his or her termination; provided, however, that the Debtors

  shall pay any accrued wages to terminated employees as expeditiously as possible

  VI.     Other Provisions.

          35.    The Consultant shall not be liable for any claims against the Debtors, and the

  Debtors shall not be liable for any claims against Consultant, in each case, other than as expressly

  provided for in the Consulting Agreement.

          36.    The Debtors shall not be required to comply with any state or local law requiring

  that the Debtors pay an employee substantially contemporaneously with his or her termination;

  provided, however, that the Debtors shall pay any accrued wages to terminated employees as

  expeditiously as possible.

          37.    Notwithstanding the relief granted in this Interim Order and any actions taken

  pursuant to such relief, nothing in this Interim Order shall be deemed: (a) an admission as to the

  validity, priority, or amount of any particular claim against a Debtor entity; (b) a waiver of the

  Debtors’ or any other party-in-interest’s right to dispute any particular claim on any grounds; (c) a

  promise or requirement to pay any particular claim; (d) an implication or admission that any

  particular claim is of a type specified or defined in this Interim Order or the Motion; (e) a request

  or authorization to assume any agreement, contract, or lease pursuant to section 365 of the

  Bankruptcy Code (other than the Consulting Agreement); (f) a waiver or limitation of the Debtors’

  or any other party-in-interest’s rights under the Bankruptcy Code or any other applicable law; or

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  (g) a concession by the Debtors or any other party-in-interest that any liens (contractual, common

  law, statutory, or otherwise) satisfied pursuant to this Interim Order are valid and the Debtors and

  all other parties-in-interest expressly reserve their rights to contest the extent, validity, or

  perfection or to seek avoidance of all such liens. Any payment made pursuant to this Interim Order

  should not be construed as an admission as to the validity, priority, or amount of any particular

  claim or a waiver of the Debtors’ or any other party-in-interest’s rights to subsequently dispute

  such claim.

          38.    The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

          39.    Notice of the Motion as provided therein shall be deemed good and sufficient notice

  of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

  by such notice.

          40.    Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Interim

  Order are immediately effective and enforceable upon its entry.

          41.    Cause exists to shorten the notice period set forth in Bankruptcy Rule 2002, to the

  extent possible.

          42.    The Debtors are authorized to take all actions necessary to effectuate the relief

  granted in this Interim Order in accordance with the Motion.

          43.    This Court retains exclusive jurisdiction with respect to all matters arising from or

  related to the implementation, interpretation, and enforcement of this Interim Order, including, but

  not limited to, (a) any claim or issue relating to any efforts by any party or person to prohibit,

  restrict or in any way limit banner and sign-walker advertising, including with respect to any

  allegations that such advertising is not being conducted in a safe, professional, and non-deceptive

  manner, (b) any claim of the Debtors, the landlords for protection from interference with the Store



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  Closings or Closing Sales, (c) any other disputes related to the Store Closings or Closing Sales,

  and (d) protect the Debtors against any assertions of any liens, claims, encumbrances, and other

  interests. No such parties or person shall take any action against the Debtors, the landlords, the

  Store Closings, or the Closing Sales until this Court has resolved such dispute. This Court shall

  hear the request of such parties or persons with respect to any such disputes on an expedited basis,

  as may be appropriate under the circumstances.


   Dated: ____________, 2020
   Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE




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                                   EXHIBIT 1




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                                           Store Closing Procedures 1

         1.      The Sales shall be conducted so that the Stores in which Sales are to occur will
  remain open no longer than during the normal hours of operation or such hours as otherwise
  provided for in the respective leases for the Stores.

          2.     The Store Closing Sales shall be conducted in accordance with applicable state and
  local “Blue Laws,” where applicable, so that no Store Closing Sale shall be conducted on Sunday
  unless the Debtors had been operating such Stores on a Sunday prior to the commencement of the
  Store Closing Sales.

          3.      On “shopping center” property, the Consultant shall not distribute handbills,
  leaflets or other written materials to customers outside of any Stores’ premises, unless permitted
  by the lease or if distribution is customary in the “shopping center” in which such Stores is located;
  provided that the Consultant may solicit customers in the Stores themselves. On “shopping center”
  property, the Consultant shall not use any flashing lights or amplified sound to advertise the Store
  Closing Sales or solicit customers, except as permitted under the applicable lease or agreed to by
  the landlord.

          4.     At the conclusion of the Store Closing Sales, the Consultant shall, subject to the
  Consulting Agreement, vacate the Stores and the Distribution Centers in broom clean condition;
  provided that Consultant may abandon any M&E not sold in the Store Closing Sales at the
  conclusion of the Store Closing Sales, without cost or liability of any kind to the Consultant. The
  Debtors will have the option to remove the M&E at their own cost prior to the termination date.
  Any abandoned M&E left in a Stores after a lease is rejected shall be deemed abandoned to the
  landlord having a right to dispose of the same as the landlord chooses without any liability
  whatsoever on the part of the landlord to any party and without waiver of any damage claims
  against the Debtors. For the avoidance of doubt, as of the Sale Termination Date, the Consultant
  may abandon, in place and without further responsibility or liability of any kind, any M&E.

         5.      The Consultant and the Debtors may advertise each Store Closing Sale as a “store
  closing,” “sale on everything,” “everything must go,” or similar themed sale, and to the extent
  permitted in the Approval Orders, “going out of business”. The Consultant and the Debtors may
  also have “countdown to closing” signs prominently displayed in a manner consistent with these
  Store Closing Procedures. All signs, banners, ads and other advertising collateral, promotions,
  and campaigns will be approved by the Debtors in accordance with these Store Closing Procedures.

          6.      The Consultant shall be permitted to utilize sign walkers, display, hanging signs,
  and interior banners in connection with the Sales; provided that such sign walkers, display, hanging
  signs, and interior banners shall be professionally produced and hung in a professional manner.
  The Debtors and the Consultant shall not use neon or day-glo on its sign walkers, display, hanging
  signs, or interior banners. Furthermore, with respect to enclosed mall locations, no exterior signs


  1
            Capitalized terms used but not defined in these Store Closing Procedures have the meanings given to them
  in the Interim Order to which these Store Closing Procedures are attached as Exhibit 1 or the Motion to which the
  Interim Order is attached as Exhibit A, as applicable.




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  or signs in common areas of a mall shall be used unless otherwise expressly permitted in these
  Store Closing Procedures. In addition, the Debtors and the Consultant shall be permitted to utilize
  exterior banners at (i) non-enclosed mall Stores and (ii) enclosed mall Stores to the extent the
  entrance to the applicable Stores does not require entry into the enclosed mall common area;
  provided, however, that such banners shall be located or hung so as to make clear that the Store
  Closing Sales are being conducted only at the affected Stores, and shall not be wider than the
  storefront of the Closing Stores. In addition, the Debtors and the Consultant shall be permitted to
  utilize sign walkers in a safe and professional manner and in accordance with the terms of the
  Order. Nothing contained in these Store Closing Procedures shall be construed to create or impose
  upon the Debtors or the Consultant any additional restrictions not contained in the applicable lease
  agreement.

          7.      The purchasers of any Merchandise sold during the Store Closing Sales shall be
  permitted to remove the Merchandise through the front of the Closing Stores, or through the back
  or alternative shipping areas at any time.

          8.      Conspicuous signs shall be posted in the cash register areas of each of the affected
  Stores to effect that “all sales are final.”

         9.      Except with respect to the hanging of exterior banners, the Consultant shall not
  make any alterations to the storefront or exterior walls of any Stores, except as authorized by the
  applicable lease.

         10.    The Consultant shall not make any alterations to interior or exterior Stores lighting,
  except as authorized by the applicable lease. No property of the landlord of a Stores shall be
  removed or sold during the Store Closing Sales. The hanging of exterior banners or in-store
  signage and banners shall not constitute an alteration to a Stores.

         11.     The Consultant shall keep Stores premises and surrounding areas clean and orderly
  consistent with present practices.

          12.     Subject to the provisions of the Consulting Agreement, the Consultant shall have
  the right to use and sell all M&E. The Consultant may advertise the sale of the M&E in a manner
  consistent with these guidelines. The purchasers of any M&E sold during the Store Closing Sales
  shall be permitted to remove the M&E either through the back or alternative shipping areas at any
  time, or through other areas after applicable business hours, provided, however that the foregoing
  shall not apply to de minimis M&E sales made whereby the item can be carried out of the Closing
  Stores in a shopping bag. For the avoidance of doubt, as of the Sale Termination Date, the
  Consultant and the Debtors may abandon, in place and without further responsibility, any M&E.

          13.     At the conclusion of the Store Closing Sales at each Stores, pending assumption or
  rejection of applicable leases, the landlords of the Closing Stores shall have reasonable access to
  the Closing Stores’ premises as set forth in the applicable leases. The Debtors, the Consultant, and
  their representatives and agents shall continue to have access to the Closing Stores as provided for
  in the Consulting Agreement.

         14.     The rights of landlords against the Debtors for any damages to a Stores shall be
  reserved in accordance with the provisions of the applicable lease.



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         15.     If and to the extent that the landlord of any Stores affected hereby contends that the
  Debtors or the Consultant is in breach of or default under these Store Closing Procedures, such
  landlord shall email or deliver written notice by overnight delivery to the Debtors and the
  Consultant as follows:

                 If to the Debtors:

                 Art Van Furniture, LLC
                 6500 14 Mile Road
                 Warren, MI 48092
                 Attention: Michael Zambricki

                 with copies (which shall not constitute notice) to:

                 Benesch, Friedlander, Coplan & Aronoff LLP
                 222 Delaware Avenue, Suite 801
                 Wilmington, Delaware 19801
                 Attn: Gregory Werkheiser & Michael J. Barrie

                 -and-

                 Montgomery McCracken Walker & Rhoads LLP
                 437 Madison Avenue
                 New York, NY 10022
                 Attn. Maura I. Russell

         If the parties are unable to resolve the dispute, either the landlord or the Debtors shall have
         the right to schedule a hearing before the Court on no less than five (5) days’ written
         notice to the other party, served by email or overnight delivery.




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                                     EXHIBIT B

                                 Proposed Final Order




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                       )
      In re:                                                           )   Chapter 11
                                                                       )
      ART VAN FURNITURE, LLC, et al.,1                                 )   Case No. 20-10553 (CSS)
                                                                       )
                                         Debtors.                      )   (Joint Administration Requested)
                                                                       )
                                                                       )   Re: Docket No.    _____

                               FINAL ORDER GRANTING DEBTORS’
                        EMERGENCY MOTION FOR ENTRY OF INTERIM AND
                    FINAL ORDERS (I) APPROVING PROCEDURES FOR STORE
                 CLOSING SALES, (II) AUTHORIZING CUSTOMARY BONUSES TO
               EMPLOYEES OF CLOSING STORES, (III) AUTHORIZING ASSUMPTION
                OF THE CONSULTING AGREEMENT UNDER §§ 363 AND 365 OF THE
                   BANKRUPTCY CODE, (IV) AUTHORIZING THE DEBTORS TO
                     RETAIN CERTAIN CONSULTANT ENTITIES AS SPECIAL ASSET
                DISPOSITION ADVISORS TO THE DEBTORS PURSUANT TO §327(A)
                  OF THE BANKRUPTCY CODE AND (V) GRANTING RELATED RELIEF


               Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

  (collectively, the “Debtors”) for entry of an order (this “Final Order”): (a) authorizing and

  approving the conduct of store closing or similar themed sales in accordance with the terms of the

  store closing procedures (the “Store Closing Procedures”) attached hereto as Exhibit 1, with such

  sales to be free and clear of all liens, claims and encumbrances; (b) authorizing the Debtors to

  conduct the Store Closings; (c) authorizing the Debtors to pay customary bonuses to employees of


  1
        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
        number, include: Art Van Furniture, LLC (9205); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep
        Franchising, LLC (8968); AVCE, LLC (2509); AVF Franchising, LLC (6325); AVF Holding Company, Inc.
        (0291); AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent,
        LLC (8052); LF Trucking, Inc. (1484); and Sam Levin, Inc. (5198). The location of the Debtors’ service address
        in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.

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        Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.


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  Closing Stores; (d) authorizing the Debtors to assume the Consulting Agreement; (e) authorizing

  the Debtors to retain the Consultant as special asset disposition advisor pursuant to Section 327(a)

  of the Bankruptcy Code; (f) scheduling a final hearing to consider approval of the Motion on a

  final basis; and (g) granting related relief, all as more fully set forth in the Motion; and upon the

  First Day Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C.

  §§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

  Court for the District of Delaware, dated February 29, 2012; and this Court having found that this

  is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and that this Court may enter a final order

  consistent with Article III of the United States Constitution; and this Court having found that venue

  of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

  and this Court having found that the relief requested in the Motion is in the best interests of the

  Debtors’ estates, their creditors, and other parties in interest; and this Court having found that the

  Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate under

  the circumstances and no other notice need be provided; and this Court having reviewed the

  Motion and having heard the statements in support of the relief requested therein at a hearing

  before this Court (the “Hearing”); and this Court having determined that the legal and factual bases

  set forth in the Motion and at the Hearing establish just cause for the relief granted herein; and

  upon all of the proceedings had before this Court; and after due deliberation and sufficient cause

  appearing therefor, it is HEREBY FOUND AND DETERMINED THAT:3




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      Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as findings of
      fact where appropriate.


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          A.     The Debtors have advanced sound business reasons for seeking to implement the

  Store Closing Procedures and assume the Consulting Agreement, as set forth in the Motion and at

  the Hearing, and such relief is in the best interests of the Debtors and their estates.

          B.     The Store Closing Procedures are reasonable, and the conduct of the Closing Sales

  in accordance with the Store Closing Procedures will provide an efficient means for the Debtors

  to dispose of the Merchandise and the M&E and will maximize the returns on the Merchandise

  and the M&E.

          C.     The Consulting Agreement was negotiated, proposed, and entered into by the

  Debtors and the Consultant without collusion, in good faith, and from arm’s-length bargaining

  positions, and the operation and effectiveness of the Consulting Agreement on a final basis is a

  sound exercise of the Debtors’ business judgment.

          D.     The relief set forth herein is necessary to avoid immediate and irreparable harm to

  the Debtors and their estates and the Debtors have demonstrated good, sufficient, and sound

  business purposes and justifications for the relief approved herein.

          E.     The Store Closings and Closing Sales are in the best interest of the Debtors’ estates.

          F.     The entry of this Final Order is in the best interest of the Debtors and their estates,

  creditors, and interest holders and all other parties in interest herein; and now therefore it is

  HEREBY ORDERED THAT:

          1.     The Motion is granted on a final basis as provided herein.

          2.     The Debtors are authorized to take all actions necessary to effectuate the relief

  granted in this Final Order in accordance with the Motion.

          3.     The Debtors are authorized, but not directed, to make payments under the Store

  Closing Bonus Plan.



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          4.     The Debtors and the Consultant are authorized to take all actions necessary to

  effectuate the relief granted in this Final Order in accordance with the Motion. The failure to

  specifically include any provision of the Consulting Agreement in this Final Order shall not

  diminish or impair the effectiveness of such provisions, it being the intent of the Court that the

  Consulting Agreement and all of its provisions, payments, and transactions be, and hereby are,

  authorized and approved as and to the extent provided in this Final Order.

          5.     To the extent of any conflict between this Final Order, the Consulting Agreement,

  and the Store Closing Procedures, the terms of this Final Order shall control.

          6.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of the Final

  Order are immediately effective and enforceable upon its entry.

  I.      Authority to Engage in Closing Sales and Conduct Store Closings.

          7.     The Debtors and the Consultant are authorized, on a final pursuant to

  sections 105(a) and 363(b)(1) of the Bankruptcy Code, to continue and conduct Closing Sales at

  the Closing Stores in accordance with this Final Order, the Store Closing Procedures, and the

  Consulting Agreement as may be modified by a Side Letter (as defined below) between the

  Debtors and the landlords at the closing locations.

          8.     The Store Closing Procedures are approved in their entirety on a final basis. The

  Store Closing Procedures shall be used for all permitted store closings in these chapter 11 cases,

  unless otherwise ordered.

          9.     The Debtors are authorized to discontinue operations at the Closing Stores in

  accordance with this Final Order, the Store Closing Procedures, and the Consulting Agreement.

          10.    All entities that are presently in possession of some or all of the Merchandise or

  M&E in which the Debtors hold an interest that are or may be subject to this Final Order hereby

  are directed to surrender possession of such Merchandise or M&E to the Debtors.

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          11.    Neither the Debtors nor any of their officers, employees, or agents shall be required

  to obtain the approval of any third party, including, without limitation, any Governmental Unit (as

  defined in Bankruptcy Code section 101(27)) or landlord, to conduct the Closing Sales and to take

  the related actions authorized herein.

  II.     Conduct of the Sales.

          12.    All media in which the Closing Sales may be advertised and all landlords are

  directed to accept this Final Order as binding authority so as to authorize the Debtors and the

  Consultant to conduct the Closing Sales and the sale of Merchandise, M&E, and Additional

  Consultant Goods, including, without limitation, to conduct and advertise the sale of the

  Merchandise, M&E, and Additional Consultant Goods in the manner contemplated by and in

  accordance with this Final Order, the Store Closing Procedures, and the Consulting Agreement.

          13.    The Debtors and the Consultant are hereby authorized to take such actions as may

  be necessary and appropriate to conduct the Store Closings without necessity of further order of

  this Court as provided in this Final Order, the Store Closing Procedures, and the Consulting

  Agreement, including, but not limited to, advertising the sale as a “store closing sale,” “sale on

  everything,” “everything must go,” or similar-themed sales through the posting of signs (including

  the use of exterior banners at non-enclosed mall closing locations, and at enclosed mall closing

  locations to the extent the applicable closing location entrance does not require entry into the

  enclosed mall common area), use of signwalkers, and street signage; provided, however, that only

  Debtor-approved terminology will be used at each Closing Store in connection with the Sales.

          14.    The Consultant is authorized to supplement the Merchandise in the Closing Stores

  with Additional Consultant Goods, provided that any such supplementing with Additional

  Consultant Goods must be of like kind and no lesser quality than goods sold in the Closing Stores

  prior to the Petition Date. Sales of Additional Consultant Goods shall be run through the Debtors’

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  cash register systems; provided, however, that the Consultant shall mark the Additional Consultant

  Goods using either a “dummy” SKU or department number or in such other manner so as to

  distinguish the sale of Additional Consultant Goods from the sale of Merchandise. The Consultant

  and Merchant shall cooperate to ensure that the Additional Consultant Goods are marked in such

  a way that a reasonable consumer could identify the Additional Consultant Goods from the

  Merchandise.

          15.    All transactions relating to the Additional Consultant Goods are, shall be construed

  as, and are acknowledged by the Debtors to be, a true consignment from Consultant to the Debtors

  under Article 9 of the Uniform Commercial Code in effect in the State of Delaware (the “UCC”)

  and not a consignment for security purposes. At all times and for all purposes, the Additional

  Consultant Goods and their proceeds shall be the exclusive property of the Consultant, and no

  other person or entity (including, without limitation, the Debtors, or any third person claiming a

  security interest in the Debtors’ property, including any of the Debtors’ secured lenders) shall have

  any claim against any of the Additional Consultant Goods or the proceeds thereof. The Additional

  Consultant Goods shall at all times remain subject to the exclusive control of the Consultant. The

  Debtors shall, at Consultant’s sole cost and expense, insure Additional Consultant Goods and, if

  required, promptly file any proofs of loss with regard thereto.

          16.    Consultant is hereby granted a first priority security interest in and lien upon (i) the

  Additional Consultant Goods and (ii) the Additional Consultant Goods proceeds, which security

  interest shall be deemed perfected on an final pursuant to this Final Order without the requirement

  of filing UCC financing statements or providing notifications to any prior secured parties (provided

  that Consultant is hereby authorized to deliver any notices and file any financing statements and

  amendments thereof under the applicable UCC identifying Consultant’s interest in the Additional



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  Consultant Goods (and any proceeds from the sale thereof) as consigned goods thereunder and the

  Debtors as the consignee therefor, and Consultant’s security interest in such Additional Consultant

  Goods and Additional Consultant Goods proceeds). As part of each weekly reconciliation, the

  Debtors shall turnover all proceeds from the sale of Additional Consultant Goods to the Consultant,

  net of any fee payable to the Debtors pursuant to the Consulting Agreement.

          17.     Notwithstanding anything herein to the contrary, and in view of the importance of

  the use of sign-walkers, banners, and other advertising to the sale of the Merchandise, M&E, and

  Additional Consultant Goods, to the extent that, prior to the Final Hearing, disputes arise during

  the course of such sale regarding laws regulating the use of sign-walkers, banners, or other

  advertising and the Debtors are unable to resolve the matter consensually, any party may request

  an immediate telephonic hearing with this Court pursuant to these provisions. Such hearing will,

  to the extent practicable, be scheduled initially no later than the earlier of (a) the Final Hearing, or

  (b) within two (2) business days of such request. This scheduling shall not be deemed to preclude

  additional hearings for the presentation of evidence or arguments as necessary.

          18.     The sale of the Merchandise, M&E, and Additional Consultant Goods shall be

  conducted by the Debtors notwithstanding any restrictive provision of any lease, sublease,

  restrictive covenant, or other agreement relative to occupancy affecting or purporting to restrict

  the conduct of the Store Closings or the Closing Sales (including the sale of the Merchandise,

  M&E, and Additional Consultant Goods) and the rejection of leases, abandonment of assets, or

  “going dark” provisions, and such provisions shall not be enforceable in conjunction with the Sales

  or the Store Closings. Breach of any such provisions in these chapter 11 cases in conjunction with

  the Store Closings or the Closing Sales shall not constitute a default under a lease or provide a

  basis to terminate the lease; provided that the Store Closings and Closing Sales are conducted in



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  accordance with the terms of this Final Order and the Store Closing Procedures. Subject to the

  approval of the Secured Lenders, the Debtors and landlords of the Closing Stores are authorized

  to enter into agreements (“Side Letters”) between themselves modifying the Store Closing

  Procedures without further order of the Court and such Side Letters shall be binding as among the

  Debtors and any such landlords. In the event of any conflict between the Store Closing Procedures

  and any Side Letter, the terms of such Side Letter shall control.

          19.     Except as expressly provided for herein or in the Store Closing Procedures, and

  except with respect to any Governmental Unit (as to which paragraphs and shall apply) no person

  or entity, including, but not limited to, any landlord, licensor, service provider, utility, or creditor,

  shall take any action to directly or indirectly prevent, interfere with, or otherwise hinder

  consummation of the Closing Sales or the sale of Merchandise, M&E, or Additional Consultant

  Goods, or the advertising and promotion (including the posting of signs and exterior banners or

  the use of signwalkers) of such sales, and all such parties and persons of every nature and

  description, including, but not limited to, any landlord, licensor, service provider, utility, and

  creditor and all those acting for or on behalf of such parties, are prohibited and enjoined from

  (a) interfering in any way with, obstructing, or otherwise impeding the conduct of the Closing

  Sales and/or Store Closings, and/or (b) instituting any action or proceeding in any court (other than

  this Court) or administrative body seeking an order or judgment against, among others, the

  Debtors, or the landlords at the Closing Stores that might in any way directly or indirectly obstruct

  or otherwise interfere with or adversely affect the conduct of the Closing Sales or other liquidation

  sales at the Closing Stores and/or seek to recover damages for breach(es) of covenants or

  provisions in any lease, sublease, license, or contract based upon any relief authorized herein.




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          20.    In accordance with and subject to the terms and conditions of the Consulting

  Agreement, the Consultant shall have the right to use the Closing Stores and all related Closing

  Store services, furniture, fixtures, equipment, and other assets of the Debtors for the purpose of

  conducting the Store Closings, free of any interference from any entity or person, subject to

  compliance with the Store Closing Procedures and this Order.

          21.    All sales of Merchandise, M&E and Additional Consultant Goods shall be “as is”

  and final. Returns related to the purchase of Store Assets shall not be accepted at stores that are

  not participating in the Store Closings. However, as to the Closing Stores, all state and federal

  laws relating to implied warranties for latent defects shall be complied with and are not superseded

  by the sale of said goods or the use of the terms “as is” or “final sales.”

          22.    The Consultant shall not be liable for sales taxes except with respect to the

  Additional Consultant Goods, and as expressly provided in the Consulting Agreement, and the

  payment of any and all sales taxes is the responsibility of the Debtors, subject to Consultant’s

  obligation to collect and remit the sales taxes attributable to the sale of Additional Consultant

  Goods. The Debtors are directed to remit all taxes arising from the Sales to the applicable

  Governmental Units as and when due; provided that in the case of a bona fide dispute the Debtors

  are only directed to pay such taxes upon the resolution of the dispute, if and to the extent that the

  dispute is decided in favor of the applicable Governmental Unit. For the avoidance of doubt, sales

  taxes collected and held in trust by the Debtors shall not be used to pay any creditor or any other

  party, other than the applicable Governmental Unit for which the sales taxes are collected. This

  Final Order does not enjoin, suspend, or restrain the assessment, levy, or collection of any tax

  under state law, and does not constitute a declaratory judgment with respect to any party’s liability

  for taxes under state law.



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          23.    Pursuant to section 363(f) of the Bankruptcy Code, the Consultant, on behalf of the

  Debtors, is authorized to sell Store Assets—and all sales of Store Assets whether by the Consultant

  or the Debtors, shall be—free and clear of any and all of any liens, claims, encumbrances,

  assignments, preferences, debts, easements, charges, suits, licenses, options, rights-of-recovery,

  judgments, orders and decrees of any court or foreign or domestic governmental entity, taxes

  (including foreign, state, and local taxes), licenses, covenants, restrictions, indentures, instruments,

  leases, options, off-sets, claims for reimbursement, contribution, indemnity or exoneration,

  successor, product, environmental, tax, labor, ERISA, CERCLA, alter ego and other liabilities,

  causes of action, contract rights, and claims, to the fullest extent of the law, in each case, of any

  kind or nature (including, without limitation, all “claims” as defined in section 101(5) of the

  Bankruptcy Code), known or unknown, whether pre-petition or post-petition, secured or

  unsecured, choate or inchoate, filed or unfiled, scheduled or unscheduled, perfected or unperfected,

  liquidated or unliquidated, noticed or unnoticed, recorded or unrecorded, contingent or non-

  contingent, material or non-material, statutory or non-statutory, matured or unmatured, legal or

  equitable (collectively, “Encumbrances”)s; as provided for herein because in each case, one or

  more of the standards set forth in section 363(f)(1)–(5) has been satisfied; provided, however, that

  any such Encumbrances shall attach to the proceeds of the sale of the Merchandise and the M&E

  with the same validity, in the amount, with the same priority as, and to the same extent that any

  such Encumbrances have with respect to the Merchandise and the M&E, subject to any claims and

  defenses that any party may possess with respect thereto and subject to the Consultant’s and

  expenses (as provided in the Consulting Agreement).

          24.    To the extent that the Debtors propose to sell or abandon M&E that may contain

  personal and/or confidential information about the Debtors’ employees and/or customers



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  (the “Confidential Information”), the Debtors shall remove the Confidential Information from such

  items of M&E before such sale or abandonment.

          25.    The Debtors are authorized and empowered to transfer merchandise, M&E and

  Additional Consultant Goods among, and into, the Stores.

  III.    Dispute Resolution Procedures with Governmental Units.

          26.    Nothing in this Final Order, or the Store Closing Procedures, releases, nullifies, or

  enjoins the enforcement of any liability to a governmental unit under environmental laws or

  regulations (or any associated liabilities for penalties, damages, cost recovery, or injunctive relief)

  to which any entity would be subject as the owner, lessor, lessee, or operator of the property after

  the date of entry of this Final Order. Nothing contained in this Final Order, or the Store Closing

  Procedures shall in any way: (a) diminish the obligation of any entity to comply with

  environmental laws; or (b) diminish the obligations of the Debtors to comply with environmental

  laws consistent with its rights and obligations as debtor in possession under the Bankruptcy Code.

  The Store Closings and the Sales shall not be exempt from laws of general applicability, including,

  without limitation, public health and safety, criminal, tax, labor, employment, environmental,

  antitrust, fair competition, traffic, and consumer protection laws, including consumer laws

  regulating deceptive practices and false advertising (collectively, “General Laws”). Nothing in

  this Final Order, the Consulting Agreement, or the Store Closing Procedures, shall alter or affect

  obligations to comply with all applicable federal safety laws and regulations. Nothing in this Final

  Order shall be deemed to bar any Governmental Unit (as such term is defined in section 101(47)

  of the Bankruptcy Code) from enforcing General Laws, subject to the Debtors’ rights to assert in

  that forum or before this Court that any such laws are not in fact General Laws or that such

  enforcement is impermissible under the Bankruptcy Code or this Final Order. Notwithstanding

  any other provision in this Final Order, no party waives any rights to argue any position with

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  respect to whether the conduct was in compliance with this Final Order and/or any applicable law,

  or that enforcement of such applicable law is preempted by the Bankruptcy Code. Nothing in this

  Final Order shall be deemed to have made any rulings on any such issues.

          27.    To the extent that the sale of Merchandise, M&E, and Additional Consultant Goods

  is subject to any Liquidation Sale Laws, including any federal, state or local statute, ordinance, or

  rule, or licensing requirement directed at regulating “going out of business,” “store closing,”

  similar inventory liquidation sales, or bulk sale laws, laws restricting safe, professional and non-

  deceptive, customary advertising such as signs, banners, posting of signage, and use of sign-

  walkers solely in connection with the sale and including ordinances establishing license or permit

  requirements, waiting periods, time limits, or bulk sale restrictions that would otherwise apply

  solely to the sale of the merchandise, M&E, and Additional Consultant Goods, the Dispute

  Resolution Procedures in this section shall apply:

                 a.      Provided that the Closing Sales are conducted in accordance with the terms
                         of the Interim Order or the Final Order, as applicable, and the Store Closing
                         Procedures, and in light of the provisions in the laws of many Governmental
                         Units (as defined in the Bankruptcy Code) that exempt court-ordered sales
                         from their provisions, the Debtors will be presumed to be in compliance
                         with any Liquidation Sale Laws and are authorized to conduct the Closing
                         Sales in accordance with the terms of the Interim Order or the Final Order,
                         as applicable, and the Store Closing Procedures without the necessity of
                         further showing compliance with any such Liquidation Sale Laws.

                 b.      Within three business days after entry of the Interim Order, the Debtors will
                         serve by email, facsimile, or first-class mail, copies of the Interim Order,
                         the proposed Final Order and the Store Closing Procedures on the
                         following: (i) the landlords for the Stores; (ii) the Attorney General’s office
                         for each state in which the Closing Sales are being held; (iii) the county
                         consumer protection agency or similar agency for each county in which the
                         Closing Sales are being held; (iv) the division of consumer protection for
                         each state in which the Closing Sales are being held; (v) the chief legal
                         counsel for each local jurisdiction in which the Closing Sales are being held
                         (collectively, the “Dispute Notice Parties”).

                 c.      With respect to any additional Stores, within three business days after Court
                         authorization to close additional stores (each, an “Additional Closing Store

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                     List”), the Debtors will serve by email, facsimile, or first-class mail, copies
                     of the Interim Order or Final Order, as applicable, and the Store Closing
                     Procedures on the Dispute Notice Parties. To the extent that there is a
                     dispute arising from or relating to the Sales, the Interim Order, or the
                     proposed Final Order, as applicable, the Store Closing Procedures, which
                     dispute relates to any Liquidation Sale Laws (a “Reserved Dispute”), the
                     Court shall retain exclusive jurisdiction to resolve the Reserved Dispute.
                     Any time within ten days following entry of the Interim Order or service of
                     any Additional Closing Store List, as applicable, any Governmental Unit
                     may assert that a Reserved Dispute exists by sending a notice (the “Dispute
                     Notice”) explaining the nature of the dispute to: (i) counsel to the Debtors,
                     Benesch, Friedlander, Coplan & Aronoff LLP, 222 Delaware Avenue, Suite
                     201, Wilmington, Delaware 19801-1611, Attn: Michael J. Barrie and
                     Gregory W. Werkheiser; (ii) counsel to the Prepetition ABL Agent, Morgan
                     Lewis & Bockius LLP, (a) 101 Park Avenue, New York, New York 10178-
                     0060, Attn: Jennifer Feldsher, and (b) One Federal Street, Boston,
                     Massachusetts 02110, Attn: Marjorie Crider and Christopher L. Carter, and
                     Burr & Forman LLP, 1201 N. Market Street, Suite 1407, Wilmington,
                     Delaware 19801, Attn: J. Cory Falgowski; (iii) counsel to the Consultant,
                     Riemer & Braunstein LLP, Times Square Tower, Seven Times Square,
                     Suite 2506, New York, New York 10036; (iii) the United States Trustee’s
                     Office for the District of Delaware, 844 King Street, Suite 2207, Lockbox
                     35, Wilmington, Delaware 19801, Attn: Linda Richenderfer; (iv) counsel to
                     the Prepetition Term Loan Lenders, Greenberg Traurig, LLP, One
                     International Place, Suite 2000, Boston, MA 02110, Attn: Jeffrey M. Wolf.
                     If the Debtors and the Governmental Unit are unable to resolve the Reserved
                     Dispute within 15 days after service of the Dispute Notice, the
                     Governmental Unit may file a motion with the Court requesting that the
                     Bankruptcy Court resolve the Reserved Dispute (a “Dispute Resolution
                     Motion”).

                d.   In the event that a Dispute Resolution Motion is filed, nothing in the Interim
                     Order or the Final Order, as applicable, shall preclude the Debtors, a
                     landlord, or any other interested party from asserting (i) that the provisions
                     of any Liquidation Sale Laws are preempted by the Bankruptcy Code, or
                     (ii) that neither the terms of the Interim Order or the Final Order nor the
                     conduct of the Debtors pursuant to the Interim Order or the Final Order
                     violates such Liquidation Sale Laws. Filing a Dispute Resolution Motion
                     as set forth herein shall not be deemed to affect the finality of the Interim
                     Order or the Final Order or to limit or interfere with the Debtors’ ability to
                     conduct or to continue to conduct the Closing Sales pursuant to the Interim
                     Order or the Final Order, absent further order of the Court. Upon the entry
                     of the Interim Order or the Final Order, as applicable, the Court grants
                     authority for the Debtors to conduct the Closing Sales pursuant to the terms
                     of the Interim Order or the Final Order, as applicable, the Store Closing
                     Procedures and to take all actions reasonably related thereto or arising in
                     connection therewith. The Governmental Unit will be entitled to assert any

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                         jurisdictional, procedural, or substantive arguments it wishes with respect
                         to the requirements of its Liquidation Sale Laws or the lack of any
                         preemption of such Liquidation Sale Laws by the Bankruptcy Code.
                         Nothing in the Interim Order or the Final Order will constitute a ruling with
                         respect to any issues to be raised in any Dispute Resolution Motion.

                 e.      If, at any time, a dispute arises between the Debtors and a Governmental
                         Unit as to whether a particular law is a Liquidation Sale Law, and subject
                         to any provisions contained in the Interim Order or the Final Order related
                         to the Liquidation Sale Laws, then any party to that dispute may utilize the
                         provisions of subparagraphs (c) and (d) above by serving a notice to the
                         other party and proceeding thereunder in accordance with those
                         subparagraphs. Any determination with respect to whether a particular law
                         is a Liquidation Sale Law shall be made de novo.

          28.    Subject to paragraphs and __ above, each and every federal, state, or local agency,

  departmental unit, or Governmental Unit with regulatory authority over the Closing Sales, and all

  newspapers and other advertising media in which the Closing Sales are advertised shall consider

  the Final Order as binding authority that no further approval, license, or permit of any

  Governmental Unit shall be required, nor shall the Debtors be required, to post any bond, to

  conduct the Sales.

          29.    Within three business days of the Final Order, the Debtors shall serve copies of the

  Final Order, and the Store Closing Procedures via e-mail, facsimile, or regular mail, on: (a) the

  Office of the U.S. Trustee for the District of Delaware; (b) the holders of the 30 largest unsecured

  claims against the Debtors (on a consolidated basis); (c) the United States Attorney’s Office for

  the District of Delaware; (d) the Internal Revenue Service; (e) the state attorneys general for all

  states in which the Debtors conduct business; (f) all parties who are known by the Debtors to assert

  liens against the Merchandise and the M&E ; (g) all state attorneys general in which the

  Merchandise and the M&E are located; (h) municipalities in which the Merchandise and the M&E

  are located; (i) all of the Debtors’ landlords at the locations of the Stores; (j) all applicable state

  and consumer protection agencies; and (k) any party that has requested notice pursuant to


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  Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief requested, no

  other or further notice need be given.

  IV.     Effectiveness of the Consulting Agreement.

          30.    The Consulting Agreement is operative and effective on a final basis. The Debtors

  are authorized to act and perform in accordance with the terms of the Consulting Agreement,

  including, without limitation, reimbursing all expenses to the Consultant as required by the

  Consulting Agreement without the need for any application of the Consultant or a further order of

  the Court. For avoidance of doubt, the Debtors are also authorized to fund the Expense Deposit in

  accordance with the terms of the Consulting Agreement.

          31.    The treatment of Pre-SCD Orders, including the Cancelled Back-Order

  Merchandise Credit, described in the Consulting Agreement is a sound exercise of the Debtors’

  business judgment, complies with applicable law, and is hereby approved, subject to entry of the

  Final Order.

          32.    Subject to the restrictions set forth in this Final Order Order and the Store Closing

  Procedures, the Debtors and the Consultant are hereby authorized to take any and all actions as

  may be necessary or desirable to implement the Consulting Agreement, the Store Closings, and

  the Closing Sales, and each of the transactions contemplated by the Consulting Agreement, and

  any actions taken by the Debtors and the Consultant necessary or desirable to implement the

  Consulting Agreement and the Closing Sales prior to the date hereof, are hereby approved and

  ratified. The failure to specifically include any particular provision of the Consulting Agreement

  in this Final Order shall not diminish or impair the effectiveness of such provisions, it being the

  intent of this Court that the Consulting Agreement and all of its provisions, payments, and

  transactions, be and hereby are authorized and approved as and to the extent provided for in this

  Final Order.

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          33.    Notwithstanding anything to the contrary in the Consulting Agreement, the Debtors

  and their estates shall not indemnify the Consultant for any damages arising primarily out of any

  act or omission by the Consultant constituting fraud, gross negligence, or willful misconduct.

  V.      Debtors are Authorized to Retain Consultant as Special Asset Disposition Consultant
          Pursuant to the Consulting Agreement.

          34.    The This Court is satisfied that the Consultant represents and holds no interest

  adverse to the Debtors or their estates, and that the Consultant will not represent any other entity

  in connection with these cases and that its employment is necessary and would be in the best

  interests of the Debtors and the estates. Accordingly, pursuant to sections 327(a), 330 and 331 of

  Bankruptcy Code, the Debtors be, and hereby are, authorized to retain the Consultant as their

  special asset disposition advisors and consultants, to assist the Debtors in the marketing and sale

  process for the Assets in accordance with the Consulting Agreement; provided however, it is

  agreed and understood that no fees shall be payable to the Consultant in connection with Services

  rendered by it to the Debtors pursuant to the Consulting Agreement, and other than the right to

  reimbursement of Consultant Incurred Expenses, Consultant shall have to claim or right to

  payment from the Company; provided further however, Consultant shall not be required to file a

  fee application for reimbursement of the Consultant Incurred Expenses. Debtors shall not be

  required to comply with any state or local law requiring that the Debtors pay an employee

  substantially contemporaneously with his or her termination; provided, however, that the Debtors

  shall pay any accrued wages to terminated employees as expeditiously as possible

  VI.     Other Provisions.

          35.    The Consultant shall not be liable for any claims against the Debtors, and the

  Debtors shall not be liable for any claims against Consultant, in each case, other than as expressly

  provided for in the Consulting Agreement.


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          36.    The Debtors shall not be required to comply with any state or local law requiring

  that the Debtors pay an employee substantially contemporaneously with his or her termination;

  provided, however, that the Debtors shall pay any accrued wages to terminated employees as

  expeditiously as possible.

          37.    Notwithstanding the relief granted in this Final Order and any actions taken

  pursuant to such relief, nothing in this Final Order shall be deemed: (a) an admission as to the

  validity, priority, or amount of any particular claim against a Debtor entity; (b) a waiver of the

  Debtors’ or any other party-in-interest’s right to dispute any particular claim on any grounds; (c) a

  promise or requirement to pay any particular claim; (d) an implication or admission that any

  particular claim is of a type specified or defined in this Final Order or the Motion; (e) a request or

  authorization to assume any agreement, contract, or lease pursuant to section 365 of the

  Bankruptcy Code (other than the Consulting Agreement); (f) a waiver or limitation of the Debtors’

  or any other party-in-interest’s rights under the Bankruptcy Code or any other applicable law; or

  (g) a concession by the Debtors or any other party-in-interest that any liens (contractual, common

  law, statutory, or otherwise) satisfied pursuant to this Final Order are valid and the Debtors and all

  other parties-in-interest expressly reserve their rights to contest the extent, validity, or perfection

  or to seek avoidance of all such liens. Any payment made pursuant to this Final Order should not

  be construed as an admission as to the validity, priority, or amount of any particular claim or a

  waiver of the Debtors’ or any other party-in-interest’s rights to subsequently dispute such claim.

          38.    The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

          39.    Notice of the Motion as provided therein shall be deemed good and sufficient notice

  of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

  by such notice.



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          40.    Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Final

  Order are immediately effective and enforceable upon its entry.

          41.    Cause exists to shorten the notice period set forth in Bankruptcy Rule 2002, to the

  extent possible.

          42.    The Debtors are authorized to take all actions necessary to effectuate the relief

  granted in this Final Order in accordance with the Motion.

          43.    This Court retains exclusive jurisdiction with respect to all matters arising from or

  related to the implementation, interpretation, and enforcement of this Final Order, including, but

  not limited to, (a) any claim or issue relating to any efforts by any party or person to prohibit,

  restrict or in any way limit banner and sign-walker advertising, including with respect to any

  allegations that such advertising is not being conducted in a safe, professional, and non-deceptive

  manner, (b) any claim of the Debtors, the landlords for protection from interference with the Store

  Closings or Closing Sales, (c) any other disputes related to the Store Closings or Closing Sales,

  and (d) protect the Debtors against any assertions of any liens, claims, encumbrances, and other

  interests. No such parties or person shall take any action against the Debtors, the landlords, the

  Store Closings, or the Closing Sales until this Court has resolved such dispute. This Court shall

  hear the request of such parties or persons with respect to any such disputes on an expedited basis,

  as may be appropriate under the circumstances.


   Dated: ____________, 2020
   Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE




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                                           Store Closing Procedures 1

         1.      The Sales shall be conducted so that the Stores in which Sales are to occur will
  remain open no longer than during the normal hours of operation or such hours as otherwise
  provided for in the respective leases for the Stores.

          2.     The Store Closing Sales shall be conducted in accordance with applicable state and
  local “Blue Laws,” where applicable, so that no Store Closing Sale shall be conducted on Sunday
  unless the Debtors had been operating such Stores on a Sunday prior to the commencement of the
  Store Closing Sales.

          3.      On “shopping center” property, the Consultant shall not distribute handbills,
  leaflets or other written materials to customers outside of any Stores’ premises, unless permitted
  by the lease or if distribution is customary in the “shopping center” in which such Stores is located;
  provided that the Consultant may solicit customers in the Stores themselves. On “shopping center”
  property, the Consultant shall not use any flashing lights or amplified sound to advertise the Store
  Closing Sales or solicit customers, except as permitted under the applicable lease or agreed to by
  the landlord.

          4.     At the conclusion of the Store Closing Sales, the Consultant shall, subject to the
  Consulting Agreement, vacate the Stores and the Distribution Centers in broom clean condition;
  provided that Consultant may abandon any M&E not sold in the Store Closing Sales at the
  conclusion of the Store Closing Sales, without cost or liability of any kind to the Consultant. The
  Debtors will have the option to remove the M&E at their own cost prior to the termination date.
  Any abandoned M&E left in a Stores after a lease is rejected shall be deemed abandoned to the
  landlord having a right to dispose of the same as the landlord chooses without any liability
  whatsoever on the part of the landlord to any party and without waiver of any damage claims
  against the Debtors. For the avoidance of doubt, as of the Sale Termination Date, the Consultant
  may abandon, in place and without further responsibility or liability of any kind, any M&E.

         5.      The Consultant and the Debtors may advertise each Store Closing Sale as a “store
  closing,” “sale on everything,” “everything must go,” or similar themed sale, and to the extent
  permitted in the Approval Orders, “going out of business”. The Consultant and the Debtors may
  also have “countdown to closing” signs prominently displayed in a manner consistent with these
  Store Closing Procedures. All signs, banners, ads and other advertising collateral, promotions,
  and campaigns will be approved by the Debtors in accordance with these Store Closing Procedures.

          6.      The Consultant shall be permitted to utilize sign walkers, display, hanging signs,
  and interior banners in connection with the Sales; provided that such sign walkers, display, hanging
  signs, and interior banners shall be professionally produced and hung in a professional manner.
  The Debtors and the Consultant shall not use neon or day-glo on its sign walkers, display, hanging
  signs, or interior banners. Furthermore, with respect to enclosed mall locations, no exterior signs


  1
            Capitalized terms used but not defined in these Store Closing Procedures have the meanings given to them
  in the Interim Order to which these Store Closing Procedures are attached as Exhibit 1 or the Motion to which the
  Interim Order is attached as Exhibit A, as applicable.




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  or signs in common areas of a mall shall be used unless otherwise expressly permitted in these
  Store Closing Procedures. In addition, the Debtors and the Consultant shall be permitted to utilize
  exterior banners at (i) non-enclosed mall Stores and (ii) enclosed mall Stores to the extent the
  entrance to the applicable Stores does not require entry into the enclosed mall common area;
  provided, however, that such banners shall be located or hung so as to make clear that the Store
  Closing Sales are being conducted only at the affected Stores, and shall not be wider than the
  storefront of the Closing Stores. In addition, the Debtors and the Consultant shall be permitted to
  utilize sign walkers in a safe and professional manner and in accordance with the terms of the
  Order. Nothing contained in these Store Closing Procedures shall be construed to create or impose
  upon the Debtors or the Consultant any additional restrictions not contained in the applicable lease
  agreement.

          7.      The purchasers of any Merchandise sold during the Store Closing Sales shall be
  permitted to remove the Merchandise through the front of the Closing Stores, or through the back
  or alternative shipping areas at any time.

          8.      Conspicuous signs shall be posted in the cash register areas of each of the affected
  Stores to effect that “all sales are final.”

         9.      Except with respect to the hanging of exterior banners, the Consultant shall not
  make any alterations to the storefront or exterior walls of any Stores, except as authorized by the
  applicable lease.

         10.    The Consultant shall not make any alterations to interior or exterior Stores lighting,
  except as authorized by the applicable lease. No property of the landlord of a Stores shall be
  removed or sold during the Store Closing Sales. The hanging of exterior banners or in-store
  signage and banners shall not constitute an alteration to a Stores.

         11.     The Consultant shall keep Stores premises and surrounding areas clean and orderly
  consistent with present practices.

          12.     Subject to the provisions of the Consulting Agreement, the Consultant shall have
  the right to use and sell all M&E. The Consultant may advertise the sale of the M&E in a manner
  consistent with these guidelines. The purchasers of any M&E sold during the Store Closing Sales
  shall be permitted to remove the M&E either through the back or alternative shipping areas at any
  time, or through other areas after applicable business hours, provided, however that the foregoing
  shall not apply to de minimis M&E sales made whereby the item can be carried out of the Closing
  Stores in a shopping bag. For the avoidance of doubt, as of the Sale Termination Date, the
  Consultant and the Debtors may abandon, in place and without further responsibility, any M&E.

          13.     At the conclusion of the Store Closing Sales at each Stores, pending assumption or
  rejection of applicable leases, the landlords of the Closing Stores shall have reasonable access to
  the Closing Stores’ premises as set forth in the applicable leases. The Debtors, the Consultant, and
  their representatives and agents shall continue to have access to the Closing Stores as provided for
  in the Consulting Agreement.

         14.     The rights of landlords against the Debtors for any damages to a Stores shall be
  reserved in accordance with the provisions of the applicable lease.



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         15.     If and to the extent that the landlord of any Stores affected hereby contends that the
  Debtors or the Consultant is in breach of or default under these Store Closing Procedures, such
  landlord shall email or deliver written notice by overnight delivery to the Debtors and the
  Consultant as follows:

                 If to the Debtors:

                 Art Van Furniture, LLC
                 6500 14 Mile Road
                 Warren, MI 48092
                 Attention: Michael Zambricki

                 with copies (which shall not constitute notice) to:

                 Benesch, Friedlander, Coplan & Aronoff LLP
                 222 Delaware Avenue, Suite 801
                 Wilmington, Delaware 19801
                 Attn: Gregory Werkheiser & Michael J. Barrie

                 -and-

                 Montgomery McCracken Walker & Rhoads LLP
                 437 Madison Avenue
                 New York, NY 10022
                 Attn. Maura I. Russell

         If the parties are unable to resolve the dispute, either the landlord or the Debtors shall have
         the right to schedule a hearing before the Court on no less than five (5) days’ written
         notice to the other party, served by email or overnight delivery.




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Results ‐ Store Count Strategy by Location

        169 # Stores included in liquidation                                       Yes
          2 # stores closed prior to sale commencement                             No

Financial Information in ($000's)
                                                                     Location Information                                                                                                                                                                               Location Space Details
                                                            Original                  Include                     Direct                       Store   Company       Gross         Selling            Lease         Lease           Months          SLB                                                                         Master
  Store #                    Store Name                   Store Name              in Liquidation               Marketing Area                  Type    Affiliation   Sq. Ft.       Sq. Ft.        Beginning Date    Expire.        Remaining      Property                         Landlord                                     Lease                                          Address
          1   Bel Air, MD (1)                BEL AIR (#65)                              Yes        Baltimore                             Standard        WLF              74,400        62,000          5/15/2015    12/31/2025             70      No       CAMPUS HILLS MARYLAND ASSOCIATES, L.P. None                                         2400 E Churchville Rd, Bel Air, MD, 21015, USA
          2   Pasadena, MD (2)               PASADENA (#61)                             Yes        Baltimore                             Standard        WLF              61,646        54,000          5/15/2015     8/31/2025             66      No       ARUNDEL PROPERTY INVESTORS LP                     None                              8038 Ritchie Hwy, Pasadena, MD, 21122, USA
          3   Westminster, MD (3)            WESTMINSTER (#64)                          Yes        Baltimore                             Standard        WLF              40,550        38,000          5/15/2015     8/31/2021             18      No       WESTMINSTER GATEWAY, LLC                          None                              1030 Baltimore Blvd Suite 110, Westminster, MD, 21157, USA
          4   Towson, MD (4)                 TOWSON (#63)                               Yes        Baltimore                             Standard        WLF              54,000        46,000          5/15/2015     4/30/2038            218      Yes      STORE CAPITAL                                     Store Master Funding XII, LLC     1530 E Joppa Rd, Towson, MD, 21286, USA
          5   Catonsville, MD (5)            CATONSVILLE (#62)                          Yes        Baltimore                             Standard        WLF            115,300         40,000          5/15/2015     8/31/2025             66      No       JMB JOINT VENTURE                                 None                              6415 Baltimore National Pike, Catonsville, MD, 21228, USA
          6   Downers Grove, IL (6)          DOWNERS GROVE AVF & SSI (#199)             Yes        Chicago                               Flagship        AVF            100,000         92,428           8/1/2015     3/31/2037            205      Yes      STORE CAPITAL                                     STORE SPE AVF I 2017-1, LLC       1021 BUTTERFIELD RD, DOWNERS GROVE, IL, 60515, USA
          7   Merrillville, IN (7)           MERRILLVILLE AVF                           Yes        Chicago                               Standard        AVF              50,000        43,130          8/24/2013     2/28/2023             36      No       ACADIA MERRILLVILLE REALTY, L.P.                  None                              1600 E 80TH AVE, MERRILLVILLE, IN, 46410, USA
          8   Naperville, IL (8)             NAPERVILLE AVF                             Yes        Chicago                               Standard        AVF              62,000        52,753          6/18/2015     8/31/2025             66      No       BRIXMOR HERITAGE SQUARE, LLC                      None                              404 SOUTH ROUTE 59, NAPERVILLE, IL, 60540, USA
          9   Bedford Park, IL (9)           BEDFORD PK AVF                             Yes        Chicago                               Standard        AVF              84,505        71,590         10/26/2013     4/30/2024             50      No       SPIRIT SPE LOAN PORTFOLIO 2013-3, LLC             None                              7200 S CICERO AVE, BEDFORD PARK, IL, 60638, USA
         10   Elston, IL (10)                ELSTON AVE AVF                             Yes        Chicago                               Standard        AVF              48,000        40,660         10/26/2013     4/30/2024             50      No       Farbman Group                                     None                              2606 ELSTON AVE, CHICAGO, IL, 60647, USA
         11   Batavia, IL (11)               BATAVIA AVF                                Yes        Chicago                               Standard        AVF              42,500        37,055          9/14/2013     1/31/2024             47      No       PARAGON BATAVIA, LLC                              None                              165 N RANDALL RD, BATAVIA, IL, 60510, USA
         12   Orland Park, IL (12)           ORLAND PARK AVF                            Yes        Chicago                               Standard        AVF              65,523        53,329          7/13/2013     5/31/2024             51      No       55th & S. Kedzie, LLC                             None                              15080 S LA GRANGE RD, ORLAND PARK, IL, 60462, USA
         13   Algonquin, IL (13)             ALGONQUIN AVF                              Yes        Chicago                               Standard        AVF              48,397        41,272          3/31/2016     7/31/2025             65      No       c/o Mid America Asset Management, Inc.            None                              1500 S RANDALL ROAD, ALGONQUIN, IL, 60102, USA
         14   Kildeer, IL (14)               KILDEER AVF                                Yes        Chicago                               Standard        AVF              40,628        34,534          10/4/2017     9/30/2027             91      No       Kildeer Village Square, LLC.                      None                              20393 N RAND RD, KILDEER, IL, 60074, USA
         15   Glendale Heights, IL (15)      GLENDALE HEIGHTS AVF                       Yes        Chicago                               Standard        AVF              60,820        37,044          2/26/2016     3/31/2026             73      No       125 W. Army Trail Road LLC                        None                              125 ARMY TRAIL ROAD, GLENDALE HGTS, IL, 60139, USA
         16   Deerfield, IL (16)             DEERFIELD AVF                              Yes        Chicago                               Standard        AVF              41,966        35,671         12/13/2017     2/29/2028             96      No       Gateway Fairview, Inc.                            None                              120 S. WAUKEGAN, DEERFIELD, IL, 60015, USA
         17   Schaumburg, IL (17)            SCHAUMBURG AVF& SSI (#303)                 Yes        Chicago                               Flagship        AVF              71,400        61,990         10/29/2016     3/31/2037            205      Yes      STORE CAPITAL                                     Store Master Funding XII, LLC     1293 E HIGGINS RD, SCHAUMBURG, IL, 60173, USA
         18   Joliet, IL (18)                JOLIET PS                                  Yes        Chicago                               Sleep           APS               3,116          2,884        12/26/2017    12/31/2027             94      No       GW Fidelity PH, LLC                               None                              2901 PLAINFIELD, JOLIET, IL, 60435, USA
         19   Burbank, IL (19)               BURBANK PS                                 Yes        Chicago                               Sleep           APS               3,994          3,476         3/21/2015     3/31/2025             61      No       WM 73 RE, LLC                                     None                              7712 CICERO AVENUE, BURBANK, IL, 60459, USA
         20   Woodridge, IL (20)             WOODRIDGE AVF                              Yes        Chicago                               Standard        AVF              68,400        59,687          3/27/2014    10/31/2037            212      Yes      STORE CAPITAL                                     STORE SPE AVF II 2017-2, LLC      900 E BOUGHTON RD, WOODRIDGE, IL, 60517, USA
         21   Gurnee, IL (21)                GURNEE AVF                                 Yes        Chicago                               Standard        AVF              34,000        28,900          6/26/2018    12/31/2032            154      No       3503 RP Gurnee, L.L.C.                            None                              6911 W. GRAND AVE, GURNEE, IL, 60031, USA
         22   Plainfield, IL (22)            PLAINFIELD PS                              Yes        Chicago                               Sleep           APS               3,600          3,290         2/11/2017     2/28/2027             84      No       NATIONAL SHOPPING PLAZAS, INC.                    None                              13511 S ROUTE 59, PLAINFIELD, IL, 60544, USA
         23   Willowbrook, IL (23)           WILLOWBROOK PS                             Yes        Chicago                               Sleep           APS               3,834          3,400         12/3/2016     1/31/2027             83      No       NATIONAL SHOPPING PLAZAS, INC.                    None                              6938 KINGERY HIGHWAY, WILLOWBROOK, IL, 60527, USA
         24   Chicago, IL (24)               ASHLAND PS                                 Yes        Chicago                               Sleep           APS               3,000          2,600         9/10/2016     9/30/2026             79      No       NATIONAL SHOPPING PLAZAS, INC.                    None                              2911 N. ASHLAND AVENUE, CHICAGO, IL, 60657, USA
         25   Bloomingdale, IL (25)          BLOOMINGDALE PS                            Yes        Chicago                               Sleep           APS               4,798          4,370         5/26/2017     4/30/2027             86      No       Bloomingdale Square, LP                           None                              398 W ARMY TRAIL RD #102, BLOOMINGDALE, IL, 60108, USA
         26   Harwood Heights, IL (26)       HARWOOD HEIGHTS AVF                        Yes        Chicago                               Standard        AVF              60,000        51,000         11/15/2017    12/31/2038            226      No       DBD AVF                                           None                              7304 WEST LAWRENCE AVE, HARWOOD HEIGHTS, IL, 60706, U
         27   Avon, OH (27)                  AVON (#45, 46 CC)                          Yes        Cleveland                             Standard         LVF             77,000        72,380           7/1/2011    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                             Vereit                            1801 NAGEL ROAD, AVON, OH, 44011, USA
         28   North Canton, OH (28)          CANTON (#14, 25, 26 CC)                    Yes        Cleveland                             Standard         LVF             65,765        60,199           3/1/2008    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                             Vereit                            6229 PROMLER AVENUE NW, NORTH CANTON, OH, 44720, USA
         29   Akron, OH (29)                 AKRON (#23, 24 CC)                         Yes        Cleveland                             Standard         LVF             69,422        65,257          10/1/2005     9/30/2020              7      No       TABANI AKRON, LP                                  None                              3742 BROOKWALL DRIVE, AKRON, OH, 44333, USA
         30   Middleburg Heights, OH (30)    MIDDLEBURG (#11, 31 CC)                    Yes        Cleveland                             Standard         LVF             50,000        45,172           7/1/1993    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                             Vereit                            16960 SPRAGUE ROAD, MIDDLEBURG HEIGHTS, OH, 44130, US
         31   Mentor, OH (31)                MENTOR (#9, 27, 28 CC)                     Yes        Cleveland                             Standard         LVF             75,600        70,712           7/1/2009    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                             Vereit                            7799 MENTOR AVE, MENTOR, OH, 44060, USA
         32   Oakwood Village, OH (32)       OAKWOOD VILLAGE (#18, 19 CC)               Yes        Cleveland                             Standard         LVF             89,723        67,723           8/1/2002    11/30/2027             93      No       FIRST INERNATIONAL HAWTHORNE LP                   None                              23100 BROADWAY AVE, OAKWOOD VILLAGE, OH, 44146, USA
         33   North Olmsted, OH (33)         NORTH OLMSTED (#12, 34 CC)                 Yes        Cleveland                             Standard         LVF             46,000        41,270           8/1/1996     1/31/2027             83      No       GLITZ AND ASSOCIATES INC                          None                              23250 LORAIN ROAD, NORTH OLMSTED, OH, 44070, USA
         34   Strongsville, OH (34)          STRONGSVILLE (#74)                         Yes        Cleveland                             Sleep             LM              5,000          4,400         11/5/2015    10/31/2025             68      No       ECHO STRONGSVILLE LLC                             None                              16105 PEARL ROAD, STRONGSVILLE, OH, 44136, USA
         35   Mayfield Heights, OH (35)      MAYFIELD (#65)                             Yes        Cleveland                             Sleep             LM              4,620          4,120          5/1/2012            n/a            n/a     No       JACK H SCHWARTS, TRUSTEE OF THE JACK H None                                         6061 Mayfield Rd, Mayfield Heights, OH, 44124, USA
         36   Stow, OH (36)                  STOW (#68)                                 Yes        Cleveland                             Sleep             LM              4,160          3,660        10/25/2013     1/31/2024             47      No       DEVILLE DEVELOPMENTS LLC                          None                              1061 GRAHAM RD, STOW, OH, 44224, USA
         37   Medina, OH (37)                MEDINA (#76)                               Yes        Cleveland                             Sleep             LM              4,500          4,000         8/25/2016     9/30/2021             19      No       GOWE LEASING LIMITED                              None                              3823 PEARL RD, MEDINA, OH, 44256, USA
         38   Sandusky, OH (38)              SANDUSKY (#73)                             Yes        Cleveland                             Sleep             LM              5,400          4,900        11/14/2014     2/28/2025             60      No       PLI II LTD                                        None                              4917 MILAN RD PLAZA, SANDUSKY, OH, 44870, USA
         39   Elyria, OH (39)                ELYRIA (#72)                               Yes        Cleveland                             Sleep             LM              6,400          5,800         6/19/2015     6/30/2026             76      No       ELYRIA-CHESTNUT, LLC / NICKLEPLATE REALTYNone                                       510 CHESTNUT COMMONS DR, ELYRIA, OH, 44035, USA
         40   Solon, OH (40)                 SOLON (#67)                                Yes        Cleveland                             Sleep             LM              3,788          3,288         2/22/2013     5/31/2023             39      No       L & y PROPERTIES - SOLON, LLC                     None                              6130 KRUSE DRIVE, SOLON, OH, 44139, USA
         41   Canton, OH (41)                MASSILLON (#71)                            Yes        Cleveland                             Sleep             LM              5,650          5,150         6/27/2014    11/30/2024             57      No       PERRY TOWN CENTER LLC                             None                              5119 WEST TUSCARAWAS ST, CANTON, OH, 44708, USA
         42   Polaris, OH (42)               POLARIS AVF                                Yes        Columbus                              Flagship        AVF              70,000        59,500          3/16/2019    10/31/2037            212      Yes      STORE CAPITAL                                     Other                             1551 GEMINI PLACE, COLUMBUS, OH, 43240, USA
         43   Novi, MI (43)                  NOVI AVF                                   Yes        Detroit                               Flagship        AVF            102,520         88,958           1/1/1985     2/28/2037            204      Yes      BROADSTONE                                        BROADSTONE AVF MICHIGAN, LLC      27775 NOVI RD, NOVI, MI, 48377, USA
         44   Warren, MI (44)                TECH PLAZA AVF                             Yes        Detroit                               Flagship        AVF            109,980         87,859         11/26/1982     2/28/2037            204      Yes      LCN PARTNERS                                      LCN AVF WARREN (MI) LLC           6500 E 14 MILE RD, WARREN, MI, 48092, USA
         45   Shelby Township, MI (45)       LAKESIDE AVF                               Yes        Detroit                               Flagship        AVF              68,104        72,336          8/14/1992     3/31/2037            205      Yes      STORE CAPITAL                                     Store Master Funding XII, LLC     14055 HALL RD, SHELBY TOWNSHIP, MI, 48315, USA
         46   Canton, MI (46)                CANTON AVF                                 Yes        Detroit                               Flagship        AVF              69,929        58,740           1/3/2018    12/31/2038            226      Yes      Agree Limited Partnership                         None                              41661 FORD ROAD, CANTON, MI, 48187, USA
         47   Taylor, MI (47)                TAYLOR AVF                                 Yes        Detroit                               Flagship        AVF              91,720        79,294           3/6/1978    10/31/2037            212      Yes      STORE CAPITAL                                     STORE SPE AVF II 2017-2, LLC      22035 EUREKA RD, TAYLOR, MI, 48180, USA
         48   Ann Arbor, MI (48)             ANN ARBOR AVF                              Yes        Detroit                               Flagship        AVF              70,000        60,912           7/2/1993     2/28/2037            204      Yes      STONEBRIAR                                        SCF RC Funding III, LLC           425 E EISENHOWER PKWY, ANN ARBOR, MI, 48108, USA
         49   Southfield, MI (49)            SOUTHFIELD AVF                             Yes        Detroit                               Standard        AVF              64,584        52,094          11/1/2000     7/31/2023             41      No       GREENFIELD PLAZA, INC.                            None                              22555 GREENFIELD RD, SOUTHFIELD, MI, 48075, USA
         50   Royal Oak, MI (50)             WOODWARD AVF & SSI (#174)                  Yes        Detroit                               Standard        AVF              56,520        54,943         11/14/1997    10/31/2037            212      Yes      STORE CAPITAL                                     STORE SPE AVF II 2017-2, LLC      32301 WOODWARD AVE, ROYAL OAK, MI, 48073, USA
         51   Clinton Twp, MI (51)           CLINTON AVF                                Yes        Detroit                               Flagship        AVF              69,720        60,128           1/1/1988     2/28/2037            204      Yes      BROADSTONE                                        BROADSTONE AVF MICHIGAN, LLC      33801 S GRATIOT AVE, CLINTON TWP, MI, 48035, USA
         52   Chesterfield, MI (52)          CHESTERFIELD AVF                           Yes        Detroit                               Standard        AVF              73,152        58,029         12/26/2003     2/28/2037            204      Yes      BROADSTONE                                        BROADSTONE AVF MICHIGAN, LLC      50400 GRATIOT AVE, CHESTERFIELD, MI, 48051, USA
         53   Howell, MI (53)                HOWELL AVF                                 Yes        Detroit                               Standard        AVF              51,075        45,721          11/1/1997     3/31/2037            205      Yes      STORE CAPITAL                                     Store Master Funding XII, LLC     4101 E GRAND RIVER AVE, HOWELL, MI, 48843, USA
         54   Waterford, MI (54)             DRAYTON PLAINS AVF                         Yes        Detroit                               Standard        AVF              53,188        57,435          6/30/1971     3/31/2037            205      Yes      STORE CAPITAL                                     STORE SPE AVF I 2017-1, LLC       5053 DIXIE HWY, WATERFORD, MI, 48329, USA
         55   Dearborn, MI (55)              DEARBORN AVF                               Yes        Detroit                               Standard        AVF              57,633        58,164          7/11/1997     2/28/2037            204      Yes      LCN PARTNERS                                      LCN CAPITAL PARTNERS, LLC         15701 MARKET DR, DEARBORN, MI, 48126, USA
         56   Auburn Hills, MI (56)          GREAT LAKES AVF                            Yes        Detroit                               Standard        AVF              43,319        37,296           1/1/2011     1/31/2021             11      No       Taubman Auburn Hills Associates Limited Partnersh None                              4612 BALDWIN RD, AUBURN HILLS, MI, 48326, USA
         57   Port Huron, MI (57)            PORT HURON AVF                             Yes        Detroit                               Standard        AVF              74,800        59,123          9/20/2002     3/31/2037            205      Yes      STORE CAPITAL                                     STORE SPE AVF I 2017-1, LLC       1234 32ND ST, PORT HURON, MI, 48060, USA
         58   Rochester Hills, MI (58)       ROCHESTER AVF                              Yes        Detroit                               Standard        AVF              48,621        41,328          5/16/2019    11/30/2033            165      No       Rochester KM Partners, LLC                        None                              1032 SOUTH ROCHESTER ROAD, ROCHESTER, MI, 48307, USA
         59   Livonia, MI (59)               7 MILE AVF                                 Yes        Detroit                               Standard        AVF              61,752        53,795           1/1/1985     3/31/2037            205      Yes      STORE CAPITAL                                     Store Master Funding XII, LLC     29905 7 MILE RD, LIVONIA, MI, 48152, USA
         60   Warren, MI (60)                SCHOENHERR AVF                             Yes        Detroit                               Standard        AVF              38,795        41,890          1/19/1972     3/31/2037            205      Yes      STORE CAPITAL                                     STORE SPE AVF I 2017-1, LLC       13855 E 8 MILE RD, WARREN, MI, 48089, USA
         61   Westland, MI (61)              WESTLAND AVF                               Yes        Detroit                               Standard        AVF              79,773        70,723          4/14/1987     2/28/2037            204      Yes      STONEBRIAR                                        SCF RC Funding III, LLC           8300 N WAYNE RD, WESTLAND, MI, 48185, USA
         62   Ann Arbor, MI (62)             ANN ARBOR W PS                             Yes        Detroit                               Sleep           APS               4,600          4,079          9/1/2011     8/31/2021             18      No       BRIXMOR Holdings 1 SPE, LLC                       None                              2570 JACKSON AVE, ANN ARBOR, MI, 48103, USA
         63   Rochester, MI (63)             ROCHESTER PS                               Yes        Detroit                               Sleep           APS               5,000          4,474          6/1/2010     7/31/2020              5      No       McKnight South East, LP c/o McKnight Property ManNone                               1856 S ROCHESTER RD, ROCHESTER, MI, 48307, USA
         64   Grosse Pointe Woods, MI (64)   GROSSE POINTE SOUTH PS                     Yes        Detroit                               Sleep           APS               3,500          2,688          3/1/2018     2/29/2028             96      No       Ryder Investments                                 None                              19387 MACK AVE, GROSSE POINTE, MI, 48236, USA
         65   Warren, MI (65)                WARREN E PS                                Yes        Detroit                               Sleep           APS               5,072          4,507         5/16/2011     6/30/2022             28      No       WARREN VILLAGE, LLC                               None                              6400 14 MILE RD, WARREN, MI, 48092, USA
         66   Sterling Hgts, MI (66)         STERLING HTS PS                            Yes        Detroit                               Sleep           APS               4,014          3,672          2/9/2013     2/28/2023             36      No       EASTLAKE COMMONS ASSOCIATES, LLC                  None                              44975 HAYES RD, STERLING HGTS, MI, 48313, USA
         67   Washington, MI (67)            WASHINGTON PS                              Yes        Detroit                               Sleep           APS               4,000          3,425         5/16/2011    10/31/2021             20      No       AF Jonna Development & Management Company, L None                                   7887 26 MILE ROAD, WASHINGTON, MI, 48094, USA
         68   Southgate, MI (68)             SOUTHGATE PS                               Yes        Detroit                               Sleep           APS               5,117          4,768         1/16/2016     3/31/2021             13      No       BRANDON ASSOCIATES SOUTHGATE L.L.C.               None                              15060 DIX TOLEDO RD, SOUTHGATE, MI, 48195, USA
         69   Canton, MI (69)                CANTON PS                                  Yes        Detroit                               Sleep           APS               4,600          4,280          7/1/2009     6/30/2024             52      No       Ford Road Investments, LLC                        None                              41913 FORD RD, CANTON, MI, 48187, USA
         70   Monroe, MI (70)                MONROE PS                                  Yes        Detroit                               Sleep           APS               4,000          3,593         7/30/2016     7/31/2026             77      No       Keystone Commercial                               None                              1570 NORTH TELEGRAPH ROAD, MONROE, MI, 48162, USA
         71   Troy, MI (71)                  TROY N PS                                  Yes        Detroit                               Sleep           APS               4,500          4,059         5/16/2011     7/31/2021             17      No       Universal Mall Properties LLC                     None                              1735 BIG BEAVER RD, TROY, MI, 48083, USA
         72   West Bloomfield, MI (72)       W BLOOMFIELD PS                            Yes        Detroit                               Sleep           APS               4,000          3,655         10/1/2013     2/29/2024             48      No       MAPLE ORCHARD ASSOCIATES, LLC                     None                              6470 ORCHARD LAKE ROAD, WEST BLOOMFIELD, MI, 48322, US
         73   Chesterfield, MI (73)          CHESTERFIELD PS                            Yes        Detroit                               Sleep           APS               4,000          3,572        11/18/2017    11/30/2027             93      No       CHESTERFIELD COMMONS ASOCIATES, LLC               None                              50938 GRATIOT AVE, CHESTERFIELD, MI, 48051, USA
         74   Woodhaven, MI (74)             WOODHAVEN PS                               Yes        Detroit                               Sleep           APS               3,966          3,565        10/17/2015    10/31/2025             68      No       THE ALLENWEST GROUP, LLC                          None                              19410 WEST ROAD, WOODHAVEN, MI, 48183, USA
         75   Brighton, MI (75)              BRIGHTON E PS                              Yes        Detroit                               Sleep           APS               4,248          3,218         5/16/2011     9/30/2022             31      No       BRIGHTON GATE COMMONS, LLC                        None                              9990 E GRAND RIVER AVE, BRIGHTON, MI, 48116, USA
         76   Bloomfield Twp, MI (76)        BLOOMFIELD TWP PS                          Yes        Detroit                               Sleep           APS               3,602          3,139         5/20/2017     7/31/2027             89      No       BP OF WHITE LAKE, INC.                            None                              6450 TELEGRAPH ROAD, BLOOMFIELD TWP, MI, 48301, USA
         77   New Hudson, MI (77)            NEW HUDSON PS                              Yes        Detroit                               Sleep           APS               4,106          3,758         4/10/2012    10/31/2022             32      No       Milford Road Plaza, LLC                           None                              30821 MILFORD RD, NEW HUDSON, MI, 48165, USA
         78   Lapeer, MI (78)                LAPEER PS                                  Yes        Detroit                               Sleep           APS               4,500          3,864         10/1/2016     1/31/2027             83      No       JKL REAL ESTATE CO.                               None                              806 S MAIN STREET, LAPEER, MI, 48446, USA
         79   Royal Oak, MI (79)             ROYAL OAK PS                               Yes        Detroit                               Sleep           APS               5,950          4,956         5/16/2011     6/30/2024             52      No       4400 North Woodward, LLC                          None                              32500 WOODWARD AVE, ROYAL OAK, MI, 48073, USA
         80   White Lake, MI (80)            WHITE LAKE PS                              Yes        Detroit                               Sleep           APS               3,680          2,995         5/16/2011     3/31/2021             13      No       CLOSED                                                                            0 5951 HIGHLAND RD, WHITE LAKE, MI, 48383, USA
         81   Troy, MI (81)                  TROY S PS                                  Yes        Detroit                               Sleep           APS               4,675          3,464         5/16/2011     1/31/2022             23      No       URBAN CAL OAKLAND PLAZA, LLC                      None                              272 JOHN R, TROY, MI, 48083, USA
         82   Waterford, MI (82)             WATERFORD PS                               Yes        Detroit                               Sleep           APS               6,008          5,060         5/16/2011     3/31/2022             25      No       INVESTCO OF MICHIGAN LLC                          None                              4977 DIXIE HWY, WATERFORD, MI, 48329, USA
         83   Novi, MI (83)                  NOVI PS                                    No         Detroit                               Sleep           APS               2,600          2,073         5/16/2011     1/31/2020             n/a     No       RAMCO WEST OAKS II LLC                            None                              43420 W OAKS DR, NOVI, MI, 48377, USA
         84   Brighton, MI (84)              BRIGHTON W PS                              Yes        Detroit                               Sleep           APS               4,200          3,784         5/16/2011    10/31/2021             20      No       CROSS GRAND PLAZA, LLC                            None                              8709 WEST GRAND RIVER, BRIGHTON, MI, 48116, USA
         85   Ann Arbor, MI (85)             ANN ARBOR E PS                             Yes        Detroit                               Sleep           APS               4,274          3,062         5/16/2011     5/31/2021             15      No       AF Jonna Development & Management Company, L None                                   3550 WASHTENAW, ANN ARBOR, MI, 48104, USA
         86   Lake Orion, MI (86)            LAKE ORION PS                              Yes        Detroit                               Sleep           APS               4,160          3,775          4/1/2014     1/31/2022             23      No       SHOPS AT THE SHORES OF LONG LAKE L.L.C. None                                        610 N. LAPEER RD, LAKE ORION, MI, 48362, USA
         87   Ferndale, MI (87)              FERNDALE PS                                Yes        Detroit                               Sleep           APS               6,553          5,587          4/1/2016     6/30/2026             76      No       B.P. of White Lake Inc.                           None                              23100 WOODWARD AVE, FERNDALE, MI, 48220, USA
         88   Utica, MI (88)                 UTICA E PS                                 Yes        Detroit                               Sleep           APS               5,900          2,858          9/1/2011     1/31/2023             35      No       SHELBY CORNERS, LLC                               None                              45040 NORTHPOINTE BLVD, UTICA, MI, 48315, USA
         89   Howell, MI (89)                HOWELL PS                                  Yes        Detroit                               Sleep           APS               9,400          8,794         5/16/2011    10/31/2024             56      No       COUNTRY CORNERS SHOPPING CENTER, L.L.CNone                                          4050 E GRAND RIVER AVE, HOWELL, MI, 48843, USA
         90   Westland, MI (90)              WESTLAND PS                                Yes        Detroit                               Sleep           APS               4,400          3,976         10/1/2016    10/31/2026             80      No       CENTRAL-WAYNE PROPERITES, LLC                     None                              7671 NORTH WAYNE RD, WESTLAND, MI, 48185, USA
         91   Grosse Pointe, MI (91)         GROSSE POINTE SSI                          Yes        Detroit                               Design           SSI              7,600          5,933         6/26/2015    10/31/2020              8      No       ST. John Health                                   None                              17145 KERCHEVAL, GROSSE POINTE, MI, 48230, USA
         92   Plymouth, MI (92)              PLYMOUTH PS                                Yes        Detroit                               Sleep           APS               4,000          3,580         9/24/2016    11/30/2026             81      No       PLYMOUTH HAGGERTY UNIT 6                          None                              41512 ANN ARBOR RD, PLYMOUTH, MI, 48170, USA
         93   Shelby Twp, MI (93)            SHELBY TWP PS                              Yes        Detroit                               Sleep           APS               4,000          3,714         1/13/2018     1/31/2028             95      No       JERUSALEM PROPERTIES, LLC                         None                              46975 VAN DYKE AVE, SHELBY TWP, MI, 48317, USA
         94   Roseville, MI (94)             ROSEVILLE PS                               Yes        Detroit                               Sleep           APS               4,800          4,512        11/21/2013     5/31/2024             51      No       ROSEVILLE VILLAGE, L.L.C.                         None                              31851 GRATIOT AVE, ROSEVILLE, MI, 48066, USA
         95   Taylor, MI (95)                TAYLOR PS                                  Yes        Detroit                               Sleep           APS               4,000          3,433         10/3/2015    10/31/2025             68      No       VAN ELSLANDER VENTURES, LLC                       None                              23471 EUREKA RD, TAYLOR, MI, 48180, USA
         96   Dearborn, MI (96)              DEARBORN PS                                Yes        Detroit                               Sleep           APS               5,828          4,141          4/8/2017     5/31/2027             87      No       AMD, LLC.                                         None                              22731 MICHIGAN AVE, DEARBORN, MI, 48124, USA
         97   Livonia, MI (97)               LIVONIA PS                                 Yes        Detroit                               Sleep           APS               3,612          3,120         5/17/2014     5/31/2024             51      No       Middlebelt Plymouth Venture LLC                   None                              29611 PLYMOUTH, LIVONIA, MI, 48150, USA
         98   Southfield, MI (98)            SOUTHFIELD PS                              Yes        Detroit                               Sleep           APS               4,000          3,606         1/13/2018     1/31/2028             95      No       AF Jonna Development & Management Company, L None                                   29119 TELEGRAPH RD, SOUTHFIELD, MI, 48034, USA
         99   Bloomfield Hills, MI (99)      BLOOMFIELD AVF                             Yes        Detroit                               Standard        AVF              46,388        26,440          3/15/2016     2/28/2037            204      No       LCN PARTNERS                                      None                              2300 TELEGRAPH RD, BLOOMFIELD HILL, MI, 48302, USA
        100   Saginaw, MI (100)              SAGINAW AVF                                Yes        Flint-Saginaw-Bay City                Standard        AVF              77,827        56,540          6/30/1984    10/31/2037            212      Yes      STORE CAPITAL                                     STORE SPE AVF II 2017-2, LLC      2660 TITTABAWASSEE RD, SAGINAW, MI, 48604, USA
        101   Flint, MI (101)                FLINT AVF                                  Yes        Flint-Saginaw-Bay City                Standard        AVF              46,177        48,827          6/30/1977     2/28/2037            204      Yes      BROADSTONE                                        BROADSTONE AVF MICHIGAN, LLC      4577 MILLER RD, FLINT, MI, 48507, USA
        102   Burton, MI (102)               BURTON AVF                                 Yes        Flint-Saginaw-Bay City                Standard        AVF              46,196        48,841          7/31/1987     3/31/2037            205      Yes      STORE CAPITAL                                     Store Master Funding XII, LLC     4095 E COURT ST, BURTON, MI, 48509, USA
        103   Bay City, MI (103)             BAY CITY AVF                               Yes        Flint-Saginaw-Bay City                Standard        AVF              34,578        36,957           2/2/1996     3/31/2037            205      Yes      STORE CAPITAL                                     STORE SPE AVF I 2017-1, LLC       4150 WILDER RD, BAY CITY, MI, 48706, USA
        104   Grand Blanc, MI (104)          GRAND BLANC PS                             Yes        Flint-Saginaw-Bay City                Sleep           APS               4,000          3,477          8/2/2014     8/31/2024             54      No       GRAND SAGINAW PLAZA, L.L.C.                       None                              11501 SOUTH SAGINAW, GRAND BLANC, MI, 48439, USA
        105   Flint Township, MI (105)       FLINT PS                                   Yes        Flint-Saginaw-Bay City                Sleep           APS               4,000          3,600         4/27/2018     1/31/2028             95      No       Jonna Management Group, LLC                       None                              4002 MILLER ROAD, FLINT, MI, 48507, USA
        106   Saginaw, MI (106)              SAGINAW PS                                 Yes        Flint-Saginaw-Bay City                Sleep           APS               4,847          4,368         1/30/2016     1/31/2021             11      No       KMS Investments, LLC                              None                              4605 BAY RD #200, SAGINAW, MI, 48604, USA
        107   Fort Wayne, IN (107)           FORT WAYNE AVF                             Yes        Fort Wayne                            Standard        AVF              45,982        39,667          1/25/2014     9/30/2023             43      No       Sandor Development Company                        None                              311 E COLISEUM BLVD, FORT WAYNE, IN, 46805, USA
        108   Grand Rapids, MI (108)         GRAND RAPIDS AVF                           Yes        Grand Rapids-Kalamazoo-Battle Creek   Flagship        AVF              79,400        69,174          7/30/1987     2/28/2037            204      Yes      LCN PARTNERS                                      LCN AVF WARREN (MI) LLC           4375 28TH ST SE, GRAND RAPIDS, MI, 49512, USA
        109   Portage, MI (109)              KALAMAZOO AVF                              Yes        Grand Rapids-Kalamazoo-Battle Creek   Flagship        AVF              73,990        60,986           5/1/1989    10/31/2037            212      Yes      STORE CAPITAL                                     STORE SPE AVF II 2017-2, LLC      550 RING RD, PORTAGE, MI, 49024, USA
        110   Muskegon, MI (110)             MUSKEGON AVF                               Yes        Grand Rapids-Kalamazoo-Battle Creek   Standard        AVF              39,590        34,069          1/23/1993     2/28/2037            204      Yes      STONEBRIAR                                        SCF RC Funding III, LLC           630 SEMINOLE RD, MUSKEGON, MI, 49441, USA
        111   Grandville, MI (111)           GRANDVILLE AVF                             Yes        Grand Rapids-Kalamazoo-Battle Creek   Standard        AVF              28,530        24,910           1/1/2010     2/28/2037            204      Yes      Broadstone                                        BROADSTONE AVF MICHIGAN, LLC      4625 WILSON AVE SW, GRANDVILLE, MI, 49418, USA
        112   Battle Creek, MI (112)         BATTLE CREEK AVF                           Yes        Grand Rapids-Kalamazoo-Battle Creek   Standard        AVF              50,220        43,411       Page  1 of 2
                                                                                                                                                                                                         2/1/1997     2/28/2037            204      Yes      STONEBRIAR                                        SCF RC Funding III, LLC                                           AB_000692
                                                                                                                                                                                                                                                                                                                                                 6100 B DR N, BATTLE CREEK, MI, 49014, USA                  2/20/2020
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                                                                                                                                                                                                                                                                                                                   Lease                                            Address
        113   Comstock Park, MI (113)         ALPINE AVF                             Yes        Grand Rapids-Kalamazoo-Battle Creek   Flagship        AVF            111,077         63,525          11/26/1999     2/28/2037            204      Yes      LCN PARTNERS                           LCN AVF WARREN (MI) LLC            4273 ALPINE AVE NW STE B, COMSTOCK PARK, MI, 49321, USA
        114   Holland, MI (114)               HOLLAND AVF                            Yes        Grand Rapids-Kalamazoo-Battle Creek   Standard        AVF              39,950        38,443           8/18/1993     2/28/2037            204      Yes      STONEBRIAR                             SCF RC Funding III, LLC            12610 FELCH ST STE 100, HOLLAND, MI, 49424, USA
        115   Muskegon, MI (115)              MUSKEGON PS                            Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               4,000          3,519          5/28/2016    10/31/2021             20      No       SVH PROPERTIES, LLC                    None                               1664 E STERNBERG RD, MUSKEGON, MI, 49444, USA
        116   Portage, MI (116)               PORTAGE PS                             Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               4,018          3,632          5/24/2014     5/31/2024             51      No       NATIONAL SHOPPING PLAZAS, INC.         None                               6947 SOUTH WESTNEDGE AVE, PORTAGE, MI, 49002, USA
        117   Grandville, MI (117)            GRANDVILLE PS                          Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               4,229          3,773           3/1/2015     5/31/2024             51      No       CWD Grandville 1, LLC                  None                               4540 IVANREST AVE SW, GRANDVILLE, MI, 49418, USA
        118   Kalamazoo, MI (118)             KALAMAZOO PS                           Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               3,481          3,186           3/8/2013     3/31/2023             37      No       Kalamazoo Mall LLC                     None                               338 N DRAKE RD, KALAMAZOO, MI, 49009, USA
        119   Grand Rapids, MI (119)          GRAND RAPIDS PS                        Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               5,562          4,903         10/15/2014     2/28/2037            204      Yes      Broadstone                             BROADSTONE AVF MICHIGAN, LLC       3500 28TH ST SE, GRAND RAPIDS, MI, 49512, USA
        120   Grand Rapids, MI (120)          GRAND RAPIDS N PS                      Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               4,000          3,687           9/1/2016     8/31/2026             78      No       EAST BELTLINE DEVELOPMENT, LLC         None                               2036 EAST BELTLINE AVE, GRAND RAPIDS, MI, 49525, USA
        121   Comstock Park, MI (121)         ALPINE N PS                            Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               4,300          3,797          5/16/2011    10/31/2022             32      No       ALPINE VALLEY, L.L.C.                  None                               4174 ALPINE AVE NW STE A, COMSTOCK PARK, MI, 49321, USA
        122   Lancaster, PA (122)             LANCASTER (#46)                        Yes        Harrisburg                            Standard        WLF              60,000        52,500            9/1/2002    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                  Vereit                             2040 Bennett Avenue, Lancaster, PA, 17601, USA
        123   York, PA (123)                  YORK (#44)                             Yes        Harrisburg                            Standard        WLF              60,000        52,500            1/1/2002    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                  COLE AV PORTFOLIO                  380 North Northern Way, York, PA, 17402, USA
        124   Harrisburg, PA (124)            HARRISBURG (#42)                       Yes        Harrisburg                            Standard        WLF              61,900        51,900            1/1/1999    11/30/2037            213      Yes      STORE CAPITAL                          Store Master Funding XII, LLC      4661 Lindle Road, Harrisburg, PA, 17111, USA
        125   Hanover, PA (125)               HANOVER (#50)                          Yes        Harrisburg                            Standard        WLF              34,600        30,600           5/19/2008    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                  Vereit                             371 Eisenhower Drive, Hanover, PA, 17331, USA
        126   Mechanicsburg, PA (126)         MECHANICSBURG (#43)                    Yes        Harrisburg                            Standard        WLF              45,567        42,567           8/22/2010     7/31/2020              5      No       LESTER ASSOCIATES                      None                               75 Gateway Drive, Mechanicsburg, PA, 17055, USA
        127   Chambersburg, PA (127)          CHAMBERSBURG (#51)                     Yes        Harrisburg                            Standard        WLF              27,262        25,762            1/1/2009    12/27/2038            226      No       BRTM, LLC                              None                               480 Gateway Avenue, Chambersburg, PA, 17201, USA
        128   Altoona, PA (128)               ALTOONA (#28)                          Yes        Johnstown                             Standard        WLF              53,136        43,176            1/1/1978     4/30/2038            218      Yes      VEREIT REAL ESTATE LP                  Store Master Funding XII, LLC      4 Sellers DriveAltoona, Altoona, PA, 16601, USA
        129   Johnstown, PA (129)             JOHNSTOWN (#32)                        Yes        Johnstown                             Standard        WLF              40,258        37,258            9/1/1995    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                  Vereit                             1130 Scalp Avenue, Johnstown, PA, 15904, USA
        130   State College, PA (130)         STATE COLLEGE (#40)                    Yes        Johnstown                             Standard        WLF              50,000        51,402            5/1/2007    11/21/2037            213      No       PATTON CENTER ASSOCIATES LP            None                               138 Valley Vista Drive, State College, PA, 16803, USA
        131   Lansing, MI (131)               LANSING AVF                            Yes        Lansing                               Flagship        AVF              71,581        77,379          10/25/2000     2/28/2037            204      Yes      BROADSTONE                             BROADSTONE AVF MICHIGAN, LLC       8748 W SAGINAW HWY, LANSING, MI, 48917, USA
        132   Jackson, MI (132)               JACKSON AVF                            Yes        Lansing                               Standard        AVF              33,214        30,012            6/5/1992     7/31/2024             53      No       ARGYLE ACRES MALL, LLC                 None                               950 N WEST AVE, JACKSON, MI, 49202, USA
        133   E Lansing, MI (133)             OKEMOS PS                              Yes        Lansing                               Sleep           APS               5,855          4,457          5/16/2011     8/31/2023             42      No       RICHARD AND MICHELLE BROWN             None                               2660 E. GRAND RIVER, EAST LANSING, MI, 48823, USA
        134   East Lansing, MI (134)          EAST LANSING PS                        Yes        Lansing                               Sleep           APS               3,974          3,495          7/16/2016     7/31/2021             17      No       River Caddis Development, LLC          None                               1595 LAKE LANSING ROAD, EAST LANSING, MI, 48823, USA
        135   Lansing, MI (135)               LANSING PS                             Yes        Lansing                               Sleep           APS               4,590          3,689          5/16/2011    12/31/2021             22      No       John Doezema Real Estate               None                               6007 W SAGINAW HWY, LANSING, MI, 48917, USA
        136   Wexford, PA (136)               WEXFORD (#4, 29, 30 CC)                Yes        Pittsburgh                            Standard         LVF             53,000        48,823           10/1/2009     2/28/2038            216      Yes      STORE CAPITAL                          Store Master Funding XII, LLC      10688 PERRY HIGHWAY, WEXFORD, PA, 15090, USA
        137   Monroeville, PA (137)           MONROEVILLE (#3 CC, 20, 21 CC)         Yes        Pittsburgh                            Standard         LVF             74,600        67,545            7/1/2004    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                  COLE AV PORTFOLIO / LEVIN FAMILY PA124 LEVIN WAY, MONROEVILLE, PA, 15146, USA
        138   Mcmurray, PA (138)              SOUTH HILLS (#2, 32 CC)                Yes        Pittsburgh                            Standard         LVF             74,600        67,964            7/1/2001    11/30/2037            213      Yes      STORE CAPITAL                          Store Master Funding XII, LLC      3664 WASHINGTON ROAD, MCMURRAY, PA, 15317, USA
        139   Greensburg, PA (139)            GREENSBURG (#40, 41 CC)                Yes        Pittsburgh                            Standard         LVF             55,314        50,637            8/1/2011    10/31/2021             20      No       CBL/WESTMORELAND, LP                   None                               5280 ROUTE 30, GREENSBURG, PA, 15601, USA
        140   Pittsburgh, PA (140)            THE POINTE (#15, 35 CC)                Yes        Pittsburgh                            Standard         LVF             68,730        61,886            7/1/1999    11/30/2037            213      Yes      STORE CAPITAL                          Store Master Funding XII, LLC      400 CHAUVET DRIVE, PITTSBURGH, PA, 15275, USA
        141   Pleasant Hills, PA (141)        CURRY HOLLOW (#47, 48 CC)              Yes        Pittsburgh                            Standard         LVF             96,500        87,500            7/1/1991     9/30/2026             79      No       PAUL PROPERTY MANAGEMENT, LP           None                               292 CURRY HOLLOW RD, PLEASANT HILLS, PA, 15236, USA
        142   Mount Pleasant, PA (142)        MOUNT PLEASANT (#1, 22 CC)             Yes        Pittsburgh                            Standard         LVF             34,500        30,766            1/1/1924     4/30/2038            218      Yes      STORE CAPITAL                          Store Master Funding XII, LLC      600 MAIN STREET, MT. PLEASANT, PA, 15666, USA
        143   Cranberry Township, PA (143)    CRANBERRY (#60)                        Yes        Pittsburgh                            Sleep             LM              5,000          4,500           5/1/2012     4/30/2022             26      No       WALNUT CAPITAL PARTNERS - CRANBERRY SONone                                20012 ROUTE 19, CRANBERRY, PA, 16066, USA
        144   Mount Lebanon, PA (144)         MOUNT LEBANON (#36)                    Yes        Pittsburgh                            Sleep             LM              3,990          3,490          6/28/2013     7/31/2023             41      No       RELIANCE PITTSBURGH LLC                None                               1600 WASHINGTON RD, MT LEBANON, PA, 15228, USA
        145   Butler, PA (145)                BUTLER (#75)                           Yes        Pittsburgh                            Sleep             LM              5,010          5,010         11/18/2016     2/28/2027             84      No       BUTLER SITEWORK ASSOICATES LLC         None                               620 Butler Crossing Suite 5, BUTLER, PA, 16001, USA
        146   Pittsburgh, PA (146)            SHADYSIDE (#70)                        Yes        Pittsburgh                            Sleep             LM              7,145          6,645         10/10/2014     4/30/2024             50      No       MCKNIGHT SOUTH EAST LP                 None                               5438 BAUM BLVD, PITTSBURGH, PA, 15232, USA
        147   Washington, PA (147)            WASHINGTON (#63)                       Yes        Pittsburgh                            Sleep             LM              7,800          7,300          3/29/2013     4/30/2023             38      No       WASHINGTON MALL - JCP ASSOCIATES, LTD None                                56 TRINITY POINT DR, WASHINGTON, PA, 15301, USA
        148   Pittsburgh, PA (148)            FOX CHAPEL (#61)                       Yes        Pittsburgh                            Sleep             LM              4,000          3,500           5/1/2012     4/30/2022             26      No       WATERWORKS PHASE II                    None                               956 FREEPORT ROAD, PITTSBURGH, PA, 15238, USA
        149   Pittsburgh, PA (149)            ROBINSON (#64)                         Yes        Pittsburgh                            Sleep             LM              5,593          5,093          8/30/2013    12/31/2023             46      No       MCROBIN LTC AND MOSITES FAMILY GST TRUSNone                               6528 STEUBENVILLE PIKE, PITTSBURGH, PA, 15205, USA
        150   Indiana, PA (150)               INDIANA (#33)                          Yes        Pittsburgh                            Sleep             LM              4,800          4,300           6/7/2013     9/30/2023             43      No       LIBBY REGENCY ASSOCIATES LP            None                               1570 OAKLAND AVE, INDIANA, PA, 15701, USA
        151   Monroeville, PA (151)           MONROEVILLE (#62)                      Yes        Pittsburgh                            Sleep             LM              4,319          4,000           6/1/2012     6/30/2022             28      No       CE-MONROEVILLE 3820 WM PENN LP         None                               3820 WILLIAM PENN HIGHWAY, MONROEVILLE, PA, 15146, USA
        152   St. Louis, MO (152)             AFFTON                                 Yes        St. Louis                             Standard        AVF              41,352        32,759           1/17/2018    12/31/2023             46      No       South Lindbergh Property LLC           None                               5711 S LINDBERGH BLVD, SAINT LOUIS, MO, 63123, USA
        153   O'fallon, IL (153)              FAIRVIEW                               Yes        St. Louis                             Standard        AVF              39,676        32,627           1/17/2018    12/31/2023             46      No       Rothman-O'Fallon LLC                   None                               1776 WEST US 50, O FALLON, IL, 62269, USA
        154   O'fallon, MO (154)              O FALLON                               Yes        St. Louis                             Standard        AVF              40,884        31,674           1/16/2018    12/31/2023             46      No       O'Fallon Missouri Properties, LLC      None                               2101 E TERRA LN, O FALLON, MO, 63366, USA
        155   Bridgeton, MO (155)             BRIDGETON                              Yes        St. Louis                             Standard        AVF              45,314        35,975           1/17/2018    12/31/2023             46      No       JS Westflo, LLC                        None                               925 NORTHWEST PLAZA, SAINT ANN, MO, 63074, USA
        156   Richmond Heights, MO (156)      RICHMOND (DESIGN STUIDO)               Yes        St. Louis                             Design          AVF               3,670          3,343         11/15/2017     7/31/2024             53      No       Hanley LM Properties, LLC              None                               1516 S HANLEY RD, SAINT LOUIS, MO, 63144, USA
        157   Holland, OH (157)               TOLEDO AVF                             Yes        Toledo                                Flagship        AVF              91,000        80,731           8/27/2013     3/31/2037            205      Yes      STORE CAPITAL                          STORE SPE AVF I 2017-1, LLC        1301 E MALL DR, HOLLAND, OH, 43528, USA
        158   Toledo, OH (158)                TOLEDO PS                              Yes        Toledo                                Sleep           APS               4,500          4,045          5/24/2013    11/30/2023             45      No       REED HOLDING-TALMADGE, LLC             None                               4600 TALMADGE RD, TOLEDO, OH, 43623, USA
        159   Holland, OH (159)               HOLLAND PS (TOLEDO)                    Yes        Toledo                                Sleep           APS               3,485          3,135          7/13/2018     8/31/2028            102      No       Kiezi Properties BG, LLC               None                               6760 AIRPORT HWY SUITE B, HOLLAND, OH, 43528, USA
        160   Perrysburg Township, OH (160)   PERRYSBURGH (FREEMONT)                 Yes        Toledo                                Sleep           APS               3,500             n/a          2/8/2019     4/30/2029            110      No       10411 Fremont Pike, LLC                None                               10411 FREMONT PIKE, PERRYSBURG, OH, 43551, USA
        161   Traverse City, MI (161)         TRAVERSE CITY AVF                      Yes        Traverse City-Cadillac                Standard        AVF              63,120        49,903          11/21/1998     2/28/2037            204      Yes      BROADSTONE                             BROADSTONE AVF MICHIGAN, LLC       1775 OAK HOLLOW DR, TRAVERSE CITY, MI, 49686, USA
        162   Petoskey, MI (162)              PETOSKEY AVF                           Yes        Traverse City-Cadillac                Standard        AVF              48,115        49,765           10/5/2002    10/31/2037            212      Yes      STORE CAPITAL                          STORE SPE AVF II 2017-2, LLC       1619 ANDERSON ROAD, PETOSKEY, MI, 49770, USA
        163   Traverse City, MI (163)         TRAVERSE CITY PS                       Yes        Traverse City-Cadillac                Sleep           APS               4,509          4,104          6/30/2016     6/30/2026             76      No       ANCHOR MANISTEE                        None                               3675 N US 31 S SUITE B, TRAVERSE CITY, MI, 49684, USA
        164   Frederick, MD (164)             FREDERICK (#7)                         Yes        Washington DC                         Standard        WLF              60,000        52,500            7/1/2003     1/31/2024             47      No       Frederick-BILCO, LLP                   None                               1215 West Patrick Street, Frederick, MD, 21702, USA
        165   Hagerstown, MD (165)            HAGERSTOWN (#9)                        Yes        Washington DC                         Standard        WLF              66,829        60,000            2/1/2004     5/31/2029            111      No       OUTLET VILLAGE OF HAGERSTOWN LP        None                               900 Premium Outlets Boulevard, Hagerstown, MD, 21740, USA
        166   Leesburg, VA (166)              LEESBURG (#48)                         Yes        Washington DC                         Standard        WLF              46,030        41,430           8/24/2012    11/30/2037            213      Yes      STORE CAPITAL                          Store Master Funding XII, LLC      131 Fort Evans Road NE, Leesburg, VA, 20176, USA
        167   Frederick, MD (167)             FREDERICK OUTLET (#52)                 No         Washington DC                         Standard        WLF              40,484        30,484           9/17/2014     1/31/2020             n/a     No       RAVID FREDERICK, LLC                   None                               5830 Ballenger Creek Pike, Frederick, MD, 21703, USA
        168   Saint Clairsville, OH (168)     SAINT CLAIRSVILLE (#50)                Yes        Wheeling                              Standard         LVF             24,908        21,000           9/29/2017    10/31/2022             32      No       OHIO VALLEY MALL CO                    None                               67661 MALL RING RD, SAINT CLAIRSVILLE, OH, 43950, USA
        169   Boardman, OH (169)              BOARDMAN (#52)                         Yes        Youngstown                            Standard         LVF             52,000             n/a         8/31/2018     8/31/2028            102      No       A&R Properties                         None                               300 BOARDMAN POLAND ROAD, BOARDMAN, OH, 44512, USA
        170   Hermitage, PA (170)             HERMITAGE (#54)                        Yes        Youngstown                            Standard         LVF             42,000             n/a         9/21/2018     9/30/2023             43      No       A&R Properties                         None                               1340 N. Hermitage Road Suite 1 Route 18, Hermitage, PA, 16148, U
        171   Niles, OH (171)                 NILES (#56)                            Yes        Youngstown                            Standard         LVF             52,000             n/a        10/31/2018    10/31/2028            104      No       A&R Properties                         None                               836 YOUNGSTOWN-WARREN RD, NILES, OH, 44446, USA
Totals                                                                                                                                                             5,879,611     4,932,964




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                CONSULTING AND MARKETING SERVICES AGREEMENT

          This Consulting and Marketing Services Agreement, dated as of March 4, 2020 (this
  “Agreement”), is made by and between AVF HOLDING COMPANY, INC., and AVF
  HOLDING COMPANY, INC. d/b/a Art Van Furniture, Art Van Pure Sleep, Levin Furniture,
  Levin Mattress and Wolf Furniture (collectively, the “Company”), and a contractual joint venture
  comprised of HILCO MERCHANT RESOURCES, LLC, HILCO IP SERVICES, LLC
  D/B/A HILCO STREAMBANK, HILCO REAL ESTATE, LLC, AND HILCO
  RECEIVABLES, LLC, each a Delaware limited liability company (collectively, “Hilco”), and
  GORDON BROTHERS RETAIL PARTNERS, LLC, DJM REALTY SERVICES, LLC
  D/B/A GORDON BROTHERS REAL ESTATE, GORDON BROTHERS COMMERCIAL
  & INDUSTRIAL, LLC AND GORDON BROTHERS BRANDS, LLC, each, a Delaware
  limited liability company (collectively, “GBG”, and together with Hilco, the “Consultant”).

                                           R E C I T A L S:

          WHEREAS, the Company is (i) the owner or lessee of certain real property identified on
  Exhibit A attached hereto (each a “Property”, and collectively, the “Properties”), (ii) machinery,
  equipment, furniture, fixtures and other personal property located at, in, or in the vicinity of the
  Properties (the “M&E”), (iii) Merchandise (defined below) inventory located at, in, or the vicinity
  of the Properties, (iv) to the extent the Company exercise the Receivables Option (defined below),
  outstanding trade accounts receivable for which the Company has the exclusive right to collect,
  except for those accounts receivable that are currently the subject of litigation (the “Receivables”)
  and (v) intangible assets, including, without limitation, trademarks, trade names, copyrights,
  domain names, software and source code, URLs, telephone numbers, customer data including
  customer names, addresses, email addresses, transaction history and other demographic data
  captured and maintained by the Company, vendor data, franchise agreements, “IP” addresses, and
  license agreements, logos and assorted artwork used in marketing materials and other contractual
  rights relating to the foregoing (collectively, the “Intellectual Property”; and collectively with the
  M&E, Inventory, Receivables (to the extent the Company exercises the Receivables Option), and
  Properties, the “Assets”);

          WHEREAS, the Company desires to retain Consultant to provide certain consulting,
  marketing and related asset disposition services to the Company with respect to the Assets,
  including where the context makes appropriate assisting the Company in the conduct of certain
  “Store Closing Sale”, “Total Inventory Blowout”, “Everything Must Go”, “Everything On Sale”
  or similar themed liquidation sales (the “Sale”) at the Company’s retail store locations identified
  on Exhibit A-1 attached hereto (each individually, a “Store”, and collectively, the “Stores”); and
  (ii) provide assistance to the Company in fulfilling and delivering On-Hand Fulfillment
  Merchandise and Back-Order Fulfillment Merchandise on account of goods sold by the Company
  prior to the Sale Commencement Date (defined below), in each case as more fully described
  herein; and

          WHEREAS, Consultant is in the business of marketing, selling and otherwise realizing
  maximum value for assets similar to those comprising the Assets on behalf of its clients, and
  subject to the terms and conditions set forth herein, including, without limitation, authorization
  and approval of the Bankruptcy Court (defined below), is willing to serve as the Company’s



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  exclusive agent and consultant to perform the services described herein upon the terms and
  conditions, and in the manner set forth in this Agreement.

           NOW, THEREFORE, in consideration of the mutual covenants and agreements hereinafter
  set forth and other good and valuable consideration, the receipt and sufficiency of which are hereby
  acknowledged, the parties hereto agree as follows:

                                           AGREEMENT

  1.     Definitions

        For the purposes of this Agreement, the terms listed below shall have the respective
  meanings indicated:

         “ABL Agent” means shall mean Wells Fargo Bank, National Association, as administrative
  agent and collateral agent for itself and the other ABL Lenders.

          “ABL Lenders” means those lenders under that certain ABL Credit Agreement, dated as
  of March 1, 2017 (as amended, restated, supplemented or otherwise modified from time to time
  and in effect on the date hereof), by and among, among others, the Company, such lenders and the
  ABL Agent.

          “Advertising Expenses” means the costs and expenses incurred in connection with
  advertising the Sale, including, without limitation, direct media costs, agency fees and production
  costs) and Signage Costs.

         “Approval Orders” shall mean collectively the Interim Order and Final Order.

        “Bankruptcy Court” means the United States Bankruptcy Court for the District of
  Delaware.

         “Cash Collateral Budget” means that certain debtor-in-possession and/or cash collateral
  Cash Collateral Budget to be approved under the Interim Cash Collateral Order.

          “Central Services” shall mean those central administrative services provided by Company
  that are necessary or appropriate for the conduct and support of the Sale, including, but not limited
  to, use and/or access to Company’s: (i) inventory control system, (ii) payroll system, (iii)
  accounting system, (iv) office facilities (including use of reasonably sized offices located at
  Company’s central office facility to effect the Sale), (v) central administrative services and
  personnel to process and perform sales audit, banking, accounting, sale and expense reconciliation,
  and other normal course administrative services customarily provided to or for the benefit of
  operating the Stores, (vi) no fewer than one weekly email messages targeted to the customers of
  the Stores and Company’s e-commerce site, which email messages will be designed by Consultant
  (and approved by Company) and sent by Company or Company’s existing service provider and
  (vii) such other central office services reasonably necessary or appropriate for the Sale.

           “Consultant Incurred Expenses” shall mean the aggregate amount of (i) Supervisor Costs;
  (ii) reasonable and documented travel expenses for members of Consultant’s executive team in an



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  aggregate amount not to exceed $20,000; (iii) Consultant’s reasonable and documented general
  legal fees incurred in connection with the negotiation of this Agreement in an aggregate amount
  not to exceed $35,000; provided, however, in addition to, and not as part of, such capped amount,
  Company shall also reimburse Consultant for its reasonable and documented legal fees and
  expenses incurred in connection with negotiating any “side letters” with landlords of the Stores;
  and (iv) Advertising Expenses, in each case in as defined herein and in accordance with the Sale
  Budget (as defined below).

           “Final Order” shall mean a final order of the Bankruptcy Court granting final approval,
  inter alia, for the Company’s (a) assumption of this Agreement, (b) retention of the Consultant to
  perform the consulting, marketing and sale-related services described herein, (c) conduct of the
  Sale, and (d) granting such other and further relief as is appropriate in order to effectuate the terms
  and provisions of this Agreement.

           “Gross Sales” shall mean the sum of all proceeds derived from the sale of Merchandise
  during the Sale Term (excluding amounts paid for sales, excise, or gross receipts taxes); plus (i)
  all proceeds of fire, flood or other insurance covering the Merchandise, and (ii) the amount of any
  gift cards or merchandise credits redeemed at the Stores during the Sale Term; provided, however,
  that it is expressly understood and agreed, that Gross Sales shall not include sales made by or on
  behalf of Company prior to the Sale Commencement Date or after the Sale Termination Date,
  regardless of when the applicable Merchandise is delivered to or picked up by the customer(s).

            “Interim Order” shall mean an order of the Bankruptcy Court granting interim approval,
  inter alia, for the Company’s (a) assumption of this Agreement, (b) retention of the Consultant to
  perform the consulting, marketing and sale-related services described herein, (c) conduct of the
  Sale, and (d) granting such other and further relief as is appropriate in order to effectuate the terms
  and provisions of this Agreement.

          “Leases” shall mean all leases, occupancy agreements, reciprocal easement, license, or
  similar agreements pursuant to which Company has the right to occupy or utilize the Stores.

         “Lender Agents” mean collectively, the ABL Agent and the Term Loan Agent.

          “Merchandise” shall mean all inventory that is owned by Company and actually sold in the
  Stores during the Sale Term, the aggregate amount of which shall be determined using the gross
  rings inventory taking method, which may include inventory that (i) is located at, or in transit to,
  the Store as of the Sale Commencement Date with respect to each such Store; and/or (ii) is located
  at the Company’s distribution center in the United States during the Sale Term; provided, however,
  the Company and the Consultant agree that “Merchandise” shall expressly exclude: (1) goods
  which belong to sublessees, licensees or concessionaires of Company; (2) goods held by the
  Company on memo or consignment, unless otherwise agreed to by Company (in consultation with
  the Lender Agents) and Consultant; (3) M&E; and (4) Additional Agent Goods.

         “Merchandise File” shall mean the “Store and DC Master Inventory Report Final
  020320.xlsx” and “Levin Store & DC Master Inventory as of 2.3.20.xlslx” files together with all
  subsequent files specifically delivered by Merchant to Agent on or prior to the Sale
  Commencement Date to be used in connection with this Agreement.



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          “Sale Commencement Date” shall mean a date determined by the Company in consultation
  with the Consultant, but in no event later than March 6, 2020.

          “Sale Expenses” shall mean all expenses incurred in connection with and attributable to
  the Sale.

          “Sale Guidelines” shall mean the Sale Guidelines annexed hereto as Exhibit C which shall
  serve as the guidelines under which the Sale shall be conducted.

         “Sale Term” shall mean the period of time beginning with the Sale Commencement Date
  and ending on the Sale Termination Date.

         “Sale Termination Date” shall mean a date determined by the Consultant in consultation
  with the Company, but in no event later than May 31, 2020; provided, however, absent the prior
  consent of the Company, the Sale shall conclude in the Stores no later than April 30, 2020.

          “Services” shall mean the services to be performed by Consultant pursuant to Section 2.2
  of this Agreement.

          “Signage Costs” shall mean all the interior and exterior signage used in connection with
  the Sale, including, without limitation, banners, A-frames, feather flags, and sign walkers, in each
  case to the extent approved by Consultant.

        “Store Employees” shall mean those employees of the Company retained by Company to
  conduct the Sale following consultation with Consultant.

         “Supervisor(s)” shall mean the individual(s) whom Consultant shall engage to provide
  Services in the Stores to Company in connection with the Sale in accordance with Section 2.3
  below.

         “Supervisor Costs” shall mean the following customary costs and expenses incurred by
  Consultant with respect to Supervisors in accordance with the Sale Budget,: (i) the weekly
  compensation paid during the Sale Term per Supervisor (which in each case represents
  Consultant’s actual costs); (ii) reasonable and documented travel expenses of the Supervisors
  between Stores during the term of the Sale, and to and from the Sale locations at the
  commencement and conclusion of the Sale (and reasonable travel to and from the Supervisors’
  homes during the Sale Term as is typical and customary in the liquidation industry given the nature
  of the Merchandise, the length of the Sale, and the actual results of the Sale); and (iii) reasonable
  Supervisor deferred compensation.

          “Term Loan Agent” shall mean Virtus Group, LP, as administrative agent and collateral
  agent for itself and the other Term Loan Lenders.

          “Term Loan Lenders” means those lenders under that certain Credit Agreement, dated as
  of March 1, 2017 (as amended, restated, supplemented or otherwise modified from time to time
  and in effect on the date hereof), by and among, among others, the Company, such lenders and the
  Term Loan Agent.



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  2.     Consulting Services

          2.1    Company hereby retains Consultant, and Consultant hereby agrees to serve as the
  exclusive independent consultant to the Company in connection with the conduct of the Sale as set
  forth herein. With respect to the Sale, Consultant shall serve as the sole and exclusive consultant
  to the Company relative to the conduct of the Sale at the Stores, and the sale or other disposition
  of the other Assets, in each case throughout the Sale Term.

          2.2  Conduct of the Sale; Merchandise Services. On the terms and conditions set forth
  herein, commencing as of the Sale Commencement Date, the Consultant shall provide the
  Company with the following Services with respect to the sale or other disposition of the
  Merchandise as part of the Sale:

                 (a)    provision of approximately forty six (46) qualified Supervisors to supervise
         and assist Company in its conduct of the Sale as further described in Section 2.3 below,
         including such lead, regional, financial, and field Supervisors as needed (after consultation
         with Company and Lender Agents). All Supervisors shall have industry-specific
         experience conducting “Store Closing”, “Total Inventory Blowout”, “Everything on Sale”,
         “Everything Must Go” or similar themed liquidation sales, and shall act in a professional
         manner; provided, that from time to time during the Sale Term the Company and the
         Consultant shall meet and confer to evaluate the level and number of Supervisors being
         utilized in connection with the conduct of the Sale, and the Company and the Consultant
         (in consultation with the Lender Agents) shall jointly determine any reasonable
         adjustments thereto; provided, further, that, once identified, Supervisors cannot be
         removed from the project absent Company consent;

                 (b)    provide the Company with such oversight, supervision and guidance as may
         be appropriate or requested by the Company with respect to the conduct of the Sale and the
         liquidation and disposal of the Merchandise and M&E as may be required from time to
         time to maximize the recovery for such Assets;

                 (c)    recommend and implement appropriate point of purchase, point of sale and
         external advertising to effectively sell the Merchandise during the Sale Term, consistent
         with the theme of the Sale and the Sale Guidelines, it being understood that the Sale will
         be advertised as a “Total Inventory Blowout”, “Store Closing”, “Everything Must Go”,
         “Everything on Sale” or similar sale themes throughout the term of the Sale; provided, that
         Consultant shall not utilize “Going Out of Business” sale theme absent (i) prior
         consultation with and approval by the Company and (ii) as may be set forth in the Approval
         Orders;

                 (d)    advise the Company as to appropriate discounting of Merchandise,
         appropriate staffing levels for the Stores, and appropriate deferred compensation and
         incentive programs for Store Employees;

                 (e)     advise the Company in creating the optimal display of Merchandise in the
         Stores in an effort to maximize the recovery for such Assets;




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                 (f)    assist Company in the formulation and implementation of a loss prevention
         security program designed to protect the Merchandise from theft or other shortages;

                (g)     assist Company with accounting functions for the Stores, including
         evaluation of sales of Merchandise by category, sales reporting and monitoring of
         expenses, in each case using the Company’s infrastructure;

               (h)    recommend and implement the transfer and balancing of Merchandise
         between and among the Stores to maximize results during the Sale;

                (i)      participate in weekly calls with representatives of the Company and Lender
         Agents; and

                (j)    provide such other related services deemed necessary or prudent by the
         Company (in consultation with the Lender Agents), and as may be mutually agreed by the
         Consultant and the Company under the circumstances giving rise to the Sale.

         2.3     M&E Services.

                  (a)    On the terms and conditions set forth herein, commencing as of the Sale
  Commencement Date through the earlier of (i) the applicable Sale Termination Date for each of
  the Stores (or, with respect to any Distribution Center(s), the last day of available occupancy for
  each such center, as may be mutually agreed by the Company and the Consultant (in consultation
  with the Lender Agents)); (ii) April 30, 2020; or (iii) such other earlier or extended date as may be
  mutually agreed upon by the Company (in consultation with the Lender Agents) and the Consultant
  (as applicable the “Asset Marketing Period”), the Consultant shall provide the Company with the
  following Services with respect to the sale or other disposition of the M&E (the “M&E Services”):

                         (i)     Develop an advertising and marketing plan (“M&E Marketing
                 Plan”) for the sale or auction of, or other disposition strategy for, the M&E and in
                 connection therewith; provided, that no later than March 13, 2020, the Company
                 (in consultation with the Lender Agents) and the Consultant shall mutually agree
                 upon a supplemental expense budget for the sale or other disposition of the M&E
                 (the “M&E Expense Budget”);

                        (ii)   Implement the M&E Marketing Plan as deemed necessary by
                 Consultant to maximize the net recovery on the M&E;

                        (iii)  Prepare for the sale of the M&E, including gathering specifications
                 and photographs for brochures;

                        (iv)  Make the M&E available for viewing by potential buyers on an
                 appointment-only basis;

                       (v)      Sell or auction the M&E for cash to the highest bidder “as is,”
                 “where is,” and in accordance with the terms of this Agreement; and




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                        (vi)    Charge and collect on behalf of the Company from all purchasers
                 any purchase price (inclusive of any Buyer’s premium paid by the respective
                 buyer(s)) together with all applicable taxes in connection therewith.

                  (b)    All proceeds collected by Consultant in connection with the M&E Services
  shall be either remitted directly to the Company to such account as designated by the Company
  (the “Company’s Designated Deposit Account”) by the buyer of the M&E, or, to the extent funds
  are remitted to the Consultant, they shall be remitted by Consultant to the Company as part of the
  weekly reconciliation provided for in Section 4.2 hereof, with such amounts to be deposited into
  the Company’s Designated Deposit Account.

         2.4     Real Estate Services.

                  (a)     On the terms and conditions set forth herein, during the applicable Asset
  Marketing Period, the Consultant shall provide the Company with the following Services with
  respect to the sale or other disposition of the Properties (the “Real Estate Services”):

                         (i)     Meet with the Company to ascertain the Company’s goals,
                 objectives and financial parameters with respect to the sale or other disposition of
                 the Properties;

                         (ii)    Mutually agree with the Company with respect to a strategic plan
                 for the disposition of each Property (the “Real Estate Strategic Plan”);

                        (iii)    In accordance with the Real Estate Strategic Plan, and in lieu of
                 assigning a Property lease to a third party, work with the Company to secure
                 favorable termination agreements whereby a landlord pays the Company to
                 terminate the lease associated with each such Property; and

                         (iv)    Solicit interested parties for the assumption/assignment of leases
                 associated with each Property or, where applicable, the sale of each Property, and
                 marketing each Property for assignment/sale in accordance with the Real Estate
                 Strategic Plan.

                   (b)     In connection with the performance of Real Estate Services, the Consultant
  agrees that the Company shall not be responsible for the payment of any expenses incurred in
  connection with the execution of the Real Estate Strategic Plan, except to the extent pursuant to a
  budget (“Real Estate Services Budget”), which Real Estate Services Budget, if any, shall be subject
  in all respects to the consent and approval of the Company (in consultation with the Lender Agents)
  prior to any associated costs or expenses are incurred by the Company or the Consultant.

                 (c)     All proceeds collected by Consultant in connection with the Real Estate
  Strategic Plan shall be either remitted directly to Company’s Designated Deposit Account by the
  buyer/assignee of the Company’s interests in the Properties, or to the extent funds are remitted to
  the Consultant, they shall be remitted by Consultant to the Company as part of the weekly
  reconciliation as part of the weekly reconciliation provided for in Section 4.2 hereof, following
  Consultant’s receipt of such amounts, with such amounts to be deposited into the Company’s
  Designated Deposit Account.



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          2.5     Receivables Services. (a) From the date of execution of this Agreement to and
  including March 31, 2020, the Company shall retain the exclusive option, in its sole discretion
  (following consultation with the Lender Agents)(the “Receivables Election”) to direct the
  Consultant to perform Receivables Services (defined below). The Company shall exercise the
  Receivables Election, if at all, by delivery of a written notice to the Consultant on or before the
  above date indicating its direction to the Consultant to commence performance of Receivables
  Services. Upon the Company’s exercise of the Receivables Election, the Consultant shall
  thereafter perform Receivables Services on the terms and conditions set forth herein, through the
  later of (i) expiration of the Asset Marketing Period or (ii) such later date as the Company (in
  consultation with the Lender Agents) and the Consultant agree (the “Receivables Marketing
  Period”)

                (b)      the Services with respect to the collection or other disposition of the
  Receivables shall include the following (collectively, the “Receivables Services”):

                        (i)    In consultation with the Company, collect, service, settle, and
                 otherwise resolve the Receivables on the Company’s behalf and in otherwise
                 compliance with applicable law;

                        (ii)    Direct the obligors on the Receivables to make payment to
                 Consultant, as the agent for the Company and the Lender Agents;

                        (iii) (a) Receive cash, drafts, checks, wire transfers, credit cards, and
                 money orders on account or in satisfaction of the Receivables; and (b) endorse and
                 negotiate any of the foregoing received by Consultant, as the agent for the
                 Company; and

                        (iv)    If the Company requests, identify and oversee third party collection
                 attorneys to collect those Receivables Consultant is otherwise unable to collect.

                 (c)      In connection with the performance of Receivables Services, the Consultant
  agrees that the Company shall not be responsible for payment of any expenses incurred in
  connection with the Consultant’s performance of the Receivables Services, except to the extent
  pursuant to a budget (“Receivables Services Budget”), which Receivables Services Budget, if any,
  shall be subject in all respects to the consent and approval of the Company (in consultation with
  the Lender Agents) prior to any associated costs or expenses are incurred by the Company or the
  Consultant.

                 (d)     Any amounts collected by Consultant in connection with the collection of
  the Receivables, shall be remitted by the Consultant to the Company as part of the weekly
  reconciliation as part of the weekly reconciliation provided for in Section 4.2 hereof, following
  Consultant’s receipt of such Proceeds, with such amounts to be deposited into the Company’s
  Designated Deposit Account.

         2.6     IP Services.

                  (a)    Through the later of (i) the expiration of the Asset Marketing Period; or (ii)
  such later date as the Company (in consultation with the Lender Agents) and the Consultant may



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  agree (the “IP Marketing Period”), the Consultant shall provide the Company with the following
  Services with respect to the collection or other disposition of the Company’s Intellectual Property
  (the “IP Services”):

                         (i)      Work with the Company’s management and advisors to collect and
                 secure all of the available information and data concerning the Intellectual Property;

                        (ii)    In consultation with the Company, prepare marketing materials
                 designed to advertise the availability of the Intellectual Property for sale,
                 assignment, license, or other disposition;

                        (iii) In consultation with the Company, develop and execute a sales and
                 marketing program designed to elicit proposals to acquire the Intellectual Property
                 from qualified acquirers, with a view toward completing one or more sales,
                 assignments, licenses, or other dispositions of the Intellectual Property; and

                         (iv)   Assist the Company in connection with the transfer of the
                 Intellectual Property to the acquirer(s) who offer the highest or otherwise best
                 consideration for the Intellectual Property.

                 (b)     In connection with the performance of IP Services, the Consultant agrees
  that the Company shall not be responsible for payment of any expenses incurred in connection
  with the Consultant’s performance of the IP Services, except to the extent pursuant to a budget
  (“IP Services Budget”), which IP Services Budget, if any, shall be subject in all respects to the
  consent and approval of the Company (in consultation with the Lender Agents) prior to any
  associated costs or expenses are incurred by the Company or the Consultant.

                  (c)     All proceeds collected by Consultant in connection with the IP Services
  shall be either remitted directly to Company’s Designated Deposit Account by the buyer(s) of the
  IP Assets, or to the extent funds are remitted to the Consultant, they shall be remitted by Consultant
  to the Company as part of the weekly reconciliation as part of the weekly reconciliation provided
  for in Section 4.2 hereof, following Consultant’s receipt of such amounts, with such amounts to
  be deposited into the Company’s Designated Deposit Account

          2.7     License. (a) Solely in connection with the performance of the Services as provided
  herein, the Company hereby grants Consultant a non-exclusive royalty free license (“Services
  License”) to use, including, but not limited to, in all of its advertising and promotional activities
  related to this Agreement, all Intellectual Property, including, without limitation, the following
  Company tradenames: “Art Van Furniture”, “Wolf Furniture”, “Levin Furniture”, and/or similar
  derivations thereof. The Services License shall extend through the later of (i) the expiration of the
  Asset Marketing Period, or (ii) such later date as the Company (in consultation with the Lender
  Agents) and the Consultant may agree (the “License Period”).

                 (b)     The Company hereby grants Consultant a license to allow Consultant to
  enter and occupy the Properties. Specifically, Consultant shall have the right to enter and the
  Properties during the applicable Asset Marketing Period solely for the purposes of performing its
  obligations under this Agreement, including, without limitation, taking photographs and preparing
  the marketing material for the Assets, and selling and overseeing the removal of the removable



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  Assets, without interference from any labor unions or any other third parties. The Company shall
  use reasonable efforts to ensure that the Consultant shall have access to and quiet enjoyment of the
  Properties for the applicable Asset Marketing Period. Consultant shall not be obligated to pay any
  rent, taxes, utilities, or other occupancy-related charges arising from or related to its access to and
  occupancy of the Properties during the applicable Asset Marketing Period. Subject to and limited
  by the Cash Collateral Budget, the Company agrees to continue to provide and pay for all utilities
  and other usual and customary occupancy-related costs and expenses during the course of
  Consultant’s occupancy of the Properties. The Company agrees to maintain and bear the cost of
  any existing security personnel and trash removal for the Properties during the term of this
  Agreement. The Company acknowledges that Consultant is not an insurer of the Assets.
  Consultant shall have the right to abandon at the Properties any movable Assets not sold.

          2.8     Supervisory Personnel. (a) In connection with the Sale, Consultant shall directly
  or indirectly retain and engage the Supervisors. The Supervisors are engaged by Consultant as
  independent contractors and are not and shall not be deemed to be employees or agents of
  Company in any manner whatsoever; nor do the Supervisors have any relationship with Company
  by virtue of this Agreement or otherwise which creates any liability or responsibility on behalf of
  Company for the Supervisors, except with respect to indemnification pursuant to Section 7.7
  hereof. During the Sale Term, the Supervisors shall perform Services during normal Store
  operating hours and for the period of time prior to the Stores’ opening and subsequent to the Stores’
  closing, as required in connection with the Sale, in Consultant’s discretion.

                  (b)    In consideration of Consultant’s engagement of the Supervisors, Company
  agrees to reimburse Consultant, as a Sale Expense, for the actual Supervisor Costs paid by
  Consultant for services rendered by the Supervisors during the Sale Term. Company shall
  reimburse Consultant for all Supervisor Costs weekly, based upon invoices or other documentation
  reasonably satisfactory to Company (in consultation with the Lender Agents). Company shall not
  be obligated to pay Supervisor Costs and/or Supervisor deferred compensation that have not been
  included in, or provided for, in the Sale Budget.

          2.4     Title. (a) Title to all Assets shall remain with Company at all times during the
  Sale Term until such Asset(s) is sold. Although Consultant shall undertake its obligations under
  this Agreement in a manner designed to achieve the desired results of the Sale and to maximize
  the benefits to Company from the sale or other disposition of the other Assets, the Company
  expressly acknowledges that Consultant is not guaranteeing the results of the Sale or ensuring the
  recoveries to be realized by the Company from the sale or other disposition of the Assets. All sales
  of Assets shall be made on behalf of Company. Consultant shall have no liability to the Company
  or any third party for its failure to sell any Asset(s), and shall have the right to abandon such unsold
  Asset(s) at the conclusion of the applicable Asset Marketing Period; provided, that any
  abandonment of any M&E in any Store(s) shall be done in a neat and orderly fashion.

                (b)     the Company further agrees that responsibility for the handling of any
  Merchandise or other goods held by Company and located in the Properties under any
  consignment, sale or return, or other similar agreement shall lie exclusively with Company, and
  Consultant shall have no responsibility with respect thereto.

                 (c)     The Company and Consultant agree, and the Company hereby expressly




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  acknowledges, that Consultant shall not be responsible for the removal or disposition of any
  environmentally hazardous chemicals, solvents or substances found at or in the Assets, or
  obtaining or maintaining any Environmental Permits or other permits with respect thereto. The
  Company shall be responsible for ensuring that the Company possesses and is in compliance with
  all Environmental Permits that are required for the operation of the Company’s businesses. As used
  in this Agreement, “Environmental Laws” means all federal, state and local statutes, regulations,
  ordinances, rules, regulations and policies, all court orders and decrees and arbitration awards, and
  the common law, which pertain to environmental matters or contamination of any type whatsoever;
  and “Environmental Permits” means licenses, permits, registrations, governmental approvals,
  agreements and consents which are required under or are issued pursuant to Environmental Laws.
  In addition to any other indemnities provided herein, the Company hereby agrees to defend,
  indemnify and hold Consultant harmless from any and all claims, losses, damages and liabilities
  (including reasonable attorney’s fees and costs) of any kind whatsoever which arise from or are in
  connection with any hazardous chemicals, solvents or substances found at or in the Assets or any
  violation of any such Environmental Laws or Environmental Permits.

  3.     Sale Expenses; Consultant’s Compensation

          3.1     Sale Expenses. (a) The Company shall be responsible for all Sale Expenses
  (including without limitation, the Consultant Incurred Expenses), and Consultant shall not be
  responsible for any such expenses, including Consultant Incurred Expenses, except as expressly
  provided for in Section 11 below. The Company, Consultant and Lender Agents have agreed on
  a pro forma budget relating to the Sale describing in reasonable detail the projected Sale Expenses
  to be incurred in connection with the sale of Merchandise through the Stores (the “Sale Budget”),
  the form and content of which Sale Budget is annexed hereto and made a part hereof as Exhibit B.
  The Sale Budget may only be modified by mutual agreement of the Company, the Consultant, and
  the Lender Agents. Consultant Incurred Expenses shall not exceed the aggregate amount, per
  expense category, of Consultant Incurred Expenses set forth in the Sale Budget without the prior
  written consent of the Company and Lender Agents. Subject to the limitations of the Sale Budget,
  the Company shall reimburse Consultant for any reasonable and documented Consultant Incurred
  Expense on a weekly basis in connection with the weekly Sale reconciliation provided for in
  Section 4 hereof upon presentation of invoices and statements for such expenses.

                  (b)   To the extent the Company, Consultant and Lender Agents agree on any
  separate M&E Budget, Real Estate Budget, Receivables Services Budget, and/or IP Services
  Budget, as the case may be, such supplemental budgets (each a “Supplemental Budget”, and
  collectively the “Supplemental Budgets”) shall be in addition to, and not in substitution of, the
  Sale Budget.

          3.2     Consultant’s Compensation. In consideration of the Consultant providing the
  consulting, marketing and asset disposition-related Services provided for herein, the Consultant
  shall NOT earn any fee or other compensation from the Company, other than reimbursement of all
  Consultant Incurred Expenses and such other Sale Expenses as may be advanced by Consultant
  from time to time at the request of the Company, in the course of performing Services hereunder,
  in each case limited to the amounts set forth in the Sale Budget and at the times provided herein.
  The Company shall keep (i) a strict count of gross register receipts less applicable sales taxes, and
  (ii) cash reports of sales within each Store. Register receipts shall show for each item sold the



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  retail price (as reflected on Company’s books and records) for such item, and the markdown or
  other discount granted by Consultant in connection with such sale. The Company shall make all
  such records and reports available to Consultant and the Lender Agents during regular business
  hours upon reasonable notice.

          3.3     Expenses Deposit. The Interim Order and/or the Interim Cash Collateral Order
  (defined below) shall include approval on the part of the Company to fund, and the Company shall
  thereafter promptly fund, to Consultant $3,353,912 (the “Expense Deposit’). The Company shall
  be entitled to apply the Expense Deposit to, or otherwise offset any portion of the Expense Deposit
  against, any weekly reimbursement or other amount owing to Consultant under this Agreement
  prior to the Final Settlement; provided, however, at no time prior to the Final Settlement shall the
  Expense Deposit be reduced below $1,000,000. Without limiting any of Consultant’s other rights,
  Consultant may apply the Expense Deposit to any unpaid obligation owing by Company to
  Consultant under this Agreement. Any portion of the Expense Deposit not used to pay amounts
  contemplated by this Agreement shall be returned to Company (or its designee) within three (3)
  business days following the Final Settlement.

  4.     Sale Proceeds; Weekly/Final Settlement

          4.1     During the Sale, the Company shall collect all proceeds realized from the sale of
  Merchandise and deposit the same in deposit accounts established by Company for the deposit
  thereof consistent with Company’s existing cash management system (which may be Company’s
  existing Store-level deposit accounts) (the “Sale Accounts”). In addition, if in connection with the
  sale of any M&E hereunder the Consultant assesses or receives any “buyer’s premium” or similar
  sale price enhancement, the Company shall be entitled to receive any such amount, and the
  Consultant shall remit such amount to the Company in connection with the weekly reconciliation
  provided for hereunder and/or any Final Settlement (defined herein). The Company shall, upon
  request, deliver to Consultant and Lender Agents account statements and such other information
  relating sale of the Assets (including the Gross Sales and the Sale Accounts) reasonably requested
  by Consultant or Lender Agents.

          4.2    On Wednesday of each week, commencing on the first Wednesday following the
  Sale Commencement Date, the Company (in consultation with the Lender Agents) and the
  Consultant shall reconcile the results of the sales of Asset for the prior week, including, without
  limitation, Gross Sales, sales of Assets, Sale Expenses (including Consultant Incurred Expenses),
  and any other expenses that may be incurred in connection with the performance of Services that
  may be in conformity with any Supplemental Budget(s). The Company shall promptly pay or
  reimburse all amounts due to Consultant on account of Sale Expenses, including Consultant
  Incurred Expenses and other expenses incurred by Consultant for the previous week on account of
  which it is entitled to be reimbursed pursuant to the Sale Budget and/or any Supplemental
  Budget(s).

         4.3     No later than fourteen (14) business days following the end of the Sale Term, the
  Company (in consultation with the Lender Agents) and the Consultant shall complete a final
  accounting and reconciliation of all amounts contemplated by this Agreement (“Final
  Settlement”), including, without limitation, the determination and payment/reimbursement of any
  Sale Expenses, including Consultant Incurred Expenses, and such other expenses reimbursable to




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  Consultant in connection with the performance of Services that may be in conformity with any
  Supplemental Budget(s), if any.

         4.4       To the extent the Company fails to pay or reimburse the Consultant for any amount
  for which it is entitled to be reimbursed as and when due, the Consultant shall be entitled to set off
  Asset sale proceeds in its possession and/or the Expense Deposit as reimbursement for any such
  unreimbursed amounts as part of the weekly reconciliations under Section 4.2 hereof and/or the
  Final Settlement under Section 4.3 hereof.

  5.     Company Employees

          5.1      The Company and the Consultant shall cooperate to retain the employees of the
  Company (including the Store Employees) to be utilized to conduct the Sale at the Stores during
  the Sale Term, as such employees may be designated from time to time by Consultant, in its
  discretion. Such employees shall remain employees of the Company, and Consultant shall have
  no liability to such employees (including, without limitation, all the Store Employees and any of
  Company’s other current or former employees) of any kind or nature whatsoever, including,
  without limitation, with respect to severance pay, termination pay, vacation pay, pay in lieu of
  reasonable notice of termination, Worker Adjustment and Retraining Notification Act (“WARN
  Act”) payments, or any other costs, expenses, obligations, or liabilities arising from the Company’s
  employment or termination of such employees prior to, during, and subsequent to the Sale Term.
  Other than advising Company that Consultant no longer desires to utilize the services of any
  employee in connection with the sale or other disposition of the Assets, including as part of the
  Sale, Consultant shall not have the right to change the terms of employment of any employee(s).

  6.     Fulfillment of Pre-Sale Customer Orders

         6.1   In addition to providing the forgoing Services, the Consultant shall use
  commercially reasonable efforts to assist the Company in fulfilling certain pre-Sale
  Commencement Date orders for which the Company has received customer deposits (collectively,
  the “Pre-SCD Orders”).

                   (a)    On-Hand Fulfillment Orders. Consultant shall assist the Company in
  fulfilling certain Pre-SCD Orders having an aggregate retail value of approximately $22 Million
  (collectively, the “On-Hand Fulfillment Orders”), on account of which orders (i) the Company has
  received customer deposits in the aggregate amount of $18 Million (collectively, the “On-Hand
  Customer Deposits”) and (ii) with respect to which all of the goods necessary to fulfill such orders
  are on-hand either at the Company’s Distribution Centers or the Stores (collectively, the “On-Hand
  Fulfillment Merchandise”). As soon as reasonably practicable after the Sale Commencement Date,
  the Consultant shall assist the Company in earmarking the On-Hand Fulfillment Merchandise (and,
  to the extent necessary segregated by the Company) in order to fulfill and complete the On-Hand
  Fulfillment Orders. Consultant shall advise the Company in the development of efficient methods
  aimed at fulfilling the On-Hand Fulfillment Orders, and the Company and the Consultant shall use
  commercially reasonable efforts to deliver the On-Hand Fulfillment Merchandise as promptly as
  practicable, giving due consideration to the Company’s existing distribution/fulfillment
  capabilities. Any usual and customary costs and expenses incurred in connection with the
  fulfillment of any On-Hand Fulfillment Orders, including, but not limited to, labor, sales



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  commissions and delivery (collectively, the “On-Hand Fulfillment Processing Expenses”), shall
  be borne exclusively by the Company, and the Consultant shall not be responsible for any such
  costs or expenses. Any funds received from customers on account of the On-Hand Fulfillment
  Orders, whether received prior to or after the Sale Commencement Date (including, without
  limitation, any On-Hand Customer Deposits), shall be retained by and/or remitted to the Company.
  To the extent any such funds are received from the customer in connection with the delivery of
  such On-Hand Fulfillment Goods, those funds shall be delivered by the Consultant to the Company
  on a weekly basis as part of the weekly reconciliation contemplated by Section 4.2 hereunder.
  Subject to Section 7.5 hereof, the On-Hand Fulfillment Merchandise shall be excluded from the
  definition of Merchandise hereunder; provided, that any proceeds realized by the Company upon
  fulfillment and completion of an On-Hand Fulfillment Order(s) in excess of the applicable On-
  Hand Customer Deposit shall constitute Gross Proceeds hereunder.

                   (b)   Back-Order Fulfillment Orders. Following the Sale Commencement Date,
  Consultant shall also assist the Company in evaluating the status certain Pre-SCD Orders
  (collectively, the “Back-Order Fulfillment Orders”), on account of which orders (i) the Company
  has received customer deposits (collectively, the “Back-Order Customer Deposits”) and (ii) with
  respect to which the goods necessary to fulfill such orders are not on-hand either at the Company’s
  Distribution Centers or the Stores (collectively, the “Back-Order Fulfillment Merchandise”). To
  the extent that a Back-Order Fulfillment Order(s) can be filled by the Company within a reasonable
  time after the Sale Commencement Date, the Company and the Consultant shall work together to
  implement a protocol for fulfillment of such order(s). To the extent that the Company is unable to
  fulfill a Back-Order Fulfillment, such Back-Order Fulfillment Order shall be cancelled by the
  Company, and the Company and the Consultant shall offer the affected customer the option of
  either (i) a merchandise credit in the amount of such customer’s respective Back-Order Customer
  Deposit (the “Cancelled Back-Order Merchandise Credit”), which Cancelled Back-Order
  Merchandise Credit must be used by the affected customer no later than April 15, 2020; or (ii)
  filing a claim in the Company’s bankruptcy case for the full amount of such customer’s Back-
  Order Customer Deposit.

                 (c)     If a customer cancels a Pre-SCD Order, or refuses to accept
  completion/delivery of either On-Hand Fulfillment Merchandise or a Back-Order Fulfillment
  Order (where the goods become available), the subject the On-Hand Fulfillment Merchandise,
  Back-Order Fulfillment Merchandise, as the case may be, attributable to such cancelled Pre-SCD
  Orders, shall thereupon constitute Merchandise and be included in the Sale, and the affected
  customer can file a claim in the bankruptcy case for the full amount of such customer’s deposit.

                   (d)     During the Sale Term, the Company shall provide, and continue to provide
  through the Sale Term, Consultant with all reports reasonably requested by Consultant with respect
  to the status of all Pre-SCD Orders.

  7.     Affirmative Duties Of Company

          7.1    The Company shall be solely liable for, and shall pay when due (except as provided
  in this Section 7.1) the following: (i) all Store-level operating expenses, all Sale Expenses
  (including, but not limited to, Consultant Incurred Expenses), Central Service expenses, any
  expenses provided for in any Supplemental Budget(s), and all other Sale-related expenses that are



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  necessary to conduct, or are incurred in the conduct of, the Sale or Company’s businesses,
  including, without limitation, all taxes, costs, expenses, accounts payable and other liabilities
  relating to the Sale, the Properties, Store Employees, any other agents and representatives of
  Company, and/or Company’s businesses. For the avoidance of doubt, unless otherwise agreed to
  by Company and Lender Agents in writing, the Company shall not be responsible for, and shall
  have no obligation to pay or reimburse, any Consultant Incurred Expenses or other expenses in
  excess of the amounts set forth in the Sale Budget or any Supplemental Budget(s).

          7.2     The Company shall collect all sales, excise, or gross receipts taxes. The Company
  shall be solely responsible for preparing and processing of all reporting forms, certificates, reports
  and other documentation required in connection with the payment of all applicable taxes
  (including, but not limited to, sales taxes collected as part of the Sale) to the appropriate taxing
  authorities; and Company shall pay all collected sales taxes when due in accordance with
  applicable law. The Consultant shall provide all assistance reasonably required or requested by
  the Company in connection with the preparation and processing of any such reporting forms,
  certificates, reports and other documentation required in connection with the payment of all
  applicable taxes (including, but not limited to, sales taxes collected as part of the Sale) to the
  appropriate taxing authorities.

          7.3      Without limiting any other term or provision of this Agreement, during the Sale
  Term, Company shall provide Consultant, with (i) Central Services; (ii) employees at the Stores
  necessary or appropriate to implement and conduct the Sale, and (iii) subject to lease expirations,
  peaceful use and occupancy of, and reasonable access (including reasonable before and after hours
  access and normal utilities/phone service) to, the Stores and Company’s corporate offices and
  Distribution Centers for the purpose of preparing for, conducting, and completing the Sale as
  contemplated hereby; provided, however, any incremental cost or expense to the Company in
  connection with the foregoing that is solely attributable to the Additional Consultant Goods shall
  reimbursed to the Company by the Consultant. In furtherance of the foregoing, the Company shall
  use reasonable efforts to (i) cause the Company’s employees, including Store Employees, to
  cooperate with Consultant and the Supervisors; (ii) execute all agreements determined by the
  Company and Consultant to be necessary or desirable for the operation of the Stores during the
  Sale; and (iii) arrange for the ordinary maintenance of all point-of-sale equipment required for the
  Stores.

          7.4    During the period between the Sale Commencement Date and April 15, 2020, the
  Company and the Consultant agree that gift cards and merchandise credits, including any
  Cancelled Back-Order Merchandise Credit shall be honored at the Stores in accordance with store-
  level operation procedures to be mutually agreed upon between the Company, the Consultant, and
  the Lender Agents. The Company and Consultant further agree that no gift cards shall be sold from
  the Stores during the Sale Term.

          7.5     During the first seven (7) days following the Sale Commencement Date, the
  Company agrees that returns of inventory sold prior to the Sale Commencement Date and either
  delivered to customers prior to or after the Sale Commencement Date (“Returned Merchandise”)
  shall be accepted in a manner consistent with Company’s customary practices and policies in effect
  on the Sale Commencement Date; provided however, no pricing adjustments, or returns of
  inventory sold prior to the Sale Commencement Date followed by the Customer’s attempt to



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  repurchase the item (or item of the same sku) at the discounted price shall be accepted or honored
  during the Sale Term. All customer requests for cash refunds or merchandise credits in respect of
  any Returned Merchandise shall be processed exclusively through Company’s point-of-sale
  system. All Returned Merchandise, to the extent it is not defective, shall be included as
  Merchandise. No returns of inventory sold prior to the Sale Commencement Date shall be accepted
  or allowed following the seventh (7th) day following the Sale Commencement Date.

          7.6     The Company agrees to procure and maintain, during the Sale Term, all insurance
  (including, without limitation, commercial general liability, property damage, fire and other perils
  insurance) currently in effect and in the same amounts, levels, deductibles, and coverages in
  respect of all Assets until sold.

          7.7      The Company shall indemnify and hold the Consultant and its affiliates, and their
  respective officers, directors, employees, agents and independent contractors (collectively,
  “Consultant Indemnified Parties”), harmless from and against all claims, demands, penalties,
  losses, liability or damage, including, without limitation, reasonable attorneys' fees and expenses,
  directly or indirectly asserted against, resulting from, or related to:

                 (a)     Company’s material breach or material failure of or failure to comply with
         any of its agreements, covenants, representations or warranties contained herein or in any
         written agreement entered into in connection herewith;

                 (b)    any failure of Company to pay to its employees any wages, salaries or
         benefits due to such employees during the Sale Term;

               (c)    any consumer warranty or products liability claims relating to any
         Merchandise;

                 (d)    any liability or other claims asserted by customers, any of Company’s
         employees, or any other person against any Consultant Indemnified Party (including,
         without limitation, claims by employees arising under collective bargaining agreements,
         worker's compensation or under the “WARN Act”); except where due to the negligence or
         willful misconduct of Consultant or from a breach of the terms hereof by Consultant;

                 (e)    any harassment or any other unlawful, tortious or otherwise actionable
         treatment of any employees, agents, or representatives of Consultant (including, without
         limitation, any Supervisors) by Company or any of Company’s employees, agents, or
         representatives (including, without limitation, any Company employees); and

                 (f)    the negligence or willful misconduct of Company or any of its officers,
         directors, employees, agents or representatives.

  8.     Affirmative Duties Of Consultant

          8.1      To the extent necessary, and except as provided in the Approval Orders, Consultant
  shall assist the Company in obtaining all required permits and governmental consents required in




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  order to conduct the Sale, and shall ensure that the Sale is conducted in accordance with all
  applicable laws, regulations and ordinances.

          8.2     The Consultant shall indemnify and hold Company and its affiliates, and their
  respective officers, directors, employees, agents, lenders and independent contractors
  (collectively, “Company Indemnified Parties”), harmless from and against all claims, demands,
  penalties, losses, liability or damage, including, without limitation, reasonable attorneys’ fees and
  expenses, directly or indirectly asserted against, resulting from, or related to:

                 (a)     Consultant’s material breach or material failure of or failure to comply with
         any of its agreements, covenants, representations or warranties contained herein or in any
         written agreement entered into in connection herewith;

                 (b)     any harassment or any other unlawful, tortious or otherwise actionable
         treatment of any employees or agents of Company (including, without limitation, any Store
         Employees) by Consultant or any of Consultant’s representatives (including, without
         limitation, any Supervisor);

                (c)    any claims by any party engaged by Consultant as an employee or
         independent contractor (including, without limitation, any Supervisor) arising out of such
         employment or engagement; except where due to the negligence or willful misconduct of
         Company or Company Indemnified Parties or from a breach of the terms hereof by
         Company; and

                 (d)    the negligence or willful misconduct of Consultant or any of its officers,
         directors, employees, agents or representatives, or any Supervisor.

  9.     Additional Consultant Goods

          9.1     In connection with the Sale, and subject to compliance with applicable law (or if
  and when applicable, the Approval Orders), Consultant shall have the right, at Consultant’s sole
  cost and expense, to supplement the Merchandise in the Sale with additional goods procured by
  Consultant which are of like kind, and no lesser quality to the Merchandise (“Additional
  Consultant Goods”). The Additional Consultant Goods shall be purchased by Consultant as part
  of the Sale, and delivered to the Stores (or direct shipped to customers) at Consultant’s sole cost
  and expense (including, without limitation, all acquisition costs, sales commissions, credit card
  processing fees, labor, freight and insurance relative to shipping and/or delivery of such Additional
  Consultant Goods). Sales of Additional Consultant Goods shall be run through Company’s point-
  of-sale systems; provided, however, that Consultant shall mark the Additional Consultant Goods
  using either a “dummy” SKU or department number, or in such other manner so as to distinguish
  the sale of Additional Consultant Goods from the sale of Merchandise. Consultant and Company
  shall also cooperate so as to ensure that the Additional Consultant Goods are marked in such a way
  that a reasonable consumer could identify the Additional Consultant Goods as non-Company
  goods. Additionally, Consultant shall provide signage in the Stores notifying customers that the
  Additional Consultant Goods have been included in the Sale. Absent the Company’s written




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  consent and subject to Consultant’s agreement to reimburse Company for any associated expenses,
  Consultant shall not use Company’s distribution centers for any Additional Consultant Goods.

          9.2    Consultant shall pay to the Company an amount equal to seven and one-half percent
  (7.5%) of the aggregate Gross Proceeds, net only of sales taxes collected in respect thereof, realized
  by Consultant from the sale of Additional Consultant Goods (the “Additional Consultant Goods
  Fee”). Consultant shall pay the Company any earned and accrued Additional Consultant Goods
  Fee on a weekly basis as part of each weekly sale reconciliation. Except for sales taxes associated
  with the sale of Additional Consultant Goods and Company’s Additional Consultant Goods Fee,
  all proceeds from the sale of Additional Consultant Goods shall be for the sole and exclusive
  account of Consultant, and shall be remitted to Consultant in connection with each weekly sale
  reconciliation. Consultant shall be responsible for collecting and remitting sales taxes to the
  applicable taxing authorities on account of sales of Additional Consultant Goods.

          9.3     The Consultant, the Company, and the Lender Agents intend that the transactions
  relating to the Additional Consultant Goods are, and shall be construed as, a true consignment
  from Consultant to Company in all respects and not a consignment for security purposes. Subject
  solely to Consultant’s obligations to pay to Company the Additional Consultant Goods Fee, at all
  times and for all purposes the Additional Consultant Goods and their proceeds shall be the
  exclusive property of Consultant, and no other person or entity, including, without limitation, the
  Lenders and Lender Agents, shall have any claim against any of the Additional Consultant Goods
  or their proceeds. The Additional Consultant Goods shall at all times remain subject to the
  exclusive control of Consultant. In furtherance of the foregoing, the Company acknowledges that
  the Additional Consultant Goods shall be consigned to Company as a true consignment under
  Article 9 of the Uniform Commercial Code (the “UCC”). The Consultant is hereby granted a first
  priority security interest in and lien upon (i) the Additional Consultant Goods and (ii) the
  Additional Consultant Goods proceeds (less any Additional Consultant Goods Fee), and
  Consultant is hereby authorized to file UCC financing statements and provide notifications to any
  prior secured parties, including, but not limited to, the Lender Agents.

          9.4     The Company shall, at Consultant’s sole cost and expense, insure the Additional
  Consultant Goods and, if required, promptly file any proofs of loss with regard to same with
  Company’s insurers. Consultant shall be responsible for payment of any deductible (but only in
  relation to the Additional Consultant Goods) under any such insurance in the event of any casualty
  affecting the Additional Consultant Goods.




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  10.   Representation and Warranties

         10.1 Representations and Warranties of the Consultant. Each entity comprising
  Consultant hereby represents, warrants and covenants in favor of Company as follows:

                (a)    Consultant has taken all necessary action required to authorize the
        execution, performance and delivery of this Agreement, and to consummate the
        transactions contemplated hereby.

                (b)    Upon execution by the parties hereto, this Agreement is a valid and binding
        obligation of Consultant enforceable in accordance with its terms, subject to the entry of
        the Approval Orders as and to the extent required to the effectiveness hereof.

                (c)    No action or proceeding has been instituted or, to Consultant’s knowledge,
        threatened, affecting the Consultant’s ability to consummate this Agreement or the
        transactions contemplated herein.

                (d)     Except as provided in the Approval Orders and the Sale Guidelines,
        Consultant will comply with and act in accordance with any and all applicable state and
        local laws, rules and regulations and other legal obligations of all governmental authorities
        and the terms/restrictions of the underlying Stores’ leases.

         10.2 Representations and Warranties of the Company: the Company hereby represents,
  warrants and covenants in favor of Consultant as follows:

                (a)    Subject to the entry of the Approval Orders as and to the extent required to
        the effectiveness hereof, the Company has taken all necessary action required to authorize
        its execution, performance and delivery of this Agreement, and to consummate the
        transactions contemplated hereby.

                (b)    Subject to the entry of the Approval Orders as and to the extent required to
        the effectiveness hereof, upon execution by the Company, this Agreement is a valid and
        binding obligation of the Company enforceable in accordance with its terms, subject only
        to any applicable bankruptcy, insolvency or similar laws affecting the rights of creditors
        generally and the availability of equitable remedies.

                (c)     Except as may be affected by the Company’s commencement of the
        Bankruptcy Case, no court order or decree of any federal, state or local governmental
        authority or regulatory body is in effect that would prevent or impair, or is required for the
        Company’s consummation of the transactions contemplated by this Agreement, and no
        consent of any third party which has not been obtained is required therefor.

                 (d)    The Company has all requisite authority to grant the License to Consultant
        to utilize the Properties and the Intellectual Property, including, without limitation, the
        tradenames “Art Van Furniture”, “Wolf Furniture”, “Levin Furniture”, and similar
        derivations thereof as provided for under this Agreement.




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                 (e)     The Company has maintained its pricing files in the ordinary course of
         business, and prices charged to the public for goods are the same in all material respects as
         set forth in such pricing files for the periods indicated therein, and all pricing files, records,
         and information received by Consultant are true and accurate in all material respects.

                 (f)     Except for the liens of the ABL Lenders and Term Loan Lenders, all Assets
         are, or will be as of the Sale Commencement Date free and clear of all liens, claims and
         encumbrances of any kind whatsoever.

          11.   Bankruptcy Matters. If the Company commences a case under Chapter 11 of title
  11, United States Code (the “Bankruptcy Code”), in the Bankruptcy Court, the Company shall
  promptly file an expedited motion (a) seeking authorization to conduct the Sale and sell or
  otherwise dispose of the Assets, and (b) to assume this Agreement under section 365 of the
  Bankruptcy Code, and utilize its reasonable best efforts to ensure that such motion is approved by
  the Interim Order, and thereafter the Final Order (together with the Interim Order, the “Approval
  Orders”). The Approval Orders shall be reasonably acceptable in form and substance to the
  Consultant, the Company and the Lender Agents, and provide for, among other things, the
  following:

                (a)     approval of the transactions contemplated by this Agreement, including,
         without limitation, the company’s conduct of the Sale and the sale of the other Assets;

                (b)    approving the Company’s retention and employment of Consultant to
         perform the Services contemplated by this Agreement;

                 (c)     approving the Sale Guidelines;

                 (d)     authorizing the Company’s reimbursement to Consultant of all Sale
         Expenses advanced by the Consultant, including Consultant Incurred Expenses, together
         with any additional expenses incurred pursuant to any Supplemental Budget(s), such
         reimbursements to be made on a weekly basis and otherwise in accordance with this
         Agreement, from the Expense Deposit, and thereafter from gross receipts from the sale or
         other disposition of the Assets (or retained by the Consultant from such receipts) without
         further order of the Bankruptcy Court and otherwise in accordance with this Agreement,
         in each case without further order of the Bankruptcy Court, and any such
         payment(s)/reimbursement(s) shall be free and clear of all liens, claims and encumbrances;

                 (e)     providing that the authority granted herein for the reimbursement of Sale
         Expenses, including Consultant Incurred Expenses, and any other expenses incurred or
         advanced by Consultant pursuant to any Supplemental Budget(s), shall be subject to the
         provisions of (i) that certain proposed Interim Order authorizing the Company Use of Cash
         Collateral” (the “Interim Cash Collateral Order”) to be filed and entered in the Bankruptcy
         Case, and shall be made strictly in accordance with the Cash Collateral Budget (as defined
         in the Interim Cash Collateral Order), subject to such variances as permitted by the Cash
         Collateral Order; provided, however, that neither the Interim Cash Collateral Order shall
         not require or impose a cap or reduction on amounts due to the Consultant under this




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         Agreement, other than any such cap or reduction resulting from the Company’s required
         compliance with the Cash Collateral Budget;

                (f)     not later than two (2) business days after entry of the Interim Order the
         Company shall deliver to the Consultant the Expense Deposit as set forth in the Sale Budget
         as security for payment or reimbursement to Consultant of Sale Expenses incurred by
         Consultant on account of which it is entitled to be reimbursed;

                 (e)     any remaining balance of Expense Deposit being held by Consultant upon
         completion of the Final Settlement shall (i) be applied by Consultant as shall be set forth
         in the Final Settlement, and (ii) be subject to all provisions relating to Cash Collateral set
         forth in the Interim Cash Collateral Order;

                 (f)    authorizing the Company’s conduct of the Sale without the necessity of
         complying with state and local rules, laws, ordinances and regulations, including, without
         limitation, permitting and licensing requirements, that could otherwise govern the Sale;

                 (g)     authorizing the Company’s conduct of the Sale notwithstanding restrictions
         in leases, reciprocal easement agreements or other contracts that purport to restrict the Sale
         or the necessity of obtaining any third party consents;

                (h)    approving the sale of Additional Consultant Goods in accordance with the
         terms and conditions hereof; and

                (i)     authorizing the Consultant and the Company to take all further actions as
         are necessary or appropriate to carry out the terms and conditions of this Agreement.

  Upon the commencement of the Bankruptcy Case, any legal action, suit or proceeding arising in
  connection with this Agreement shall be submitted to the exclusive jurisdiction of the Bankruptcy
  Court having jurisdiction over the Company’s Bankruptcy Case, and each Party hereby waives
  any defenses or objections based on lack of jurisdiction, improper venue, and/or forum non
  conveniens. From and after entry of the Approval Orders, Consultant shall conduct the Sale in
  accordance with the terms of the Approval Orders in all material respects.

  12.    Insurance; Risk of Loss

          12.1 Company shall maintain throughout the Sale Term, (i) insurance with respect to the
  Assets in amounts and on such terms and conditions as are consistent with the Company’s ordinary
  course operations and (ii) casualty and liability insurance policies (including, but not limited to,
  product liability, comprehensive public liability insurance and auto liability insurance) covering
  injuries to persons and property in or in connection with the operation of the Stores, and shall cause
  Consultant to be listed as an additional insured with respect to all such policies, and as loss payee
  for the property insurance. Company shall be responsible for the payment of all deductibles, self-
  insurance and other amounts payable in connection with any claim asserted under such policies,
  except for any claims arising directly from the negligence or willful misconduct of Consultant, or
  its employees, representatives, agents or Supervisors.




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          12.2 Consultant shall maintain, throughout the Sale Term, liability insurance policies
  (including, but not limited to, comprehensive general liability and auto liability insurance)
  covering injuries to persons and property in or in connection with Consultant’s provision of
  Services at the Stores, and shall cause Company to be named an additional insured with respect to
  such policies.

         12.3 Notwithstanding any other provision of this Agreement, the Company and the
  Consultant agree that Company shall bear all responsibility for liability claims (product liability
  and otherwise) of customers, employees and other persons arising from events occurring at the
  Stores before, during and after the Sale Term, except to the extent any such claim arises from the
  negligence, willful misconduct, or unlawful acts of the Consultant or any Supervisor engaged by
  Consultant under the terms of this Agreement.

  13.    Miscellaneous

         13.1 Any notice or other communication under this Agreement shall be in writing and
  may be delivered personally or sent by facsimile or by prepaid registered or certified mail,
  addressed as follows:

           If to the Company:               c/o AVF HOLDING COMPANY, INC.
                                            6500 East Fourteen Mile Road
                                            Warren, MI 48092
                                            Attn: David Ladd
                                            Email: dladd@artvan.com

                                            With copies to:

                                            MONTGOMERY MCCRACKEN WALKER &
                                            RHOADS, LLP
                                            437 Madison Avenue
                                            New York, NY 10022
                                            Attn: Maura I. Russell
                                            Email: mrussell@mmwr.com

                                            ALVAREZ & MARSAL, LLP
                                            600 Madison Avenue – 7th Floor
                                            New York, NY 10022
                                            Attn: Dennis Stogsdill
                                                  Matthew Davidson
                                            Email: DStogsdill@alvarezandmarsal.com
                                                  matthew.davidson@alvarezandmarsal.com




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          If to the Consultant:     HILCO MERCHANT RESOURCES, LLC, HILCO
                                    IP SERVICES, LLC D/B/A HILCO STREAMBANK,
                                    HILCO REAL ESTATE, LLC, AND HILCO
                                    RECEIVABLES, LLC
                                    5 Revere Drive, Suite 206
                                    Northbrook, IL 60062
                                    Attention: Ian S. Fredericks
                                    Tel: (847) 418-2075
                                    Email: ifredericks@hilcotrading.com

                                            -and-

                                    GORDON BROTHERS RETAIL PARTNERS, LLC,
                                    DJM REALTY SERVICES, LLC D/B/A GORDON
                                    BROTHERS REAL ESTATE, GORDON
                                    BROTHERS COMMERCIAL & INDUSTRIAL, LLC
                                    AND GORDON BROTHERS BRANDS, LLC
                                    Prudential Tower
                                    800 Boylston Street
                                    Boston, MA 02119
                                    Attn: Mackenzie L. Shea
                                    Tel: (617) 210-7116
                                    Email: mshea@gordonbrothers.com

                                    With a copy to (which shall not constitute notice):

                                    RIEMER & BRAUNSTEIN LLP
                                    Times Square Tower
                                    Seven Times Square, Suite 2506
                                    New York, NY 10036
                                    Attn: Steven E. Fox
                                    Email: sfox@riemerlaw.com

          If to the ABL Lenders:    WELLS FARGO BANK, NATIONAL
                                    ASSOCIATION
                                    125 High Street, 11th Floor
                                    Boston, MA 02110
                                    Attn: Danielle Baldinelli
                                    Email: Danielle.M.Baldinelli@wellsfargo.com

                                    MORGAN, LEWIS & BOCKIUS LLP
                                    One Federal Street
                                    Boston, MA 02110-1726
                                    Attn: Marjorie B. Crider
                                    Email: marjorie.crider@morganlewis.com




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           If to the Term Lenders:          King & Spalding LLP
                                            1185 Avenue of the Americas
                                            New York, NY 10036
                                            Attn: W. Todd Holleman
                                            Email: tholleman@kslaw.com


         13.2 Governing Law. This Agreement shall be governed by and interpreted in
  accordance with the internal laws of the State of New York, without reference to any conflict of
  laws provisions.

          13.3 Severability. In the event any term or provision contained within this Agreement
  shall be deemed illegal or unenforceable, then such offending term or provision shall be considered
  deleted from this Agreement and the remaining terms shall continue to be in full force and effect.

          13.4 Entire Agreement. This Agreement constitutes the entire agreement between the
  parties with respect of the subject matter hereof and supersedes all prior negotiations and
  understandings, and can only be modified by a writing signed by the Company (with the consent
  of the Lender Agents, which consent shall not be unreasonably withheld, delayed or conditioned)
  and the Consultant.

           13.5 Assignment. Neither Company nor Consultant shall assign this Agreement without
  the express written consent of the other; provided, however, notwithstanding the foregoing, the
  Consultant may delegate and assign its rights and obligations under this Agreement to one or more
  affiliates with subject matter experience with applicable Assets without the consent of the
  Company. This Agreement shall inure to the benefit of, and be binding upon, the parties and their
  respective successors and permitted assigns.

          13.6 Counterparts. This Agreement may be executed in several counterparts, each of
  which when so executed shall be deemed to be an original and such counterparts, together, shall
  constitute one and the same instrument. Delivery by facsimile of this Agreement or an executed
  counterpart hereof shall be deemed a good and valid execution and delivery hereof or thereof.

            13.7 Independent Contractor. Nothing contained herein shall be deemed to create any
  relationship between the Company and the Consultant other than that of an independent contractor.
  It is stipulated that the parties are not partners or joint venturers.

          13.8 Termination. This Agreement shall terminate upon the earlier to occur (a) in the
  event the Bankruptcy Court does not enter the Interim Order on or before March 10, 2020, (b) in
  the event the Sale Commencement Date does not occur on or prior to March 7, 2020, (c) in the
  event the Bankruptcy Court does not enter the Final Order on or before March 31, 2020, (d) the
  mutual agreement of the Parties, or (e) upon the completion and approval of the Final Settlement;
  provided, however, that either party may terminate this Agreement in the event that the other
  commits a material breach or material failure of its obligations hereunder. If either party seeks to
  terminate this Agreement by reason of a claim of a material breach or material failure, such party
  shall provide the other party with not less than five (5) days’ prior written notice stating with
  specificity the nature of the claimed material breach or material failure, and the party receiving




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  such notice shall have five (5) business days in which to cure such material breach or material
  failure, failing which this Agreement shall be deemed terminated. In the event this Agreement is
  terminated by Consultant on account of a material breach or material failure by the Company,
  Consultant shall be entitled to be reimbursed any Sale Expenses, including Consultant Incurred
  Expenses and any other expenses incurred in conformity with the Sale Budget or any Supplemental
  Budget(s) through the date of such termination.

          13.8 Confidentiality. Except for such disclosure as may be required and/or incident to
  Asset sale-related activities and Services provided for herein, all information of a business nature
  relating to the pricing, sales, promotions, marketing, assets, liabilities or other business affairs of
  Company, its customers, parent, subsidiary or other affiliated entities (for purposes of this
  provision, all such entities are included within each reference to “Company”) is Company’s
  confidential, trade secret information (“Company Confidential Information”), which is and shall
  remain the exclusive intellectual property of Company. Consultant shall not divulge, furnish,
  make available or in any other manner disclose such information to any third party other than
  Consultant’s officers, employees, representatives and agents. Consultant shall take and shall cause
  its officers, employees, representatives and agents to take such action as shall be reasonably
  necessary or advisable to preserve and protect the confidentiality of Company Confidential
  Information. Consultant agrees to maintain strict confidentiality and agrees that it may use
  Company Confidential Information only as reasonably necessary to the performance of its
  obligations related to the sale of the Assets as contemplated hereby. Notwithstanding the
  foregoing, Company hereby agrees that Consultant may identify Company as a Consultant
  customer for which Consultant has provided services for purposes of promoting its business.

          13.9 Force Majeure. If any casualty or act of God, war, or terrorism prevents or
  substantially inhibits the conduct of business in the ordinary course at any Store(s), or results in a
  material loss or impairment of the Assets, then the subject location(s) and the remaining
  Merchandise located thereat shall be eliminated from the Sale and considered to be deleted from
  this Agreement as of the date of such event, and Consultant and shall have no further rights or
  obligations hereunder with respect thereto; provided, however, that the proceeds of any insurance
  attributable to impacted Assets or proceeds from business interruption insurance shall constitute
  Gross Proceeds hereunder.

         13.10 By executing or otherwise accepting this Agreement, the Company and Consultant
  acknowledge and represent that they are represented by and have consulted with independent legal
  counsel with respect to the terms and conditions contained herein.




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         13.11 This Agreement shall be deemed drafted by both parties hereto, and there shall be
  no presumption against either party in the interpretation of this Agreement.


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                                 STREAMBANK, HILCO REAL ESTATE, LLC, AND
                                 HILCO RECEIVABLES, LLC



                                 By:___________________________________
                                    Name:    Sarah Baker
                                    Title:   Assistant General Counsel

                                              - and –

                                 GORDON BROTHERS RETAIL PARTNERS, LLC,



                                 By:___________________________________
                                    Name:    __________________________
                                    Its:     __________________________



                                 DJM REALTY SERVICES, LLC D/B/A GORDON
                                 BROTHERS REAL ESTATE




                                 By:___________________________________
                                    Name:    __________________________
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                                 GORDON BROTHERS COMMERCIAL &
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Results ‐ Store Count Strategy by Location

        169 # Stores included in liquidation                                       Yes
          2 # stores closed prior to sale commencement                             No

Financial Information in ($000's)
                                                                     Location Information                                                                                                                                                                               Location Space Details
                                                            Original                  Include                     Direct                       Store   Company       Gross         Selling            Lease         Lease           Months          SLB                                                                         Master
  Store #                    Store Name                   Store Name              in Liquidation               Marketing Area                  Type    Affiliation   Sq. Ft.       Sq. Ft.        Beginning Date    Expire.        Remaining      Property                         Landlord                                     Lease                                          Address
          1   Bel Air, MD (1)                BEL AIR (#65)                              Yes        Baltimore                             Standard        WLF              74,400        62,000          5/15/2015    12/31/2025             70      No       CAMPUS HILLS MARYLAND ASSOCIATES, L.P. None                                         2400 E Churchville Rd, Bel Air, MD, 21015, USA
          2   Pasadena, MD (2)               PASADENA (#61)                             Yes        Baltimore                             Standard        WLF              61,646        54,000          5/15/2015     8/31/2025             66      No       ARUNDEL PROPERTY INVESTORS LP                     None                              8038 Ritchie Hwy, Pasadena, MD, 21122, USA
          3   Westminster, MD (3)            WESTMINSTER (#64)                          Yes        Baltimore                             Standard        WLF              40,550        38,000          5/15/2015     8/31/2021             18      No       WESTMINSTER GATEWAY, LLC                          None                              1030 Baltimore Blvd Suite 110, Westminster, MD, 21157, USA
          4   Towson, MD (4)                 TOWSON (#63)                               Yes        Baltimore                             Standard        WLF              54,000        46,000          5/15/2015     4/30/2038            218      Yes      STORE CAPITAL                                     Store Master Funding XII, LLC     1530 E Joppa Rd, Towson, MD, 21286, USA
          5   Catonsville, MD (5)            CATONSVILLE (#62)                          Yes        Baltimore                             Standard        WLF            115,300         40,000          5/15/2015     8/31/2025             66      No       JMB JOINT VENTURE                                 None                              6415 Baltimore National Pike, Catonsville, MD, 21228, USA
          6   Downers Grove, IL (6)          DOWNERS GROVE AVF & SSI (#199)             Yes        Chicago                               Flagship        AVF            100,000         92,428           8/1/2015     3/31/2037            205      Yes      STORE CAPITAL                                     STORE SPE AVF I 2017-1, LLC       1021 BUTTERFIELD RD, DOWNERS GROVE, IL, 60515, USA
          7   Merrillville, IN (7)           MERRILLVILLE AVF                           Yes        Chicago                               Standard        AVF              50,000        43,130          8/24/2013     2/28/2023             36      No       ACADIA MERRILLVILLE REALTY, L.P.                  None                              1600 E 80TH AVE, MERRILLVILLE, IN, 46410, USA
          8   Naperville, IL (8)             NAPERVILLE AVF                             Yes        Chicago                               Standard        AVF              62,000        52,753          6/18/2015     8/31/2025             66      No       BRIXMOR HERITAGE SQUARE, LLC                      None                              404 SOUTH ROUTE 59, NAPERVILLE, IL, 60540, USA
          9   Bedford Park, IL (9)           BEDFORD PK AVF                             Yes        Chicago                               Standard        AVF              84,505        71,590         10/26/2013     4/30/2024             50      No       SPIRIT SPE LOAN PORTFOLIO 2013-3, LLC             None                              7200 S CICERO AVE, BEDFORD PARK, IL, 60638, USA
         10   Elston, IL (10)                ELSTON AVE AVF                             Yes        Chicago                               Standard        AVF              48,000        40,660         10/26/2013     4/30/2024             50      No       Farbman Group                                     None                              2606 ELSTON AVE, CHICAGO, IL, 60647, USA
         11   Batavia, IL (11)               BATAVIA AVF                                Yes        Chicago                               Standard        AVF              42,500        37,055          9/14/2013     1/31/2024             47      No       PARAGON BATAVIA, LLC                              None                              165 N RANDALL RD, BATAVIA, IL, 60510, USA
         12   Orland Park, IL (12)           ORLAND PARK AVF                            Yes        Chicago                               Standard        AVF              65,523        53,329          7/13/2013     5/31/2024             51      No       55th & S. Kedzie, LLC                             None                              15080 S LA GRANGE RD, ORLAND PARK, IL, 60462, USA
         13   Algonquin, IL (13)             ALGONQUIN AVF                              Yes        Chicago                               Standard        AVF              48,397        41,272          3/31/2016     7/31/2025             65      No       c/o Mid America Asset Management, Inc.            None                              1500 S RANDALL ROAD, ALGONQUIN, IL, 60102, USA
         14   Kildeer, IL (14)               KILDEER AVF                                Yes        Chicago                               Standard        AVF              40,628        34,534          10/4/2017     9/30/2027             91      No       Kildeer Village Square, LLC.                      None                              20393 N RAND RD, KILDEER, IL, 60074, USA
         15   Glendale Heights, IL (15)      GLENDALE HEIGHTS AVF                       Yes        Chicago                               Standard        AVF              60,820        37,044          2/26/2016     3/31/2026             73      No       125 W. Army Trail Road LLC                        None                              125 ARMY TRAIL ROAD, GLENDALE HGTS, IL, 60139, USA
         16   Deerfield, IL (16)             DEERFIELD AVF                              Yes        Chicago                               Standard        AVF              41,966        35,671         12/13/2017     2/29/2028             96      No       Gateway Fairview, Inc.                            None                              120 S. WAUKEGAN, DEERFIELD, IL, 60015, USA
         17   Schaumburg, IL (17)            SCHAUMBURG AVF& SSI (#303)                 Yes        Chicago                               Flagship        AVF              71,400        61,990         10/29/2016     3/31/2037            205      Yes      STORE CAPITAL                                     Store Master Funding XII, LLC     1293 E HIGGINS RD, SCHAUMBURG, IL, 60173, USA
         18   Joliet, IL (18)                JOLIET PS                                  Yes        Chicago                               Sleep           APS               3,116          2,884        12/26/2017    12/31/2027             94      No       GW Fidelity PH, LLC                               None                              2901 PLAINFIELD, JOLIET, IL, 60435, USA
         19   Burbank, IL (19)               BURBANK PS                                 Yes        Chicago                               Sleep           APS               3,994          3,476         3/21/2015     3/31/2025             61      No       WM 73 RE, LLC                                     None                              7712 CICERO AVENUE, BURBANK, IL, 60459, USA
         20   Woodridge, IL (20)             WOODRIDGE AVF                              Yes        Chicago                               Standard        AVF              68,400        59,687          3/27/2014    10/31/2037            212      Yes      STORE CAPITAL                                     STORE SPE AVF II 2017-2, LLC      900 E BOUGHTON RD, WOODRIDGE, IL, 60517, USA
         21   Gurnee, IL (21)                GURNEE AVF                                 Yes        Chicago                               Standard        AVF              34,000        28,900          6/26/2018    12/31/2032            154      No       3503 RP Gurnee, L.L.C.                            None                              6911 W. GRAND AVE, GURNEE, IL, 60031, USA
         22   Plainfield, IL (22)            PLAINFIELD PS                              Yes        Chicago                               Sleep           APS               3,600          3,290         2/11/2017     2/28/2027             84      No       NATIONAL SHOPPING PLAZAS, INC.                    None                              13511 S ROUTE 59, PLAINFIELD, IL, 60544, USA
         23   Willowbrook, IL (23)           WILLOWBROOK PS                             Yes        Chicago                               Sleep           APS               3,834          3,400         12/3/2016     1/31/2027             83      No       NATIONAL SHOPPING PLAZAS, INC.                    None                              6938 KINGERY HIGHWAY, WILLOWBROOK, IL, 60527, USA
         24   Chicago, IL (24)               ASHLAND PS                                 Yes        Chicago                               Sleep           APS               3,000          2,600         9/10/2016     9/30/2026             79      No       NATIONAL SHOPPING PLAZAS, INC.                    None                              2911 N. ASHLAND AVENUE, CHICAGO, IL, 60657, USA
         25   Bloomingdale, IL (25)          BLOOMINGDALE PS                            Yes        Chicago                               Sleep           APS               4,798          4,370         5/26/2017     4/30/2027             86      No       Bloomingdale Square, LP                           None                              398 W ARMY TRAIL RD #102, BLOOMINGDALE, IL, 60108, USA
         26   Harwood Heights, IL (26)       HARWOOD HEIGHTS AVF                        Yes        Chicago                               Standard        AVF              60,000        51,000         11/15/2017    12/31/2038            226      No       DBD AVF                                           None                              7304 WEST LAWRENCE AVE, HARWOOD HEIGHTS, IL, 60706, U
         27   Avon, OH (27)                  AVON (#45, 46 CC)                          Yes        Cleveland                             Standard         LVF             77,000        72,380           7/1/2011    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                             Vereit                            1801 NAGEL ROAD, AVON, OH, 44011, USA
         28   North Canton, OH (28)          CANTON (#14, 25, 26 CC)                    Yes        Cleveland                             Standard         LVF             65,765        60,199           3/1/2008    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                             Vereit                            6229 PROMLER AVENUE NW, NORTH CANTON, OH, 44720, USA
         29   Akron, OH (29)                 AKRON (#23, 24 CC)                         Yes        Cleveland                             Standard         LVF             69,422        65,257          10/1/2005     9/30/2020              7      No       TABANI AKRON, LP                                  None                              3742 BROOKWALL DRIVE, AKRON, OH, 44333, USA
         30   Middleburg Heights, OH (30)    MIDDLEBURG (#11, 31 CC)                    Yes        Cleveland                             Standard         LVF             50,000        45,172           7/1/1993    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                             Vereit                            16960 SPRAGUE ROAD, MIDDLEBURG HEIGHTS, OH, 44130, US
         31   Mentor, OH (31)                MENTOR (#9, 27, 28 CC)                     Yes        Cleveland                             Standard         LVF             75,600        70,712           7/1/2009    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                             Vereit                            7799 MENTOR AVE, MENTOR, OH, 44060, USA
         32   Oakwood Village, OH (32)       OAKWOOD VILLAGE (#18, 19 CC)               Yes        Cleveland                             Standard         LVF             89,723        67,723           8/1/2002    11/30/2027             93      No       FIRST INERNATIONAL HAWTHORNE LP                   None                              23100 BROADWAY AVE, OAKWOOD VILLAGE, OH, 44146, USA
         33   North Olmsted, OH (33)         NORTH OLMSTED (#12, 34 CC)                 Yes        Cleveland                             Standard         LVF             46,000        41,270           8/1/1996     1/31/2027             83      No       GLITZ AND ASSOCIATES INC                          None                              23250 LORAIN ROAD, NORTH OLMSTED, OH, 44070, USA
         34   Strongsville, OH (34)          STRONGSVILLE (#74)                         Yes        Cleveland                             Sleep             LM              5,000          4,400         11/5/2015    10/31/2025             68      No       ECHO STRONGSVILLE LLC                             None                              16105 PEARL ROAD, STRONGSVILLE, OH, 44136, USA
         35   Mayfield Heights, OH (35)      MAYFIELD (#65)                             Yes        Cleveland                             Sleep             LM              4,620          4,120          5/1/2012            n/a            n/a     No       JACK H SCHWARTS, TRUSTEE OF THE JACK H None                                         6061 Mayfield Rd, Mayfield Heights, OH, 44124, USA
         36   Stow, OH (36)                  STOW (#68)                                 Yes        Cleveland                             Sleep             LM              4,160          3,660        10/25/2013     1/31/2024             47      No       DEVILLE DEVELOPMENTS LLC                          None                              1061 GRAHAM RD, STOW, OH, 44224, USA
         37   Medina, OH (37)                MEDINA (#76)                               Yes        Cleveland                             Sleep             LM              4,500          4,000         8/25/2016     9/30/2021             19      No       GOWE LEASING LIMITED                              None                              3823 PEARL RD, MEDINA, OH, 44256, USA
         38   Sandusky, OH (38)              SANDUSKY (#73)                             Yes        Cleveland                             Sleep             LM              5,400          4,900        11/14/2014     2/28/2025             60      No       PLI II LTD                                        None                              4917 MILAN RD PLAZA, SANDUSKY, OH, 44870, USA
         39   Elyria, OH (39)                ELYRIA (#72)                               Yes        Cleveland                             Sleep             LM              6,400          5,800         6/19/2015     6/30/2026             76      No       ELYRIA-CHESTNUT, LLC / NICKLEPLATE REALTYNone                                       510 CHESTNUT COMMONS DR, ELYRIA, OH, 44035, USA
         40   Solon, OH (40)                 SOLON (#67)                                Yes        Cleveland                             Sleep             LM              3,788          3,288         2/22/2013     5/31/2023             39      No       L & y PROPERTIES - SOLON, LLC                     None                              6130 KRUSE DRIVE, SOLON, OH, 44139, USA
         41   Canton, OH (41)                MASSILLON (#71)                            Yes        Cleveland                             Sleep             LM              5,650          5,150         6/27/2014    11/30/2024             57      No       PERRY TOWN CENTER LLC                             None                              5119 WEST TUSCARAWAS ST, CANTON, OH, 44708, USA
         42   Polaris, OH (42)               POLARIS AVF                                Yes        Columbus                              Flagship        AVF              70,000        59,500          3/16/2019    10/31/2037            212      Yes      STORE CAPITAL                                     Other                             1551 GEMINI PLACE, COLUMBUS, OH, 43240, USA
         43   Novi, MI (43)                  NOVI AVF                                   Yes        Detroit                               Flagship        AVF            102,520         88,958           1/1/1985     2/28/2037            204      Yes      BROADSTONE                                        BROADSTONE AVF MICHIGAN, LLC      27775 NOVI RD, NOVI, MI, 48377, USA
         44   Warren, MI (44)                TECH PLAZA AVF                             Yes        Detroit                               Flagship        AVF            109,980         87,859         11/26/1982     2/28/2037            204      Yes      LCN PARTNERS                                      LCN AVF WARREN (MI) LLC           6500 E 14 MILE RD, WARREN, MI, 48092, USA
         45   Shelby Township, MI (45)       LAKESIDE AVF                               Yes        Detroit                               Flagship        AVF              68,104        72,336          8/14/1992     3/31/2037            205      Yes      STORE CAPITAL                                     Store Master Funding XII, LLC     14055 HALL RD, SHELBY TOWNSHIP, MI, 48315, USA
         46   Canton, MI (46)                CANTON AVF                                 Yes        Detroit                               Flagship        AVF              69,929        58,740           1/3/2018    12/31/2038            226      Yes      Agree Limited Partnership                         None                              41661 FORD ROAD, CANTON, MI, 48187, USA
         47   Taylor, MI (47)                TAYLOR AVF                                 Yes        Detroit                               Flagship        AVF              91,720        79,294           3/6/1978    10/31/2037            212      Yes      STORE CAPITAL                                     STORE SPE AVF II 2017-2, LLC      22035 EUREKA RD, TAYLOR, MI, 48180, USA
         48   Ann Arbor, MI (48)             ANN ARBOR AVF                              Yes        Detroit                               Flagship        AVF              70,000        60,912           7/2/1993     2/28/2037            204      Yes      STONEBRIAR                                        SCF RC Funding III, LLC           425 E EISENHOWER PKWY, ANN ARBOR, MI, 48108, USA
         49   Southfield, MI (49)            SOUTHFIELD AVF                             Yes        Detroit                               Standard        AVF              64,584        52,094          11/1/2000     7/31/2023             41      No       GREENFIELD PLAZA, INC.                            None                              22555 GREENFIELD RD, SOUTHFIELD, MI, 48075, USA
         50   Royal Oak, MI (50)             WOODWARD AVF & SSI (#174)                  Yes        Detroit                               Standard        AVF              56,520        54,943         11/14/1997    10/31/2037            212      Yes      STORE CAPITAL                                     STORE SPE AVF II 2017-2, LLC      32301 WOODWARD AVE, ROYAL OAK, MI, 48073, USA
         51   Clinton Twp, MI (51)           CLINTON AVF                                Yes        Detroit                               Flagship        AVF              69,720        60,128           1/1/1988     2/28/2037            204      Yes      BROADSTONE                                        BROADSTONE AVF MICHIGAN, LLC      33801 S GRATIOT AVE, CLINTON TWP, MI, 48035, USA
         52   Chesterfield, MI (52)          CHESTERFIELD AVF                           Yes        Detroit                               Standard        AVF              73,152        58,029         12/26/2003     2/28/2037            204      Yes      BROADSTONE                                        BROADSTONE AVF MICHIGAN, LLC      50400 GRATIOT AVE, CHESTERFIELD, MI, 48051, USA
         53   Howell, MI (53)                HOWELL AVF                                 Yes        Detroit                               Standard        AVF              51,075        45,721          11/1/1997     3/31/2037            205      Yes      STORE CAPITAL                                     Store Master Funding XII, LLC     4101 E GRAND RIVER AVE, HOWELL, MI, 48843, USA
         54   Waterford, MI (54)             DRAYTON PLAINS AVF                         Yes        Detroit                               Standard        AVF              53,188        57,435          6/30/1971     3/31/2037            205      Yes      STORE CAPITAL                                     STORE SPE AVF I 2017-1, LLC       5053 DIXIE HWY, WATERFORD, MI, 48329, USA
         55   Dearborn, MI (55)              DEARBORN AVF                               Yes        Detroit                               Standard        AVF              57,633        58,164          7/11/1997     2/28/2037            204      Yes      LCN PARTNERS                                      LCN CAPITAL PARTNERS, LLC         15701 MARKET DR, DEARBORN, MI, 48126, USA
         56   Auburn Hills, MI (56)          GREAT LAKES AVF                            Yes        Detroit                               Standard        AVF              43,319        37,296           1/1/2011     1/31/2021             11      No       Taubman Auburn Hills Associates Limited Partnersh None                              4612 BALDWIN RD, AUBURN HILLS, MI, 48326, USA
         57   Port Huron, MI (57)            PORT HURON AVF                             Yes        Detroit                               Standard        AVF              74,800        59,123          9/20/2002     3/31/2037            205      Yes      STORE CAPITAL                                     STORE SPE AVF I 2017-1, LLC       1234 32ND ST, PORT HURON, MI, 48060, USA
         58   Rochester Hills, MI (58)       ROCHESTER AVF                              Yes        Detroit                               Standard        AVF              48,621        41,328          5/16/2019    11/30/2033            165      No       Rochester KM Partners, LLC                        None                              1032 SOUTH ROCHESTER ROAD, ROCHESTER, MI, 48307, USA
         59   Livonia, MI (59)               7 MILE AVF                                 Yes        Detroit                               Standard        AVF              61,752        53,795           1/1/1985     3/31/2037            205      Yes      STORE CAPITAL                                     Store Master Funding XII, LLC     29905 7 MILE RD, LIVONIA, MI, 48152, USA
         60   Warren, MI (60)                SCHOENHERR AVF                             Yes        Detroit                               Standard        AVF              38,795        41,890          1/19/1972     3/31/2037            205      Yes      STORE CAPITAL                                     STORE SPE AVF I 2017-1, LLC       13855 E 8 MILE RD, WARREN, MI, 48089, USA
         61   Westland, MI (61)              WESTLAND AVF                               Yes        Detroit                               Standard        AVF              79,773        70,723          4/14/1987     2/28/2037            204      Yes      STONEBRIAR                                        SCF RC Funding III, LLC           8300 N WAYNE RD, WESTLAND, MI, 48185, USA
         62   Ann Arbor, MI (62)             ANN ARBOR W PS                             Yes        Detroit                               Sleep           APS               4,600          4,079          9/1/2011     8/31/2021             18      No       BRIXMOR Holdings 1 SPE, LLC                       None                              2570 JACKSON AVE, ANN ARBOR, MI, 48103, USA
         63   Rochester, MI (63)             ROCHESTER PS                               Yes        Detroit                               Sleep           APS               5,000          4,474          6/1/2010     7/31/2020              5      No       McKnight South East, LP c/o McKnight Property ManNone                               1856 S ROCHESTER RD, ROCHESTER, MI, 48307, USA
         64   Grosse Pointe Woods, MI (64)   GROSSE POINTE SOUTH PS                     Yes        Detroit                               Sleep           APS               3,500          2,688          3/1/2018     2/29/2028             96      No       Ryder Investments                                 None                              19387 MACK AVE, GROSSE POINTE, MI, 48236, USA
         65   Warren, MI (65)                WARREN E PS                                Yes        Detroit                               Sleep           APS               5,072          4,507         5/16/2011     6/30/2022             28      No       WARREN VILLAGE, LLC                               None                              6400 14 MILE RD, WARREN, MI, 48092, USA
         66   Sterling Hgts, MI (66)         STERLING HTS PS                            Yes        Detroit                               Sleep           APS               4,014          3,672          2/9/2013     2/28/2023             36      No       EASTLAKE COMMONS ASSOCIATES, LLC                  None                              44975 HAYES RD, STERLING HGTS, MI, 48313, USA
         67   Washington, MI (67)            WASHINGTON PS                              Yes        Detroit                               Sleep           APS               4,000          3,425         5/16/2011    10/31/2021             20      No       AF Jonna Development & Management Company, L None                                   7887 26 MILE ROAD, WASHINGTON, MI, 48094, USA
         68   Southgate, MI (68)             SOUTHGATE PS                               Yes        Detroit                               Sleep           APS               5,117          4,768         1/16/2016     3/31/2021             13      No       BRANDON ASSOCIATES SOUTHGATE L.L.C.               None                              15060 DIX TOLEDO RD, SOUTHGATE, MI, 48195, USA
         69   Canton, MI (69)                CANTON PS                                  Yes        Detroit                               Sleep           APS               4,600          4,280          7/1/2009     6/30/2024             52      No       Ford Road Investments, LLC                        None                              41913 FORD RD, CANTON, MI, 48187, USA
         70   Monroe, MI (70)                MONROE PS                                  Yes        Detroit                               Sleep           APS               4,000          3,593         7/30/2016     7/31/2026             77      No       Keystone Commercial                               None                              1570 NORTH TELEGRAPH ROAD, MONROE, MI, 48162, USA
         71   Troy, MI (71)                  TROY N PS                                  Yes        Detroit                               Sleep           APS               4,500          4,059         5/16/2011     7/31/2021             17      No       Universal Mall Properties LLC                     None                              1735 BIG BEAVER RD, TROY, MI, 48083, USA
         72   West Bloomfield, MI (72)       W BLOOMFIELD PS                            Yes        Detroit                               Sleep           APS               4,000          3,655         10/1/2013     2/29/2024             48      No       MAPLE ORCHARD ASSOCIATES, LLC                     None                              6470 ORCHARD LAKE ROAD, WEST BLOOMFIELD, MI, 48322, US
         73   Chesterfield, MI (73)          CHESTERFIELD PS                            Yes        Detroit                               Sleep           APS               4,000          3,572        11/18/2017    11/30/2027             93      No       CHESTERFIELD COMMONS ASOCIATES, LLC               None                              50938 GRATIOT AVE, CHESTERFIELD, MI, 48051, USA
         74   Woodhaven, MI (74)             WOODHAVEN PS                               Yes        Detroit                               Sleep           APS               3,966          3,565        10/17/2015    10/31/2025             68      No       THE ALLENWEST GROUP, LLC                          None                              19410 WEST ROAD, WOODHAVEN, MI, 48183, USA
         75   Brighton, MI (75)              BRIGHTON E PS                              Yes        Detroit                               Sleep           APS               4,248          3,218         5/16/2011     9/30/2022             31      No       BRIGHTON GATE COMMONS, LLC                        None                              9990 E GRAND RIVER AVE, BRIGHTON, MI, 48116, USA
         76   Bloomfield Twp, MI (76)        BLOOMFIELD TWP PS                          Yes        Detroit                               Sleep           APS               3,602          3,139         5/20/2017     7/31/2027             89      No       BP OF WHITE LAKE, INC.                            None                              6450 TELEGRAPH ROAD, BLOOMFIELD TWP, MI, 48301, USA
         77   New Hudson, MI (77)            NEW HUDSON PS                              Yes        Detroit                               Sleep           APS               4,106          3,758         4/10/2012    10/31/2022             32      No       Milford Road Plaza, LLC                           None                              30821 MILFORD RD, NEW HUDSON, MI, 48165, USA
         78   Lapeer, MI (78)                LAPEER PS                                  Yes        Detroit                               Sleep           APS               4,500          3,864         10/1/2016     1/31/2027             83      No       JKL REAL ESTATE CO.                               None                              806 S MAIN STREET, LAPEER, MI, 48446, USA
         79   Royal Oak, MI (79)             ROYAL OAK PS                               Yes        Detroit                               Sleep           APS               5,950          4,956         5/16/2011     6/30/2024             52      No       4400 North Woodward, LLC                          None                              32500 WOODWARD AVE, ROYAL OAK, MI, 48073, USA
         80   White Lake, MI (80)            WHITE LAKE PS                              Yes        Detroit                               Sleep           APS               3,680          2,995         5/16/2011     3/31/2021             13      No       CLOSED                                                                            0 5951 HIGHLAND RD, WHITE LAKE, MI, 48383, USA
         81   Troy, MI (81)                  TROY S PS                                  Yes        Detroit                               Sleep           APS               4,675          3,464         5/16/2011     1/31/2022             23      No       URBAN CAL OAKLAND PLAZA, LLC                      None                              272 JOHN R, TROY, MI, 48083, USA
         82   Waterford, MI (82)             WATERFORD PS                               Yes        Detroit                               Sleep           APS               6,008          5,060         5/16/2011     3/31/2022             25      No       INVESTCO OF MICHIGAN LLC                          None                              4977 DIXIE HWY, WATERFORD, MI, 48329, USA
         83   Novi, MI (83)                  NOVI PS                                    No         Detroit                               Sleep           APS               2,600          2,073         5/16/2011     1/31/2020             n/a     No       RAMCO WEST OAKS II LLC                            None                              43420 W OAKS DR, NOVI, MI, 48377, USA
         84   Brighton, MI (84)              BRIGHTON W PS                              Yes        Detroit                               Sleep           APS               4,200          3,784         5/16/2011    10/31/2021             20      No       CROSS GRAND PLAZA, LLC                            None                              8709 WEST GRAND RIVER, BRIGHTON, MI, 48116, USA
         85   Ann Arbor, MI (85)             ANN ARBOR E PS                             Yes        Detroit                               Sleep           APS               4,274          3,062         5/16/2011     5/31/2021             15      No       AF Jonna Development & Management Company, L None                                   3550 WASHTENAW, ANN ARBOR, MI, 48104, USA
         86   Lake Orion, MI (86)            LAKE ORION PS                              Yes        Detroit                               Sleep           APS               4,160          3,775          4/1/2014     1/31/2022             23      No       SHOPS AT THE SHORES OF LONG LAKE L.L.C. None                                        610 N. LAPEER RD, LAKE ORION, MI, 48362, USA
         87   Ferndale, MI (87)              FERNDALE PS                                Yes        Detroit                               Sleep           APS               6,553          5,587          4/1/2016     6/30/2026             76      No       B.P. of White Lake Inc.                           None                              23100 WOODWARD AVE, FERNDALE, MI, 48220, USA
         88   Utica, MI (88)                 UTICA E PS                                 Yes        Detroit                               Sleep           APS               5,900          2,858          9/1/2011     1/31/2023             35      No       SHELBY CORNERS, LLC                               None                              45040 NORTHPOINTE BLVD, UTICA, MI, 48315, USA
         89   Howell, MI (89)                HOWELL PS                                  Yes        Detroit                               Sleep           APS               9,400          8,794         5/16/2011    10/31/2024             56      No       COUNTRY CORNERS SHOPPING CENTER, L.L.CNone                                          4050 E GRAND RIVER AVE, HOWELL, MI, 48843, USA
         90   Westland, MI (90)              WESTLAND PS                                Yes        Detroit                               Sleep           APS               4,400          3,976         10/1/2016    10/31/2026             80      No       CENTRAL-WAYNE PROPERITES, LLC                     None                              7671 NORTH WAYNE RD, WESTLAND, MI, 48185, USA
         91   Grosse Pointe, MI (91)         GROSSE POINTE SSI                          Yes        Detroit                               Design           SSI              7,600          5,933         6/26/2015    10/31/2020              8      No       ST. John Health                                   None                              17145 KERCHEVAL, GROSSE POINTE, MI, 48230, USA
         92   Plymouth, MI (92)              PLYMOUTH PS                                Yes        Detroit                               Sleep           APS               4,000          3,580         9/24/2016    11/30/2026             81      No       PLYMOUTH HAGGERTY UNIT 6                          None                              41512 ANN ARBOR RD, PLYMOUTH, MI, 48170, USA
         93   Shelby Twp, MI (93)            SHELBY TWP PS                              Yes        Detroit                               Sleep           APS               4,000          3,714         1/13/2018     1/31/2028             95      No       JERUSALEM PROPERTIES, LLC                         None                              46975 VAN DYKE AVE, SHELBY TWP, MI, 48317, USA
         94   Roseville, MI (94)             ROSEVILLE PS                               Yes        Detroit                               Sleep           APS               4,800          4,512        11/21/2013     5/31/2024             51      No       ROSEVILLE VILLAGE, L.L.C.                         None                              31851 GRATIOT AVE, ROSEVILLE, MI, 48066, USA
         95   Taylor, MI (95)                TAYLOR PS                                  Yes        Detroit                               Sleep           APS               4,000          3,433         10/3/2015    10/31/2025             68      No       VAN ELSLANDER VENTURES, LLC                       None                              23471 EUREKA RD, TAYLOR, MI, 48180, USA
         96   Dearborn, MI (96)              DEARBORN PS                                Yes        Detroit                               Sleep           APS               5,828          4,141          4/8/2017     5/31/2027             87      No       AMD, LLC.                                         None                              22731 MICHIGAN AVE, DEARBORN, MI, 48124, USA
         97   Livonia, MI (97)               LIVONIA PS                                 Yes        Detroit                               Sleep           APS               3,612          3,120         5/17/2014     5/31/2024             51      No       Middlebelt Plymouth Venture LLC                   None                              29611 PLYMOUTH, LIVONIA, MI, 48150, USA
         98   Southfield, MI (98)            SOUTHFIELD PS                              Yes        Detroit                               Sleep           APS               4,000          3,606         1/13/2018     1/31/2028             95      No       AF Jonna Development & Management Company, L None                                   29119 TELEGRAPH RD, SOUTHFIELD, MI, 48034, USA
         99   Bloomfield Hills, MI (99)      BLOOMFIELD AVF                             Yes        Detroit                               Standard        AVF              46,388        26,440          3/15/2016     2/28/2037            204      No       LCN PARTNERS                                      None                              2300 TELEGRAPH RD, BLOOMFIELD HILL, MI, 48302, USA
        100   Saginaw, MI (100)              SAGINAW AVF                                Yes        Flint-Saginaw-Bay City                Standard        AVF              77,827        56,540          6/30/1984    10/31/2037            212      Yes      STORE CAPITAL                                     STORE SPE AVF II 2017-2, LLC      2660 TITTABAWASSEE RD, SAGINAW, MI, 48604, USA
        101   Flint, MI (101)                FLINT AVF                                  Yes        Flint-Saginaw-Bay City                Standard        AVF              46,177        48,827          6/30/1977     2/28/2037            204      Yes      BROADSTONE                                        BROADSTONE AVF MICHIGAN, LLC      4577 MILLER RD, FLINT, MI, 48507, USA
        102   Burton, MI (102)               BURTON AVF                                 Yes        Flint-Saginaw-Bay City                Standard        AVF              46,196        48,841          7/31/1987     3/31/2037            205      Yes      STORE CAPITAL                                     Store Master Funding XII, LLC     4095 E COURT ST, BURTON, MI, 48509, USA
        103   Bay City, MI (103)             BAY CITY AVF                               Yes        Flint-Saginaw-Bay City                Standard        AVF              34,578        36,957           2/2/1996     3/31/2037            205      Yes      STORE CAPITAL                                     STORE SPE AVF I 2017-1, LLC       4150 WILDER RD, BAY CITY, MI, 48706, USA
        104   Grand Blanc, MI (104)          GRAND BLANC PS                             Yes        Flint-Saginaw-Bay City                Sleep           APS               4,000          3,477          8/2/2014     8/31/2024             54      No       GRAND SAGINAW PLAZA, L.L.C.                       None                              11501 SOUTH SAGINAW, GRAND BLANC, MI, 48439, USA
        105   Flint Township, MI (105)       FLINT PS                                   Yes        Flint-Saginaw-Bay City                Sleep           APS               4,000          3,600         4/27/2018     1/31/2028             95      No       Jonna Management Group, LLC                       None                              4002 MILLER ROAD, FLINT, MI, 48507, USA
        106   Saginaw, MI (106)              SAGINAW PS                                 Yes        Flint-Saginaw-Bay City                Sleep           APS               4,847          4,368         1/30/2016     1/31/2021             11      No       KMS Investments, LLC                              None                              4605 BAY RD #200, SAGINAW, MI, 48604, USA
        107   Fort Wayne, IN (107)           FORT WAYNE AVF                             Yes        Fort Wayne                            Standard        AVF              45,982        39,667          1/25/2014     9/30/2023             43      No       Sandor Development Company                        None                              311 E COLISEUM BLVD, FORT WAYNE, IN, 46805, USA
        108   Grand Rapids, MI (108)         GRAND RAPIDS AVF                           Yes        Grand Rapids-Kalamazoo-Battle Creek   Flagship        AVF              79,400        69,174          7/30/1987     2/28/2037            204      Yes      LCN PARTNERS                                      LCN AVF WARREN (MI) LLC           4375 28TH ST SE, GRAND RAPIDS, MI, 49512, USA
        109   Portage, MI (109)              KALAMAZOO AVF                              Yes        Grand Rapids-Kalamazoo-Battle Creek   Flagship        AVF              73,990        60,986           5/1/1989    10/31/2037            212      Yes      STORE CAPITAL                                     STORE SPE AVF II 2017-2, LLC      550 RING RD, PORTAGE, MI, 49024, USA
        110   Muskegon, MI (110)             MUSKEGON AVF                               Yes        Grand Rapids-Kalamazoo-Battle Creek   Standard        AVF              39,590        34,069          1/23/1993     2/28/2037            204      Yes      STONEBRIAR                                        SCF RC Funding III, LLC           630 SEMINOLE RD, MUSKEGON, MI, 49441, USA
        111   Grandville, MI (111)           GRANDVILLE AVF                             Yes        Grand Rapids-Kalamazoo-Battle Creek   Standard        AVF              28,530        24,910           1/1/2010     2/28/2037            204      Yes      Broadstone                                        BROADSTONE AVF MICHIGAN, LLC      4625 WILSON AVE SW, GRANDVILLE, MI, 49418, USA
        112   Battle Creek, MI (112)         BATTLE CREEK AVF                           Yes        Grand Rapids-Kalamazoo-Battle Creek   Standard        AVF              50,220        43,411       Page  1 of 2
                                                                                                                                                                                                         2/1/1997     2/28/2037            204      Yes      STONEBRIAR                                        SCF RC Funding III, LLC                                           AB_000729
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        113   Comstock Park, MI (113)         ALPINE AVF                             Yes        Grand Rapids-Kalamazoo-Battle Creek   Flagship        AVF            111,077         63,525          11/26/1999     2/28/2037            204      Yes      LCN PARTNERS                           LCN AVF WARREN (MI) LLC            4273 ALPINE AVE NW STE B, COMSTOCK PARK, MI, 49321, USA
        114   Holland, MI (114)               HOLLAND AVF                            Yes        Grand Rapids-Kalamazoo-Battle Creek   Standard        AVF              39,950        38,443           8/18/1993     2/28/2037            204      Yes      STONEBRIAR                             SCF RC Funding III, LLC            12610 FELCH ST STE 100, HOLLAND, MI, 49424, USA
        115   Muskegon, MI (115)              MUSKEGON PS                            Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               4,000          3,519          5/28/2016    10/31/2021             20      No       SVH PROPERTIES, LLC                    None                               1664 E STERNBERG RD, MUSKEGON, MI, 49444, USA
        116   Portage, MI (116)               PORTAGE PS                             Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               4,018          3,632          5/24/2014     5/31/2024             51      No       NATIONAL SHOPPING PLAZAS, INC.         None                               6947 SOUTH WESTNEDGE AVE, PORTAGE, MI, 49002, USA
        117   Grandville, MI (117)            GRANDVILLE PS                          Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               4,229          3,773           3/1/2015     5/31/2024             51      No       CWD Grandville 1, LLC                  None                               4540 IVANREST AVE SW, GRANDVILLE, MI, 49418, USA
        118   Kalamazoo, MI (118)             KALAMAZOO PS                           Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               3,481          3,186           3/8/2013     3/31/2023             37      No       Kalamazoo Mall LLC                     None                               338 N DRAKE RD, KALAMAZOO, MI, 49009, USA
        119   Grand Rapids, MI (119)          GRAND RAPIDS PS                        Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               5,562          4,903         10/15/2014     2/28/2037            204      Yes      Broadstone                             BROADSTONE AVF MICHIGAN, LLC       3500 28TH ST SE, GRAND RAPIDS, MI, 49512, USA
        120   Grand Rapids, MI (120)          GRAND RAPIDS N PS                      Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               4,000          3,687           9/1/2016     8/31/2026             78      No       EAST BELTLINE DEVELOPMENT, LLC         None                               2036 EAST BELTLINE AVE, GRAND RAPIDS, MI, 49525, USA
        121   Comstock Park, MI (121)         ALPINE N PS                            Yes        Grand Rapids-Kalamazoo-Battle Creek   Sleep           APS               4,300          3,797          5/16/2011    10/31/2022             32      No       ALPINE VALLEY, L.L.C.                  None                               4174 ALPINE AVE NW STE A, COMSTOCK PARK, MI, 49321, USA
        122   Lancaster, PA (122)             LANCASTER (#46)                        Yes        Harrisburg                            Standard        WLF              60,000        52,500            9/1/2002    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                  Vereit                             2040 Bennett Avenue, Lancaster, PA, 17601, USA
        123   York, PA (123)                  YORK (#44)                             Yes        Harrisburg                            Standard        WLF              60,000        52,500            1/1/2002    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                  COLE AV PORTFOLIO                  380 North Northern Way, York, PA, 17402, USA
        124   Harrisburg, PA (124)            HARRISBURG (#42)                       Yes        Harrisburg                            Standard        WLF              61,900        51,900            1/1/1999    11/30/2037            213      Yes      STORE CAPITAL                          Store Master Funding XII, LLC      4661 Lindle Road, Harrisburg, PA, 17111, USA
        125   Hanover, PA (125)               HANOVER (#50)                          Yes        Harrisburg                            Standard        WLF              34,600        30,600           5/19/2008    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                  Vereit                             371 Eisenhower Drive, Hanover, PA, 17331, USA
        126   Mechanicsburg, PA (126)         MECHANICSBURG (#43)                    Yes        Harrisburg                            Standard        WLF              45,567        42,567           8/22/2010     7/31/2020              5      No       LESTER ASSOCIATES                      None                               75 Gateway Drive, Mechanicsburg, PA, 17055, USA
        127   Chambersburg, PA (127)          CHAMBERSBURG (#51)                     Yes        Harrisburg                            Standard        WLF              27,262        25,762            1/1/2009    12/27/2038            226      No       BRTM, LLC                              None                               480 Gateway Avenue, Chambersburg, PA, 17201, USA
        128   Altoona, PA (128)               ALTOONA (#28)                          Yes        Johnstown                             Standard        WLF              53,136        43,176            1/1/1978     4/30/2038            218      Yes      VEREIT REAL ESTATE LP                  Store Master Funding XII, LLC      4 Sellers DriveAltoona, Altoona, PA, 16601, USA
        129   Johnstown, PA (129)             JOHNSTOWN (#32)                        Yes        Johnstown                             Standard        WLF              40,258        37,258            9/1/1995    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                  Vereit                             1130 Scalp Avenue, Johnstown, PA, 15904, USA
        130   State College, PA (130)         STATE COLLEGE (#40)                    Yes        Johnstown                             Standard        WLF              50,000        51,402            5/1/2007    11/21/2037            213      No       PATTON CENTER ASSOCIATES LP            None                               138 Valley Vista Drive, State College, PA, 16803, USA
        131   Lansing, MI (131)               LANSING AVF                            Yes        Lansing                               Flagship        AVF              71,581        77,379          10/25/2000     2/28/2037            204      Yes      BROADSTONE                             BROADSTONE AVF MICHIGAN, LLC       8748 W SAGINAW HWY, LANSING, MI, 48917, USA
        132   Jackson, MI (132)               JACKSON AVF                            Yes        Lansing                               Standard        AVF              33,214        30,012            6/5/1992     7/31/2024             53      No       ARGYLE ACRES MALL, LLC                 None                               950 N WEST AVE, JACKSON, MI, 49202, USA
        133   E Lansing, MI (133)             OKEMOS PS                              Yes        Lansing                               Sleep           APS               5,855          4,457          5/16/2011     8/31/2023             42      No       RICHARD AND MICHELLE BROWN             None                               2660 E. GRAND RIVER, EAST LANSING, MI, 48823, USA
        134   East Lansing, MI (134)          EAST LANSING PS                        Yes        Lansing                               Sleep           APS               3,974          3,495          7/16/2016     7/31/2021             17      No       River Caddis Development, LLC          None                               1595 LAKE LANSING ROAD, EAST LANSING, MI, 48823, USA
        135   Lansing, MI (135)               LANSING PS                             Yes        Lansing                               Sleep           APS               4,590          3,689          5/16/2011    12/31/2021             22      No       John Doezema Real Estate               None                               6007 W SAGINAW HWY, LANSING, MI, 48917, USA
        136   Wexford, PA (136)               WEXFORD (#4, 29, 30 CC)                Yes        Pittsburgh                            Standard         LVF             53,000        48,823           10/1/2009     2/28/2038            216      Yes      STORE CAPITAL                          Store Master Funding XII, LLC      10688 PERRY HIGHWAY, WEXFORD, PA, 15090, USA
        137   Monroeville, PA (137)           MONROEVILLE (#3 CC, 20, 21 CC)         Yes        Pittsburgh                            Standard         LVF             74,600        67,545            7/1/2004    11/30/2037            213      Yes      VEREIT REAL ESTATE LP                  COLE AV PORTFOLIO / LEVIN FAMILY PA124 LEVIN WAY, MONROEVILLE, PA, 15146, USA
        138   Mcmurray, PA (138)              SOUTH HILLS (#2, 32 CC)                Yes        Pittsburgh                            Standard         LVF             74,600        67,964            7/1/2001    11/30/2037            213      Yes      STORE CAPITAL                          Store Master Funding XII, LLC      3664 WASHINGTON ROAD, MCMURRAY, PA, 15317, USA
        139   Greensburg, PA (139)            GREENSBURG (#40, 41 CC)                Yes        Pittsburgh                            Standard         LVF             55,314        50,637            8/1/2011    10/31/2021             20      No       CBL/WESTMORELAND, LP                   None                               5280 ROUTE 30, GREENSBURG, PA, 15601, USA
        140   Pittsburgh, PA (140)            THE POINTE (#15, 35 CC)                Yes        Pittsburgh                            Standard         LVF             68,730        61,886            7/1/1999    11/30/2037            213      Yes      STORE CAPITAL                          Store Master Funding XII, LLC      400 CHAUVET DRIVE, PITTSBURGH, PA, 15275, USA
        141   Pleasant Hills, PA (141)        CURRY HOLLOW (#47, 48 CC)              Yes        Pittsburgh                            Standard         LVF             96,500        87,500            7/1/1991     9/30/2026             79      No       PAUL PROPERTY MANAGEMENT, LP           None                               292 CURRY HOLLOW RD, PLEASANT HILLS, PA, 15236, USA
        142   Mount Pleasant, PA (142)        MOUNT PLEASANT (#1, 22 CC)             Yes        Pittsburgh                            Standard         LVF             34,500        30,766            1/1/1924     4/30/2038            218      Yes      STORE CAPITAL                          Store Master Funding XII, LLC      600 MAIN STREET, MT. PLEASANT, PA, 15666, USA
        143   Cranberry Township, PA (143)    CRANBERRY (#60)                        Yes        Pittsburgh                            Sleep             LM              5,000          4,500           5/1/2012     4/30/2022             26      No       WALNUT CAPITAL PARTNERS - CRANBERRY SONone                                20012 ROUTE 19, CRANBERRY, PA, 16066, USA
        144   Mount Lebanon, PA (144)         MOUNT LEBANON (#36)                    Yes        Pittsburgh                            Sleep             LM              3,990          3,490          6/28/2013     7/31/2023             41      No       RELIANCE PITTSBURGH LLC                None                               1600 WASHINGTON RD, MT LEBANON, PA, 15228, USA
        145   Butler, PA (145)                BUTLER (#75)                           Yes        Pittsburgh                            Sleep             LM              5,010          5,010         11/18/2016     2/28/2027             84      No       BUTLER SITEWORK ASSOICATES LLC         None                               620 Butler Crossing Suite 5, BUTLER, PA, 16001, USA
        146   Pittsburgh, PA (146)            SHADYSIDE (#70)                        Yes        Pittsburgh                            Sleep             LM              7,145          6,645         10/10/2014     4/30/2024             50      No       MCKNIGHT SOUTH EAST LP                 None                               5438 BAUM BLVD, PITTSBURGH, PA, 15232, USA
        147   Washington, PA (147)            WASHINGTON (#63)                       Yes        Pittsburgh                            Sleep             LM              7,800          7,300          3/29/2013     4/30/2023             38      No       WASHINGTON MALL - JCP ASSOCIATES, LTD None                                56 TRINITY POINT DR, WASHINGTON, PA, 15301, USA
        148   Pittsburgh, PA (148)            FOX CHAPEL (#61)                       Yes        Pittsburgh                            Sleep             LM              4,000          3,500           5/1/2012     4/30/2022             26      No       WATERWORKS PHASE II                    None                               956 FREEPORT ROAD, PITTSBURGH, PA, 15238, USA
        149   Pittsburgh, PA (149)            ROBINSON (#64)                         Yes        Pittsburgh                            Sleep             LM              5,593          5,093          8/30/2013    12/31/2023             46      No       MCROBIN LTC AND MOSITES FAMILY GST TRUSNone                               6528 STEUBENVILLE PIKE, PITTSBURGH, PA, 15205, USA
        150   Indiana, PA (150)               INDIANA (#33)                          Yes        Pittsburgh                            Sleep             LM              4,800          4,300           6/7/2013     9/30/2023             43      No       LIBBY REGENCY ASSOCIATES LP            None                               1570 OAKLAND AVE, INDIANA, PA, 15701, USA
        151   Monroeville, PA (151)           MONROEVILLE (#62)                      Yes        Pittsburgh                            Sleep             LM              4,319          4,000           6/1/2012     6/30/2022             28      No       CE-MONROEVILLE 3820 WM PENN LP         None                               3820 WILLIAM PENN HIGHWAY, MONROEVILLE, PA, 15146, USA
        152   St. Louis, MO (152)             AFFTON                                 Yes        St. Louis                             Standard        AVF              41,352        32,759           1/17/2018    12/31/2023             46      No       South Lindbergh Property LLC           None                               5711 S LINDBERGH BLVD, SAINT LOUIS, MO, 63123, USA
        153   O'fallon, IL (153)              FAIRVIEW                               Yes        St. Louis                             Standard        AVF              39,676        32,627           1/17/2018    12/31/2023             46      No       Rothman-O'Fallon LLC                   None                               1776 WEST US 50, O FALLON, IL, 62269, USA
        154   O'fallon, MO (154)              O FALLON                               Yes        St. Louis                             Standard        AVF              40,884        31,674           1/16/2018    12/31/2023             46      No       O'Fallon Missouri Properties, LLC      None                               2101 E TERRA LN, O FALLON, MO, 63366, USA
        155   Bridgeton, MO (155)             BRIDGETON                              Yes        St. Louis                             Standard        AVF              45,314        35,975           1/17/2018    12/31/2023             46      No       JS Westflo, LLC                        None                               925 NORTHWEST PLAZA, SAINT ANN, MO, 63074, USA
        156   Richmond Heights, MO (156)      RICHMOND (DESIGN STUIDO)               Yes        St. Louis                             Design          AVF               3,670          3,343         11/15/2017     7/31/2024             53      No       Hanley LM Properties, LLC              None                               1516 S HANLEY RD, SAINT LOUIS, MO, 63144, USA
        157   Holland, OH (157)               TOLEDO AVF                             Yes        Toledo                                Flagship        AVF              91,000        80,731           8/27/2013     3/31/2037            205      Yes      STORE CAPITAL                          STORE SPE AVF I 2017-1, LLC        1301 E MALL DR, HOLLAND, OH, 43528, USA
        158   Toledo, OH (158)                TOLEDO PS                              Yes        Toledo                                Sleep           APS               4,500          4,045          5/24/2013    11/30/2023             45      No       REED HOLDING-TALMADGE, LLC             None                               4600 TALMADGE RD, TOLEDO, OH, 43623, USA
        159   Holland, OH (159)               HOLLAND PS (TOLEDO)                    Yes        Toledo                                Sleep           APS               3,485          3,135          7/13/2018     8/31/2028            102      No       Kiezi Properties BG, LLC               None                               6760 AIRPORT HWY SUITE B, HOLLAND, OH, 43528, USA
        160   Perrysburg Township, OH (160)   PERRYSBURGH (FREEMONT)                 Yes        Toledo                                Sleep           APS               3,500             n/a          2/8/2019     4/30/2029            110      No       10411 Fremont Pike, LLC                None                               10411 FREMONT PIKE, PERRYSBURG, OH, 43551, USA
        161   Traverse City, MI (161)         TRAVERSE CITY AVF                      Yes        Traverse City-Cadillac                Standard        AVF              63,120        49,903          11/21/1998     2/28/2037            204      Yes      BROADSTONE                             BROADSTONE AVF MICHIGAN, LLC       1775 OAK HOLLOW DR, TRAVERSE CITY, MI, 49686, USA
        162   Petoskey, MI (162)              PETOSKEY AVF                           Yes        Traverse City-Cadillac                Standard        AVF              48,115        49,765           10/5/2002    10/31/2037            212      Yes      STORE CAPITAL                          STORE SPE AVF II 2017-2, LLC       1619 ANDERSON ROAD, PETOSKEY, MI, 49770, USA
        163   Traverse City, MI (163)         TRAVERSE CITY PS                       Yes        Traverse City-Cadillac                Sleep           APS               4,509          4,104          6/30/2016     6/30/2026             76      No       ANCHOR MANISTEE                        None                               3675 N US 31 S SUITE B, TRAVERSE CITY, MI, 49684, USA
        164   Frederick, MD (164)             FREDERICK (#7)                         Yes        Washington DC                         Standard        WLF              60,000        52,500            7/1/2003     1/31/2024             47      No       Frederick-BILCO, LLP                   None                               1215 West Patrick Street, Frederick, MD, 21702, USA
        165   Hagerstown, MD (165)            HAGERSTOWN (#9)                        Yes        Washington DC                         Standard        WLF              66,829        60,000            2/1/2004     5/31/2029            111      No       OUTLET VILLAGE OF HAGERSTOWN LP        None                               900 Premium Outlets Boulevard, Hagerstown, MD, 21740, USA
        166   Leesburg, VA (166)              LEESBURG (#48)                         Yes        Washington DC                         Standard        WLF              46,030        41,430           8/24/2012    11/30/2037            213      Yes      STORE CAPITAL                          Store Master Funding XII, LLC      131 Fort Evans Road NE, Leesburg, VA, 20176, USA
        167   Frederick, MD (167)             FREDERICK OUTLET (#52)                 No         Washington DC                         Standard        WLF              40,484        30,484           9/17/2014     1/31/2020             n/a     No       RAVID FREDERICK, LLC                   None                               5830 Ballenger Creek Pike, Frederick, MD, 21703, USA
        168   Saint Clairsville, OH (168)     SAINT CLAIRSVILLE (#50)                Yes        Wheeling                              Standard         LVF             24,908        21,000           9/29/2017    10/31/2022             32      No       OHIO VALLEY MALL CO                    None                               67661 MALL RING RD, SAINT CLAIRSVILLE, OH, 43950, USA
        169   Boardman, OH (169)              BOARDMAN (#52)                         Yes        Youngstown                            Standard         LVF             52,000             n/a         8/31/2018     8/31/2028            102      No       A&R Properties                         None                               300 BOARDMAN POLAND ROAD, BOARDMAN, OH, 44512, USA
        170   Hermitage, PA (170)             HERMITAGE (#54)                        Yes        Youngstown                            Standard         LVF             42,000             n/a         9/21/2018     9/30/2023             43      No       A&R Properties                         None                               1340 N. Hermitage Road Suite 1 Route 18, Hermitage, PA, 16148, U
        171   Niles, OH (171)                 NILES (#56)                            Yes        Youngstown                            Standard         LVF             52,000             n/a        10/31/2018    10/31/2028            104      No       A&R Properties                         None                               836 YOUNGSTOWN-WARREN RD, NILES, OH, 44446, USA
Totals                                                                                                                                                             5,879,611     4,932,964




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                                          AVF Holding Company, Inc.
                                                       Exhibit B

                                                   Expense Budget (1)


                        Advertising
                        Media (2)                                                    2,097,000
                        Signs (3)                                                    1,236,760
                        Sign Walkers                                                   566,588
                        Subtotal Advertising                                         3,900,348


                        Supervision
                        Fees / Wages / Expenses (4)                                  2,160,913
                        Subtotal Supervision                                         2,160,913


                        Miscellaneous /Legal (5)                                        35,000



                        Total Expenses                                               6,096,261



                        Note(s):
                        1. This Expense Budget contemplates a sale term of March, 5, 2020
                        through April 26, 2020. The Expense Budget remains subject to
                        modification in the event that this term is extended, or as otherwise
                        agreed to by the parties.
                        2. Amounts attributable to media shall only be spent in consultation
                        with the Company.
                        3. Includes Sales Tax.
                        4. Includes Deferred Compensation and Insurance.
                        5. Any legal expenses associated with issues raised by or disputes with
                        landlords, including (without limitation) negotiations in respect of
                        landlord side letters, shall be in addition to and not part of the
                        budgeted legal expenses.




Hilco Merchant Resources, LLC                                                                     3/4/2020
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                                           Store Closing Procedures 1

         1.      The Sales shall be conducted so that the Stores in which Sales are to occur will
  remain open no longer than during the normal hours of operation or such hours as otherwise
  provided for in the respective leases for the Stores.

          2.     The Store Closing Sales shall be conducted in accordance with applicable state and
  local “Blue Laws,” where applicable, so that no Store Closing Sale shall be conducted on Sunday
  unless the Debtors had been operating such Stores on a Sunday prior to the commencement of the
  Store Closing Sales.

          3.      On “shopping center” property, the Consultant shall not distribute handbills,
  leaflets or other written materials to customers outside of any Stores’ premises, unless permitted
  by the lease or if distribution is customary in the “shopping center” in which such Stores is located;
  provided that the Consultant may solicit customers in the Stores themselves. On “shopping center”
  property, the Consultant shall not use any flashing lights or amplified sound to advertise the Store
  Closing Sales or solicit customers, except as permitted under the applicable lease or agreed to by
  the landlord.

          4.     At the conclusion of the Store Closing Sales, the Consultant shall, subject to the
  Consulting Agreement, vacate the Stores and the Distribution Centers in broom clean condition;
  provided that Consultant may abandon any M&E not sold in the Store Closing Sales at the
  conclusion of the Store Closing Sales, without cost or liability of any kind to the Consultant. The
  Debtors will have the option to remove the M&E at their own cost prior to the termination date.
  Any abandoned M&E left in a Stores after a lease is rejected shall be deemed abandoned to the
  landlord having a right to dispose of the same as the landlord chooses without any liability
  whatsoever on the part of the landlord to any party and without waiver of any damage claims
  against the Debtors. For the avoidance of doubt, as of the Sale Termination Date, the Consultant
  may abandon, in place and without further responsibility or liability of any kind, any M&E.

         5.      The Consultant and the Debtors may advertise each Store Closing Sale as a “store
  closing,” “sale on everything,” “everything must go,” or similar themed sale, and to the extent
  permitted in the Approval Orders, “going out of business”. The Consultant and the Debtors may
  also have “countdown to closing” signs prominently displayed in a manner consistent with these
  Store Closing Procedures. All signs, banners, ads and other advertising collateral, promotions,
  and campaigns will be approved by the Debtors in accordance with these Store Closing Procedures.

          6.      The Consultant shall be permitted to utilize sign walkers, display, hanging signs,
  and interior banners in connection with the Sales; provided that such sign walkers, display, hanging
  signs, and interior banners shall be professionally produced and hung in a professional manner.
  The Debtors and the Consultant shall not use neon or day-glo on its sign walkers, display, hanging
  signs, or interior banners. Furthermore, with respect to enclosed mall locations, no exterior signs


  1
            Capitalized terms used but not defined in these Store Closing Procedures have the meanings given to them
  in the Interim Order to which these Store Closing Procedures are attached as Exhibit 1 or the Motion to which the
  Interim Order is attached as Exhibit A, as applicable.




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  or signs in common areas of a mall shall be used unless otherwise expressly permitted in these
  Store Closing Procedures. In addition, the Debtors and the Consultant shall be permitted to utilize
  exterior banners at (i) non-enclosed mall Stores and (ii) enclosed mall Stores to the extent the
  entrance to the applicable Stores does not require entry into the enclosed mall common area;
  provided, however, that such banners shall be located or hung so as to make clear that the Store
  Closing Sales are being conducted only at the affected Stores, and shall not be wider than the
  storefront of the Closing Stores. In addition, the Debtors and the Consultant shall be permitted to
  utilize sign walkers in a safe and professional manner and in accordance with the terms of the
  Order. Nothing contained in these Store Closing Procedures shall be construed to create or impose
  upon the Debtors or the Consultant any additional restrictions not contained in the applicable lease
  agreement.

          7.      The purchasers of any Merchandise sold during the Store Closing Sales shall be
  permitted to remove the Merchandise through the front of the Closing Stores, or through the back
  or alternative shipping areas at any time.

          8.      Conspicuous signs shall be posted in the cash register areas of each of the affected
  Stores to effect that “all sales are final.”

         9.      Except with respect to the hanging of exterior banners, the Consultant shall not
  make any alterations to the storefront or exterior walls of any Stores, except as authorized by the
  applicable lease.

         10.    The Consultant shall not make any alterations to interior or exterior Stores lighting,
  except as authorized by the applicable lease. No property of the landlord of a Stores shall be
  removed or sold during the Store Closing Sales. The hanging of exterior banners or in-store
  signage and banners shall not constitute an alteration to a Stores.

         11.     The Consultant shall keep Stores premises and surrounding areas clean and orderly
  consistent with present practices.

          12.     Subject to the provisions of the Consulting Agreement, the Consultant shall have
  the right to use and sell all M&E. The Consultant may advertise the sale of the M&E in a manner
  consistent with these guidelines. The purchasers of any M&E sold during the Store Closing Sales
  shall be permitted to remove the M&E either through the back or alternative shipping areas at any
  time, or through other areas after applicable business hours, provided, however that the foregoing
  shall not apply to de minimis M&E sales made whereby the item can be carried out of the Closing
  Stores in a shopping bag. For the avoidance of doubt, as of the Sale Termination Date, the
  Consultant and the Debtors may abandon, in place and without further responsibility, any M&E.

          13.     At the conclusion of the Store Closing Sales at each Stores, pending assumption or
  rejection of applicable leases, the landlords of the Closing Stores shall have reasonable access to
  the Closing Stores’ premises as set forth in the applicable leases. The Debtors, the Consultant, and
  their representatives and agents shall continue to have access to the Closing Stores as provided for
  in the Consulting Agreement.

         14.     The rights of landlords against the Debtors for any damages to a Stores shall be
  reserved in accordance with the provisions of the applicable lease.



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         15.     If and to the extent that the landlord of any Stores affected hereby contends that the
  Debtors or the Consultant is in breach of or default under these Store Closing Procedures, such
  landlord shall email or deliver written notice by overnight delivery to the Debtors and the
  Consultant as follows:

                 If to the Debtors:

                 Art Van Furniture, LLC
                 6500 14 Mile Road
                 Warren, MI 48092
                 Attention: Michael Zambricki

                 with copies (which shall not constitute notice) to:

                 Benesch, Friedlander, Coplan & Aronoff LLP
                 222 Delaware Avenue, Suite 801
                 Wilmington, Delaware 19801
                 Attn: Gregory Werkheiser & Michael J. Barrie

                 -and-

                 Montgomery McCracken Walker & Rhoads LLP
                 437 Madison Avenue
                 New York, NY 10022
                 Attn. Maura I. Russell

         If the parties are unable to resolve the dispute, either the landlord or the Debtors shall have
         the right to schedule a hearing before the Court on no less than five (5) days’ written
         notice to the other party, served by email or overnight delivery.




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                                   EXHIBIT K




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                                UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

                                          .             Chapter 11
          IN RE:                          .
                                          .             Case No. 20-10553 (CSS)
          ART VAN FURNITURE, LLC, et al., .
                                          .             Courtroom No. 6
                                          .             824 North Market Street
                                          .             Wilmington, Delaware 19801
                                          .
                             Debtors.     .             March 12, 2020
          . . . . . . . . . . . . . . . . .             2:00 P.M.

                       TRANSCRIPT OF CONTINUED FIRST DAY HEARING
                      BEFORE THE HONORABLE CHRISTOPHER S. SONTCHI
                             UNITED STATES BANKRUPTCY JUDGE

          APPEARANCES:

          For the Debtors:                Gregory G. Werkheiser, Esquire
                                          Michael J. Barrie, Esquire
                                          Jennifer Hoover, Esquire
                                          Kevin Capuzzi, Esquire
                                          John C. Gentile, Esquire
                                          BENESCH, FRIEDLANDER, COPLAN
                                            & ARONOFF LLP
                                          222 Delaware Avenue, Suite 801
                                          Wilmington, Delaware 19801



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          APPEARANCES (Continued):

          For the Debtors:                Marua I. Russell, Esquire
                                          MONTGOMERY MCCRACKEN WALKER
                                            & RHOADS LLP
                                          437 Madison Avenue, 24th Floor
                                          New York, New York 10022

          For U.S. Trustee:               Linda Richenderfer, Esquire
                                          David Buchbinder, Esquire
                                          UNITED STATES DEPARTMENT OF JUSTICE
                                          OFFICE OF UNITED STATES TRUSTEE
                                          844 King Street, Suite 2207
                                          Lockbox 35
                                          Wilmington, Delaware 19801

          For Wells Fargo Bank:           Jennifer Feldsher, Esquire
                                          MORGAN LEWIS & BOCKIUS LLP
                                          101 Park Avenue
                                          New York, New York 10178

                                          - and -

                                          Cory Falgowski, Esquire
                                          BURR & FORMAN LLP
                                          1201 N. Market Street, Suite 1407
                                          Wilmington, Delaware 19801

          For Jofran Sales, Inc.:         Jeffrey R. Waxman, Esquire
                                          MORRIS JAMES LLP
                                          500 Delaware Avenue, Suite 1500
                                          Wilmington, Delaware 19801

          For Landlords:                  Leslie C. Heilman, Esquire
                                          BALLARD SPAHR LLP
                                          919 North Market Street, 11th Floor
                                          Wilmington, Delaware 19801

          For Hilco & Gordon              Steven E. Fox, Esquire
          Brothers:                       RIEMER & BRAUNSTEIN LLP
                                          Times Square Tower, Suite 2506
                                          Seven Times Square
                                          New York, New York 10036




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          APPEARANCES (Continued):

          For Levin Furniture:            William C. Price, Esquire
                                          CLARK HILL PLC
                                          One Oxford Centre
                                          301 Grant Street, 14th Floor
                                          Pittsburgh, Pennsylvania 15219

          TELEPHONIC APPEARANCE:

          For the Debtors:                Beth E. Rogers, Esquire
                                          ROGERS LAW OFFICES
                                          The Equitable Building
                                          100 Peachtree Street, Suite 1950
                                          Atlanta, Georgia 30303




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          FIRST DAY MOTIONS:

          Customer Programs Motion. Debtors’ Motion for Entry of Interim and
          Final Orders (I) Authorizing the Debtors to Implement and Administer
          Essential Customer Programs and Honor Certain Prepetition
          Obligations Related Thereto and (II) Granting Related Relief [Docket
          No. 27; Filed March 9, 2020]

          Ruling:   Order Entered

          Store Closing Sales Motion. Debtors’ Emergency Motion for Entry of
          Interim and Final Orders (I) Approving Procedures for Store Closing
          Sales, (II) Authorizing Customary Bonuses to Employees of Closing
          Stores, (III) Authorizing Assumption of the Consulting Agreement
          Under §§ 363 and 365 of the Bankruptcy Code, (IV) Authorizing the
          Debtors to Retain Certain Consultant Entities as Special Asset
          Disposition Advisors to the Debtors Pursuant to §327(a) of the
          Bankruptcy Code and (V) Granting Related Relief [Docket No.
          52; Filed March 9, 2020]

          Ruling:   Order Entered

          Levin DIP Financing Motion. Debtors’ Motion for Entry of Interim and
          Final Orders (I) Authorizing Secured Post-Petition Financing
          Pursuant to 11 U.S.C. §§ 105, 361, 364(c), and 364(d), and (II)
          Granting Related Relief [Docket No. 49; Filed March 9, 2020].

          Ruling:   Order Entered




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                 (Proceedings commence at 2:40 p.m.)

                        THE CLERK:     All rise.

                        THE COURT:     Please be seated.       Good afternoon

          everybody.

                        It’s been a long time since I started a hearing

          forty minutes late.        I very much apologize.        As I’m sure

          you’re all aware, things have been developing quickly.                 So,

          it’s taking a lot of my time.          I apologize.

                        MR. WERKHEISER:      Your Honor, for the record

          Gregory Werkheiser of Benesch Friedlander Coplan & Aronoff

          LLP.

                        Certainly no apology necessary.           We’re all working

          under less than ideal circumstances these days and doing the

          best we can.

                        If Your Honor is ready I can provide, sort of, a

          brief overview of where we stand generally and also wanted to

          take the opportunity to preview some issues surrounding the

          company’s financial situation that are developing and coming

          to light presently, as if we needed more problems to contend

          with in this case, Your Honor.

                        So, just to refresh Your Honor’s recollection, one

          of the motions that was on for that hearing, but got carried

          over to this hearing was the debtor’s customer practices

          motion.    We have worked closely with Ms. Richenderfer and her

          colleagues at the U.S. Trustees Office and our other




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          stakeholders over the last couple of days.              I think we have

          gotten to a place where we’re going to be able to proceed

          consensually to submit an interim order with revisions

          responsive to both the feedback from the U.S. Trustees Office

          and Your Honor’s comments at our first day hearing.                So, I am

          hopeful that will be fully consensual in a few minutes and

          just a function of walking through an order.

                        With respect to the Levin DIP financing facility,

          again, my expectation is that that is going to proceed on a

          consensual basis. There have been some changes that we will

          need to highlight for Your Honor, but in terms of impacting

          anybody who is not fully consenting to that arrangement they

          should not have any material adverse effect.

                        We, as I understand, remain contested as it

          relates to the GOB consultant motion on a number of issues

          with the U.S. Trustee.        And Ms. Russell will be able to

          provide Your Honor an overview of where things stand in a

          moment.    I think most of the other responses, formal and

          informal that we knew about at the conclusion of the hearing

          and even several that have been made aware to us since then,

          we have been able to successfully address and resolve to

          everyone’s satisfaction.

                        To my knowledge, with the exception of, I think,

          some objections that hit the docket this morning or an

          objection that hit the docket this morning the only other




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          objection that remains is that of the U.S. Trustees Office.

                        Your Honor, what we propose to do, in terms of the

          agenda, would be to take customer practices first, the Levin-

          Wolf DIP financing facility second and then do the GOB

          matters last.      I think the first two items we can take care

          of relatively quickly.

                        THE COURT:     Okay.

                        MR. WERKHEISER:      Your Honor, in the interest of

          full disclosure to the court, before we jump in I do want to

          highlight what is a developing situation in a case that is

          already fairly strapped for cash, and just because we don’t

          want to surprise either anyone in the courtroom or Your

          Honor.

                        Shortly before the company filed, as is not

          uncommon in these situations, several of the credit card

          processors began escalating their reserves including Bank of

          America Merchant Services which imposed a 100 percent reserve

          on any transactions at that point.            This coincided with the

          commencement of the prepetition commencement of the store

          closing sales.      So, volume was much higher than would

          normally be the case.

                        By the company’s calculation at this point Bank of

          America is holding something on the order of $24 million

          dollars of transaction related value.            And at least our

          information suggests that this has no reasonable relation to




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          any, sort of, adequate protection they would require based on

          threatened chargebacks or any other need for it.

                        The other component of this is that the

          information is just now rolling in from the first sales that

          have occurred since the petitions were filed and at least the

          preliminary information we have suggests that they are not

          remitting more than a small fraction of funds related to

          those transactions as well.          And certainly whatever debate

          one could have about their activities up until the petition

          date there’s probably no debate that they’re violating the

          stay now in our view.

                        So, Your Honor, just to preview, and I’m sorry

          that we may end up imposing on the court again, but we may be

          in here quickly seeking some sort of relief to address this

          because this is, sort of, an existential threat to the case

          as things currently stand.         It threatens our compliance with

          covenants and cash collateral order, and puts an already cash

          starved case on, you know, basically life support at best.

                        So, I will just leave it at that.           Obviously,

          everybody’s rights are fully preserved if we do have to come

          before the court, but it may be a necessity.

                        Your Honor, turning to the agenda, on customer

          programs, as I said, we were able to work closely with the

          U.S. Trustees Office, I think, on that to address the open

          issues and we were able to try to address Your Honor’s




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          comments.

                        If I may approach the bench I have a redline of

          the order marked against the version that we had in court and

          filed with the motion at the first day hearing.

                        So, what we’ve tried to do here, Your Honor, is to

          reproduce, per Your Honor’s instruction, the details of the

          wind down customer programs beginning at Page 3 of the order.

          Both a detailed statement of how the company is treating

          customer deposits going forward with a new Exhibit 1.                  That

          is, essentially, a matrix that shows the treatment in various

          scenarios where customers have previously provided deposits.

          It makes it clear what expectations should be.

                        With respect to refunds and exchanges we’ve fully

          reproduced a statement of what that policy is as part of the

          wind down, virtually verbatim for what was in the motion,

          Your Honor.      We have a clear statement of gift cards being

          required to be redeemed by April 15th.

                        Finally, and, again, this is consistent with Your

          Honor’s feedback and the feedback we got from the Office of

          the United States Trustee, Subpart (d) on Page 4 of your

          redline outlines our customer communications plan here.                  So,

          we are, as I indicated at the afternoon session on Tuesday’s

          hearing, that we are going to do an email blast to all of the

          customers who have provided customer deposits advising them

          of the current policies and the need to act quickly to obtain




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          the benefit of those customer deposits.           For those customers

          that did not provide email addresses the company believes

          that it has mailing addresses and would simultaneously send

          out a notice by mail to all of those parties.

                       In addition, the statement of the liquidation

          terms policy will be prominently displayed on the company’s

          website and changes are going to be made by Monday to make

          sure that that is more prominent then it is now; enlarging

          the text, making it bold face.

                       THE COURT:     Monday?

                       MR. WERKHEISER:      I mean we gave ourselves till

          Monday to implement all of this, but it may be happing as we

          speak.

                       THE COURT:     Its Thursday.      You’re open Friday,

          you’re open Saturday, you’re open Sunday; so, sooner.

                       MR. WERKHEISER:      Understood, Your Honor.

                       THE COURT:     IT people are like associates.

          They’re used to working all the time.

                       MR. WERKHEISER:      Then similar information will be

          put on the claims agent website as well.

                       In addition, I consulted with Ms. Richenderfer

          before the hearing and she just asked me to confirm for the

          record, and I can confirm for the record, that to the extent

          that anybody had submitted a customer deposit for furniture

          that is in the company’s possession, but for which the party




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          had not yet taken delivery as of the petition date the

          company is continuing to notify those people in the ordinary

          course that, basically, they can get their stuff delivered or

          that they can come pick it up as appropriate.             That has not

          changed; notwithstanding the fact that we’re now involved in

          this store closing process.

                        Your Honor, the only other changes were to just,

          again, add a decretal Paragraph 4, which is consistent with

          the relief in the motion, about continuing to accept non-cash

          payments and abiding by the terms of the processing

          agreements with respect to those.

                        Finally, just backing up to Paragraph 2 we plugged

          in the dates consistent with scheduling of the second day

          hearing and seven day before that objection deadline.

                        THE COURT:    Does anyone wish to be heard in

          connection with the customer programs motion?

                        MS. RICHENDERFER:      Your Honor, Linda Richenderfer

          from the Office of the United States Trustee.

                        Just a comment that I think should be put on the

          record with respect to this motion.           In reading materials

          associated with the sale motion there’s representations in

          there that of the $35 million dollars being held in deposits

          that product exists that is associated with 18 million of the

          35 million.     That is a discussion I had with Mr. Werkheiser

          prior to beginning this conference today.            I would hope and I




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          would think that debtors are working very hard to reach out

          to the holders of those $18 million dollars in deposits to

          let them know that the product is there so it can be

          delivered to the extent that they want to move forward with

          the transaction.

                       I know we had questions at the first day hearing

          on Tuesday regarding how much of this product is available or

          not available, but somebody has been able to identify $18

          million dollars’ worth of product and associated with

          deposits.    So, I hope the debtors continue every effort

          because, otherwise, product may go out the door that really

          belongs to a creditor who has a deposit with the debtors.

                       THE COURT:     Okay.    Thank you.

                       The only date -- the only place I see a date here

          is March 16th for the customer communication.

                       MR. WERKHEISER:      Yes, Your Honor.

                       THE COURT:     But you had mentioned something else?

                       MR. WERKHEISER:      No, Your Honor.      We had given

          ourselves until the 16th to fully implement the customer

          communication plan.

                       THE COURT:     Okay.    That’s all right.      I mean

          sooner is better than later, but I understand.             Monday is

          fine.

                       MR. WERKHEISER:        All right.    Thank you, Your

          Honor.




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                       THE COURT:     All right.     I will sign this order

          whenever you give it to me.

                       MR. WERKHEISER:      Okay.    Would you prefer us to

          upload it or do you want a copy?

                       THE COURT:     I’m sorry.

                       MR. WERKHEISER:      Do you need us to upload it or

          hand up a clean copy?

                       THE COURT:     If you have a clean that’s presentable

          I’ll sign that.

                       MR. WERKHEISER:      Your Honor, why don’t we upload

          it because I think we set it up --

                       THE COURT:     All right.     That’s fine.

                       MR. WERKHEISER:      (Inaudible).

                       THE COURT:     Yes, you may.

                       MR. WERKHEISER:      All right.     Thank you, Your

          Honor.

                       Your Honor, that brings us to the Levin/Wolf DIP

          financing facility, Item 2 on today’s -- excuse me, Item 3 on

          today’s agenda.      Your Honor, this was one of the items that

          we got on file a little bit too late to be entertained at

          Tuesday’s hearing.

                       To refresh Your Honor’s recollection there is a

          subset of the debtors’ overall enterprise that consists of

          Levin and Wolf furniture branded stores that operate

          primarily in Pennsylvania.        Those were acquired in 2017 and -




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          - well, certainly certain back office functions have been

          integrated with the debtors’ broader business of the outward

          facing parts of that business and many of the store level

          operations have remained distinct from the balance of the

          debtors’ business.

                       As things had developed leading up to the

          bankruptcy, as was discussed at our last hearing and through

          the evidence we put in through Mr. Ladd’s first day

          declaration and Mr. Stogsdill’s proffer as well, as we

          explained there as a consortium deal that parties were

          putting together.      And unfortunately that fell apart at the

          eleventh hour near the end of February.

                       In the wake of that falling apart the debtors,

          with the assistance of the Levin group, were able to

          resuscitate a transaction for the sale of the, I believe its,

          40 stores that are the Pennsylvania based Levin and Wolfe

          Furniture stores which is the subject of an APA and motion

          that we hope to get on file as early as tomorrow, but most

          likely Monday.

                       Those stores are to be sold as a going concern.

          That is a sale that once consummated would stand to, among

          other things, preserve a thousand jobs nearly.             It then also

          produces benefits to various creditors who could expect to

          have claims assumed as part of that process and to customers

          who might fare better in that process with respect to gift




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          card obligations, warranties and customer deposits then they

          would in the general liquidation process.

                       This DIP facility, Your Honor, exists solely to

          support that transaction.        The only borrower is the Sam Levin

          Inc., entity which is the entity that holds those assets.

          The collateral for the DIP facility, Your Honor, is inventory

          and primarily the inventory that would be purchased using the

          proceeds of the DIP facility.         And the DIP facility when that

          sale, hopefully, ultimately closes, will be credited against

          the purchase price as part of that DIP facility.

          Essentially, it is of limited recourse, in most other

          respects, because of the limited collateral pool.

                       The DIP facility, Your Honor, when we came before

          the court on Tuesday, and this is a function of how fast

          things have been moving, Your Honor, and trying to get real

          time information to back up the documents, but as originally

          constructed the DIP facility contemplated an interim

          borrowing of 3.5 million and final 7.           It’s been

          significantly upsized now.        The proposed order that we filed

          shortly before today’s hearing contemplates interim borrowing

          of up to 10 million and all in number subject to final

          approval of 20 million.

                       Again, the other essential characteristics of the

          facility are the same.       And, essentially, I think the

          defining principal behind the DIP facility is --




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                       THE COURT:     So, you’ve gone from seven to 20.

                       MR. WERKHEISER:      Seven to 20, Your Honor.

                       THE COURT:     And three and a half to ten.

                       MR. WERKHEISER:      Yes.    And at the risk of

          testifying from the podium the underlying factors that have

          produced that result, you know, some of it is information

          flow because things have been moving very quickly, but its

          largely a function of the fact that because the debtors have

          been in distress for some time that the inventory on the

          floor in most of these stores is, you know, primarily the

          floor samples and there’s a little warehouse of inventory

          that was available on orders.

                       As I understand it, the company has historically

          done 121 to 14 million cost of sales every 30 day period of

          prime inventory. The level right now is down well under 8

          million.    And as I understand it that based on the, you know,

          review of orders of outstanding there is a significant number

          of special orders for customers that remain to be filled.

          That debtor and the buyer are hopeful to be able to use

          proceeds to fill those special orders, maintain that customer

          relationship and honor those customer deposits consistent

          with everybody’s expectations.

                       The last factor, I think, that people began to

          appreciate as they got deeper into this that may not have

          been fully appreciated from the outset is that sales




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          personnel at these stores only get paid once.             The customer

          actually takes delivery of the furniture or other merchandise

          that they order.

                       So, the buyer who is very keen both to maintaining

          going concern value and to make sure that this is done in

          such a way that does the least, you know, violence possible

          to the customer and employee communities has indicated to us

          or has made us aware that they would prefer to have

          sufficient availability under this to make sure that those

          commission obligations can get honored in the ordinary

          course.

                       Those are the underlying, sort of, factors that

          have resulted in the decision to upside the DIP.              To my

          understanding we have socialized this change with our term

          loan and ABL lenders, with the U.S. Trustees Office, and

          given the uniquely compact nature of this DIP where the only

          collateral is this inventory and proceeds thereof, and the

          fact that the existing lienholders are the ABL’s and the term

          loan lenders and they’re consenting to this arrangement no

          one’s ox, at the end of the day, really gets gored other than

          theirs, and our purchaser/DIP lender, in the event that the

          transaction does not close.

                       So, it’s against that backdrop that we’re before

          Your Honor today asking for interim approval of the DIP.                We

          would, for purposes of that, incorporate our record from a




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          first day hearing including Mr. Stogsdill’s proffer, much of

          which overlaps with the record we would want in support of

          approval of this DIP facility on an interim basis.

                       THE COURT:     All right.     Does anyone wish to be

          heard?

                       Mr. Waxman, good afternoon.

                       MR. WAXMAN:     Good afternoon, Your Honor.         May I

          please the court, Jeff Waxman of Morris James on behalf of --

                       THE COURT:     Could you do me a favor.        Could you

          actually point those towards you?          Thank you.

                       MR. WAXMAN:     Is this better, Your Honor?

                       THE COURT:     Yeah.

                       MR. WAXMAN:     Thank you, Your Honor.

                       Your Honor, first I’m kind of pulling double duty

          here.    I am here on behalf of Serta Simmons Bedding Company.

          Serta Simmons, just by way of background, as Your Honor is

          likely aware, it provides mattresses and bedding.              They sold

          -- prior to the petition date they were owed approximately

          $2.7 million dollars.       And Serta Simmons believes that close

          to a $1 million dollars of that claim is entitled to an

          administrative priority pursuant to Section 503(b)(9).               So,

          this is not an insignificant claim.

                       Your Honor, I do realize that we are only here on

          an interim basis, but Serta Simmons has some issues with the

          proposed financing specifically now that the amount has gone




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          up so much.     First, it seeks the -- the motion seeks to

          provide the DIP lender superpriority administrative expense

          thereby subordinating administrative claims.             And Serta

          Simmons has an administrative expense in the right to reclaim

          its goods which shouldn’t be subordinated and funds should be

          carved out to pay the administrative expenses whether or not

          the sale goes through.

                        Second, Your Honor, the buyer and the lender here

          are, essentially, the same entity and should not get a

          superpriority lien subordinating the administrative expenses

          and reclamation rights of suppliers without the buyer having

          to pay those claims as part of the purchase price.

                        Certainly, this case should not result in

          administrative claimants receiving worse treatment than they

          did on the petition date and particularly now that the amount

          of the DIP loan has done up so significantly in only the last

          couple of days there is certainly that threat.

                        Finally, the DIP collateral should not include all

          receivables.     It should just be limited to the receivables

          from inventory bought with the DIP funds.            Generally, the

          whole description of collateral needs to be rewritten to

          restricted to only a security interest in the that inventory

          purchase with the DIP funds.

                        If Your Honor has any questions I am happy to

          address them.




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                       THE COURT:     I do not.

                       MR. WAXMAN:     Thank you, Your Honor.

                       THE COURT:     Anyone else?

                 (No verbal response)

                       THE COURT:     You want to respond, Mr. Werkheiser?

                       MR. WERKHEISER:      I will and I believe Mr. Price is

          here on behalf of the Levin Group which is serving as the DIP

          lender here.     I believe if Your Honor will indulge him he’d

          like to be heard as well.

                       So, with respect to this I understood a couple

          points here.     So, first, this is all news to us, Your Honor.

          So, Mr. Waxman filed --

                       THE COURT:     First day hearing.

                       MR. WERKHEISER:      Well, not precisely, but Mr.

          Waxman, obviously, was very busy this morning and filed a

          lengthy complaint with, I think, like thirty something

          exhibits, a TRO motion, an objection on behalf of another

          client.

                       THE COURT:     Just don’t beat this horse.         Move on.

                       MR. WERKHEISER:      And so he’s here telling me

          verbally that he has a client that has a potential

          administrative claim and we’ve had no ability to test any of

          those contentions.      I mean he may or he may not, but I think

          if he wants to show up an contest what is appropriate relief

          in the context of DIP financing, you know, the onus was on




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          him to at least come in and come in with some evidence and

          some concrete information to support his clients asserted

          theoretical administrative claim.

                       But be that as it may --

                       THE COURT:     I have to say I take issue with that.

          This is an emergent hearing on, at this point, 36 hours’

          notice.     Its, in effect, a first day hearing and he’s a

          creditor.    The onus isn’t on him.        It’s your burden of proof.

          If you don’t think we can go forward we’ll continue this to

          next week and we’ll have an evidentiary hearing.              But you

          can’t jump on a creditor who didn’t have advance notice of

          this DIP motion until eight p.m. the day before the first day

          hearing and fault them for not being ready for a contested

          evidentiary hearing.       If that’s your position fine, this

          hearing is over.      We will do it next week.

                       MR. WERKHEISER:      Respectfully, Your Honor, these

          issues were out there in connection with cash collateral as

          well.   And so, you know, I’m not impugning anybody’s motives

          or --

                       THE COURT:     Cash collateral is completely

          different than putting new debt on the company.             It’s

          completely different.       You’re putting a $20 million dollar

          superpriority admin claim in front of his company.              The only

          thing you would do with cash collateral is a diminution

          claim, okay, that will possibly be a superpriority claim.




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          It’s completely different than putting $20 million dollars of

          new debt in front of him.

                        MR. WERKHEISER:     Understood, Your Honor.

                        THE COURT:    So, we’re going forward, but this is a

          loser argument.      So, I hope you have a better one.

                        MR. WERKHEISER:     Your Honor, what I would like to

          just also highlight for Your Honor, again, is that I think as

          is clear in the letter of intent that was part of the first

          day declaration that we filed previously it is the intent to

          use the proceeds of the DIP to pay for the inventories being

          acquired.    As is set forth in that letter of intent the buyer

          is committing to assume certain 503(b)(9) obligations as well

          and the post-petition ordinary course obligations for those

          businesses.

                        So, those items are the subject of commitments by

          the buyer.     We are in the process of documenting that in a

          binding APA that as I indicated would be expected to be filed

          no later than Monday.       We are trying to seek expedited, as

          much as Your Honor can accommodate us, approval of that sale

          process precisely because there really is no other path to

          save this business as a going concern and save those jobs.

                        I don’t think -- certainly this is not designed to

          prejudice anyone else.       I think the lender has asked for

          those traditional protections that a DIP lender would want

          and actually has asked for a lot less than your typical DIP




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          lender would demand in this situation where there really was

          not a substantial existing collateral base to support the

          loan.

                       So, let me limit my comments there.           And since I

          cannot speak specifically for what our DIP lender can and

          cannot do in terms of perhaps getting Mr. Waxman’s client

          comfortable and Your Honor comfortable, but I would just

          submit that what we put before the court is not prejudicial

          to anyone as is currently crafted.

                       Thank you.

                       THE COURT:     Thank you.

                       Mr. Price?

                       MR. PRICE:     Good afternoon, Your Honor; William

          Price, Clark Hill, on behalf of Levin Furniture LLC.

                       Your Honor, will try to isolate my comments to

          just simply responding to the one pending objection, but I’m

          happy to answer any questions you have about the DIP.               The

          intention is, as Mr. Werkheiser presented it, which is

          provide new inventory to replenish as best we can to

          reinvigorate a going concern for a contemplated sale.

                       The DIP is a commitment by Mr. Levin, frankly, to

          just make sure that his employees do have the ability when he

          takes them over as his employees again to be able to work,

          and function, and have compensation.           He committed quickly to

          increase the DIP amount because there was further discussions




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          when we got continued that we would need a couple more weeks

          and he committed to ensure that there would be enough space

          and availability to do what the company needed to do.               So,

          that is our view of the expansion of the DIP.

                       With respect to treatment I think I can make it

          easier because this isn’t the intention.            If the drafting

          wasn’t done properly we will tailor it and make everybody

          comfortable.     But the purpose of the super-priority claim was

          to the extent inventory is purchased, and to the extent that

          things don’t close, and we don’t get our credit, and there’s

          a liquidation, and there’s an accounting tracking on the

          skews that relate to the DIP liquidated inventory, and

          there’s a deficiency that was our request that we have some

          protection for fronting the money.          His client would have

          been paid for post-petition deliveries with the money used

          from the DIP that we be provided some superpriority

          protection for the efforts and the fronting of money when no

          other financial party will put any money into this estate.

                       So, that was our request.         It’s not for purposes

          of just saddling the estate with a massive superpriority

          claim.    It’s in the event that the thing craters and it

          liquidates, and the inventory that was purchased within the

          last few weeks precipitously drops in value and there is a

          deficiency there.      So, that is the intention and if there is

          a modification necessary to the order or the credit agreement




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          we will do it.     If it’s just a non-starter for the court I

          will talk to my client quickly and we’ll talk about which

          tranche they get in the form of a deficiency claim.              We

          really just want to get the DIP in place and get the thing

          functioning and flowing.

                       On the other issue on 503(b)(9)’s the LOI is of

          record, I believe, and there is an assumption of 503(b)(9)’s

          to the extent they relate to the Sam Levin entity.              So, if

          it’s a party that shipped to the stores that we’re taking

          over we would assume those 503(b)(9)’s to the extent that

          they’re authenticated and we would pay them as part of our

          purchase.    So, I don’t believe that to be an issue to the

          extent that we’re talking about the Levin/Wolf stores that

          are part of the transaction.

                       The last piece of the puzzle is there’s no

          guarantees in life.       We have no idea if we’re going to own

          this company in a couple of weeks.          So, we want some base

          protections and we greatly appreciate everything the court

          has done.    The U.S. Trustee was very user friendly in

          negotiating out the comments they had.           So, I think that we

          do have a DIP that’s properly designed to have the minimally

          invasive technique to try to keep this thing afloat, but if

          there is still an issue I’m happy to talk in the hall, hammer

          it out, get my client on the phone and try to get something

          that works for everybody whether he has a claim or not.




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                        THE COURT:    Thank you.

                        MR. PRICE:    Thank you.

                        THE COURT:    Mr. Waxman, reply -- oh, Mr.

          Werkheiser.     Sorry, Mr. Waxman.       Hang on.

                        MR. WERKHEISER:     If I could just take a minute

          with Mr. Price.

                        MR. WAXMAN:    Actually, while --

                        THE COURT:    Well, no, he needs to be able to

          listen to what you’re saying.         He’s your opponent.

                        MR. WAXMAN:    I just wanted to say I thought it

          might be helpful if we’re able to speak.            My co-counsel is on

          the phone.     So, it might make sense for us to speak about

          some issues.

                        THE COURT:    You want a break?

                        MR. WAXMAN:    I think that might be helpful, Your

          Honor.

                        THE COURT:    Mr. Werkheiser, is that acceptable?

                        MR. WERKHEISER:     Your Honor --

                        THE COURT:    You got me all day.       I’m staying till

          we’re done today.      So, if we’re late we’re late.          So be it.

          Who knows if we’ll ever be allowed to be in the same room

          ever again after today.

                 (Laughter)

                        MR. WAXMAN:    Not in basketball.

                        MR. WERKHEISER:     Your Honor, I think a break




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          wouldn’t hurt.

                        THE COURT:    Sure.

                        MR. WERKHEISER:       I think this is something we can

          resolve.

                        THE COURT:    If you get headquarters back at home

          base to upload that we’ll get that order because I would like

          to get that on since you are actually doing all the things

          that the order says you are allowed to do.            So, the sooner we

          actually get it authorized the better.           So, we will check it

          out when we get back.

                        MR. WERKHEISER:     Thank you, Your Honor.

                        THE COURT:    We’ll take a short recess.         Just let

          us know when you’re ready to go.

                   (Recess taken at 3:13 p.m.)

                   (Proceedings resumed at 3:56 p.m.)

                        THE CLERK:    All rise.

                        THE COURT:    Please be seated.

                        MR. WERKHEISER:     All right.     Thank you, Your

          Honor.

                        THE COURT:    No problem.

                        MR. WERKHEISER:     For the record Gregory

          Werkheiser.

                        I think we are able to use the time constructively

          as it relates to the Levin DIP financing motion.              And I

          believe that we have come to an understanding with Mr.




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          Waxman’s client, and co-counsel, and Mr. Waxman about

          allowing us to proceed on that in a fully consensual manner.

                       So, the concern Your Honor, as was articulated,

          was that --

                        THE COURT:    I’m sorry.

                        MR. WERKHEISER:     What’s the name of your client?

                        MR. WAXMAN:    Serta Simmons.

                        MR. WERKHEISER:     Serta Simmons might, under some

          theory, have an administrative claim by virtue of certain

          sales guidelines that they believe were part of a prepetition

          contract.

                        Leaving that issue aside, not asking the court to

          address that one way or the other today, what we have agreed

          to do in the context of the DIP order, I believe, to give

          everybody comfort on that point is, one, I’m going to just

          confirm everyone’s understanding for the record that the

          definition of DIP collateral that appears in the order as

          revised -- and if I may approach, Your Honor, I have a

          redline copy of the revised interim order that has that

          definition now built into it.

                        THE COURT:    Thank you.

                        MR. WERKHEISER:     Your Honor, this definition of

          DIP collateral appears on the first page in Footnote 3 and

          that is adapted without substantive change from the DIP

          credit agreement that was attached to the motion.




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                       Broadly speaking what it says is that the new

          inventory that Sam Levin Inc. purchases using the proceeds of

          the DIP is the collateral.        And the proceeds of that

          inventory are the collateral.         It’s not reaching back in time

          to grab other inventory or other assets unrelated.              So, I

          think we have come to an understanding that resolves their

          concerns there.

                       The second concern was the granting of the

          superpriority administrative claim.           I think as I understand

          it the way we’ve been able to successful address that point

          is that we are going to incorporate language into the DIP

          order that acknowledges the terms of the LOI that contemplate

          that 503(b)(9) obligations related to the Sam Levin Inc.,

          entity are going to be assumed upon closing of the sale

          transaction and make clear that the final asset purchase

          agreement will honor those terms.

                       I just ask Mr. Waxman or his co-counsel to confirm

          that I accurately recited our understandings in that regard.

                       THE COURT:     Thank you, Mr. Werkheiser.

                       Mr. Waxman?

                       MR. WAXMAN:     Your Honor, that is correct.          I

          understand we will see a revised form of order that we will

          get a chance to make sure that everything is correct and it

          will be submitted under certification of counsel.

                       MR. WERKHEISER:      That’s correct, Your Honor.           We




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          will get that done hopefully after we get done today.

                       THE COURT:     Okay.    Thank you.

                       MR. WERKHEISER:      Thank you.

                       THE COURT:     Is there anything else in connection

          with the DIP?

                  (No verbal response)

                       THE COURT:     All right.     Subject to the -- I

          actually look at the redline before I do that.

                       MR. WERKHEISER:      Your Honor, I can just walk you

          through it quickly if that’s helpful.

                       THE COURT:     I’ll just page through it.         It doesn’t

          look like there’s a lot of changes.

                       If you’re on the phone I’d appreciate it if you

          would please mute your line; otherwise, we get static and a

          sound from your line. So, if you could please mute your line

          unless you’re speaking.        Thank you.

                       Okay.    This is fine.

                       MR. WERKHEISER:      Thank you, Your Honor.

                       THE COURT:     Everyone is standing though.         I was

          about to rule.

                       Subject, obviously, to the changes that were just

          discussed in court with Mr. Waxman’s client I’m prepared to

          approve the DIP and sign the order along the lines of the one

          you just showed me with only those changes that are still in

          flux.   And as soon as you get it to me under certification of




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          counsel I will get it filed, and signed, and docketed.                Then

          you will be good to go.

                       MR. PRICE:     Thank you so much, Your Honor.

          William Price.

                       I have to leave and my colleague, Ms. Grivner, is

          going to stay for the remainder of the proceedings.              I really

          appreciate all your time.

                       THE COURT:     You’re welcome.      Thank you.

                       MR. WAXMAN:     Your Honor, can I ask the indulgence

          of the court, and everybody, I have to step out for two

          minutes.    I just got an emergency call from my mother’s

          caretaker.

                       THE COURT:     Oh, of course.      Should we take a

          break?

                       MR. WAXMAN:     If we could.      I promise it won’t be

          more than three minutes.

                       THE COURT:     Of course.     Happy to give you that

          accommodation.

                       MR. WAXMAN:     I apologize to everybody in the

          court.

                       THE COURT:     We will take a very short recess for

          in deference to Mr. Waxman’s personal life.

                       MR. WERKHEISER:      Thank you, Your Honor.

                       THE COURT:     And the customer motion has been

          docketed.    The order has been docketed.




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                       MR. WERKHEISER:      Thank you, Your Honor.

                 (Recess taken at 4:01 p.m.)

                 (Proceedings resumed at 4:09 p.m.)

                       THE CLERK:     All rise.

                       THE COURT:     Okay.    So, the DIP order is taken care

          of, the customer procedures motion that order has been

          entered.

                       MR. WERKHEISER:      Yes, Your Honor.

                       THE COURT:     So, that leaves us with store closing.

                       MR. WERKHEISER:      Store closing. Main even.

          Fortunately for this I get to sit down and I’m going to hand

          the podium to Ms. Russell.

                       THE COURT:     Okay.

                       MR. WERKHEISER:      Thank you.

                       MS. RUSSELL:      Good afternoon, Your Honor.

                       THE COURT:     Good afternoon.

                       MS. RUSSELL:      Marua Russell, Montgomery McCracken

          Walker & Rhoads, proposed special counsel for the debtors.

                       We are here in connection with the debtors’

          emergency motion for entry of an interim order today

          approving the bid procedures for a store closing sale and

          authorizing customary bonuses to store employees, and

          authorizing the assumption of a consulting agreement between

          the debtors and various entities affiliated with Gordon

          Brothers Retail Partners and Hilco Merchant Resources LLC.




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                       Your Honor, just so that we have a listing in

          connection with the motion, which the motion was filed at

          Docket Number 52, Your Honor, we have the declaration of Mr.

          David Ladd, which was actually filed at Docket Number 12,

          which was filed in connection with and in support of all of

          the first day motions.

                       Your Honor, we also have the declaration of Mr.

          Dennis Stogsdill which was filed in conjunction with the

          first day motion.      Mr. Stogsdill is a director of Alvarez &

          Marsal who is the financial advisor to the debtors.

                       In addition, Your Honor, yesterday afternoon there

          was a declaration filed at Docket Number 96, the declaration

          of Mackenzie Shea of Gordon Brothers in support of the

          debtors’ motion.

                       In addition, at Docket Number 97 there was a

          declaration of Sarah Baker in support of Hilco, also in

          support of the debtors’’ motion.

                       Since we were before Your Honor, although not on

          this motion, that we were before Your Honor on Tuesday, we

          have had several discussions with counsel for the landlords

          who were here in the court.         We revised and circulated a

          revised draft of the proposed order, interim order,

          addressing issues that had been raised at that hearing.               And

          we circulated that last evening to everyone who had filed a

          notice of appearance in the case.          We subsequently received




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          additional comments from various parties and incorporated

          those comments.      And we filed or uploaded a redline draft of

          the consolidated revised blackline of the order showing all

          agreed upon changes between the proposed interim order that

          was filed with the motion and what we had agreed with the

          various parties.

                       Your Honor has not yet seen that order.            While we

          do have some clean-up changes to make based upon comments we

          received in the courtroom, but we do have copies.              We’re

          happy to show it to the court when Your Honor is ready to

          review that.

                       THE COURT:     Okay.

                       MS. RUSSELL:      With respect to the outstanding

          issues in connection with the motion there are the Office of

          the United States Trustee raised some concerns regarding the

          consulting agreement, the motion and the proposed order.                We

          believe we have resolved the majority of those issues subject

          to the one issue, and I will allow the Office of the United

          States Trustee to speak as to the substance of that

          objection, but my understanding is the concern with regard to

          the relationship between the proposed consultant here in

          connection with the debtors’ assets and the relationship with

          those entities and the entity that now currently holds the

          term debt of the debtors.

                       Other than that we have spoken.          There was the




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          motion also contemplated that the consultant, in addition to

          providing services to the debtor in connection with the

          merchandise, machinery and equipment, that the consultant

          would also provide consulting services to the extent the

          debtor has elected with respect to the collection of

          receivables, and also that the debtor would retain the

          services of affiliates of the consultant Hilco Stream Bank

          and Gordon Brothers Brands in connection with assisting the

          debtor with the marketing and sale of the debtors’

          intellectual property.

                       While those transactions would not be to the

          ultimate purchaser were not subject to that motion and the

          debtors would be required to come back to the court the U.S.

          Trustee has raised concerns about a Section 327 retention

          within the context of the debtors’ 363 motion currently

          before the court.      So, we have agreed that with respect to

          the intellectual property, which would be the subject of the

          Section 327 retention, that that would not go forward today

          and it would be subject to Your Honor’s availability heard on

          April 6th.     And to the extent that the Office of the United

          States Trustee and/or Your Honor required or would like us to

          file a separate application seeking to retain those advisors

          under Section 327 that teh debtors would do so just to

          separate the issue and any concern about it all being wrapped

          up into the one motion.




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                       Your Honor, one of the unusual facts and economic

          terms of this consulting agreement that I have never seen

          before and I don’t think anyone in the courtroom has seen

          before is the concept that the fee to the consultant in

          consideration for the services that the consultant has

          provided is not being paid by the debtor.            Instead, the

          debtors would reimburse the consultant for the out of pocket

          consultant incurred expenses that are incurred in connection

          with a budget that is part of the consulting agreement.

                       Other than that, any other fees that we would

          customarily see, 1 percent of sales, 2 percent of sales that

          we would see on merchandise and 15 percent of sales on

          machinery and equipment, Your Honor, that’s not here.               Those

          are not fees that the estate is going to incur directly to

          the consultant.      Instead, the consultant has an economic

          relationship in the agreement with the holder of the term

          debt and that any amounts paid would be paid from the

          recovery under the term debt.

                       So, from the perspective of the estate it was a

          win-win.    It enabled the estate to not directly incur those

          fees on an ongoing basis, but instead those fees were

          deferred to a later date and to be paid out of a recovery if

          any that is obtained on account of the term loan debt.               Your

          Honor, that was a beneficial result for the estate because it

          did preserve cash-flow.




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                       In addition, Your Honor, an extensive amount of

          time has been spent on the debtors’ new customer policies

          that addresses this $35 million dollars of customer deposits.

          The debtor has heavily negotiated with all parties, Wells

          Fargo as well as the term lenders, to allow the debtors and

          to not have issues with respect to the priorities and who

          gets paid what when, but to come up with these customer

          policies that enables the debtor to either provide by

          merchandise credit or refund later on down the road to the

          consumers.

                       So, in connection with the overall transaction

          that was a significant benefit to the estate.             Those customer

          deposits and refunds the term lenders have agreed that they

          would be satisfied prior to any amounts being paid to them.

          So, the consultant here has agreed to provide the services,

          but in essence their fee is really on the back end and is

          really contingent upon them doing an excellent job to get

          past and through the Wells Fargo amounts that are owed to it

          as well as whatever amounts that are due and owing are being

          paid through the debtors’ cash collateral motion and budget.

                       With that, Your Honor, I’m happy to answer any

          questions that you may have with respect to how we have gone

          so far, but, otherwise, I would cede the podium to the Office

          of the United States Trustee to tee-up whatever issues still

          remain outstanding with respect to the concerns that she has




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          raised.    I do want to note that we did receive a list of

          questions from the Office of the United States Trustee late

          yesterday and the debtors, in consultation with the

          consultant, provided a detailed response to all of those

          questions.

                        THE COURT:    I have no questions.       Thank you.

                        MS. RICHENDERFER:      Good afternoon, Your Honor;

          Linda Richenderfer from the Office of the United States

          Trustee.

                        I guess I respectfully would not agree with the

          characterization that we’ve been able to resolve issues.                I

          think that there is a major gating issue here and I would

          respectfully submit that at this point in time that the

          hearing on this particular motion should be adjourned until a

          time when due process can be served, and the major

          stakeholders who are directly impacted by this particular

          order, the unsecured creditors, have an opportunity to form a

          committee so that they can fashion a constructive concerted

          response to the particular transaction that is in front of

          Your Honor.

                        This is totally out of the norm, as Ms. Russell

          said.    This is not your usual situation where it is a fee for

          service.    We have gotten used to those over the past five

          years.    And under that scenario we have also gotten used to

          the court providing interim approval, and, again, fee for




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          service.    And we have the liquidator, Hilco/Gordon, in a

          position for running the GOB sales.           At the backend they may

          come in with other things, they may want to buy-out the

          inventory that’s left, but going into the deal for the most

          part they’re serving as the consultant who is leading the GOB

          sales.

                        Here we have an entity that is wearing four

          different hats in this case.         They are secured lender with a

          claim for $175 million dollars.          They are controlling the

          purse strings along with Wells Fargo for this case because

          the cash collateral order is the means by which the debtor

          continues to operate and run this Chapter 11 case.

                        So, the expenses that they’re going to get paid

          that have to be approved through budgets done by the debtor

          in consultation with the lenders they’re one of the lenders.

          They’re approving the budget that tells then what they can

          pay for themselves.       And they’re also wearing the hat as

          being a non-327 professional consultant, whatever we want to

          call them in the normal course, being in charge of the GOB

          sales.     And then in addition they want to serve as a 327

          professional.

                        All of this was nicely put together for us in one

          entire agreement.      We’ve always heard how separate entities,

          this and that.     They brought it together as one complete

          package here.     And we know that Hilco, the consultant I’ll




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          call them, isn’t doing this for free.           But what we don’t know

          are the economics of the deal.         We have no idea of the

          economics of this deal here.         I think it’s also disingenuous

          to say that their interests are aligned with those of the

          estate.    Their interest are aligned with the secured

          creditor.    Their interest is to get Wells Fargo paid and to

          get the secured debt paid.

                       Now at the end Ms. Russell said something that I

          don’t know if this is something that I missed or if this is

          something that is new, but that the term lender agreed that

          they would satisfy the deposits before they take any of the

          money owed to them. I don’t see that anywhere in the

          documentation.     I don’t believe that that is a consideration

          for the court today when looking at the particular

          transaction the court is being asked to give interim approval

          to.

                       We all know once interim approval is given the

          horse is out of the barn.        And we’re doing that when we are

          not going to have committee formation until next Wednesday.

          There are repercussions here.         We need time to analyze this.

          Yes, I asked preliminary questions and they were answered.                I

          don’t believe the debtor represented it, I don’t believe Mr.

          Ladd is here today for me to cross-examine.            And I don’t

          believe that there are individuals here could answer the

          questions that need to be answered.           We need time.     We need




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          discovery and, again, need the committee to be able to step-

          in and protect the interests of the unsecured creditors.

                        THE COURT:    Okay.    Thank you.

                        Ms. Russell?

                        MS. RUSSELL:     Your Honor, with respect to the U.S.

          Trustees Office not being aware of the financial arrangements

          between the term lender and the consultant I did share with

          her a letter that we had requested and received from the

          consultant setting forth the economic terms of that financial

          relationship.     They did request, for confidentiality reasons,

          that we not file that, but they have consented that that

          letter be shared with the U.S. Trustees Office, with the

          creditors committee once appointed, and that to the extent,

          you know, Your Honor has any questions with regard to that

          financial arrangement Mr. Steven Fox is here representing the

          consultant.

                        With respect to the intellectual property, Your

          Honor, because we will stipulate to remove that and move that

          to a separate hearing, the court, the U.S. Trustees Office

          and any other party in interest can review and object to the

          retention with respect to the intellectual property on

          whatever basis that they deem is appropriate.             So, we are

          talking right now that it’s the inventory, machinery and

          equipment that are pretty customary to the consulting

          agreement.




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                       This consulting agreement, the budget that is part

          of this consulting agreement was a budget that had been

          agreed upon and discussed during prior discussions when

          competing liquidation groups were submitting bids and

          proposals before ultimately we landed on the consulting

          agreement with the current consultant.           So, the expenses are

          identified in the budget that was submitted as part of a

          liquidation proposal.       There is no mystery to them.

                       The debtors certain have the ability to, in

          certain circumstances where we have identified we want to

          weigh-in and perhaps adjust downward some of the line item

          expenses to the extent that we determine that we don’t think,

          for example, marketing media purchases that the debtors don’t

          think that those purchases are necessary we reserve the right

          in the agreement and in the exhibit in the budget to object

          to those.

                       So, the one key difference is who’s paying the fee

          to the consultant.      And that fee is being paid out of the

          backend recovery to the term loan lenders.            So, that is the

          difference and that difference has created a tremendous

          benefit to the estate.       Unfortunately, Your Honor, we don’t

          have the time or the financial wherewithal to stop everything

          now.   We’re happy to sit down with the Office of the United

          States Trustee to discuss any questions, or comments or

          concerns they have between now and the proposed final hearing




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          on April 6th.     But we would like to be in a position to get

          our signage up, to get into really fully launch into the

          store closing program as we need to.

                       Time is not on our side.         With respect to the

          backend there is so much inventory that needs to be

          liquidated through these stores.          To the extent we are

          further delayed in a launch of that liquidation the more

          likelihood is that we could potentially have too much

          inventory and have to carry over into the month of May in

          operating these stores or some of these stores which is an

          additional expense that the company just does not have the

          ability to absorb.

                       So, we would request -- we’re happy to sit down

          and I’m sure Mr. Fox would likewise say sit down with the

          Office of the United States Trustee.           Get them comfortable

          that while, yes, unusual this particular structure is a

          benefit to the debtors’ estate and that we would hope to be

          able to resolve those concerns prior to the April 6th

          hearing.    And if not we will discuss and present as

          appropriate to Your Honor.

                       MS. RICHENDERFER:       Your Honor, if I may respond

          briefly.

                       Your Honor, one of the problems here is that

          because they are controlling so many aspects of the case

          we’re in a situation where you have the lender basically




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          standing in the way of a market test which normally this

          court would not allow.       The lender here is also the person

          that only benefits to the extent that they’re part of the

          liquidation of the assets on a store by store basis

          continuing with the sales, the going out of business sales at

          the locations.     So, while I understand and appreciate the

          debtors need to continue forward on a path they had chosen we

          do have the right to look at that path.           And unfortunately a

          lot of parts of that are not within our purview.

                       Yes, I was given a letter that outlined how things

          were going to be divvied up, so to speak, between KKR and the

          HGB.   That doesn’t tell me the economics of the deal.              I

          don’t know what HGB paid for the position it has.              So, I

          don’t know what they’re making off of this deal.

                       I will harken back, Your Honor may recall that

          there was a period of time when my office was looking into

          the issue of whether or not liquidators in the going out of

          business sales should be considered to be 327(a)

          professionals.     And Judge Shannon, when issuing his opinion,

          stated,

                       “The established practice requires fulsome

          disclosure of the services to be provided and the

          compensation to be paid followed by a hearing on the merits

          where the debtor must carry the burden under Bankruptcy Code

          Sections 365 and 363 that demonstrates that proceeding in




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          good faith and its proposed course of action reflects the

          exercise of reasonable business judgment.            This structure is

          compliant with the bankruptcy code and is sufficient to

          address the U.S.T’s legitimate desire for transparency and

          due process without imposing the additional requirements and

          restrictions by 327(a).”

                       Here we are in a situation where the structure is

          not giving us the transparency and the due process that Judge

          Shannon wrote about and was the basis of his opinion when he

          determined that at least with respect to the going out of

          business sales they did not need to qualify as a 327(a)

          professional.

                       So, Your Honor, I don’t know how we proceed

          forward at this point in time again without allowing for

          there to be more disclosure which is required and allow the

          real interest holders here, the unsecured creditors, to get

          up to speed and to analyze this scenario.

                        THE COURT:    Thank you.

                        MR. FOX:    Good afternoon, Your Honor.         For the

          record, Steven Fox, Riemer & Braunstein, on behalf of the

          consultant group of affiliates of Hilco Merchant Resources

          and Gordon Brothers Retail Partners.

                        I rise, Your Honor, ahead of Mr. Waxman, not

          intending to be disrespectful, but rather, since the

          U.S. Trustee has identified what they consider to be gating




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          issues, before we deal with Mr. Waxman's inventory-related

          questions, I thought it might be appropriate to sort of deal

          with the elephant in the room, so to speak.

                        Your Honor, at the outset, let me be the first to

          acknowledge and concede that the transaction structure before

          the Court is a little bit different than what the Court and

          some interested party may be accustomed to seeing, but I also

          want to be clear that it is not in any way, shape or form

          unique or novel in any respect.          It is a structure that has

          been tried and tested before in other cases; most recently, a

          similar structure was adopted and approved by the Bankruptcy

          Court of the Southern District of New York in the Barneys

          cases where there was a clear connection between, in that

          case, the DIP lender and the consultant that was being

          engaged by the estate for purposes of liquidating inventory

          in certain stores, as well as marketing for sale, certain

          intellectual property.

                        But putting aside that nonbinding precedent, Your

          Honor, I think part of the failure here is one of

          understanding as opposed to one of substance.             The reality

          here is we've heard some terms thrown around such

          transparency and due process, referring to Judge Shannon's

          decision, which I'm intimately familiar with because, of

          course, the parties, similar to my client, were involved in

          that case and issues not necessarily substantively similar,




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          but certainly relating to the 327(a) retention issues were

          relevant there.

                        First, let's deal with the 327(a) issues.            As

          you've heard from Ms. Russell, we understand the debtor is

          fully prepared to separate that issue and deal with it at the

          second day hearing on April 6th as it relates to the

          intellectual property of the consulting agreement and I can

          confirm on behalf of consultant that it has no objection to

          proceeding in that manner and should the debtor decide, in

          consultation with the U.S. Trustee or with a committee, once

          formed, that a separate motion on that issue is appropriate,

          then we will certainly cooperate and work in conjunction with

          the debtor and others to ensure that motion is timely filed

          in that connection, Your Honor.

                        As far as due process and transparency is

          concerned, we should be clear when we're talking about those

          types of issues.      In our opinion there has been full

          foreclosure.     One need not read further than the second

          substantive paragraph of the debtors' motion to find

          disclosure of the fact that there was this unusual

          relationship; again, not unique and not without precedent,

          but certainly different than the traditional fee for

          services.

                        And the reason for that is because the debtor has

          a definable, realizable, demonstrable benefit from this




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          relationship in that it pays us nothing.            I am representing a

          party here, who I dare say, is the only party in this room

          who is working for free.        I'm not, but my client is.         My

          client, by virtue of the terms of the consulting agreement

          earns no compensation whatsoever from the debtors' estate for

          the full range of services that it will provide if this

          motion is approved today.

                        And I should point out we're only asking for

          interim approval today, so if for some reason a party in

          interest has an issue or raises and objection in connection

          with the final hearing that we cannot resolve or we cannot

          overcome, we may permanently work for nothing.             But as it

          stands now, our consulting agreement provides that the estate

          pays no fee or other compensation to the consultant on

          account of the consulting services.

                        Our recovery, if any, derives solely and

          exclusively from a recovery that our affiliate receive and I

          stress "may," if at the end of the day, this estate generates

          a return to the term debt, which is junior there the ABL debt

          and all of the other things that the ABL lenders and the term

          lenders have agreed be funded through the cash collateral

          budget.

                        Among other things Your Honor heard through Mr.

          Werkheiser's introductory remarks today, that right now

          somebody else is grabbing all the cash.           So, who knows, given




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          uncertainties as to what the ultimate recoveries for the

          secured creditors in this estate will be, but we understood

          that risk in negotiating in an arm's-length fashion between

          our affiliate and the prior holders of the term debt that at

          the end of the day, we may realize nothing.

                        That is our risk and is not a risk to be borne by

          the estate, because they do not pay us, again, anything,

          other than as Ms. Russell indicated, reimbursement for

          certain definable out-of-pocket expenses, which have been

          reduced to a highly negotiated budget that would be expenses

          incurred by the estate, no matter who the liquidators were

          here.   They include expenses such as signs, supervisors,

          certain limited travel -- and believe me today, it's going to

          be limited -- certain other related expenses, but nothing in

          the nature of a fee or other compensation.

                        With regard further to transparency, Your Honor,

          as Ms. Russell indicated, it was the debtors' insistence that

          they understand the economic parameters of the agreement that

          was being negotiated between the affiliates of the consultant

          and the prior debt holder KKR.         In response to the debtors'

          insistence, we made full disclosure to the debtors of the

          economic relationship and went so far as to reduce it to a

          writing and then deliver that writing to the debtors'

          professionals and the debtors have been fully apprised from

          the very start of what that economic relationship is.




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                        And to put it simply, Your Honor, without going

          into the actual numbers, there is a sharing arrangement

          solely related to a recovery on account of the term debt.

          So, again, no fee or any compensation from the estate, other

          than a sharing between our affiliate, HDB, the current term

          debt holder, and the prior term debt holder.             They have no

          involvement in the estate.        They are entitled to no

          compensation from the estate.         They only get a piece of our

          recovery, the economics of which have been fully disclosed to

          the debtors.     So, totally transparent here, no hidden agendas

          or otherwise.

                        Ms. Richenderfer said that we lack transparency

          because she claims she knows nothing about it.             She has that

          letter.    That letter was clearly intended to be delivered to

          the U.S. Trustee's Office and it specifically said so.               It

          was prepared in anticipation that the U.S. Trustee's Office

          was going to want to know and was going to have these

          questions because of the unusual nature of their

          relationships here.

                        I'll only ask, as Ms. Russell indicated, that it

          not be -- it contains certain confidential information about

          trade information and negotiations relating to third parties

          not here and we ask merely if it ever needed to become part

          of the public record, that it not be filed of record, it only

          be filed under seal, and then if the U.S. Trustee needed to




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          use it in connection with any litigation or objections, we'd

          be happy to do that, just so long as it be done under seal;

          again, not intending to hide anything.

                        That same letter also says that the debtors are

          free to share with the creditors' committee, once appointed;

          again, not looking to hide anything.           The economics are open

          and transparent to anybody who wants to see it who are the

          key constituents in the estate, including the ABL lenders on

          their own.

                        So, from that perspective, Your Honor, I think we

          have satisfied the transparency concerns that Judge Shannon

          might have expressed in a different context, as well as the

          due process concerns.       We are seeking merely interim relief

          here and if the U.S. Trustee or the creditors' committee

          subsequently has any additional questions, after having an

          opportunity to review the substance of that transaction,

          we're happy to do that.

                        I would also add that to the extent that they

          think there's anything nefarious that happened here, the term

          claims are what they are and the committee, once appointed,

          and any other third party that may wish to challenge that,

          has all the challenge rights provided for in interim cash

          collateral order and that is not affected in any way by

          approval of the consulting agreement or the conduct of the

          GOB sales.




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                        Next, Your Honor, Ms. Richenderfer indicated a

          concern about the relationship depriving the estate of a

          market test.     I can only assume from that remark that she

          somehow believes that the debtor did not exercise its

          business judgment by testing the market for the most

          beneficial transaction to the estate.           I beg do differ.

                        As the U.S. Trustee has been apprised in response

          to the written questions that they posed to us last night by

          the debtors, that the debtors solicited five separate

          liquidation firms; especially, the they national liquidation

          firms that can do a transaction of this size and nature.                It

          was at the conclusion of that solicitation process that the

          debtors selected the Hilco and Gordon Brothers venture to

          conduct store-closing sales on the terms set forth in the

          consulting agreement.

                        It is equally important to note, however, Your

          Honor, that there is no linkage between the debt transaction

          and the consulting agreement.         So, the debtors were be

          obligated to select us as the consultant just because we were

          conducting parallel discussions with KKR over the acquisition

          of the debt.     They made that decision based upon their

          assessment, I assume, of the economic benefits to the estate

          of our transaction, which is free services, as opposed to the

          other proposals, which I've never seen, but I can only

          assume, based upon my experience in the area, actually cost




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          the estate some money.

                        And were Your Honor to somehow elect to not

          approve the conduct of sales in the consulting agreement, our

          affiliate still owns the debt.         The deal still stays the

          same, but it's not, in our opinion, in the best interests of

          any of the stakeholders in the estate to disrupt a process

          that is currently orderly and ongoing.

                        Ms. Richenderfer also indicated an objection

          because she's of the opinion that somehow because we hold,

          through the affiliate, the term debt, that we are controlling

          the purse strings by approval of the budget.             What I can

          represent to Your Honor is -- and I am confident that the

          debtors can confirm this -- that the term lenders played very

          little, if any, role in the construction of the budget that

          is part of the cash collateral order.           That was driven almost

          exclusively, and if not exclusively, then certainly primarily

          by the ABL lenders.

                        The reasons for that are quite obvious; it's their

          ox that gets gored first and equally importantly, based upon

          the intercreditor relationship between the two parties, we

          have an interest in certain party collateral and they have an

          interest in everything else.         So, their interests are far

          broader than us on a first lien basis and as Your Honor can

          certainly recall from your own experience in such matters,

          the ABL lender didn't really care much -- not disrespecting




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          us -- but really didn't care much for our opinions, to the

          extent we had any, on the budget as they were liquidating

          their priority collateral first; namely, the inventory and

          other receivables.      So, we played little to no role in the

          construction of the budget.

                        We did participate at some extensive level in

          terms of how the customer deposit issues were going to be

          handled for two very simple reasons.           The first is, Your

          Honor can read in the consulting agreement, there are

          actually mechanics that we agreed to as the consultant to

          facilitate the debtors' completion of as many customer orders

          that were represented by corresponding deposits as possible,

          both in terms of facilitating the approximately $18 million,

          if that's the correct number, of deposits where there's

          actually merchandise on hand today, as well as helping the

          debtors try and source and facilitate completion of orders

          which there's no inventory represented in the company's

          coffers today.     So, we spent a lot of time talking about that

          and memorialized all that, those requirements and the

          services in the consulting agreement.

                        But separate and apart from that on a near daily

          basis we also, on the debt side of the transaction, were

          participants in discussions, along with the ABL lenders and

          the debtors' professionals and business principals, on how

          best to deal with the customer deposits on a daily basis




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          both, in terms of the messaging -- we spent a lot of time

          talking -- over two days before Your Honor about that -- in

          making sure the communications to the customers are clear and

          concise, but as well, how we're going to deal with the

          financial impact of that.

                        And, Your Honor, I'm certain will recall, that

          when we were talking about cash collateral on Tuesday

          afternoon, it was -- I recall it being pretty clear -- my

          notes reflect this -- that the statement was made that as

          part of the budgetary process, the term lenders were fully

          supportive of the budgetary components that had the company

          honoring the refund of customer deposits and the use of store

          credits and the like, notwithstanding that, at least on a

          legal basis, the term lenders might have been in a position

          to assert a senior, prior right to proceeds and not honor

          those deposits as refund requests were being made.

                        That is not the posture the term lenders took then

          and it's certainly not the posture that we're taking today.

          We are fully supportive and understand that there's a

          subordination component that applies to us in that regard and

          we're not going to back off of that.

                        So, the U.S. Trustee also mentions that one of

          their concerns is that they don't know what we're making on

          the deal; respectfully, Your Honor, neither do we.              What we

          know we're not doing is charging the estate the fee.               We are,




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          as I said at the outset, working for free, hoping that our

          efforts will generate a maximal recovery for the estate and

          that at some future point in time, whether it's through a

          wind-down, a plan, a Chapter 7 conversion, whatever the

          ultimate outcome of this liquidating estate will be, that

          proceeds will trickle-down through contractual or statutory

          priorities, to the term debt.         And if that happens, then we

          will earn a recovery maybe, subject to the sharing

          arrangement that we have described in writing to the U.S.

          Trustee.

                        In those circumstances and given those parameters

          and given the disclosures, including the declarations that

          were filed yesterday anticipating what the U.S. Trustee's

          lack of disclosure objection might be, we believe that there

          is nothing nefarious or inappropriate concerning the

          relationship that exists between the consultant and its

          affiliate that is holding the term debt.            We believe,

          contrary to the U.S. Trustee's posture, that the estate's

          interests are fully aligned with both, the consultant and the

          holders of the term debt.        All of those parties are geared

          towards and their interests are driven towards maximizing the

          recoverable value for the estate's available assets.

                        Where those proceeds ultimately wind up and who

          has the first right to them and the like is not being decided

          today.     Nobody is asking this Court to offer an opinion on




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          that or make any ruling on that; that will happen in a

          subsequent process, that we believe -- expect that the senior

          ABL lenders, the term lenders, and the committee, once

          appointed, will be fully engaged in.

                        Your Honor, with that, I'm happy to respond to any

          questions that the Court may have and I would just reserve

          the opportunity to respond to any other comments that other

          parties may make that relate to this relationship.

                        THE COURT:    Thank you.

                        MR. FOX:    Thank you, Your Honor.

                        MR. WAXMAN:     Good afternoon, Your Honor -- and it

          still is afternoon -- Jeff Waxman of Morris James, on behalf

          of two clients.      I'm going to start out of, again, with Serta

          Simmons Bedding Company but after that, there is a limited

          objection which was filed this morning by JoFran Sales, Inc.

          and that is at Docket 101; that is a limited objection.

                        Your Honor, before going into the two remaining

          issues, my understanding is that the debtors do not intend to

          proceed with respect to the sale of the intellectual property

          on an interim basis, so that issue that Serta Simmons was

          concerned with is no longer a live issue, as we understand

          it; certainly, if the debtors disagree, they are welcome to

          say so.

                        Your Honor, this dovetails -- the first issue that

          remains dovetails with the U.S. Trustee's, although, theirs




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          is certainly more process-oriented, with respect to 327.

          Serta Simmons is concerned by the fact that the consultant is

          a prepetition lender, has a significant interest, and is

          getting $3.3 million for expenses, and in order to liquidate

          what is, in essence, their own collateral, but there is no

          money that is apparently being provided from the sales to pay

          administrative expenses.        So, this case is being run for the

          benefit of the lenders and the lenders are actually getting

          the expense from the estate in order to do so.

                        I know that this is only an interim motion, but

          the Court should be concerned, as I know this Court has been

          in other cases, about where the entirety of the case is being

          done for the benefit of the lenders.

                        On a more-narrow issue, Your Honor, the parties,

          Serta Simmons, did business with the debtors prior to the

          petition date and they are subject to certain terms which

          include minimum advertised price policies or other policies

          or guidelines, which, among other things, restrict the price

          at which the debtors may sell Serta Simmons products and how

          those products are displayed and marketed.

                        Serta Simmons has a concern, Your Honor, that in

          the GOB sale, the debtors are going to mark down the price,

          thereby, flooding the market and diluting the value of Serta

          Simmons' policy, contrary to the terms of the policies to

          which the debtors are a party.         Those claims, were they to do




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          that, would be post-petition claims.           They could potentially

          be claims against the consultants, since they are the ones

          who are marketing down the prices.

                        At least on an interim basis, the debtors should

          be -- the debtors and consultants in all GOB sales -- should

          be required to adhere to those policies and that's all that I

          have for Serta Simmons, Your Honor, unless Your Honor has

          questions with respect to those.

                        THE COURT:    I do not.

                        MR. WAXMAN:     The next issues, Your Honor, are

          JoFran Sales and as I'm sure Your Honor is aware, we filed a

          complaint and a request for a temporary restraining order.

          This dovetails with that.

                        Before going into the limited objection, Your

          Honor, I would just take a pause to ask if Your Honor intends

          to hear the motion to enjoin the debtors in connection with

          that motion today?

                        THE COURT:    I'm not prepared to hear the TRO

          today.    I'll hear it as soon as I have an opportunity,

          frankly, to spend the time and effort to be properly

          educated -- maybe tomorrow, maybe Monday -- I don't know --

          but it won't be today.

                        MR. WAXMAN:     Okay.   Your Honor, that actually

          brings us into greater relief, then --

                        THE COURT:    Okay.




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                        MR. WAXMAN:     -- because in terms of the relief

          sought by the GOB motion today.

                        And perhaps I should take a moment or two and

          explain what -- and this is certainly -- everything is in a

          verified complaint that was filed this morning.             There's an

          adversary proceeding.       There's a motion for a restraining

          order.    There's a lengthy memorandum that sets out everything

          with the citations for the basis of the relief requested.

                        JoFran Sales designs furniture and the debtors

          purchased certain furniture from JoFran Sales -- excuse me --

          well, yes, they did -- and then it was in their stores.

          Basically, the debtors were using those goods as an

          opportunity to test drive those particular models to see what

          sold best.

                        It is alleged in the verified complaint that the

          debtors then contracted with somebody to manufacture, in

          essence, duplicate, the same goods that are manufactured in,

          I believe, Vietnam.       The debtors were aware of -- that we

          knew.    There are emails that are attached as exhibits to the

          complaint and the preliminary injunction, the TRO requests

          that the debtors, the consultants, all of the defendants stop

          manufacturing, selling, advertising, transporting, taking

          anything that is going to dilute the rights, the trade dress

          of JoFran.

                        I understand that there are relatively modest --




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          and I say "I understand" because those are the

          representations that we've received today -- that there are a

          relatively modest amount of the offending, the infringing

          furniture remaining in the debtors' stores.            We understand

          it's thirty or $40,000 worth of this furniture.

                        We also understand that there is a significant

          amount of that furniture that is on the water someplace and

          the debtors apparently have no intention of picking that up.

          I don't know if that's true or not.           I don't know anything

          other than what was represented today and, frankly, there

          were a couple of statements made that seem contradictory.

                        All we're looking for today, with respect to the

          limited objection to the GOB sale procedures is that the

          debtors remove the offensive pictures advertising the

          infringing furniture and that they do not sell that

          infringing furniture on an interim basis and certainly while

          this Court hasn't had an opportunity to consider the TRO, it

          is important that that not happen.          It is dilution and causes

          actual damage to JoFran to have the pictures of the

          infringing furniture remaining on the debtors' websites.

                        THE COURT:    Okay.    Thank you, Mr. Waxman.

                        MR. WAXMAN:     Does Your Honor have any questions?

                        THE COURT:    I do not.     I do not.

                        All right.    Let me -- I'm ready to make some

          comments.    I've heard my colleague Judge Shannon to comment




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          on more than one occasion that when it comes to first day

          motions, creativity is not encouraged.           This is very creative

          and I think it raises some very serious issues.

                        At the end of the day, this is a principal agency

          problem.    The principal here, of course, is the debtors'

          estate.    The principal is the trustee, the debtor in

          possession, who owes fiduciary duties to the creditors and

          who has obligations under the Bankruptcy Code and limitations

          under the Bankruptcy Code in order to ensure that that

          principal acts appropriately.

                        But a principal can only act through agents and

          the agents include the lawyers and they get retained in the

          327 or 328 and they get paid under 330.

                        There are a lot of regulations in place both, in

          the Code and in practice, to ensure that the incentives to

          the agent align to the benefit of the principal who is acting

          on behalf of its beneficiaries.

                        Here, we have a situation where we have a proposal

          where the principal here is going to hire an agent to conduct

          store-closing sales and one of the things that we do when we

          hire agents in bankruptcy is we control how much they make.

          We have the ability to know what compensation is being paid

          and it's not just to make sure that the administrative

          estate -- administrative expenses stay low; it's also to

          ensure that the incentives of that agent are aligned with the




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          benefit of the principal.

                        This is not the case here.        Here we have a

          situation where -- and I've never seen it before and

          obviously I wasn't involved in the Barneys case -- I've

          certainly never seen it in Delaware before where the services

          are for free.

                        I've been around long enough to know that if

          somebody else you that they're going to do something for you

          for free, you grab your wallet to make sure it's still there

          because it ain't for free.        Nobody's in this business and

          nobody is making the kind of money to pay Mr. Fox to

          represent them by doing stuff for free.           It's a business

          transaction and that's fine.         That's fine.

                        But it's a business transaction where the payout

          is out of the recovery to a creditor.           It's not an

          administrative expense that's monitored by the estate,

          monitored by the Courts, subject to a fee application, or

          even some sort of review at all.          It's a black box.

                        And Ms. Richenderfer makes a really important

          point.    We really don't get into this in bankruptcy very

          often because the debt is the debt and it changes hands and

          people buy it at discount.        It doesn't matter.       You buy the

          discount.    The debt is the debt.        That is what you get paid.

                        It's always in the back of my head when I have a

          kind of entity in front of me that I know buys at a discount




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          and they claim they're getting a terrible recovery at 80

          cents on the dollar.       Well, did they pay 30 and they're doing

          great or did they pay 85 and they're not doing great?

                        I don't want to think about that.          I leave that

          alone.    It is what it is.

                        But here, I think it's important because we don't

          know what the recovery is.        We don't know the economic

          incentives that are in play in connection with an agent.                And

          a principal which -- and I understand why -- who is getting

          something, to a certain extent, for nothing; i.e., services

          they don't have to pay out of administrative expense claims,

          at least not for the most part in a cash-strapped estate, I

          certainly understand why you want to do that.

                        But I think the bigger picture here is that I'm

          very worried that there is a fundamental disconnect based on

          this economic structure; whereas, we have no idea who the

          consultant is working for.        We have no ability to control the

          consultant because we don't understand or have any real

          insight into the economics that are running the deal.               So, I

          agree with the U.S. Trustee that this is too creative and too

          important to be heard on this time frame.

                        Now, I don't want to wait until April 6th, but I

          do want to wait until after a committee is formed, which will

          be the 18th?

                        MS. RICHENDERFER:      Yes, Your Honor.




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                        THE COURT:     So, what I'll do is continue this

          hearing to the 20th, and I know going to put whoever pitches

          this committee and gets the job, behind a tough schedule and

          I can put it on the record now, a motion for a continuance

          will not be looked upon favorably.          We can't wait forever to

          put this company into GOB mode.

                        I am taking a risk -- again, it's not my money --

          but I mean, I am taking a bit of a risk in gambling that the

          company won't be hurt by this delay, but I think that risk is

          appropriate, given the uncertainty around this economic

          relationship.     So, we'll do this Friday, the 20th, at 10:00

          a.m., and we'll have a committee who will be fresh off the

          bricks and they can appear.         And in the meantime, the GOBs

          can't go forward.

                        That moots Mr. Waxman's objection, with regard at

          least to the GOBs, although I know you still have the TRO --

          we're going to talk about that in a minute -- and I think it

          moots, in connection with the mattresses, as well.

                        Yes?

                        MS. RUSSELL:     Your Honor, if I may request -- with

          respect to the actual conduct of the GOB sale, other than

          Mr. Waxman's client, I'm not sure that the underlying issues

          are with respect to actually conducting the going-out-of-

          business sales.      We would like to request that the debtors be

          authorized to not engage the consultant -- I understand Your




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          Honor's ruling in adjourning that issue until March 20th --

          but that we be allowed to otherwise proceed with the going-

          out-of-business sales in accordance with the store-closing

          procedures and that the debtor, in the interim, will run

          those store-closing sales themselves.

                        The damage to the estate and the cost to the

          estate by not moving through into going-out-of-business

          status could have a detrimental effect or will have a

          detrimental effect on the overall recovery on this collateral

          for all creditors, not alone, the term lenders, but Wells

          Fargo and the other creditors.         I'm not sure if the U.S.

          Trustee's Office has raised any concerns with respect to that

          portion of the motion.

                        THE COURT:    Comment?

                        MS. RICHENDERFER:      Your Honor, Linda Richenderfer

          from the U.S. Trustee's Office, just briefly.

                        I guess I'm not quite sure how the debtor is going

          to implement the going-out-of-business procedures, not that I

          have an issue, and counsel is correct that we've raised no

          issue with the procedures; we raised the issue with respect

          to who's implementing the procedures and I don't know how the

          debtors will implement them.         I leave that up to Your Honor,

          though, as to whether or not to allow them.

                        There was a portion of the procedures, though,

          that was the bonuses and as a principle, I don't have an




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          issue with it, it was just that there wasn't a lot of detail

          regarding the bonuses and, perhaps, that's something that can

          also be delayed until next week just to get more details

          regarding the bonuses.

                        THE COURT:    Well, I'm open to allowing the debtors

          to run GOB sales themselves under procedures everyone can

          agree on as long as it's consistent with general practice

          that we impose and that the landlords' rights are respected.

                        What I would request, specifically, is that you

          not GOB Mr. Waxman's furniture, so that needs to be cut out.

                        What's the position on the response to the issue

          with the mattresses?

                        MS. RUSSELL:     Your Honor, what we've been

          provided -- and, again, another thing that I've been asked

          not to make public -- which we were provided today are not --

          they're pricing policies, pricing suggestions.             There's no

          contract that I've been provided to show on the pricing of

          the inventory.

                        At best, to the extent there's a contract, it's an

          executory contract; again, I don't know.            Even -- I've asked

          to understand what the discounting restrictions are and I've

          not been provided with that information.            One of the concerns

          that they have is they've asked us to not sell those goods

          until now the March 20th, hearing, but it was previously the

          April 6th hearing.




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                        And the situation the estate would find itself in

          is that today, while they could discount and sell these

          mattresses for perhaps 10, 15 percent off, when we get into

          April, we're going to have to be in potentially significantly

          higher discounts in order to complete the liquidation.

                        THE COURT:    I'm sorry, in my experience, I mean,

          these aren't unusual commercial relationships where you put a

          collar on what somebody can sell somebody's product for.                A

          retailer can't -- you know, if you sell fine china, you don't

          want it to end up at Marshalls being sold at a deep discount.

                        So, if you -- I don't know -- a mattress is a

          mattress, as far as I know, but I'm not a connoisseur of

          mattresses -- but, you know, if they sell a very high-end

          mattress, they don't want you to sell it for a low-end

          mattress price.      And I wouldn't be surprised if there's

          policies or contracts in place to enforce that, but there may

          not be -- I don't know.

                        MS. RUSSELL:     What I have been provided are

          suggested retail pricings and I believe counsel acknowledged

          that they have not provided copies of any contracts that

          would impose such a restriction on the debtors' sale of those

          goods.

                        I'm happy to have a conversation with them and I

          need to understand as to the people at the company

          understand, you know, now, with, in terms of now the plan --




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          the discounted program that the company is now running and

          how that cadence interplays with the discounting or purported

          discounting restrictions that Mr. Waxman's client is

          asserting.

                        MS. ROGERS:     (Via telephone)      Your Honor?

                        THE COURT:    Yes.

                        MS. ROGERS:     -- this is Beth Rogers for Serta

          Simmons Bedding Company.

                        May I be heard?

                        THE COURT:    Yes.

                        MS. ROGERS:     Your Honor, there is a contract in

          place between the debtors and Serta Simmons which provides

          that the debtor will comply with the pricing guidelines.                And

          so, I mean, I apologize I didn't have an opportunity to get

          that to the debtors' counsel.         Everything is, you know,

          obviously on an emergency basis.

                        So, we would just ask -- I mean, we're talking,

          you know, another week that the status quo be maintained as

          far as the debtor complying with the pricing guidelines

          (indiscernible) as far as how a product is displayed, how

          it's advertised, how it's marketed.           So, I wouldn't think

          that maintaining the status quo for a week is going to be

          detrimental to the debtor.

                        THE COURT:    Well, you know, look, if you're going

          to sell a discount bed suite, you probably want to include a




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          discount mattress, along with the bed suite in order to do

          the sale, otherwise somebody is going to go down the street

          to Mattress Firm, one of my debtors -- please go often --

                        (Laughter)

                        THE COURT:    -- and buy their discounted mattress

          there.    So, I mean I can see why they would want some --

          well, I'm not going to -- I mean, we're going to talk this

          through, but what is going to happen is you're going to go

          off and negotiate an order and send it to me tomorrow under

          certification of counsel.

                        So, I think this is something that you should

          discuss and if there is a -- again, this would not surprise

          me -- if there is a contract that says you cannot sell my

          price for less than 80 percent off suggested retail, I don't

          think it's appropriate in a store-closing sale, even, to

          violate that contract.       That's a post-petition breach.          I

          think it's perhaps an executory contract that might give rise

          to administrative expense claims.

                        And those contracts are generally -- I can't

          remember the name of the case -- but it was affirmed by the

          Supreme Court several years ago.          Those contracts are not

          uncommon.

                        So, let's do this.      So, let's -- I will consider a

          motion -- excuse me -- consider an order that allows the

          debtors to conduct the GOB sales according to the procedures




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          that have been put in place, no bonuses, no -- none of

          that -- just do the GOB sales.         I'd like you to either settle

          with or carve out Mr. Waxman's furniture client from that.

          I'd like you to discuss some sort of an arrangement with the

          mattress client and if you can't resolve that, you can submit

          some competing language with the certifications.              So, I will

          choose a winner or a loser.

                        Now, I just said no to the bonuses.          I want to

          rethink that for a second.        Who are the bonuses going to?

                        MS. RUSSELL:     Your Honor, those -- I was going ask

          Your Honor to reconsider -- those bonuses are contemplated

          for store-level employees.

                        THE COURT:    They're the store employees; they're

          not the consultant?

                        MS. RUSSELL:     They're not the consultant,

          absolutely not.

                        THE COURT:    All right.     They're fine.      They're

          fine.

                        Okay.   And then Ms. Heilman is being very patient

          back there.     She keeps standing up and sitting down.            Just a

          second.

                        But we'll kick the consultant agreement to the

          20th.

                        Ms. Richenderfer?

                        The 20th, right?




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                        MS. RICHENDERFER:      Your Honor, my issue with the

          bonuses was -- and maybe counsel can make this

          representation -- it wasn't clear to me that we were talking

          about rank-and-file employees in the stores.

                        MS. RUSSELL:     It would be a combination, rank-and-

          file and possibly store manager, incentivizing everybody to

          work, and the aggregate amount was proposed that it would not

          exceed 10 percent of payroll.         So, that's fairly --

                        THE COURT:    Any officers?

                        MS. RUSSELL:     No officers or directors.

                        THE COURT:    Nobody that's vice president of fun

          and games or anything like that?

                        MS. RUSSELL:     No, Your Honor.

                        THE COURT:    District managers?

                        MS. RUSSELL:     No, Your Honor.

                        THE COURT:     Store managers only?

                        MS. RUSSELL:     Store managers and rank-and-file.

                        MS. RICHENDERFER:      Your Honor, if it only goes up

          through the store level --

                        THE COURT:    Nobody's getting rich.

                        MS. RICHENDERFER:      -- that's fine.      And that was

          our concern, was that the specifics like that were not there.

          So, if we have those representations, we're fine.

                        THE COURT:    All right.     Give me two seconds,

          Ms. Heilman, and I'm going to give you all my attention.




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                 (Pause)

                        MS. HEILMAN:     Good afternoon, Your Honor.         Leslie

          Heilman, Ballard Spahr, on behalf of a number of the debtors'

          landlords.

                        Your Honor, I do appreciate Your Honor's comment

          about respecting the interests of the landlords in

          authorizing the debtors to proceed and conduct going-out-of-

          business sales as not through the consultant, but through the

          company; however, Your Honor, I do rise because we would have

          objected to the conduct of the going-out-of-business sales

          generally, as proposed under the motion, but for our ability

          to structure and have some balancing of the interests through

          our side agreement with the consultant that negotiated, and

          now we will -- I'm sure Ms. Russell will work with us with

          respect to a similar side agreement -- I'm sure she's very

          familiar with them with respect to that -- but, Your Honor,

          the going-out-of-business sales, themselves, are in violation

          of the leases.

                        And bankruptcy courts generally do authorize once

          a debtor has filed for bankruptcy, to allow them to proceed

          with such sales, but they are subject to limitations --

                        THE COURT:    Of course.

                        MS. HEILMAN:     -- and they're subject to the

          limitations so that the parties can balance the interests to

          maximize value for the debtors' estate, but also not run




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          havoc across the lease terms.

                        And, Your Honor, some of those balancing go to

          signage restrictions and limits on the signage and limits on

          augmentation, store-closing hours, and the store-closing

          procedures that are proposed, while customary and we see

          attached to them, many of those store-closing procedures do

          not adhere to the provisions of the leases in terms of how

          they need to -- the hours they need to operate and, Your

          Honor, whether or not they can use the exterior of the

          building and so forth.

                        So, Your Honor, while we are not opposed to the

          debtor commencing and continuing their GOB sales, we do

          request that they be subject to some limitations and that we

          can negotiate through a side agreement, but until that side

          agreement is in place, Your Honor, we do request that, at a

          minimum, no banners be hung, with respect to those sales --

                        THE COURT:    Okay.

                        MS. HEILMAN:     -- and where there is signage

          limitations.

                        THE COURT:     Yeah.   So, this is easy stuff, right,

          this is A, B, C stuff.       So, believe it or not we used to

          litigate this stuff 20 years ago, but we don't anymore, so --

                        MS. RUSSELL:     Your Honor, we would not envision

          running a sale in any fashion that is inconsistent with the

          proposed store-closing procedures that the consultant




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          obligated to comply with.

                        And the side letter, other than the signature

          block being from the debtor, I would envision that the side

          letter, assuming that it's consistent with customary

          practices, will be the same letter as they would have

          negotiated with the liquidator.

                        THE COURT:    All right.     So, if you submit the

          order, you need to certify that you've signed the side letter

          or that if you haven't, that Ms. Heilman and the other

          landlords agree to the procedures that you've put in place.

                        MS. RUSSELL:     Well, Your Honor, I guess I haven't

          heard any objections from any other landlords or any issues

          that were raised.      We did circulate the store-closing

          procedures with the motion.         I don't believe there were

          substantive revisions to those store-closing procedures since

          we circulated the order, but I guess if there are issues,

          people should contact me and we can deal with it.

                        I'm not sure prior to tomorrow I will have signed

          side letters with all the landlord groups.

                        THE COURT:    All right.     I haven't seen the side

          letter.    What side letter?

                        MS. RUSSELL:     How many signs you can hang within

          so many thousand feet.

                        THE COURT:    I'm just remembering a couple of years

          ago there was a furniture-store chain that went under




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          bankruptcy -- not in Delaware -- by they had a store in

          Delaware -- so unusual -- and I was driving down Concord Pike

          and they had a banner that was the entire side of the

          building and all I could say was that they definitely did not

          file in Delaware because none of our judges would have signed

          that order.

                        So, I --

                        MS. RUSSELL:     The signage banner -- the banner

          language that tends that be in certain side letters -- not

          all -- that would be something that would be negotiated and

          we would resolve that in the side letter.

                        THE COURT:    Well, let's see.       Who's here?     That's

          what really matters, right?

                        And Mr. Riley is here.

                        MR. RILEY:    Your Honor, Richard Riley from

          Whiteford Taylor.

                        I represent a receiver for a shopping center, so

          he is the landlord.

                        THE COURT:    Right.

                        MR. RILEY:    So, I don't know if he has reached out

          to do a side letter, but we would, of course, want to make

          sure that the GOB sale is done, according to a side letter

          and is not -- doesn't have banners on the side of our

          building.

                        THE COURT:    Yeah.    So, when you submit the COC,




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          you're going to need to certify that you've talked to

          Mr. Riley, Ms. Heilman, and any other landlord that calls you

          between now and when you do the certification and that

          they're agreeable, and if they're not -- say that -- and then

          that person will have an opportunity to say something to me.

                        You can just call up and let Ms. Gadson know that

          you have our own language and we'll take care of it.               Okay?

                        MS. RUSSELL:     Thank you, Your Honor.

                        THE COURT:    Mr. Waxman?

                        MR. WAXMAN:     First of all, Your Honor, I was

          remiss earlier -- and excuse me -- I would like to introduce

          Maureen Mulligan, my co-counsel on -- in relation to JoFran.

                        THE COURT:     Yep.   Welcome.

                        MR. WAXMAN:     Her admission has been moved pro hac

          vice.   I haven't seen a copy of the order yet, but that

          doesn't mean it hasn't been entered.

                        And one of the reasons that I rise to introduce

          her is because of the issue of the TRO, just in terms of

          scheduling.     That going forward, I don't know her

          availability or the client's availability to come down.

                        THE COURT:     Listen, I have it, but I can tell you

          I haven't read your complaint.         Okay?    I've been extremely

          busy all day.

                        MR. WAXMAN:     I understand.

                        THE COURT:     I'm running in place in connection




                                                                                  AB_000812
